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        Estados Unidos Mexicanos vs. Diamondback Shooting Sports, Inc., et al.,
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Exhibit 12 - Plaintiff’s August 5, 2024, response to Defendants’ Responses and
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Exhibit 14 - Memorandum of Intervenor United States of America in Lopez et al., v.
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   EXHIBIT 1
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                                                                   1
                                                                                               IN THE UNITED STATES DISTRICT COURT
                                                                   2                                   DISTRICT OF ARIZONA
                                                                   3     Estados Unidos Mexicanos,
                                                                   4
                                                                                            Plaintiff,
                                                                   5
                                                                         vs.
                                                                   6
                                                                         Diamondback Shooting Sports, Inc., an            NO. 4:22-cv-00472-TUC-RM
                                                                   7     Arizona corporation; SNG Tactical, LLC,
                                                                         an Arizona limited liability company;
                                                                   8     Loan Prairie, LLC D/B/A The Hub, an
                                                                   9     Arizona limited liability company; Ammo
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                                                                         A-Z, LLC, an Arizona limited liability
                                                                  10     company; Sprague’s Sports, Inc., an
                                                                         Arizona corporation,
                            2525 East Broadway Blvd., Suite 200




                                                                  11
                                  Tucson, AZ 85716-5300




                                                                                       Defendants
                                                                  12
                                                                  13
                                                                                            PLAINTIFF’S FIRST SET OF REQUESTS
                                                                  14                FOR PRODUCTION OF DOCUMENTS TO ALL DEFENDANTS
                                                                  15
                                                                               Pursuant to Federal Rule of Civil Procedure 26 and 34, Plaintiff Estados Unidos Mexicanos
                                                                  16
                                                                       (“Mexico” or “the Government”), through its undersigned attorneys, hereby requests that the
                                                                  17
                                                                       responding Defendant serve a written response and produce for examination, inspection, or copying
                                                                  18
                                                                       the documents and tangible things in the categories specified below, within 30 days after service
                                                                  19
                                                                       hereof, at the law offices of Hilliard Shadowen LLP, 1135 W. 6th Street, Suite 370, Austin, Texas
                                                                  20
                                                                       78703, or such other location as counsel may agree upon. These Requests shall be deemed
                                                                  21
                                                                       continuing, pursuant to Federal Rule of Civil Procedure 26, and, therefore, require supplementation
                                                                  22 after the return date and until the time of trial. These Requests are subject to the following
                                                                  23 definitions and instructions:
                                                                  24
                                                                  25
                                                                  26

                                                                           Plaintiff’s First Set of Requests for Production of Documents to All Defendants    1
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                                                                   1
                                                                                                                  DEFINITIONS
                                                                   2          Each of these definitions and instructions is incorporated into each of the Requests to which
                                                                   3 it pertains. Notwithstanding any definition below, each word, term, or phrase used in these requests
                                                                   4 is intended to have the broadest meaning permitted under the Federal Rules of Civil Procedure.
                                                                   5          1.       “A & D Books” mean records, also known as bound books, which are permanently
                                                                   6 bound books or orderly arrangement of loose-leaf pages that Defendant must maintain under 18
                                                                   7 U.S.C. § 923(g)(1)(A) and 27 C.F.R. §§ 478.121, 478.125.
                                                                   8          2.      “Ammo AZ” means Defendant Ammo A-Z, LLC, including its predecessors,

                                                                   9 wholly-owned or controlled subsidiaries or affiliates, successors, parents, other subsidiaries,
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                                                                  10 departments, divisions, joint ventures, other affiliates and any organization or entity that Ammo
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                                                                  11 AZ manages or controls, including those merged with or acquired, together with all present and
                                  Tucson, AZ 85716-5300




                                                                       former directors, officers, employees, agents, attorneys, representatives or any persons acting or
                                                                  12
                                                                       purporting to act on their behalf.
                                                                  13
                                                                              3.      “Ammunition” means any ammunition or cartridge cases, primers, bullets, or
                                                                  14
                                                                       propellant powder designed for use in any firearm.
                                                                  15
                                                                              4.      “Assault Weapon” means any fully automatic or semi-automatic firearm with
                                                                  16
                                                                       features designed to enable shooters to repeatedly fire at large numbers of people quickly,
                                                                  17
                                                                       specifically including but not limited any firearm that is or would be considered an assault weapon
                                                                  18
                                                                       under the Violent Crime Control and Law Enforcement Act of 1994, Pub. L. No. 103-322, §
                                                                  19
                                                                       110102, 108 Stat. 1796, 1996-98 (expired 2004) or the assault weapon bans that now exist in the
                                                                  20 District of Columbia (DC Code Ann. § 7-2501.01(3A)) or any U.S. state, including: CA (Cal. Penal
                                                                  21 Code § 30510), CT (Conn. Gen. Stat. § 53-202a), DE (Del. Code tit. 11, § 1465), IL (720 Ill. Comp.
                                                                  22 Stat. Ann. 5/24-1.9), MD (Md. Code Ann., Crim. Law § 4-301), MA (Mass. Gen. Laws ch. 140, §
                                                                  23 121), NJ (N.J. Stat. Ann. § 2C:39-1w), NY (N.Y. Penal Law § 265.00(22)), WA (Rev. Code Wash.
                                                                  24 (ARCW) § 9.41.010(2)(a)).
                                                                  25          5.      “ATF” means the United States Bureau of Alcohol, Tobacco, Firearms and

                                                                  26

                                                                           Plaintiff’s First Set of Requests for Production of Documents to All Defendants     2
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                                                                   1
                                                                       Explosives, including its departments, committees, subdivisions, and individuals acting on its
                                                                   2 behalf or under its authority.
                                                                   3          6.      “Belt-fed firearm” means a firearm that uses or can use a belt of ammunition linked
                                                                   4 together.
                                                                   5          7.      “Civilian market” means all domestic, non-military, non-law-enforcement potential
                                                                   6 buyers or consumers of AR-type rifles, including distributors and retailers that sell to civilians.
                                                                   7          8.      “Communication” means the transmittal of information (in the form of facts, ideas,

                                                                   8 inquiries or otherwise) by any means.
                                                                   9          9.      “Complaint” means the operative complaint in this action, No. 4:22-cv-00472-TUC-
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                                                                  10 RM.
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                                                                  11          10.     “Dealer” means anyone that sells Firearms, Ammunition, and/or Firearm
                                  Tucson, AZ 85716-5300




                                                                       Accessories.
                                                                  12
                                                                              11.     “Defendant(s)” means Defendants Diamondback Shooting Sports, Inc., SNG
                                                                  13
                                                                       Tactical, LLC, Loan Prairie LLC d/b/a The Hub, Ammo A-Z, LLC and/or Sprague’s Sports, Inc.
                                                                  14
                                                                              12.     “Diamondback” means Defendant Diamondback Shooting Sports, Inc., including
                                                                  15
                                                                       its predecessors, wholly-owned or controlled subsidiaries or affiliates, successors, parents, other
                                                                  16
                                                                       subsidiaries, departments, divisions, joint ventures, other affiliates and any organization or entity
                                                                  17
                                                                       that Diamondback manages or controls, including those merged with or acquired, together with all
                                                                  18
                                                                       present and former directors, officers, employees, agents, attorneys, representatives or any persons
                                                                  19
                                                                       acting or purporting to act on their behalf.
                                                                  20
                                                                              13.     “Distributor” means anyone that buys Firearms, Ammunition, and or Firearm
                                                                  21 Accessories and sells them to Retailers or Sellers.
                                                                  22          14.     “Document” is defined to be synonymous with the broadest possible meaning of the
                                                                  23 term as used in Fed. R. Civ. P. 34 and includes, without limitation, electronically stored information
                                                                  24 and communications (including emails, text messages, messages through messaging applications,
                                                                  25 and messages through social media platforms), as well as any writing or diagram, and postings on
                                                                  26

                                                                           Plaintiff’s First Set of Requests for Production of Documents to All Defendants      3
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                                                                   1
                                                                       any websites or social media platform, including but not limited to Google, Facebook, X, YouTube,
                                                                   2 Instagram, TikTok, Snapchat, Reddit, 4chan, or Discord. A draft or non-identical copy is a separate
                                                                   3 document within the meaning of this term.
                                                                   4          15.     “Federal Firearms Licenses” or “FFL(s)” means any and all of the FFL licenses
                                                                   5 issued by the ATF. See https://www.atf.gov/resource-center/types-federal-firearms-licenses-ffls.
                                                                   6          16.     “.50 Sniper rifle(s)” or “.50 cal rifle(s)” shall mean any firearm that is designed or

                                                                   7 able to fire a 50-caliber round, including but not limited to Barrett and Browning .50 rifles.
                                                                   8          17.     “Firearm” means any loaded or unloaded handgun, pistol, revolver, rifle, shotgun or

                                                                   9 other weapon that will expel, is designed to expel, or may readily be converted to expel a projectile
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                                                                  10 by the action of an explosive. Firearm does not include a firearm in permanently inoperable
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                                                                  11 condition. See Ariz. Rev. Stat. § 13-3101 (A)(4); see also 18 U.S.C. § 921(a)(3).
                                  Tucson, AZ 85716-5300




                                                                              18.     “Firearm Accessory” or “Firearm Accessories” means any item that is used in
                                                                  12
                                                                       conjunction with or mounted on a firearm but is not essential to the basic function of the firearm,
                                                                  13
                                                                       including but not limited to detachable magazines, holsters, sights, optics, slings, bipods, tactical
                                                                  14
                                                                       flashlights, scopes, magazine loaders, suppressors, silencers, flash hiders, muzzle brakes, shotgun
                                                                  15
                                                                       chokes, rangefinders, shell saddles, pistol grips, hollow buttstocks and foregrips.
                                                                  16
                                                                              19.     “Firearm(s) Training Program(s)” means any educational, training, instructional, or
                                                                  17
                                                                       workshop programs, courses, classes, lessons, demonstrations, or materials that you offer, promote,
                                                                  18
                                                                       provide, or host.
                                                                  19
                                                                              20.     “Form 4473” or “Firearms Transaction Record” shall mean the ATF Form 5300.9
                                                                  20 “Firearms Transaction Record - Over the Counter.”
                                                                  21        21.    “Kitchen Table Dealer” means a pearson who engages in the business of dealing in
                                                                  22 fiararms, ammunition, or firearm accessories, but who does not have a firearms, sporting goods, or
                                                                  23 pawn shop storefront.
                                                                  24          22.     “Loan Prairie” or “The Hub” means Defendant Loan Prairie, LLC, including its

                                                                  25 predecessors, wholly-owned or controlled subsidiaries or affiliates, successors, parents, other
                                                                  26

                                                                           Plaintiff’s First Set of Requests for Production of Documents to All Defendants      4
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                                                                   1
                                                                       subsidiaries, departments, divisions, joint ventures, other affiliates and any organization or entity
                                                                   2 that the Hub manages or controls, including those merged with or acquired, together with all present
                                                                   3 and former directors, officers, employees, agents, attorneys, representatives or any persons acting
                                                                   4 or purporting to act on their behalf.
                                                                   5          23.     “Media Appearance” means any interview, quotation, or appearance on television,
                                                                   6 radio, print media, internet news, blogs, podcasts, or other social media platform.
                                                                   7          24.     “Multiple sale(s)” means the purchase or sale of two or more firearms at the same

                                                                   8 time or within five consecutive business days of each other.
                                                                   9          25.      “Multiple Sales Form(s)” means ATF’s Form 3310.4, the Report of Multiple Sale
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                                                                  10 or Other Disposition of Pistols and Revolvers, or any other document or method used for
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                                                                  11 substantially the same purpose by ATF, by any predecessor organization, or by any Federal, state
                                  Tucson, AZ 85716-5300




                                                                       or local law enforcement agency.
                                                                  12
                                                                              26.      “Multiple Rifle Sales Form” means ATF’s Form 3310.12, the Report of Multiple
                                                                  13
                                                                       Sale or Other Disposition of Certain Rifles, or any other document or method used for substantially
                                                                  14
                                                                       the same purpose by ATF, by any predecessor organization, or by any Federal, state or local law
                                                                  15
                                                                       enforcement agency.
                                                                  16
                                                                              27.      “Person” refers to any individual, corporation, general partnership, limited
                                                                  17
                                                                       partnership, joint venture, association, joint-stock company, trust-incorporated organization,
                                                                  18
                                                                       governmental, legal or political subdivision and any non-natural persons of whatever nature. Any
                                                                  19
                                                                       reference to any individual person, either singularly or as a part of a defined group, includes that
                                                                  20 individual person’s employees, agents, successors, assignees, heirs, and representatives.
                                                                  21        28.      “Repeat Purchase,” “Repeat Customer,” or “Repeat Buyer” shall mean any sale
                                                                  22 made to an individual that has purchased Firearms, Ammunition, and/or Firearm Accessories from
                                                                  23 You on more than one occasion.
                                                                  24          29.     “SnG Tactical” means Defendant SnG Tactical, LLC, including its predecessors,

                                                                  25 wholly-owned or controlled subsidiaries or affiliates, successors, parents, other subsidiaries,
                                                                  26

                                                                           Plaintiff’s First Set of Requests for Production of Documents to All Defendants      5
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                                                                   1
                                                                       departments, divisions, joint ventures, other affiliates and any organization or entity that SnG
                                                                   2 Tactical manages or controls, including those merged with or acquired, together with all present
                                                                   3 and former directors, officers, employees, agents, attorneys, representatives or any persons acting
                                                                   4 or purporting to act on their behalf.
                                                                   5          30.      “Sprague’s Sports” means Defendant Sprague’s Sports, Inc., including its
                                                                   6 predecessors, wholly-owned or controlled subsidiaries or affiliates, successors, parents, other
                                                                   7 subsidiaries, departments, divisions, joint ventures, other affiliates and any organization or entity
                                                                   8 that Sprague’s Sports manages or controls, including those merged with or acquired, together with
                                                                   9 all present and former directors, officers, employees, agents, attorneys, representatives or any
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                                                                  10 persons acting or purporting to act on their behalf.
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                                                                  11          31.      “Store” means any of Your locations where Firearms, Ammunition, and or Firearm
                                  Tucson, AZ 85716-5300




                                                                       Accessories are sold.
                                                                  12
                                                                              32.     “Straw Sale” means any sale of Firearms, Ammunition, and or Firearm Accessories
                                                                  13
                                                                       made to a proxy buyer who intends to transfer the Firearms, Ammunition, and or Firearm
                                                                  14
                                                                       Accessories to another individual.
                                                                  15
                                                                              33.     “Suspect Purchaser(s)” or “Suspect Sale(s)” means individuals or sales to
                                                                  16
                                                                       individuals seeking to purchase firearms, ammunition, or firearm accessories for whom there are
                                                                  17
                                                                       reasonable grounds to suspect they may be a straw purchaser, trafficker, or seeking to buy or posess
                                                                  18
                                                                       a gun illegally, including but not limited to the following indicators: under age; does not provide
                                                                  19
                                                                       identification; provides false identification; not a U.S. citizen; demonstrates lack of experience or
                                                                  20 knowledge handling firearms; engages or attempts to engage in multiple sales, repeat purchases, or
                                                                  21 straw sales; purchases or attempts to purchase assault weapons; or is otherwise interested in buying
                                                                  22 a firearm that appears inappropriate for them.
                                                                  23          34.     “Trafficking” means to sell, transfer, distribute, dispense or otherwise dispose of a
                                                                  24 weapon, firearm or explosive to another person or to buy, receive, possess, or obtain control of a
                                                                  25 weapon, firearm or explosive, with the intent to sell, transfer, distribute, dispense or otherwise
                                                                  26

                                                                           Plaintiff’s First Set of Requests for Production of Documents to All Defendants      6
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                                                                   1
                                                                       dispose of the weapon, firearm or explosive to another person. See Ariz. Rev. Stat. § 13-3101(A)(9).
                                                                   2          35.     “Trace Request” means a written or electronically submitted request to the ATF
                                                                   3 National tracing Center or the ATF International Affairs Division.
                                                                   4          36.     “Trade Association(s)” means any trade association, group, organization, or
                                                                   5 committee, and its members related to firearms, ammunition, or firearm accessories, including but
                                                                   6 not limited to the following organizations and their predecessors and successors: The American
                                                                   7 Shooting Sports Council, Inc. (“ASSC”); The Council to Advance Hunting and the Shooting Sports
                                                                   8 (“CAHSS”); The Hunting and Shooting Sports Heritage Fund (“HSSHF”); The National Alliance
                                                                   9 of Stocking Gun Dealers (“NASGD”); The National Rifle Association (“NRA”); The National
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                                                                  10 Shooting Sports Foundation, Inc. (“NSSF”); The Sporting Arms and Ammunition Manufacturers’
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                                                                  11 Institute (“SAAMI”); Gun Owners of America (“GOA”); Gun Owners Foundation (“GOF”);
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                                                                       Firearms Policy Coalition (“FPC”); The Citizens Committee for the Right to Keep and Bear Arms
                                                                  12
                                                                       (“CCRKBA”); The Second Amendment Foundation (“SAF”); The National Association of Gun
                                                                  13
                                                                       Rights (“NAGR”).
                                                                  14
                                                                              37.     “You” or “Your” means the responding Defendant, including its predecessors,
                                                                  15
                                                                       wholly-owned or controlled subsidiaries or affiliates, successors, parents, other subsidiaries,
                                                                  16
                                                                       departments, divisions, joint ventures, other affiliates and any organization or entity that the
                                                                  17
                                                                       responding Defendant manages or controls, including those merged with or acquired, together with
                                                                  18
                                                                       all present and former directors, officers, employees, agents, attorneys, representatives or any
                                                                  19
                                                                       persons acting or purporting to act on their behalf.
                                                                  20
                                                                                                                INSTRUCTIONS
                                                                  21
                                                                              1.      Pursuant to Rule 34(b)(2)(B), if a responding party objects to a Request, it must
                                                                  22
                                                                       state the ground(s) for each objection with specificity. Further, a responding party must state
                                                                  23
                                                                  24 whether it intends to produce copies of documents or ESI instead of permitting inspection.
                                                                  25
                                                                  26

                                                                           Plaintiff’s First Set of Requests for Production of Documents to All Defendants     7
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                                                                   1          2.     If a responding party believes that any Request or portion thereof is ambiguous or

                                                                   2 otherwise unclear, identify the language that the responding party deems to be ambiguous or
                                                                   3 unclear and explain what construction of the language the responding party used in responding.
                                                                   4 Pursuant to Rule 34(b)(2)(C), an objection must state whether the responding party is withholding
                                                                   5
                                                                       any responsive materials because of an objection.
                                                                   6
                                                                              3.     Whenever a Request asks the responding party to produce a document and the
                                                                   7
                                                                       responding party deems a document to be properly withheld from production, inspection or
                                                                   8
                                                                       copying:
                                                                   9
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                                                                                     a. If a responding party withholds a document under a claim of privilege
                                                                  10                    (including the work product doctrine), the responding party shall provide
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                                                                  11                    the information set forth in Fed. R. Civ. P. 26(b)(5) and applicable case
                                                                                        law. The responding party shall identify i) the type of document, ii) the
                                  Tucson, AZ 85716-5300




                                                                  12                    general subject matter of the document, iii) the date of the document, iv)
                                                                                        the author(s) and recipient(s) of the document, including the
                                                                  13                    identification of counsel, v) such other information sufficient to identify
                                                                                        the document and for the requesting party to assess the claim of
                                                                  14                    privilege, and vi) the express ground(s) for withholding the document
                                                                                        from privilege or redacting a portion of the document.
                                                                  15
                                                                                     b. For electronically stored information (ESI), a privilege log (in searchable
                                                                  16                    and sortable form, such as a spreadsheet, matrix or table) generated by
                                                                  17                    litigation review software, containing metadata fields that generally
                                                                                        correspond to the standards for a privilege log, is permissible.
                                                                  18
                                                                                     c. If a responding party withholds production on the basis that ESI is not
                                                                  19                    reasonably accessible because of undue burden or cost, the responding
                                                                                        party shall provide the information with particularity on which it relies
                                                                  20                    to support that contention.
                                                                  21          4.     When a document contains both privileged and non-privileged material, the non-
                                                                  22 privileged material must be disclosed to the fullest extent possible without thereby disclosing the
                                                                  23
                                                                       privileged material. If a privilege is asserted with regard to part of the material contained in a
                                                                  24
                                                                       document, the party claiming the privilege must clearly indicate the portions as to which the
                                                                  25
                                                                       privilege is claimed. When a document has been redacted or altered in any fashion, identify as to
                                                                  26

                                                                           Plaintiff’s First Set of Requests for Production of Documents to All Defendants    8
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                                                                   1 each document the reason for the redaction or alteration, the date of the redaction or alteration, and
                                                                   2 the person performing the redaction or alteration. Any redaction must be clearly visible on the
                                                                   3 redacted document.
                                                                   4          5.      These Document Requests extend to all information within Your possession,
                                                                   5
                                                                       custody, or control, or the possession, custody, or control of those acting at Your direction or on
                                                                   6
                                                                       Your behalf, including agents, representatives, accountants, and outside counsel, their firms, and
                                                                   7
                                                                       their successors.
                                                                   8
                                                                              6.      You are to produce entire documents including all attachments, cover letters,
                                                                   9
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                                                                       memoranda, and appendices, as well as the file, folder tabs, and labels appended to or containing
                                                                  10
                            2525 East Broadway Blvd., Suite 200




                                                                  11 any documents. Copies which differ in any respect from an original (because, by way of example
                                  Tucson, AZ 85716-5300




                                                                  12 only, handwritten or printed notations have been added) should be produced separately.
                                                                  13          7.      Requests for a document include requests for any prior drafts or versions of

                                                                  14 that document, and all such drafts or versions shall be produced.
                                                                  15          8.      If, in answering these Requests, the responding party produces or provides
                                                                  16 spreadsheets, the responding party shall also provide a key or otherwise provide an explanation of
                                                                  17
                                                                       the meaning of column headings, acronyms, abbreviations, etc. that are necessary to interpret the
                                                                  18
                                                                       content of the spreadsheet.
                                                                  19
                                                                              9.      If any document, or any part of a document, called for by this request has been
                                                                  20
                                                                       destroyed, discarded, lost, or otherwise disposed of or placed beyond Your custody or control, You
                                                                  21
                                                                       shall furnish a list setting forth as to each such document:
                                                                  22
                                                                  23                  a. the identity of the authors or preparers of the document:
                                                                                      b. the identity, address, and phone numbers of every person who received,
                                                                  24                     read, or viewed the document;
                                                                                      c. the date, if any, which the document bears;
                                                                  25                  d. the specific subject matters of the document and the title, if any, which
                                                                                         the document bears;
                                                                  26

                                                                           Plaintiff’s First Set of Requests for Production of Documents to All Defendants     9
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                                                                   1                  e.    the date of destruction or other disposition of the document;
                                                                                      f.   the reasons for the document’s Destruction or other disposition:
                                                                   2                  g.   the persons authorizing destruction or other disposition of the document;
                                                                                      h.   the persons destroying or disposing of the document; and
                                                                   3                  i.   the paragraphs of this request which call for the production of the
                                                                                           document.
                                                                   4
                                                                   5          10.     Unless otherwise agreed to in writing, and pursuant to Fed. R. Civ. P. 34(b),

                                                                   6 You should produce all electronically-stored Documents in native, electronic, machine-
                                                                   7 readable, text-searchable form, with the integrity of the underlying electronically-stored
                                                                   8 information preserved, including but not limited to the original formatting, all metadata (including
                                                                   9 but not limited to all available date fields, family relationship information, file name, subject, all
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                                                                  10 senders and recipients, and attachment information), and, where applicable, the revision history
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                                                                  11
                                                                              11.     If You object to any part of a Request, set forth the basis for Your objection and
                                  Tucson, AZ 85716-5300




                                                                  12
                                                                       respond to all parts of the Request to which You do not object.
                                                                  13
                                                                              12.     Each Request is propounded separately upon each named Defendant and requires a
                                                                  14
                                                                       separate response from each Defendant.
                                                                  15
                                                                              13.     These requests are continuing, and any document discovered or obtained after the
                                                                  16
                                                                  17 service of these requests is to be produced promptly after it is discovered or obtained.
                                                                  18 Each supplemental response shall be served on Plaintiff no later than thirty (30) days after
                                                                  19 the discovery of the additional information.
                                                                  20          14.     The Relevant Time Period for all requests is January 1, 2010 to the present unless
                                                                  21 otherwise stated.
                                                                  22                                    REQUEST FOR PRODUCTION
                                                                  23
                                                                       Consistent with Fed. R. Civ. P. 34, You are required to produce the following documents:
                                                                  24
                                                                       REQUEST NO. 1:
                                                                  25
                                                                       Your organizational charts, employee lists, personnel directories, telephone directories, and
                                                                  26

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                                                                   1 electronic mail user and address lists sufficient to show all personnel, including their jobs or titles
                                                                       and any contact information.
                                                                   2
                                                                       REQUEST NO. 2:
                                                                   3
                                                                     All documents relating to recording and tracking Your firearm, ammunition, and/or firearm
                                                                   4 accessory sales, which were kept and/or maintained by You during the Relevant Time Period,
                                                                     including but not limited to: (i) A & D books; (ii) records of sale; and (iii) any computerized,
                                                                   5 accounting or other system that contains the requested information.
                                                                   6 REQUEST NO. 3:
                                                                   7
                                                                     All documents relating to recording and tracking Your firearm, ammunition, and/or firearm
                                                                   8 purchases, which were kept and/or maintained by You during the Relevant Time Period, including
                                                                     but not limited to: (i) A& D books; (ii) invoices; (iii) weekly, monthly, or annual purchase
                                                                   9 summaries; (iv) records of purchase; and (v) contracts with manufacturers, distributors, or dealers,
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                                                                     and (vi) any computerized, accounting or other system that contains the requested information.
                                                                  10
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                                                                       REQUEST NO. 4:
                                                                  11
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                                                                       Electronically stored information in a tab-, comma-, or semicolon-delimited ASCII flat text file or
                                                                  12 similar electronic format sufficient to identify all of Your sales of firearms, ammunition, and
                                                                  13 firearm accessories during the Relevant Time Period in a transaction-by-transaction format,
                                                                     including but not limited to: (i) time of sale; (ii) date of sale; (iii) location of sale; (iv) employee
                                                                  14 that made the sale; (v) age, gender, occupation, nationality, and residence of purchaser; (vi) amount
                                                                     of ammunition sold; (vii) number of firearms sold; (viii) caliber and manufacturer, model, and type
                                                                  15 (e.g., handgun, rifle shotgun, semi-automatic) of each firearm sold; (ix) serial number of each
                                                                     firearm sold; (x) price of firearm and ammunition sold; (xi) any other identifying information
                                                                  16 related to the purchaser; (xii) information related to purchaser’s criminal history or background
                                                                     check; (xiii) any other information related to the product sold.
                                                                  17
                                                                       REQUEST NO. 5:
                                                                  18
                                                                  19 Electronically stored information in a tab-, comma-, or semicolon-delimited ASCII flat text file or
                                                                       similar electronic format sufficient to identify all of Your purchases of firearms, ammunition, and
                                                                  20   firearm accessories during the Relevant Time Period in a transaction-by-transaction format,
                                                                       including but not limited to: (i) time of purchase; (ii) date of purchase; (iii) manufacturer,
                                                                  21   distributor, or other entity You purchased from; (iv) amount of ammunition purchased; (v) number
                                                                       of firearms purchased; (vi) caliber and manufacturer, model, and type (e.g., handgun, rifle shotgun,
                                                                  22   semi-automatic) of each firearm purchased; (vii) serial number of each firearm purchased; (viii)
                                                                       price of firearm and ammunition purchased; (ix) any other identifying information related to the
                                                                  23   seller; (x) any other information related to the product purchased.
                                                                  24 REQUEST NO. 6:
                                                                  25
                                                                       All Firearm Transaction Records (ATF Form 4473’s) for all Firearms listed on the attached Exhibit
                                                                  26

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                                                                   1 (Exhibit A).
                                                                   2 REQUEST NO. 7:
                                                                   3 All Multiple Sales Forms (ATF Form 3310.4) drafted or submitted during the Relevant Time
                                                                       Period.
                                                                   4
                                                                   5 REQUEST NO. 8:
                                                                   6 All Rifle Sales Forms (ATF Form 3310.12) drafted or submitted during the Relevant Time Period.
                                                                   7 REQUEST NO. 9:
                                                                   8 All documents reflecting the multiple sale of firearms or ammunition not recorded on ATF Forms
                                                                       3310.4 or 3310.12.
                                                                   9
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                                                                       REQUEST NO. 10:
                                                                  10
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                                                                  11 All documents and communications related to the firearm sales identified in Exhibit A or any other
                                                                     suspect sales, straw sales, multiple sales, repeat purchases, sales of assault weapons, .50 cal rifles,
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                                                                  12 belt-fed firearms sold or transferred by You or any Defendant in this litigation, including but not
                                                                     limited to all records of such sales, background checks related to such sales, identification
                                                                  13 information related to the purchaser, any other information related to the purchaser, and any paper
                                                                     or electronic notes related to such sales.
                                                                  14
                                                                       REQUEST NO. 11:
                                                                  15
                                                                       All video and audio recordings of activity within or outside of Your store showing employees or
                                                                  16 purchasers, including audio or video recordings involving suspect sales, straw sales, multiple sales,
                                                                  17 repeat purchases, sales of assault weapons, .50 cal rifles, or belt-fed firearms, including all video
                                                                     and/or audio recordings on the dates of purchase identified in Exhibit A and sales of firearms that
                                                                  18 were later traced or the subject of criminal proceedings.

                                                                  19 REQUEST NO. 12:
                                                                  20 Documents sufficient to show the existence and availability of video or audio surveillance systems
                                                                       (including cameras or any other recording devices) operable in or around Your stores, when such
                                                                  21 systems were installed, where they were installed, why they were installed, and policies related to
                                                                       recording such video or audio and retaining such recordings.
                                                                  22
                                                                  23 REQUEST NO. 13:
                                                                  24 All documents related to any firearms, ammunition, and or firearm accessories sold or transferred
                                                                       by You for which You know or have reason to believe have been (i) used, recovered, and/or
                                                                  25 investigated by law enforcement in connection with an alleged crime or unauthorized use; (ii) the
                                                                       subject of a trace, or (iii) otherwise recovered by law enforcement, including but not limited to
                                                                  26

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                                                                   1 trace requests and responses and firearms trafficking or straw purchasing investigations or
                                                                       prosecutions
                                                                   2
                                                                       REQUEST NO. 14:
                                                                   3
                                                                       Documents sufficient to show the identities of Your employees or people You contracted with or
                                                                   4 retained to sell or purchase firearms during the Relevant Time Period.
                                                                   5
                                                                       REQUEST NO. 15:
                                                                   6
                                                                       All documents concerning employees who participated in or were present at (a) the sale of any
                                                                   7 firearm for which You received a Trace Request, (b) the sale of any firearm to a person who was
                                                                       charged with violations of firearms laws, or (c) the sale of any firearm to any of the purchasers
                                                                   8 identified in Exhibit A, including, but not limited to all employment records, human resources
                                                                       records, personnel records (including employment applications, references), disciplinary records,
                                                                   9 job titles and responsibilities, training documents and records reflecting or concerning any training
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                                                                       You provided to those employees, including training module worksheets and signed employee
                                                                  10 handbooks pages.
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                                                                  11
                                                                       REQUEST NO. 16:
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                                                                  12
                                                                       Documents relating to the identity, location, and responsibilities of Your employees working on
                                                                  13 the dates identified in Exhibit A, including but not limited to time sheets, time records, shift tables,
                                                                       staffing assignments or other scheduling documents, and documents identifying their job titles
                                                                  14 and/or responsibilities.
                                                                  15 REQUEST NO. 17:
                                                                  16 All documents related to any disciplinary actions or investigations for employees involved with the
                                                                  17 sale of firearms, firearm accessories, and/ or ammunition.
                                                                  18 REQUEST NO. 18:
                                                                  19 All documents related to crime, violence or criminal activity in Mexico, including but not limited
                                                                       to the problem of firearms being purchased in the U.S. and trafficked or transferred to cartels and
                                                                  20 others in Mexico.
                                                                  21 REQUEST NO. 19:
                                                                  22 All documents relating to suspect sales, straw sales, multiple sales, repeat purchases, sales of assault
                                                                       weapons, .50 cal rifles, belt-fed firearms, or the unlawful sale of, diversion of, or trafficking of
                                                                  23 firearms, the harms caused by such sales and how to identify, report, or mitigate such sales,
                                                                       including but not limited to: (i) any such information received from or sent or issued by a firearms
                                                                  24 manufacturer, dealer, distributor, trade association, or law enforcement; (ii) any such information
                                                                       obtained or prepared by You; and (iii) any such information received from or sent or issued by
                                                                  25 government or law enforcement, such as ATF, DOJ, or state or local police departments.
                                                                  26

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                                                                   1 REQUEST NO. 20:
                                                                   2 All documents relating to the risks that firearms, ammunition, firearm accessories, assault weapons,
                                                                       .50 cal rifles, or belt-fed firearms, may be obtained by criminals, in the United States, Mexico, or
                                                                   3 another country, and how to prevent or minimize those risks, including but not limited to: (i) any
                                                                       such information received from or sent or issued by a firearms manufacturer, dealer, distributor,
                                                                   4 trade association, or law enforcement; (ii) any such information obtained or prepared by You; and
                                                                   5 (iii) any such information received from or sent or issued by government or law enforcement, such
                                                                       as ATF, DOJ, or state or local police departments.
                                                                   6
                                                                       REQUEST NO. 21:
                                                                   7
                                                                       All documents related to the sale of firearms sent to or received from other Defendants in this case,
                                                                   8 manufacturers, dealers, distributors, trade associations, or other firearms organizations, including
                                                                       marketing or promotional materials and manuals.
                                                                   9
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                                                                       REQUEST NO. 22:
                                                                  10
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                                                                  11 All documents related to law enforcement actions, including but not limited to documents relating
                                                                     to: (i) ATF audits; (ii) ATF inspections; (iii) ATF citations or violations; (iv) ATF demand and
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                                                                  12 warning letters; (v) ATF revocation letters and materials; (vi) materials from ATF meetings and
                                                                     conferences; (vii) materials relating to criminal investigations or prosecutions, including gun
                                                                  13 trafficking; (viii) the ATF Demand 2 program; (ix) as well as communications among You, Your
                                                                     employees, law enforcement, trade associations, or Defendants related to the same.
                                                                  14
                                                                       REQUEST NO. 23:
                                                                  15
                                                                       All documents related to actual or potential contacts or communications with any law enforcement,
                                                                  16 regulatory, or other government agencies relating to the sale of firearms, ammunitions, or firearm
                                                                  17 accessories, including, but not limited to (i) the ATF; (ii) the United States Federal Bureau of
                                                                     Investigation; (iii) Arizona Department of Public Safety; (iv) the Tucson Police Department; (v) the
                                                                  18 Phoenix Police Department; or (vi) the Yuma Police Department.
                                                                  19 REQUEST NO. 24:
                                                                  20 All documents and records that You have received or sent to the ATF, any sheriff’s office, and/or other
                                                                       state or federal regulatory agencies related to Your federal firearms license(s) or firearms business,
                                                                  21 including but not limited to: (i) state and federal licenses to sell firearms, firearm accessories and
                                                                       ammunition at Your store location including but not limited to applications, renewals and
                                                                  22 supporting documents; (ii) all records, citations, warning letters, reports, inspection reports, corrective
                                                                  23 actions or other documents issued or provided to You, including any actual or threatened
                                                                     suspension, revocation, or surrender of Your federal firearms licenses; (iii) documents relating to
                                                                  24 any actual or threatened investigation, in addition to any indictment, arrest, or conviction of an
                                                                     employee or agent of Your store for violation of a law or regulation relating to firearms, ammunition,
                                                                  25 and or/firearm accessory sales; and (iv) documents and trace requests concerning firearms,
                                                                     ammunition, or firearm accessories sold by Your store.
                                                                  26

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                                                                   1
                                                                       REQUEST NO. 25:
                                                                   2
                                                                       All documents related to any sanction, discipline, condition or restriction imposed on You by a
                                                                   3 distributor or manufacturer, including any documents relating to any investigation that could
                                                                       result in such action or any consideration, discussion or decision about the possibility of such
                                                                   4 action.
                                                                   5
                                                                       REQUEST NO. 26:
                                                                   6
                                                                       All documents related to any Defendant’s membership in any trade association.
                                                                   7
                                                                       REQUEST NO. 27:
                                                                   8
                                                                       All comprehensive general liability and/or property insurance policies, including any declaration
                                                                   9 pages for the insurance policies.
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                                                                  10 REQUEST NO. 28:
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                                                                  11 All documents related to Your financial and operating results, including but not limited to: (i)
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                                                                     documents demonstrating Your overall sales, expenses and profits attributed to the sale of firearms,
                                                                  12
                                                                     firearm accessories and ammunition; (ii) documents sufficient to identify Your retail sales; (iii)
                                                                  13 Your financial and operating results for firearms and ammunition; (iv) balance sheets; (v) profits
                                                                     and loss statements, and (vi) state and federal tax returns.
                                                                  14
                                                                       REQUEST NO. 29:
                                                                  15
                                                                       All documents which show Your organizational or business structure and ownership, including that
                                                                  16 of Your subsidiaries, affiliates, or corporate parent(s). This includes, but is not limited to,
                                                                       certificates of incorporation, bylaws, shareholders’ agreements, formation certificates, partnership
                                                                  17 agreements, and operating agreements. The Relevant Time Period does not apply to this request.
                                                                  18
                                                                       REQUEST NO. 30:
                                                                  19
                                                                       All documents related to policies, guidelines, standards, protocols, practices, handbooks, or training
                                                                  20   materials concerning the sale of firearms, firearm accessories, and/or ammunition at Your store,
                                                                       including (i) Your Employee Handbook or any other employee manual(s) in effect or used to train
                                                                  21   employees; (ii) all training videos, power-points, work sheets, or other documents or audiovisual
                                                                       used to train employees that sell firearms, firearm accessories, or ammunition; (iii) all resources
                                                                  22   available to employees who sell firearms, firearm accessories, or ammunition created by trade
                                                                       associations, firearm manufacturers, ammunition manufactures, other dealers, or law enforcement
                                                                  23   authorities (including but not limited to ATF, FBI or any other law enforcement agency).
                                                                  24
                                                                       REQUEST NO. 31:
                                                                  25
                                                                  26

                                                                           Plaintiff’s First Set of Requests for Production of Documents to All Defendants      15
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                                                                   1 All documents related to the detection of, prevention of, identification of, reporting of, or potential
                                                                       or actual consequences related to: suspect sales, straw sales, multiple sales, repeat purchases, sales
                                                                   2 of assault weapons, .50 cal rifles, or belt-fed firearms, trafficking, and/or kitchen table dealers.
                                                                   3 REQUEST NO. 32:
                                                                   4 All documents concerning any formal or informal policy relating to working with or cooperating
                                                                   5 with law enforcement or reporting suspicious activity to any law enforcement agency.
                                                                   6 REQUEST NO. 33:
                                                                   7 All documents relating to marketing, advertising, promoting, and public statements related to Your
                                                                       sale of firearms, ammunitions, firearm accessories, and firearm training programs, including but not
                                                                   8 limited to: flyers, catalogs, mailers, press releases, public statements, and postings on all social
                                                                       media sites, websites, internet sites, including but not limited to Google, Facebook, X (formerly
                                                                   9 Twitter), YouTube, Instagram, TikTok, Snapchat, Reddit, 4chan, and Discord.
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                                                                  10 REQUEST NO. 34:
                            2525 East Broadway Blvd., Suite 200




                                                                  11
                                                                     Any document relating to a media appearance by You related to Your sale of firearms,
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                                                                  12 ammunitions, firearm accessories, or firearm training programs, including documents and
                                                                     communications prepared or exchanged in preparation for those appearances.
                                                                  13
                                                                       REQUEST NO. 35:
                                                                  14
                                                                       All documents related to any national or state laws, statutes, regulations, or executive orders related
                                                                  15 to the sale of firearms, ammunition, or firearm accessories and related court orders or opinions,
                                                                       including documents related to compliance with those laws, statutes, regulations, executive orders
                                                                  16 court orders, or court opinions.
                                                                  17
                                                                       REQUEST NO. 36:
                                                                  18
                                                                       All documents posted visibly at Your store throughout the Relevant Time Period providing
                                                                  19 warnings or notice to potential customers regarding any and all requirements to purchase firearms,
                                                                       ammunition, or firearm accessories.
                                                                  20
                                                                       REQUEST NO. 37:
                                                                  21
                                                                       All documents produced to or received from any party or non-party related to or in connection with
                                                                  22 this action. This request is not limited in time.
                                                                  23
                                                                       REQUEST NO. 38:
                                                                  24
                                                                       All documents that You contend support any claim or defense asserted in this litigation.
                                                                  25
                                                                       REQUEST NO. 39:
                                                                  26

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                                                                  1
                                                                       All documents that relate to Your document control, retention, and/or storage policies, including
                                                                  2 but not limited to documents sufficient to show Your document destruction, retention or archiving
                                                                       policies and practices and any changes in such policies or practices during the Relevant Time
                                                                  3 Period.
                                                                  4 REQUEST NO. 40:
                                                                  5
                                                                    All non-privileged documents Your expert witnesses reviewed or relied upon, or will review or
                                                                  6 rely upon, in preparing expert reports for this action.
                                                                  7 REQUEST NO. 41:
                                                                  8 All documents and materials use to draft or prepare Your Rule 26(f) Initial Disclosures and any
                                                                       supplements thereto.
                                                                  9
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                                                                  10
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                                                                                                                   DECONCINI MCDONALD YETWIN & LACY, P.C.
                                                                  11
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                                                                  12                                               By: /s/Ryan O’Neal
                                                                                                                        Ryan O'Neal
                                                                  13                                                    2525 E. Broadway Blvd., Suite 200
                                                                                                                        Tucson, AZ 85716-5300
                                                                  14                                                    Attorneys for Plaintiff

                                                                  15
                                                                        /s/ Steve D. Shadowen                              /s/ Jonathan E. Lowy
                                                                  16    Steve D. Shadowen (pro hac vice)                   Jonathan E. Lowy (pro hac vice)
                                                                        Tina J. Miranda (pro hac vice)                     Global Action on Gun Violence
                                                                  17    Nicholas W. Shadowen (pro hac vice)                805 15th Street NW
                                                                        SHADOWEN PLLC                                      #601
                                                                  18    1135 W. 6th Street, Suite 125                      Washington, DC 20005
                                                                        Austin, TX 78703                                   Phone: (202) 415-0691
                                                                  19
                                                                        Phone: 855-344-3298                                jlowy@actiononguns.org
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                                                                        tmiranda@shadowenpllc.com
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            Plaintiffs’ First Set of Requests for Production of Documents to All Defendants
                                                Exhibit A 1


 Date of Sale     Defendant          Buyer                    Items Purchased
 1/16/2018        Ammo AZ            Jose Montoya             Century Arm AK63DS rifle
                                     Yibran Lopez-
 4/16/2019        Ammo AZ                                     FN M249S 5.56 caliber rifle
                                     Rosales
 7/2/2019         Ammo AZ            Francisco Dario Mora Glock pistol
 7/2/2019         Ammo AZ            Pedro Adan Sevilla   Century Arms Micro Draco pistol
                                                          CM Micro Draco pistol; American
 7/17/2019        Ammo AZ            Francisco Dario Mora Tactical Imports (ATI) Omni Hybrid
                                                          5.56 pistol
                                                          CM Micro Draco; Glock pistol; ATI
 7/17/2019        Ammo AZ            Pedro Adan Sevilla
                                                          pistol
                                                          Pioneer Arms Corp. Hellpup 7.62 x
                                                          39mm caliber pistol; Pioneer Arms
 8/7/2019         Ammo AZ            Francisco Dario Mora Corp. Hellpup 7.62 x 39mm caliber
                                                          pistol; Pioneer Arms Corp. Hellpup 7.62
                                                          x 39mm caliber pistol
                                                          Pioneer Arms Corp. Hellpup 7.62 x
                                                          39mm caliber pistol; Pioneer Arms
 8/7/2019         Ammo AZ            Pedro Adan Sevilla   Corp. Hellpup 7.62 x 39mm caliber
                                                          pistol; Pioneer Arms Corp. Hellpup 7.62
                                                          x 39mm caliber pistol
                                                          Pistol (unknown type); Pistol (unknown
 8/13/2019        Ammo AZ            Pedro Adan Sevilla
                                                          type); Pistol (unknown type)
                                     Yibran Lopez-
 8/28/2019        Ammo AZ                                 Barrett M82A1 .50 caliber BMG rifle
                                     Rosales
 5/12/2022        Ammo AZ            Nicolas Carrillo
 5/23/2022        Ammo AZ            Nicolas Carrillo
                                     Moses Jonathan
 6/18/2022        Ammo AZ
                                     Castrillo
                                     Moses Jonathan
 6/21/2022        Ammo AZ
                                     Castrillo
                                     Moses Jonathan
 7/9/2022         Ammo AZ
                                     Castrillo
 7/12/2022        Ammo AZ            Nicolas Carrillo
                                     Molly Victoria
 9/19/2022        Ammo AZ
                                     Pfeifer
                                     Zhylaia Ra-Asia
 10/26/2022       Ammo AZ
                                     Edwards

 1
   Exhibit A should not be construed as a comprehensive list of Defendants’ multiple sales, straw sales,
suspect sales, or otherwise unlawful sales of firearms.
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                               Christopher Mateo
2022         Ammo AZ
                               Taylor
2022         Ammo AZ           Nicolas Carrillo
1/6/2023     Ammo AZ           Dionte Jaquan Miller
                                                       Taurus G3C 9mm pistol; (Serial
                                                       Number ADD161534); Taurus G2S
1/18/2023    Ammo AZ           Jessica Lynn Cooper
                                                       9mm pistol; (Serial Number
                                                       ADN050214)
3/17/2023    Ammo AZ           Dionte Jaquan Miller
                                                       Glock Model 19 pistol; Glock Model 19
                               Fidel Abraham
5/9/2023     Ammo AZ                                   pistol; Glock Model 19 pistol; Glock
                               Guzman
                                                       Model 19 pistol;
                               Fidel Abraham
5/31/2023    Ammo AZ
                               Guzman
                               Fidel Abraham
6/1/2023     Ammo AZ
                               Guzman
6/1/2023     Ammo AZ           Israel Diaz-Guzman
                               Edgar Jesus Ruiz-
2022-2023    Ammo AZ
                               Alvarado
06/27/22-                      Roberto Juan            Up to 26 firearm purchases at Ammo
             Ammo AZ
05/24/23                       Mariscal                AZ
                                                       Century Arms 7.62x39mm rifle;
10/1/2018    Diamondback       Denise Faye Burress     Romarm Cugir WASR10; 7.62x39mm
                                                       rifle
                               Jesse Cortez-
1/23/2019    Diamondback                               1,000 rounds of 10mm; ammunition
                               Arguelles
1/23/2019    Diamondback       Leonid Cornejo          1,030 rounds of 9mm; ammunition
                                                       Browning Buckmark .22 caliber Pistol;
2/20/2019    Diamondback       Daniel Pacheco
                                                       Ruger LCP .380 caliber pistol
6/16/2019    Diamondback       Francisco Dario Mora    20 Croatian 30-round magazines
                                                       Century Arms Draco 7.62x39mm;
7/19/2019    Diamondback       Pedro Adan Sevilla
                                                       caliber pistol
                                                       CM Draco 7.62x39mm caliber Pistol;
                                                       AK-47 assault rifle; 10 Colt AR-15 30-
8/4/2019     Diamondback       Francisco Dario Mora
                                                       round; Magazines; 75-round drum
                                                       magazine
8/5/2019     Diamondback       Francisco Dario Mora    30 Croatian AK-47 30-round magazines
8/10/2019    Diamondback       Kaleb Jacob Valencia    Ruger AR-556 5.56 rifle
                                                       CM Micro Draco 7.62x39mm caliber
8/17/2019    Diamondback       Francisco Dario Mora
                                                       pistol
10/10/2019   Diamondback       Kyle Rene Fazlollah     Century Arms VSKA; 7.62x39mm rifle
                               Fernando Palomares,     DPMS A15 5.56mm rifle; Riley
10/24/2019   Diamondback
                               Jr.                     Defense RAK47; 7.62x39mm rifle
1/30/2020    Diamondback       Kaleb Jacob Valencia    Del-Ton DTI-15 5.56 rifle
2/1/2020     Diamondback       Kaleb Jacob Valencia    Glock 17 Gen5 9mm pistol
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3/1/2022     Diamondback         Carlos Abel Cruz        Glock 22 .40 caliber pistol
                                 Luis Fernando Cruz-
3/1/2022     Diamondback                                 Glock 17 9mm caliber pistol
                                 Valenzuela
             Diamondback,
2019-2020    SnG Tactical, The   Victor Coronado
             Hub
             Diamondback,
2021         SnG Tactical, The   Kaleb Jacob Valencia
             Hub
2022         SnG Tactical        Julian Canastillo
5/6/2017     SnG Tactical        Isaias Delgado          Century RAS 7.62 caliber rifle
1/21/2018    SnG Tactical        Jose Montoya            Century Arms AK63DS rifle
9/18/2018    SnG Tactical        Michael Anthony         Century Arms RAS47; 7.62x39mm
                                 Sweigart                rifle; Century Arms RAS47;
                                                         7.62x39mm rifle; Century Arms
                                                         RAS47; 7.62x39mm rifle
                                                         Century Arms RAS47; 7.62x39mm
                                 Michael Anthony
9/19/2018    SnG Tactical                                rifle; Romarm Cugir WASR10;
                                 Sweigart
                                                         7.62x39mm rifle
                                                         Century Arms RAS47; 7.62x39mm
                                 Michael Anthony
9/25/2018    SnG Tactical                                rifle; Century Arms RAS47;
                                 Sweigart
                                                         7.62x39mm rifle
                                                         Century Arms RAS47; 7.62x39mm
9/28/2018    SnG Tactical        Denise Faye Burress     rifle; Century Arms RAS47;
                                                         7.62x39mm rifle
                                                         Century Arms RAS47; 7.62x39mm
10/5/2018    SnG Tactical        Tamra Michelle Potts    rifle; Century Arms RAS47;
                                                         7.62x39mm rifle
10/26/2018   SnG Tactical        Isaias Delgado          Beretta pistol
10/27/2018   SnG Tactical        Isaias Delgado          Smith & Wesson pistol
                                                         Smith & Wesson SD 9mm caliber
                                                         pistol; Smith & Wesson SD 9mm
12/17/2018   SnG Tactical        Isaias Delgado
                                                         caliber pistol; Smith & Wesson SD .40
                                                         caliber pistol
12/20/2018   SnG Tactical        Isaias Delgado          Romarm WASR-10
                                                         Barrett .50 caliber rifle; Smith &
2/19/2019    SnG Tactical        Isaias Delgado
                                                         Wesson 9mm pistol
2/24/2019    SnG Tactical        Isaias Delgado          Beowulf .50 caliber rifle
                                                         Multicaliber receiver; Multicaliber
3/5/2019     SnG Tactical        Isaias Delgado
                                                         receiver
                                                         Barrett .50 caliber BMG rifle; FN
3/7/2019     SnG Tactical        Isaias Delgado
                                                         Model M249
                                                         Beretta 9mm pistol; Diamondback
3/15/2019    SnG Tactical        Isaias Delgado
                                                         5.56mm rifle
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                                                    Diamondback DB-15 5.56 NATO
3/28/2019    SnG Tactical     Isaias Delgado
                                                    caliber rifle
7/19/2019    SnG Tactical     Francisco Dario Mora AK-47 style pistol; AK-47 style pistol
7/19/2019    SnG Tactical     Pedro Adan Sevilla    AK-47 style pistol; AK-47 style pistol
                                                    Zastava ZPA P92 7.62x39mm caliber
8/23/2019    SnG Tactical     Francisco Dario Mora pistol; Pioneer Arms Corp. Hellpop
                                                    7.62x39mm caliber pistol
                                                    Radom/Pioneer Arms Sporter
                              Fernando Palomares,
11/27/2019   SnG Tactical                           7.62x39mm rifle; Romarm/Cugir
                              Jr.
                                                    WASR; 7.62x39mm rifle
                                                    Century Arms VSKA; 7.62x39mm rifle;
                              Fernando Palomares,
1/24/2020    SnG Tactical                           Radom/Pioneer Arms Sporter
                              Jr.
                                                    7.62x39mm rifle
                                                    Radom/Pioneer Arms Sporter
1/24/2020    SnG Tactical     Kyle Rene Fazlollah   7.62x39mm rifle; Radom/Pioneer Arms
                                                    Sporter 7.62x39mm rifle
                                                    Century Arms-Romarm; WASR10 7.62
2/3/2020     SnG Tactical     Jose Gilberto Inzunza
                                                    rifle
                                                    Century Arms-Romarm; WASR10 7.62
2/4/2020     SnG Tactical     Kaleb Jacob Valencia
                                                    rifle
                                                    Century Arms-Romarm Mini Draco
2/6/2020     SnG Tactical     Kaleb Jacob Valencia
                                                    7.62 pistol
                                                    FA Cugir M&M Inc. M10-762
2/15/2020    SnG Tactical     Elizar Olivares       7.62x39mm rifle; Century Arms
                                                    M70AB2; 7.62x39mm rifle
                                                    Century Arms M70AB2; 7.62x39mm
                              Fernando Palomares,
2/16/2020    SnG Tactical                           rifle; Century Arms M70AB2;
                              Jr.
                                                    7.62x39mm rifle
4/18/2020    SnG Tactical     Ray Alberto Laborin Sig Sauer P320 9mm pistol
                                                    FA Cugir M&M Inc. M10-762
6/4/2020     SnG Tactical     Kyle Rene Fazlollah
                                                    7.62x39mm rifle
                                                    Century Arms, model VSKA, 7.62 x
                              Williams Mora
11/6/2021    SnG Tactical                           39mm caliber rifle; Century Arms,
                              Bustamante
                                                    model VSKA, 7.62 x 39mm caliber rifle
11/20/2021   SnG Tactical     Richardo Caro         FN SCAR17s .308 caliber rifle
                              Williams Mora
12/22/2021   SnG Tactical                           Glock, model 17 Gen 5, 9mm pistol
                              Bustamante
1/18/2022    SnG Tactical     Nicolas Meraz         Glock pistol; Glock pistol; Glock pistol;
                              Luis Fernando Cruz-
2/3/2022     SnG Tactical                           Glock 22 Gen 5 .40 caliber pistol
                              Valenzuela
                                                    Pioneer Arms Hellpup; 7.62x39mm
3/15/2022    SnG Tactical     Omar Trujillo         pistol; Zastava ZPAP M70 7.62x39mm
                                                    rifle
3/18/2022    SnG Tactical     Nicolas Meraz         Glock pistol
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                                                     Century Arms VSKA; 7.62x39mm rifle;
                                                     Radom/Pioneer Arms Sporter
4/18/2022    SnG Tactical       Omar Trujillo        7.62x39mm rifle; Century Arms VSKA;
                                                     7.62x39mm rifle; Glock 19X 9mm
                                                     pistol
                                                     Pioneer Arms Sporter 7.62 x 39 mm
7/6/2022     SnG Tactical       Richard Tuccio       semi-automatic rifle (Serial Number
                                                     PAC1175317)
                                                     Century Arms BFT 47 7.62 x 39 mm
8/13/2022    SnG Tactical       Richard Tuccio       semi-automatic rifle (Serial Number
                                                     BFT47008849)
                                                     Pioneer model Sporter 7.62 x 39 mm
                                                     semi-automatic rifle (Serial Number
2022         SnG Tactical       Robert Valdez Jr.    PAC1172610); Century Arms model
                                                     BFT 47 7.62 x 39 mm semi-automatic
                                                     rifle (Serial Number BFT47006741)
                                Cesar Reynaldo       Century Arms, model VSKA, 762 x 39
7/27/2023    SnG Tactical
                                Peralta              caliber rifle
                                Daniel Langstaff
5/24/2018    Sprague’s Sports                        Glock pistol; Glock pistol
                                Mirazo
                                Daniel Langstaff
7/27/2018    Sprague’s Sports                        Century Arms rifle
                                Mirazo
                                Daniel Langstaff
8/31/2018    Sprague’s Sports                        IWI rifle
                                Mirazo
                                Juan Rafael
9/20/2018    Sprague’s Sports
                                Castaneda, Jr.
                                Daniel Langstaff
9/22/2018    Sprague’s Sports                        Barrett .50 caliber rifle
                                Mirazo
                                Daniel Langstaff
9/22/2018    Sprague’s Sports                        Inland rifle
                                Mirazo
                                Juan Rafael          Century Arms AK-47 rifle; Beretta
10/2/2018    Sprague’s Sports
                                Castaneda, Jr.       A300 12-gauge shotgun
                                Daniel Langstaff
10/3/2018    Sprague’s Sports                        Inland Rifle
                                Mirazo
                                Juan Rafael
10/22/2018   Sprague’s Sports
                                Castaneda, Jr.
                                Juan Rafael
10/25/2018   Sprague’s Sports
                                Castaneda, Jr.
                                Juan Rafael
11/10/2018   Sprague’s Sports
                                Castaneda, Jr.
                                Juan Rafael
11/19/2018   Sprague’s Sports
                                Castaneda, Jr.
                                Juan Rafael
11/20/2018   Sprague’s Sports
                                Castaneda, Jr.
                                Juan Rafael
11/21/2018   Sprague’s Sports
                                Castaneda, Jr.
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11/23/2018   Sprague’s Sports   Jesus Sanchez Vega       FN rifle
11/23/2018   Sprague’s Sports   Rafael Palomares, Jr.    FN rifle
11/23/2018   Sprague’s Sports   Rafael Palomares, Jr.    FN rifle
11/27/2018   Sprague’s Sports   Jesus Sanchez Vega       FN Rifle
                                Juan Rafael
12/1/2018    Sprague’s Sports
                                Castaneda, Jr.
                                Juan Rafael
12/8/2018    Sprague’s Sports
                                Castaneda, Jr.
                                Jose Rodrigo Felix-
12/27/2018   Sprague’s Sports                            Several boxes of ammunition
                                Quiroz
                                Juan Rafael
12/28/2018   Sprague’s Sports
                                Castaneda, Jr.
                                Juan Rafael              Ruger LCPII firearm; Ruger LCPII
1/7/2019     Sprague’s Sports
                                Castaneda, Jr.           firearm
                                Juan Rafael
1/14/2019    Sprague’s Sports
                                Castaneda, Jr.
                                Juan Rafael
1/16/2019    Sprague’s Sports
                                Castaneda, Jr.
                                Josue Isai Valdez-
                                Reyes (through
9/3/2019     Sprague’s Sports                            Glock 42 .380 pistol
                                unnamed straw
                                purchaser)
                                Josue Isai Valdez-
                                Reyes (through
9/5/2019     Sprague’s Sports                            Glock 42 .380 pistol
                                unnamed straw
                                purchaser)
                                Noe Mendoza,
3/25/2020    Sprague’s Sports   Marcos Balderas          300 rounds of .50 caliber ammunition
                                Millan
                                Victor Alfonso
10/6/2022    Sprague’s Sports
                                Godinez
                                Victor Alfonso
10/17/2022   Sprague’s Sports
                                Godinez
                                Victor Alfonso
11/4/2022    Sprague’s Sports
                                Godinez
                                Jose D. Jesus
11/5/2022    Sprague’s Sports
                                Quintero-Macias
                                Victor Alfonso
12/13/2022   Sprague’s Sports
                                Godinez
                                                         Taurus .38 caliber revolver (Serial
                                Roberto Lozano
12/30/2022   Sprague’s Sports                            Number ACJ296952); Glock 9 mm
                                Partida III
                                                         pistol (Serial Number BYAD865)
                                Victor Alfonso
12/30/2022   Sprague’s Sports
                                Godinez
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09/15/22-                       Rodrigo Ramos-
             Sprague’s Sports
09/17/22                        Acosta
                                Victor Alfonso
1/3/2023     Sprague’s Sports
                                Godinez
                                Victor Alfonso
1/5/2023     Sprague’s Sports
                                Godinez
                                Griselda Maribel
1/27/2023    Sprague’s Sports
                                Huizar
                                Maria Isabel Flores-
1/27/2023    Sprague’s Sports
                                Portillo
                                Victor Alfonso
1/28/2023    Sprague’s Sports
                                Godinez
                                Victor Alfonso
1/31/2023    Sprague’s Sports
                                Godinez
                                Victor Alfonso
2/6/2023     Sprague’s Sports
                                Godinez
                                Jose Eduardo
2/22/2023    Sprague’s Sports
                                Puentes-Fierro
                                Samuel Horacio
2/22/2023    Sprague’s Sports
                                Martinez-Rodriguez
                                Victor Alfonso
2/24/2023    Sprague’s Sports
                                Godinez
                                Victor Alfonso
3/2/2023     Sprague’s Sports                           50 caliber Barrett rifle
                                Godinez
                                Juan Carlos Molina
3/15/2023    Sprague’s Sports
                                Yanez
                                Juan Carlos Molina
3/16/2023    Sprague’s Sports
                                Yanez
                                Juan Carlos Molina
4/3/2023     Sprague’s Sports
                                Yanez
                                Kimberly Alicia
4/27/2023    Sprague’s Sports
                                Castro
6/21/2023    Sprague’s Sports   David Varela
                                Jose Antonio Castro     Glock 17 gen 5 pistol (Serial Number
11/2/2023    Sprague’s Sports
                                Claro                   BHGM600)
                                Jose Antonio Castro     Century; Arms AK rifle 7.62x29 rifle
11/18/2023   Sprague’s Sports
                                Claro                   (Serial Number BFTY7019047)
                                Jose Antonio Castro     Riley Defense, RAK47 rifle, (Serial
11/20/2023   Sprague’s Sports
                                Claro                   Number B48674)
                                Jorge Antonio
11/22/2023   Sprague’s Sports                           .50 caliber rifle (down payment)
                                Navarette
                                Jose Eduardo
2023         Sprague’s Sports
                                Puentes-Fierro
                                Rodrigo Ramos-
2023         Sprague’s Sports
                                Acosta
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                                                        Radical Firearms RF 15 multicaliber
                               Fernando Palomares,
10/17/2019   The Hub                                    Rifle; Riley Defense RAK47
                               Jr.
                                                        7.62x39mm rifle
                                                        Romarm/CUGIR RH10; 7.62x39mm
10/22/2019   The Hub           Kyle Rene Fazlollah
                                                        rifle
1/28/2020    The Hub           Kaleb Jacob Valencia     Glock 17Gen5 9mm pistol
2/10/2020    The Hub           Kaleb Jacob Valencia     Riley Defense RAK47 7.62 caliber rifle
2/15/2020    The Hub           Elizar Olivares          Riley Defense RAK47 7.62x39mm; rifle
                                                        Romarm/Pioneer Arms WASR
5/6/2020     The Hub           Kyle Rene Fazlollah
                                                        7.62x39mm rifle
12/18/2020   The Hub           Jose Gilberto Inzunza    Century Arms VSKA 7.62 rifle
12/1/2021    The Hub           Anthony Ortiz            Barrett .50 caliber rifle
                               Williams Mora
7/8/2022     The Hub                                    FN, model M249S, 5.56 caliber rifle
                               Bustamante
                               Cesar Reynaldo
7/27/2023    The Hub                                    Glock, model 17, 9mm caliber pistol
                               Peralta
             The Hub, SnG
2019                           Jose Gilberto Inzunza
             Tactical
             The Hub, SnG      Javier Heras-
2021
             Tactical          Rodriguez
             The Hub, SnG
2021                           Daniel Garcia
             Tactical
             The Hub, SnG
2021                           Richardo Caro
             Tactical
                                                                       Case 4:22-cv-00472-RM        Document 89-1       Filed 09/13/24      Page 29 of 277




                                                                  1                                   CERTIFICATE OF SERVICE

                                                                  2         The undersigned hereby certifies that a true and correct copy of the foregoing was served
                                                                  3 upon counsel for all Defendants via electronic mail on this 9th day of May, 2024 addressed as
                                                                  4 follows to counsel of record per the AZ District Court ECF:
                                                                  5
                                                                  6
                                                                                                                        Peter V Malfa
                                                                  7    Colt B Dodrill                                   Renzulli Law Firm LLP
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                                                                       Ryan Erdreich
                                                                  12                                                    Renzulli Law Firm LLP
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                                                                       30 Columbia Turnpike, Ste. 205
                                                                  13   Florham Park, NJ 07932
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                                                                                                                        jmalsch@renzullilaw.com
                                                                  15
                                                                                                                        Christopher Renzulli
                                                                  16   Danny Charles Lallis
                                                                                                                        Renzulli Law Firm LLP
                                                                       Pisciotti Lallis Endreich
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                                                                  20                                                    Brian Edward Cieniawski
                                                                       Anthony Pisciotti                                Wilson Elser Moskowitz Edelman &
                                                                  21   Pisciotti Lallis Endreich                        Dicker
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                                                                  24
                                                                  25
                                                                  26

                                                                         Plaintiff’s First Set of Requests for Production of Documents to All Defendants   18
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                                                                  1    Louis William Horowitz
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                                                                       lhorowitz@lorberlaw.com
                                                                  4
                                                                  5
                                                                            Dated: May 9, 2024                          /s/ Ryan O’Neal
                                                                  6                                                     Ryan O’Neal

                                                                  7
                                                                  8
                                                                  9
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                                                                         Plaintiff’s First Set of Requests for Production of Documents to All Defendants   19
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   EXHIBIT 2
                                                                                         Case 4:22-cv-00472-RM    Document 89-1     Filed 09/13/24   Page 32 of 277




                                                                               1 LORBER, GREENFIELD & OLSEN, LLP
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                                                                                 Peter Malfa, Esq. (Pro Hac Vice)
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                                                                              12
                                                                                 jmalsch@renzullilaw.com
                                                                              13
                                                                                 Attorneys for Defendants Diamondback Shooting Sports, Inc.,
                                                                              14 Loan Prairie, LLC d/b/a The Hub, SNG Tactical, LLC and Sprague’s Sports, Inc.

                                                                              15                        IN THE UNITED STATES DISTRICT COURT
                                                                              16                                DISTRICT OF ARIZONA

                                                                              17   Estados Unidos Mexicanos,
                                                                              18
                                                                                                             Plaintiff,
                                                                              19   vs.                                            Case No: 4:22-cv-00472-TUC-RM

                                                                              20   Diamondback Shooting Sports, Inc., an
                                                                              21   Arizona corporation; SNG Tactical,
                                                                                   LLC, an Arizona limited liability
                                                                              22   company; Loan Prairie, LLC D/B/A The
                                                                                   Hub, an Arizona limited liability
                                                                              23
                                                                                   company; Ammo A-Z, LLC, an Arizona
                                                                              24   limited liability company; Sprague’s
                                                                                   Sports, Inc., an Arizona corporation,
                                                                              25

                                                                              26                    Defendants.

                                                                              27

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                                                                               1                    DEFENDANT DIAMONDBACK SHOOTING SPORTS, INC.’S
                                                                                                  OBJECTIONS AND RESPONSES TO PLAINTIFF’S FIRST SET OF
                                                                               2                       REQUESTS FOR PRODUCTION OF DOCUMENTS
                                                                               3
                                                                                          Defendant Diamondback Shooting Sports, Inc. (“Diamondback”), by and through its attorneys,
                                                                               4
                                                                                   Renzulli Law Firm, LLP and Lorber, Greenfield & Olsen, LLP, hereby serves its objections and responses
                                                                               5
                                                                                   to Plaintiffs’ First Set of Request for Production of Documents as follows:
                                                                               6
                                                                                                                      PRELIMINARY STATEMENT
                                                                               7

                                                                               8          Diamondback has not fully completed its investigation of the facts relating to this case, has not

                                                                               9 fully completed discovery in this action and has not completed preparation for trial. Thus, the responses

                                                                              10 contained herein are based only upon the information and documents which are presently available to and

                                                                              11
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180




                                                                                   specifically known to it. It is anticipated that further discovery and investigation will supply additional
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12
                                                                                   facts which will, in turn, clarify and add meaning to known facts, as well as to establish entirely new
                                                                              13
                                                                                   factual matters, all of which may lead to substantial changes in, and variations from the contentions and
                                                                              14

                                                                              15 information herein set forth.

                                                                              16          The following responses are provided without prejudice to Diamondback’s right to produce

                                                                              17 evidence of any subsequently discovered facts. Diamondback, accordingly, reserves the right to amend,

                                                                              18 modify, and/or supplement any and all responses herein as additional facts are ascertained, analyses made,
                                                                              19
                                                                                   legal research completed, expert opinions exchanged, and contentions formulated.
                                                                              20
                                                                                          Diamondback is responding to Plaintiff’s Requests pursuant to the Federal Rules of Civil
                                                                              21
                                                                                   Procedure and applicable state law. In answering these Requests, Diamondback is interpreting words used
                                                                              22

                                                                              23 by Plaintiff according to their ordinary and normal meaning where such meaning can be easily ascertained.

                                                                              24 Diamondback expressly reserves the right to challenge the relevancy, materiality, admissibility, and

                                                                              25 probative value of the information contained in its responses to the Requests.

                                                                              26
                                                                              27

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                                                                                                                                       2
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                                                                               1                            GENERAL OBJECTIONS AND RESERVATIONS

                                                                               2          Each response and objection provided by Diamondback in response to Plaintiff’s discovery
                                                                               3
                                                                                   demands herein is subject to the following General Objections and Reservations, each of which is hereby
                                                                               4
                                                                                   incorporated into each of Diamondback’s responses.
                                                                               5
                                                                                          1.      Diamondback objects to several of Plaintiff’s definitions as being overly broad and
                                                                               6

                                                                               7 inconsistent with the practice and customs of the firearms industry, including, Plaintiff’s expansive and

                                                                               8 incorrect definitions of “Ammunition,” “Assault Weapon,” “Civilian Market,” “Dealer,” “Distributor,”

                                                                               9 “.50 Sniper rifle(s),” “.50 cal rifle(s),” “Firearm Accessory,” “Kitchen Table Dealer,” “Multiple sale(s),”

                                                                              10 “Straw sale,” “Suspect Purchaser(s),” “Suspect Sale(s),” “Trafficking,” and “Trade Association.”

                                                                              11
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                                                                                          2.      Diamondback objects to the inclusion of the following as being considered equal to or part
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12
                                                                                   of Diamondback Shooting Sports, Inc.: predecessors, wholly-owned or controlled subsidiaries or
                                                                              13
                                                                                   affiliates, successors, parents, other subsidiaries, joint ventures, other affiliates and any organization or
                                                                              14

                                                                              15 entity that Diamondback manages or controls, including those merged with or acquired, together with all

                                                                              16 present and former directors, officers, employees, agents, attorneys, representatives or any persons acting

                                                                              17 or purporting to act on their behalf. Diamondback denies it has an obligation to search for or produce

                                                                              18 records in the possession of any such entities.
                                                                              19
                                                                                          3.      Diamondback objects to the “Relevant Time Period” as being January 1, 2010 to the
                                                                              20
                                                                                   present. A generalized fourteen (14) year discovery period for a civil action with a statute of limitations
                                                                              21
                                                                                   of either 1 year or 2 years is patently unreasonable.
                                                                              22

                                                                              23          Nothing herein shall be construed as an admission by Diamondback with respect to the

                                                                              24 admissibility or relevance of any fact or documents.

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                                                                               1                OBJECTIONS AND RESPONSES TO REQUESTS FOR PRODUCTION

                                                                               2 REQUEST NO. 1:           Your organizational charts, employee lists, personnel directories, telephone
                                                                               3
                                                                                   directories, and electronic mail user and address lists sufficient to show all personnel, including their jobs
                                                                               4
                                                                                   or titles and any contact information.
                                                                               5
                                                                                   RESPONSE: Diamondback objects to this Request on the basis that it is overbroad and fails to meet the
                                                                               6

                                                                               7 particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time

                                                                               8 frame. Diamondback further objects to this Request on the basis that it seeks irrelevant information that

                                                                               9 is not reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the

                                                                              10 needs of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because it would

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                                                                                   include employees and former employees who had no involvement in firearm sales. Without waiving or
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12
                                                                                   limiting the foregoing objections, see Diamondback’s First Supplemental Initial Disclosure Statement
                                                                              13
                                                                                   dated June 11, 2024.
                                                                              14

                                                                              15 REQUEST NO. 2:           All documents relating to recording and tracking Your firearm, ammunition, and/or

                                                                              16 firearm accessory sales, which were kept and/or maintained by You during the Relevant Time Period,

                                                                              17 including but not limited to: (i) A & D books; (ii) records of sale; and (iii) any computerized, accounting

                                                                              18 or other system that contains the requested information.
                                                                              19
                                                                                   RESPONSE: Diamondback objects to this Request on the basis that it seeks irrelevant information that
                                                                              20
                                                                                   is not reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the
                                                                              21
                                                                                   needs of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because it seeks
                                                                              22

                                                                              23 disclosure of sales and accounting materials that far exceed the relevant issues in this case as framed by

                                                                              24 the Complaint. Diamondback also objects to this Request on the basis that federal law “prohibits the

                                                                              25 disclosure of information required to be kept by licensees pursuant to section 923(g) of title 18, United

                                                                              26
                                                                                   States Code, or required to be reported pursuant to paragraphs (3) and (7) of such section” and states that
                                                                              27
                                                                                   “all such data shall be immune from legal process, shall not be subject to subpoena or other discovery,
                                                                              28
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                                                                                        Case 4:22-cv-00472-RM          Document 89-1        Filed 09/13/24      Page 36 of 277




                                                                               1 shall be inadmissible in evidence, and shall not be used, relied on, or disclosed in any manner, nor shall

                                                                               2 testimony or other evidence be permitted based on the data, in a civil action in any State (including the

                                                                               3
                                                                                   District of Columbia) or Federal court . . . .” Pub. Law 112-55, 125 Stat. 609-10. Without waiving or
                                                                               4
                                                                                   limiting the foregoing objections, see documents Bates numbered DBK001099–1131. Please also see
                                                                               5
                                                                                   privilege log for documents withheld from production based on applicable privilege(s).
                                                                               6

                                                                               7 REQUEST NO. 3:           All documents relating to recording and tracking Your firearm, ammunition, and/or

                                                                               8 firearm purchases, which were kept and/or maintained by You during the Relevant Time Period, including

                                                                               9 but not limited to: (i) A& D books; (ii) invoices; (iii) weekly, monthly, or annual purchase summaries;

                                                                              10 (iv) records of purchase; and (v) contracts with manufacturers, distributors, or dealers, and (vi) any

                                                                              11
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                                                                                   computerized, accounting or other system that contains the requested information.
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                                                                              12
                                                                                   RESPONSE: Diamondback objects to this Request on the basis that it seeks irrelevant information that
                                                                              13
                                                                                   is not reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the
                                                                              14

                                                                              15 needs of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because it seeks

                                                                              16 disclosure of agreements, purchase and accounting materials that far exceed the relevant issues in this case

                                                                              17 as framed by the Complaint. Diamondback also objects to this Request on the basis that federal law

                                                                              18 “prohibits the disclosure of information required to be kept by licensees pursuant to section 923(g) of title
                                                                              19
                                                                                   18, United States Code, or required to be reported pursuant to paragraphs (3) and (7) of such section” and
                                                                              20
                                                                                   states that “all such data shall be immune from legal process, shall not be subject to subpoena or other
                                                                              21
                                                                                   discovery, shall be inadmissible in evidence, and shall not be used, relied on, or disclosed in any manner,
                                                                              22

                                                                              23 nor shall testimony or other evidence be permitted based on the data, in a civil action in any State

                                                                              24 (including the District of Columbia) or Federal court . . . .” Pub. Law 112-55, 125 Stat. 609-10. Without

                                                                              25 waiving or limiting the foregoing objections, see privilege log for documents withheld from production

                                                                              26
                                                                                   based on applicable privilege(s).
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                                                                               1 REQUEST NO. 4:            Electronically stored information in a tab-, comma-, or semicolon-delimited ASCII

                                                                               2 flat text file or similar electronic format sufficient to identify all of Your sales of firearms, ammunition,

                                                                               3
                                                                                   and firearm accessories during the Relevant Time Period in a transaction-by-transaction format, including
                                                                               4
                                                                                   but not limited to: (i) time of sale; (ii) date of sale; (iii) location of sale; (iv) employee that made the sale;
                                                                               5
                                                                                   (v) age, gender, occupation, nationality, and residence of purchaser; (vi) amount of ammunition sold; (vii)
                                                                               6

                                                                               7 number of firearms sold; (viii) caliber and manufacturer, model, and type (e.g., handgun, rifle shotgun,

                                                                               8 semi-automatic) of each firearm sold; (ix) serial number of each firearm sold; (x) price of firearm and

                                                                               9 ammunition sold; (xi) any other identifying information related to the purchaser; (xii) information related

                                                                              10 to purchaser’s criminal history or background check; (xiii) any other information related to the product

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                                                                                   sold.
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                                                                              12
                                                                                   RESPONSE: See objections and response to Request No. 2.
                                                                              13
                                                                                   REQUEST NO. 5:          Electronically stored information in a tab-, comma-, or semicolon-delimited ASCII
                                                                              14

                                                                              15 flat text file or similar electronic format sufficient to identify all of Your purchases of firearms,

                                                                              16 ammunition, and firearm accessories during the Relevant Time Period in a transaction-by-transaction

                                                                              17 format, including but not limited to: (i) time of purchase; (ii) date of purchase; (iii) manufacturer,

                                                                              18 distributor, or other entity You purchased from; (iv) amount of ammunition purchased; (v) number of
                                                                              19
                                                                                   firearms purchased; (vi) caliber and manufacturer, model, and type (e.g., handgun, rifle shotgun, semi-
                                                                              20
                                                                                   automatic) of each firearm purchased; (vii) serial number of each firearm purchased; (viii) price of firearm
                                                                              21
                                                                                   and ammunition purchased; (ix) any other identifying information related to the seller; (x) any other
                                                                              22

                                                                              23 information related to the product purchased.

                                                                              24 RESPONSE: See objections and response to Request No. 3.

                                                                              25 REQUEST NO. 6:            All Firearm Transaction Records (ATF Form 4473’s) for all Firearms listed on the
                                                                              26
                                                                                   attached (Exhibit A).
                                                                              27

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                                                                               1 RESPONSE: Diamondback objects to this Request to the extent that it seeks disclosure of information

                                                                               2 or documents in the possession, custody, or control of any other parties. Diamondback further objects to

                                                                               3
                                                                                   this Request on the basis that federal law “prohibits the disclosure of information required to be kept by
                                                                               4
                                                                                   licensees pursuant to section 923(g) of title 18, United States Code, or required to be reported pursuant to
                                                                               5
                                                                                   paragraphs (3) and (7) of such section” and states that “all such data shall be immune from legal process,
                                                                               6

                                                                               7 shall not be subject to subpoena or other discovery, shall be inadmissible in evidence, and shall not be

                                                                               8 used, relied on, or disclosed in any manner, nor shall testimony or other evidence be permitted based on

                                                                               9 the data, in a civil action in any State (including the District of Columbia) or Federal court . . . .” Pub.

                                                                              10 Law 112-55, 125 Stat. 609-10. See privilege log for documents withheld from production based on the

                                                                              11
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                                                                                   privilege(s) set forth above.
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                                                                              12
                                                                                   REQUEST NO. 7:         All Multiple Sales Forms (ATF Form 3310.4) drafted or submitted during the
                                                                              13
                                                                                   Relevant Time Period.
                                                                              14

                                                                              15 RESPONSE: Diamondback objects to this Request on the basis that it seeks irrelevant information that

                                                                              16 is not reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the

                                                                              17 needs of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because it seeks

                                                                              18 disclosure of transactional forms that far exceed the relevant issues in this case as framed by the
                                                                              19
                                                                                   Complaint. Diamondback also objects to this Request on the basis that federal law “prohibits the disclosure
                                                                              20
                                                                                   of information required to be kept by licensees pursuant to section 923(g) of title 18, United States Code,
                                                                              21
                                                                                   or required to be reported pursuant to paragraphs (3) and (7) of such section” and states that “all such data
                                                                              22

                                                                              23 shall be immune from legal process, shall not be subject to subpoena or other discovery, shall be

                                                                              24 inadmissible in evidence, and shall not be used, relied on, or disclosed in any manner, nor shall testimony

                                                                              25 or other evidence be permitted based on the data, in a civil action in any State (including the District of

                                                                              26
                                                                                   Columbia) or Federal court . . . .” Pub. Law 112-55, 125 Stat. 609-10. See privilege log for documents
                                                                              27
                                                                                   withheld from production based on the privilege(s) set forth above.
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                                                                               1 REQUEST NO. 8:           All Rifle Sales Forms (ATF Form 3310.12) drafted or submitted during the

                                                                               2 Relevant Time Period.

                                                                               3
                                                                                   RESPONSE: Diamondback objects to this Request on the basis that it seeks irrelevant information that
                                                                               4
                                                                                   is not reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the
                                                                               5
                                                                                   needs of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because it seeks
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                                                                               7 disclosure of transactional forms that far exceed the relevant issues in this case as framed by the

                                                                               8 Complaint. Diamondback also objects to this Request on the basis that federal law “prohibits the disclosure

                                                                               9 of information required to be kept by licensees pursuant to section 923(g) of title 18, United States Code,

                                                                              10 or required to be reported pursuant to paragraphs (3) and (7) of such section” and states that “all such data

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                                                                                   shall be immune from legal process, shall not be subject to subpoena or other discovery, shall be
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                                                                              12
                                                                                   inadmissible in evidence, and shall not be used, relied on, or disclosed in any manner, nor shall testimony
                                                                              13
                                                                                   or other evidence be permitted based on the data, in a civil action in any State (including the District of
                                                                              14

                                                                              15 Columbia) or Federal court . . . .” Pub. Law 112-55, 125 Stat. 609-10. See privilege log for documents

                                                                              16 withheld from production based on the privilege(s) set forth above.

                                                                              17 REQUEST NO. 9:           All documents reflecting the multiple sale of firearms or ammunition not recorded
                                                                              18 on ATF Forms 3310.4 or 3310.12.
                                                                              19
                                                                                   RESPONSE: Diamondback objects to this Request on the grounds that it is vague, overly broad, and
                                                                              20
                                                                                   unduly burdensome (assuming the Request concerns the “Relevant Time Period), as the “multiple sale of
                                                                              21
                                                                                   ammunition” is non-sensical and ambiguous, it is unknown what documents are being sought related to
                                                                              22

                                                                              23 the “multiple sale of firearms” other than what has been requested in the prior Requests, to produce any

                                                                              24 such unknown documents for the past 14 years by definition would be unduly burdensome. If the request

                                                                              25 is seeking additional documents required to be maintained by FFLs by ATF, Diamondback also objects

                                                                              26
                                                                                   to this Request on the basis that federal law “prohibits the disclosure of information required to be kept
                                                                              27
                                                                                   by licensees pursuant to section 923(g) of title 18, United States Code, or required to be reported pursuant
                                                                              28
                                                                                                                                        8
                                                                                        Case 4:22-cv-00472-RM          Document 89-1        Filed 09/13/24      Page 40 of 277




                                                                               1 to paragraphs (3) and (7) of such section” and states that “all such data shall be immune from legal process,

                                                                               2 shall not be subject to subpoena or other discovery, shall be inadmissible in evidence, and shall not be

                                                                               3
                                                                                   used, relied on, or disclosed in any manner, nor shall testimony or other evidence be permitted based on
                                                                               4
                                                                                   the data, in a civil action in any State (including the District of Columbia) or Federal court . . . .” Pub.
                                                                               5
                                                                                   Law 112-55, 125 Stat. 609-10.
                                                                               6

                                                                               7 REQUEST NO. 10: All documents and communications related to the firearm sales identified in Exhibit

                                                                               8 A or any other suspect sales, straw sales, multiple sales, repeat purchases, sales of assault weapons, .50

                                                                               9 cal rifles, belt-fed firearms sold or transferred by You or any Defendant in this litigation, including but

                                                                              10 not limited to all records of such sales, background checks related to such sales, identification information

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                                                                                   related to the purchaser, any other information related to the purchaser, and any paper or electronic notes
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                                                                              12
                                                                                   related to such sales.
                                                                              13
                                                                                   RESPONSE: Diamondback objects to this Request on the basis that it is overbroad and fails to meet the
                                                                              14

                                                                              15 particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time

                                                                              16 frame. Diamondback further objects to this Request on the basis that it seeks irrelevant information that

                                                                              17 is not reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the

                                                                              18 needs of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because it seeks
                                                                              19
                                                                                   disclosure of transactional forms that far exceed the relevant issues in this case as framed by the
                                                                              20
                                                                                   Complaint. Diamondback also objects to this Request on the basis that federal law “prohibits the disclosure
                                                                              21
                                                                                   of information required to be kept by licensees pursuant to section 923(g) of title 18, United States Code,
                                                                              22

                                                                              23 or required to be reported pursuant to paragraphs (3) and (7) of such section” and states that “all such data

                                                                              24 shall be immune from legal process, shall not be subject to subpoena or other discovery, shall be

                                                                              25 inadmissible in evidence, and shall not be used, relied on, or disclosed in any manner, nor shall testimony

                                                                              26
                                                                                   or other evidence be permitted based on the data, in a civil action in any State (including the District of
                                                                              27
                                                                                   Columbia) or Federal court . . . .” Pub. Law 112-55, 125 Stat. 609-10. Without waiving or limiting the
                                                                              28
                                                                                                                                        9
                                                                                        Case 4:22-cv-00472-RM           Document 89-1         Filed 09/13/24      Page 41 of 277




                                                                               1 foregoing objections, see documents Bates numbered DBK001099–131. Please also see privilege log for

                                                                               2 documents withheld from production based on applicable privilege(s).

                                                                               3
                                                                                   REQUEST NO. 11: All video and audio recordings of activity within or outside of Your store showing
                                                                               4
                                                                                   employees or purchasers, including audio or video recordings involving suspect sales, straw sales,
                                                                               5
                                                                                   multiple sales, repeat purchases, sales of assault weapons, .50 cal rifles, or belt-fed firearms, including all
                                                                               6

                                                                               7 video and/or audio recordings on the dates of purchase identified in Exhibit A and sales of firearms that

                                                                               8 were later traced or the subject of criminal proceedings.

                                                                               9 RESPONSE: Diamondback objects to this Request on the grounds that it seeks information that is not

                                                                              10 reasonably calculated to lead to the discovery of admissible evidence, especially regarding the request for

                                                                              11
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                                                                                   such items related to “multiple sales, repeat purchases, sales of assault weapons, .50 cal rifles, or belt-fed
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                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12
                                                                                   firearms” as all of these transactions are legal, and in and of themselves, raise no suspicion or concern.
                                                                              13
                                                                                   Diamondback further objects to this Request on the grounds that it is vague and overly broad (assuming
                                                                              14

                                                                              15 the Request for these items is for the Relevant Time Period). Diamondback further objects on the grounds

                                                                              16 that Plaintiff has failed to identify the nexus between the transactions listed in Exhibit A to any harm

                                                                              17 caused in Mexico. Without waiving or limiting the foregoing objections, Diamondback is not in

                                                                              18 possession of any responsive recordings, including for the dates of purchase identified in Exhibit A.
                                                                              19
                                                                                   REQUEST NO. 12: Documents sufficient to show the existence and availability of video or audio
                                                                              20
                                                                                   surveillance systems (including cameras or any other recording devices) operable in or around Your stores,
                                                                              21
                                                                                   when such systems were installed, where they were installed, why they were installed, and policies related
                                                                              22

                                                                              23 to recording such video or audio and retaining such recordings.

                                                                              24 RESPONSE: Diamondback objects to this Request on the grounds that it seeks information that is not

                                                                              25 reasonably calculated to lead to the discovery of admissible evidence. Diamondback further objects to this

                                                                              26
                                                                                   Request on the ground that it is overly broad, in that a 14 year history of video or audio surveillance
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                                                                              28
                                                                                                                                         10
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                                                                               1 systems is patently unreasonable. Without waiving or limiting the foregoing objections, see documents

                                                                               2 Bates numbered DBK000985–87.

                                                                               3
                                                                                   REQUEST NO. 13: All documents related to any firearms, ammunition, and or firearm accessories sold
                                                                               4
                                                                                   or transferred by You for which You know or have reason to believe have been (i) used, recovered, and/or
                                                                               5
                                                                                   investigated by law enforcement in connection with an alleged crime or unauthorized use; (ii) the subject
                                                                               6

                                                                               7 of a trace, or (iii) otherwise recovered by law enforcement, including but not limited to trace requests and

                                                                               8 responses and firearms trafficking or straw purchasing investigations or prosecutions.

                                                                               9 RESPONSE: Diamondback objects to this Request on the basis that it is overbroad and fails to meet the

                                                                              10 particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time

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                                                                                   frame. Diamondback further objects to this Request on the basis that it seeks irrelevant information that
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                                                                              12
                                                                                   is not reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the
                                                                              13
                                                                                   needs of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because any firearms
                                                                              14

                                                                              15 recovered within the United States that were “used, recovered, and/or investigated by law enforcement in

                                                                              16 connection with an alleged crime or unauthorized use” cannot be relevant to the harm allegedly suffered

                                                                              17 by Plaintiff in Mexico. Diamondback also objects to this Request on the basis that federal law “prohibits

                                                                              18 the disclosure of information required to be kept by licensees pursuant to section 923(g) of title 18, United
                                                                              19
                                                                                   States Code, or required to be reported pursuant to paragraphs (3) and (7) of such section” and states that
                                                                              20
                                                                                   “all such data shall be immune from legal process, shall not be subject to subpoena or other discovery,
                                                                              21
                                                                                   shall be inadmissible in evidence, and shall not be used, relied on, or disclosed in any manner, nor shall
                                                                              22

                                                                              23 testimony or other evidence be permitted based on the data, in a civil action in any State (including the

                                                                              24 District of Columbia) or Federal court . . . .” Pub. Law 112-55, 125 Stat. 609-10. Without waiving or

                                                                              25 limiting the foregoing objections, see documents Bates numbered DBK001099–131. Please also see

                                                                              26
                                                                                   privilege log for documents withheld from production based on applicable privilege(s).
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                                                                               1 REQUEST NO. 14: Documents sufficient to show the identities of Your employees or people You

                                                                               2 contracted with or retained to sell or purchase firearms during the Relevant Time Period.

                                                                               3
                                                                                   RESPONSE: See objections and responses to Request No. 1.
                                                                               4
                                                                                   REQUEST NO. 15: All documents concerning employees who participated in or were present at (a) the
                                                                               5
                                                                                   sale of any firearm for which You received a Trace Request, (b) the sale of any firearm to a person who
                                                                               6

                                                                               7 was charged with violations of firearms laws, or (c) the sale of any firearm to any of the purchasers

                                                                               8 identified in Exhibit A, including, but not limited to all employment records, human resources records,

                                                                               9 personnel records (including employment applications, references), disciplinary records, job titles and

                                                                              10 responsibilities, training documents and records reflecting or concerning any training You provided to

                                                                              11
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                                                                                   those employees, including training module worksheets and signed employee handbooks pages.
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                                                                              12
                                                                                   RESPONSE: Diamondback objects to this Request on the basis that it is overbroad and fails to meet the
                                                                              13
                                                                                   particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time
                                                                              14

                                                                              15 frame. Diamondback further objects to this Request on the basis that it seeks irrelevant information that

                                                                              16 is not reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the

                                                                              17 needs of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because any firearms

                                                                              18 recovered within the United States that were “used, recovered, and/or investigated by law enforcement in
                                                                              19
                                                                                   connection with an alleged crime or unauthorized use” cannot be relevant to the harm allegedly suffered
                                                                              20
                                                                                   by Plaintiff in Mexico. Without waiving or limiting the foregoing objections, Defendants refer Plaintiffs
                                                                              21
                                                                                   to the ATF Form 4473 and all instructions accompanying said form available on ATF’s website; the ATF’s
                                                                              22

                                                                              23 website pertaining to Tools & Services for Firearms Industry and Current Licensees; ATF’s Federal

                                                                              24 Firearms Regulations Guide (https://www.atf.gov/firearms/docs/guide/federal-firearms-regulations-

                                                                              25 reference-guide-2014-edition-atf-p-53004/download); the ATF’s State Laws and Published Ordinances –

                                                                              26
                                                                                   Firearms (35th Edition) (https://www.atf.gov/firearms/state-laws-and-published-ordinances-firearms-
                                                                              27
                                                                                   35th-edition); ATF’s Federal Firearms Licensee Quick Reference and Best Practices Guide
                                                                              28
                                                                                                                                      12
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                                                                               1 (https://www.atf.gov/firearms/federal-firearms-licensee-quick-reference-and-best-practices-guide); and

                                                                               2 Don’t Lie for the Other Guy materials from the National Shooting Sports Foundation

                                                                               3
                                                                                   (https://www.dontlie.org/). Diamondback further responds that it periodically receives and reviews copies
                                                                               4
                                                                                   of all notices, newsletters, etc. that the ATF distributes electronically to federal firearms licensees, to train
                                                                               5
                                                                                   and educate personnel (https://www.atf.gov/firearms/download-firearms-industry-newsletter), but does
                                                                               6

                                                                               7 not retain copies of them. Without waiving or limiting the foregoing objections, see documents Bates

                                                                               8 numbered DBK001028–45.

                                                                               9 REQUEST NO. 16: Documents relating to the identity, location, and responsibilities of Your employees

                                                                              10 working on the dates identified in Exhibit A, including but not limited to time sheets, time records, shift

                                                                              11
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                                                                                   tables, staffing assignments or other scheduling documents, and documents identifying their job titles
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                                                                              12
                                                                                   and/or responsibilities.
                                                                              13
                                                                                   RESPONSE: See objections and responses to Request Nos. 1 and 14. Further, Diamondback objects to
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                                                                              15 this Request on the grounds that the Plaintiff has failed to identify the nexus between the transactions

                                                                              16 listed in Exhibit A and any harm to Mexico.

                                                                              17 REQUEST NO. 17: All documents related to any disciplinary actions or investigations for employees

                                                                              18 involved with the sale of firearms, firearm accessories, and/or ammunition.
                                                                              19
                                                                                   RESPONSE: Diamondback objects to this Request on the basis that it is overbroad, vague, and fails to
                                                                              20
                                                                                   meet the particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific
                                                                              21
                                                                                   time frame. Diamondback further objects to this Request on the basis that it seeks irrelevant information
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                                                                              23 that is not reasonably calculated to lead to the discovery of admissible evidence, and is not proportional

                                                                              24 to the needs of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because it

                                                                              25 seeks disclosure of records that far exceed the relevant issues in this case as framed by the Complaint.

                                                                              26
                                                                                   Subject to the foregoing objections, Diamondback is not in possession of any responsive documents.
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                                                                               1 REQUEST NO. 18: All documents related to crime, violence or criminal activity in Mexico, including

                                                                               2 but not limited to the problem of firearms being purchased in the U.S. and trafficked or transferred to

                                                                               3
                                                                                   cartels and others in Mexico.
                                                                               4
                                                                                   RESPONSE: Diamondback objects to this Request on the basis that it is overbroad, vague, and fails to
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                                                                                   meet the particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific
                                                                               6

                                                                               7 time frame. Without waiving or limiting the foregoing objections, Diamondback does not maintain any

                                                                               8 responsive documents in the regular course of business.

                                                                               9 REQUEST NO. 19: All documents relating to suspect sales, straw sales, multiple sales, repeat

                                                                              10 purchases, sales of assault weapons, .50 cal rifles, belt-fed firearms, or the unlawful sale of, diversion of,

                                                                              11
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                                                                                   or trafficking of firearms, the harms caused by such sales and how to identify, report, or mitigate such
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                                                                              12
                                                                                   sales, including but not limited to: (i) any such information received from or sent or issued by a firearms
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                                                                                   manufacturer, dealer, distributor, trade association, or law enforcement; (ii) any such information obtained
                                                                              14

                                                                              15 or prepared by You; and (iii) any such information received from or sent or issued by government or law

                                                                              16 enforcement, such as ATF, DOJ, or state or local police departments.

                                                                              17 RESPONSE: Diamondback objects to this Request on the basis that it is overbroad, vague, and fails to

                                                                              18 meet the particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific
                                                                              19
                                                                                   time frame. Diamondback further objects to this Request on the basis that it seeks irrelevant information
                                                                              20
                                                                                   that is not reasonably calculated to lead to the discovery of admissible evidence, and is not proportional
                                                                              21
                                                                                   to the needs of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because any
                                                                              22

                                                                              23 firearms recovered within the United States that were the subject of “suspect sales, straw sales, multiple

                                                                              24 sales, repeat purchases, sales of assault weapons, .50 cal rifles, belt-fed firearms” cannot be relevant to the

                                                                              25 harm allegedly suffered by Plaintiff in Mexico. Without waiving or limiting the foregoing objections,

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                                                                                   Defendants refer Plaintiffs to the ATF Form 4473 and all instructions accompanying said form available
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                                                                                   on ATF’s website; the ATF’s website pertaining to Tools & Services for Firearms Industry and Current
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                                                                                                                                       14
                                                                                        Case 4:22-cv-00472-RM           Document 89-1        Filed 09/13/24       Page 46 of 277




                                                                               1 Licensees; ATF’s Federal Firearms Regulations Guide (https://www.atf.gov/firearms/docs/guide/federal-

                                                                               2 firearms-regulations-reference-guide-2014-edition-atf-p-53004/download); the ATF’s State Laws and

                                                                               3
                                                                                   Published Ordinances – Firearms (35th Edition) (https://www.atf.gov/firearms/state-laws-and-published-
                                                                               4
                                                                                   ordinances-firearms-35th-edition); ATF’s Federal Firearms Licensee Quick Reference and Best Practices
                                                                               5
                                                                                   Guide        (https://www.atf.gov/firearms/federal-firearms-licensee-quick-reference-and-best-practices-
                                                                               6

                                                                               7 guide); and Don’t Lie for the Other Guy materials from the National Shooting Sports Foundation

                                                                               8 (https://www.dontlie.org/). Diamondback further respond that it periodically receives and reviews copies

                                                                               9 of all notices, newsletters, etc. that the ATF distributes electronically to federal firearms licensees, to train

                                                                              10 and educate personnel (https://www.atf.gov/firearms/download-firearms-industry-newsletter), but does

                                                                              11
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                                                                                   not retain copies of them.
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                                                                              12
                                                                                   REQUEST NO. 20: All documents relating to the risks that firearms, ammunition, firearm accessories,
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                                                                                   assault weapons, .50 cal rifles, or belt-fed firearms, may be obtained by criminals, in the United States,
                                                                              14

                                                                              15 Mexico, or another country, and how to prevent or minimize those risks, including but not limited to: (i)

                                                                              16 any such information received from or sent or issued by a firearms manufacturer, dealer, distributor, trade

                                                                              17 association, or law enforcement; (ii) any such information obtained or prepared by You; and (iii) any such

                                                                              18 information received from or sent or issued by government or law enforcement, such as ATF, DOJ, or
                                                                              19
                                                                                   state or local police departments.
                                                                              20
                                                                                   RESPONSE: See objections and responses to Request No. 19.
                                                                              21
                                                                                   REQUEST NO. 21: All documents related to the sale of firearms sent to or received from other
                                                                              22

                                                                              23 Defendants in this case, manufacturers, dealers, distributors, trade associations, or other firearms

                                                                              24 organizations, including marketing or promotional materials and manuals.

                                                                              25 RESPONSE: Diamondback objects to this Request on the basis that it is overbroad and fails to meet the

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                                                                                   particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time
                                                                              27
                                                                                   frame. Diamondback further objects to this Request on the basis that it seeks irrelevant information that
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                                                                                        Case 4:22-cv-00472-RM            Document 89-1         Filed 09/13/24       Page 47 of 277




                                                                               1 is not reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the

                                                                               2 needs of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because it seeks

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                                                                                   disclosure of communications and marketing and promotional materials that far exceed the relevant issues in
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                                                                                   this case as framed by the Complaint.
                                                                               5
                                                                                   REQUEST NO. 22: All documents related to law enforcement actions, including but not limited to
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                                                                                   documents relating to: (i) ATF audits; (ii) ATF inspections; (iii) ATF citations or violations; (iv) ATF
                                                                               7

                                                                               8 demand and warning letters; (v) ATF revocation letters and materials; (vi) materials from ATF meetings

                                                                               9 and conferences; (vii) materials relating to criminal investigations or prosecutions, including gun

                                                                              10 trafficking; (viii) the ATF Demand 2 program; (ix) as well as communications among You, Your

                                                                              11
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                                                                                   employees, law enforcement, trade associations, or Defendants related to the same.
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                                                                              12
                                                                                   RESPONSE: Diamondback objects to this Request on the basis that it is overbroad and fails to meet the
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                                                                                   particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time
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                                                                              15 frame. Diamondback objects to the Request on the grounds that the term “law enforcement actions” is

                                                                              16 improper given the nature of the items subsequently requested. Diamondback further objects to this

                                                                              17 Request on the basis that it seeks irrelevant information that is not reasonably calculated to lead to the

                                                                              18 discovery of admissible evidence, and is not proportional to the needs of the case as required by Rule
                                                                              19
                                                                                   26(b)(1) of the Federal Rules of Civil Procedure because it seeks disclosure of communications and other
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                                                                                   materials that far exceed the relevant issues in this case as framed by the Complaint . Please also see privilege
                                                                              21
                                                                                   log for documents withheld from production based on applicable privilege(s).
                                                                              22

                                                                              23 REQUEST NO. 23: All documents related to actual or potential contacts or communications with any

                                                                              24 law enforcement, regulatory, or other government agencies relating to the sale of firearms, ammunitions,

                                                                              25 or firearm accessories, including, but not limited to (i) the ATF; (ii) the United States Federal Bureau of

                                                                              26 Investigation; (iii) Arizona Department of Public Safety; (iv) the Tucson Police Department; (v) the
                                                                              27
                                                                                   Phoenix Police Department; or (vi) the Yuma Police Department.
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                                                                               1 RESPONSE: See objections and responses to Request No. 13.

                                                                               2 REQUEST NO. 24: All documents and records that You have received or sent to the ATF, any sheriff’s

                                                                               3
                                                                                   office, and/or other state or federal regulatory agencies related to Your federal firearms license(s) or
                                                                               4
                                                                                   firearms business, including but not limited to: (i) state and federal licenses to sell firearms, firearm
                                                                               5
                                                                                   accessories and ammunition at Your store location including but not limited to applications, renewals and
                                                                               6

                                                                               7 supporting documents; (ii) all records, citations, warning letters, reports, inspection reports, corrective

                                                                               8 actions or other documents issued or provided to You, including any actual or threatened suspension,

                                                                               9 revocation, or surrender of Your federal firearms licenses; (iii) documents relating to any actual or

                                                                              10 threatened investigation, in addition to any indictment, arrest, or conviction of an employee or agent of

                                                                              11
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                                                                                   Your store for violation of a law or regulation relating to firearms, ammunition, and or/firearm accessory
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                                                                              12
                                                                                   sales; and (iv) documents and trace requests concerning firearms, ammunition, or firearm accessories sold
                                                                              13
                                                                                   by Your store.
                                                                              14

                                                                              15 RESPONSE: Diamondback objects to this Request on the basis that it is overbroad and fails to meet the

                                                                              16 particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time

                                                                              17 frame. Diamondback further objects to this Request on the basis that it seeks irrelevant information that

                                                                              18 is not reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the
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                                                                                   needs of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because it seeks
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                                                                                   disclosure of communications and records that far exceed the relevant issues in this case as framed by the
                                                                              21
                                                                                   Complaint. Diamondback also objects to this Request on the basis that federal law “prohibits the disclosure
                                                                              22

                                                                              23 of information required to be kept by licensees pursuant to section 923(g) of title 18, United States Code,

                                                                              24 or required to be reported pursuant to paragraphs (3) and (7) of such section” and states that “all such data

                                                                              25 shall be immune from legal process, shall not be subject to subpoena or other discovery, shall be

                                                                              26 inadmissible in evidence, and shall not be used, relied on, or disclosed in any manner, nor shall testimony
                                                                              27
                                                                                   or other evidence be permitted based on the data, in a civil action in any State (including the District of
                                                                              28
                                                                                                                                       17
                                                                                        Case 4:22-cv-00472-RM           Document 89-1        Filed 09/13/24       Page 49 of 277




                                                                               1 Columbia) or Federal court . . . .” Pub. Law 112-55, 125 Stat. 609-10. Subject to the foregoing objections,

                                                                               2 see objections and responses to Request Nos. 13, 22, and 23. See also documents Bates numbered

                                                                               3
                                                                                   DBK000988–1019 and DBK001046–47. Please also see privilege log for documents withheld from
                                                                               4
                                                                                   production based on applicable privilege(s).
                                                                               5
                                                                                   REQUEST NO. 25: All documents related to any sanction, discipline, condition or restriction imposed
                                                                               6

                                                                               7 on You by a distributor or manufacturer, including any documents relating to any investigation that could

                                                                               8 result in such action or any consideration, discussion or decision about the possibility of such action.

                                                                               9 RESPONSE: Diamondback objects to this Request on the basis that it is overbroad, vague, and fails to

                                                                              10 meet the particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific

                                                                              11
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                                                                                   time frame and does not define “sanction, discipline, condition, or restriction.” Diamondback further
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                                                                              12
                                                                                   objects to this Request on the basis that it seeks irrelevant information that is not reasonably calculated to
                                                                              13
                                                                                   lead to the discovery of admissible evidence. Subject to the foregoing objections, Diamondback is not in
                                                                              14

                                                                              15 possession of any responsive documents.

                                                                              16 REQUEST NO. 26: All documents related to any Defendant’s membership in any trade association.

                                                                              17 RESPONSE: Diamondback objects to this Request on the basis that it is overbroad and fails to meet the

                                                                              18 particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time
                                                                              19
                                                                                   frame. Diamondback further objects to this Request on the basis that it seeks irrelevant information that
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                                                                                   is not reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the
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                                                                                   needs of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because it seeks
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                                                                              23 disclosure of membership information that far exceeds the relevant issues in this case as framed by the

                                                                              24 Complaint. Diamondback further objects on the grounds that the request seeks to infringe on defendant’s

                                                                              25 First Amendment rights of free speech and freedom of association.

                                                                              26
                                                                                   REQUEST NO. 27: All comprehensive general liability and/or property insurance policies, including
                                                                              27
                                                                                   any declaration pages for the insurance policies.
                                                                              28
                                                                                                                                        18
                                                                                        Case 4:22-cv-00472-RM           Document 89-1         Filed 09/13/24     Page 50 of 277




                                                                               1 RESPONSE: Diamondback objects to this Request on the grounds that “property insurance policies” are

                                                                               2 not relevant and cannot lead to the discovery of admissible evidence. Without waiving or limiting the

                                                                               3
                                                                                   foregoing objection, see Diamondback’s First Supplemental Initial Disclosure Statement dated June 11,
                                                                               4
                                                                                   2024, and the associated production of documents thereto. See also Documents Bates numbered
                                                                               5
                                                                                   DBK001072–98.
                                                                               6

                                                                               7 REQUEST NO. 28: All documents related to Your financial and operating results, including but not

                                                                               8 limited to: (i) documents demonstrating Your overall sales, expenses and profits attributed to the sale of

                                                                               9 firearms, firearm accessories and ammunition; (ii) documents sufficient to identify Your retail sales; (iii)

                                                                              10 Your financial and operating results for firearms and ammunition; (iv) balance sheets; (v) profits and loss

                                                                              11
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                                                                                   statements, and (vi) state and federal tax returns.
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                                                                              12
                                                                                   RESPONSE: Diamondback objects to this Request on the basis that it is overbroad and fails to meet the
                                                                              13
                                                                                   particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time
                                                                              14

                                                                              15 frame. Diamondback further objects to this Request on the basis that it seeks irrelevant information that

                                                                              16 is not reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the

                                                                              17 needs of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because it is

                                                                              18 premature as it seeks financial condition discovery without a prima facie finding of liability. (“The State
                                                                              19
                                                                                   of Arizona has adopted a general rule mandating that ‘prima facie proof of a defendant’s liability for
                                                                              20
                                                                                   punitive damages [is necessary] before his wealth or financial condition may be discovered.’” ReBath
                                                                              21
                                                                                   LLC v. HD Solutions LLC, 2021 WL 1923759 (D. Ariz. May. 13, 2021) (citing Richbourg v. Jimerson, No.
                                                                              22

                                                                              23 CV-12-0136-TUC-BGM, 2012 WL 4355906, at *2 (D. Ariz. Sept. 24, 2012); Larriva v. Montiel, 143 Ariz.

                                                                              24 23, 691 P.2d 735, 736 (App.1984))).

                                                                              25 REQUEST NO. 29: All documents which show Your organizational or business structure and

                                                                              26
                                                                                   ownership, including that of Your subsidiaries, affiliates, or corporate parent(s). This includes, but is not
                                                                              27
                                                                                   limited to, certificates of incorporation, bylaws, shareholders’ agreements, formation certificates,
                                                                              28
                                                                                                                                         19
                                                                                        Case 4:22-cv-00472-RM         Document 89-1        Filed 09/13/24      Page 51 of 277




                                                                               1 partnership agreements, and operating agreements. The Relevant Time Period does not apply to this

                                                                               2 request.

                                                                               3
                                                                                   RESPONSE: Diamondback objects to this Request on the basis that it is overbroad and fails to meet the
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                                                                                   particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time
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                                                                                   frame. Diamondback further objects to this Request on the basis that it seeks irrelevant information that
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                                                                               7 is not reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the

                                                                               8 needs of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because it is

                                                                               9 unlimited in time and scope. Diamondback additionally objects to this Request on the grounds that it

                                                                              10 constitutes an invasion of privacy. Without waiving or limiting the foregoing objections, see documents

                                                                              11
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                                                                                   Bates numbered DBK000968–84.
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                                                                              12
                                                                                   REQUEST NO. 30: All documents related to policies, guidelines, standards, protocols, practices,
                                                                              13
                                                                                   handbooks, or training materials concerning the sale of firearms, firearm accessories, and/or ammunition
                                                                              14

                                                                              15 at Your store, including (i) Your Employee Handbook or any other employee manual(s) in effect or used

                                                                              16 to train employees; (ii) all training videos, power-points, work sheets, or other documents or audiovisual

                                                                              17 used to train employees that sell firearms, firearm accessories, or ammunition; (iii) all resources available

                                                                              18 to employees who sell firearms, firearm accessories, or ammunition created by trade associations, firearm
                                                                              19
                                                                                   manufacturers, ammunition manufactures, other dealers, or law enforcement authorities (including but not
                                                                              20
                                                                                   limited to ATF, FBI or any other law enforcement agency).
                                                                              21
                                                                                   RESPONSE: Diamondback objects to this Request on the basis that it is overbroad and fails to meet the
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                                                                              23 particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time

                                                                              24 frame. Diamondback further objects to this Request on the basis that it seeks irrelevant information that

                                                                              25 is not reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the

                                                                              26
                                                                                   needs of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because firearms
                                                                              27
                                                                                   accessories cannot be relevant to the harm allegedly suffered by Plaintiff in Mexico. Without waiving or
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                                                                                                                                      20
                                                                                        Case 4:22-cv-00472-RM              Document 89-1         Filed 09/13/24     Page 52 of 277




                                                                               1 limiting the foregoing objections, Defendants refer Plaintiffs to the ATF Form 4473 and all instructions

                                                                               2 accompanying said form; the ATF’s website pertaining to Tools & Services for Firearms Industry and

                                                                               3
                                                                                   Current         Licensees;          ATF’s           Federal        Firearms          Regulations          Guide
                                                                               4
                                                                                   (https://www.atf.gov/firearms/docs/guide/federal-firearms-regulations-reference-guide-2014-edition-atf-
                                                                               5
                                                                                   p-53004/download); the ATF’s State Laws and Published Ordinances – Firearms (35th Edition)
                                                                               6
                                                                                                                                                                                             ATF’s
                                                                               7 (https://www.atf.gov/firearms/state-laws-and-published-ordinances-firearms-35th-edition);

                                                                               8 Federal        Firearms        Licensee       Quick      Reference       and       Best      Practices      Guide

                                                                               9 (https://www.atf.gov/firearms/federal-firearms-licensee-quick-reference-and-best-practices-guide); and

                                                                              10 Don’t Lie for the Other Guy materials from the National Shooting Sports Foundation

                                                                              11
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                                                                                   (https://www.dontlie.org/). Diamondback further respond that it periodically receives and reviews copies
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                                                                              12
                                                                                   of all notices, newsletters, etc. that the ATF distributes electronically to federal firearms licensees, to train
                                                                              13
                                                                                   and educate personnel (https://www.atf.gov/firearms/download-firearms-industry-newsletter), but does
                                                                              14

                                                                              15 not retain copies of them. Please also see documents Bates numbered DBK001028–45.

                                                                              16 REQUEST NO. 31: All documents related to the detection of, prevention of, identification of, reporting

                                                                              17 of, or potential or actual consequences related to: suspect sales, straw sales, multiple sales, repeat

                                                                              18 purchases, sales of assault weapons, .50 cal rifles, or belt-fed firearms, trafficking, and/or kitchen table
                                                                              19
                                                                                   dealers.
                                                                              20
                                                                                   RESPONSE: See objections and responses to Request Nos. 19 and 30.
                                                                              21
                                                                                   REQUEST NO. 32: All documents concerning any formal or informal policy relating to working with
                                                                              22

                                                                              23 or cooperating with law enforcement or reporting suspicious activity to any law enforcement agency.

                                                                              24 RESPONSE: See objections and responses to Request Nos. 19, 30, and 31.

                                                                              25 REQUEST NO. 33: All documents relating to marketing, advertising, promoting, and public statements

                                                                              26
                                                                                   related to Your sale of firearms, ammunitions, firearm accessories, and firearm training programs,
                                                                              27
                                                                                   including but not limited to: flyers, catalogs, mailers, press releases, public statements, and postings on
                                                                              28
                                                                                                                                          21
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                                                                               1 all social media sites, websites, internet sites, including but not limited to Google, Facebook, X (formerly

                                                                               2 Twitter), YouTube, Instagram, TikTok, Snapchat, Reddit, 4chan, and Discord.

                                                                               3
                                                                                   RESPONSE: Diamondback objects to this Request on the basis that it is overbroad and fails to meet the
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                                                                                   particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time
                                                                               5
                                                                                   frame. Diamondback further objects to this Request on the basis that it seeks irrelevant information that
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                                                                               7 is not reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the

                                                                               8 needs of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because any

                                                                               9 responsive documents are a matter of public record and equally accessible to Plaintiff as they are to

                                                                              10 Diamondback.         Without       waiving      or      limiting    the    foregoing      objections,     see
                                                                              11
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                                                                                   https://dbackshootingsports.com/;                  https://www.facebook.com/diamondbackshootingsports/;
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                                                                              12
                                                                                   https://www.instagram.com/diamondbackshootingsports/; https://x.com/dbackshooting.
                                                                              13
                                                                                   REQUEST NO. 34: Any document relating to a media appearance by You related to Your sale of
                                                                              14

                                                                              15 firearms, ammunitions, firearm accessories, or firearm training programs, including documents and

                                                                              16 communications prepared or exchanged in preparation for those appearances.

                                                                              17 RESPONSE: Diamondback objects to this Request on the basis that it is overbroad and fails to meet the

                                                                              18 particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time
                                                                              19
                                                                                   frame. Diamondback further objects to this Request on the basis that it seeks irrelevant information that
                                                                              20
                                                                                   is not reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the
                                                                              21
                                                                                   needs of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because it seeks
                                                                              22

                                                                              23 disclosure of communications that far exceed the relevant issues in this case as framed by the Complaint.

                                                                              24 Diamondback further objects on the grounds that the request seeks to infringe on defendant’s First

                                                                              25 Amendment rights of free speech and freedom of association. Subject to the foregoing objections,

                                                                              26
                                                                                   Diamondback is not in possession of any responsive documents.
                                                                              27

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                                                                                        Case 4:22-cv-00472-RM            Document 89-1        Filed 09/13/24      Page 54 of 277




                                                                               1 REQUEST NO. 35: All documents related to any national or state laws, statutes, regulations, or

                                                                               2 executive orders related to the sale of firearms, ammunition, or firearm accessories and related court orders

                                                                               3
                                                                                   or opinions, including documents related to compliance with those laws, statutes, regulations, executive
                                                                               4
                                                                                   orders court orders, or court opinions.
                                                                               5
                                                                                   RESPONSE: Diamondback further objects to this Request on the grounds that it is vague, overly broad,
                                                                               6

                                                                               7 and unduly burdensome. Diamondback also objects to this Request on the grounds that it fails to be limited

                                                                               8 to a relevant and reasonable time period. Diamondback further objects to this Request on the grounds that

                                                                               9 any responsive documents are a matter of public record and equally accessible to Plaintiff as they are to

                                                                              10 Diamondback. Without waiving or limiting the foregoing objections, Defendants refer Plaintiffs to the

                                                                              11
LORBER, GREENFIELD & OLSEN, LLP




                                                                                   ATF Form 4473 and all instructions accompanying said form; the ATF’s website pertaining to Tools &
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12
                                                                                   Services for Firearms Industry and Current Licensees; ATF’s Federal Firearms Regulations Guide
                                                                              13
                                                                                   (https://www.atf.gov/firearms/docs/guide/federal-firearms-regulations-reference-guide-2014-edition-atf-
                                                                              14

                                                                              15 p-53004/download); the ATF’s State Laws and Published Ordinances – Firearms (35
                                                                                                                                                                                        th
                                                                                                                                                                                             Edition)

                                                                              16 (https://www.atf.gov/firearms/state-laws-and-published-ordinances-firearms-35th-edition);                    ATF’s

                                                                              17 Federal       Firearms       Licensee       Quick       Reference       and      Best      Practices          Guide
                                                                              18 (https://www.atf.gov/firearms/federal-firearms-licensee-quick-reference-and-best-practices-guide); and
                                                                              19
                                                                                 Don’t Lie for the Other Guy materials from the National Shooting Sports Foundation
                                                                              20
                                                                                 (https://www.dontlie.org/). Diamondback further respond that it periodically receives and reviews copies
                                                                              21
                                                                                 of all notices, newsletters, etc. that the ATF distributes electronically to federal firearms licensees, to train
                                                                              22

                                                                              23 and educate personnel (https://www.atf.gov/firearms/download-firearms-industry-newsletter), but does

                                                                              24 not retain copies of them.

                                                                              25 REQUEST NO. 36: All documents posted visibly at Your store throughout the Relevant Time Period

                                                                              26
                                                                                   providing warnings or notice to potential customers regarding any and all requirements to purchase
                                                                              27
                                                                                   firearms, ammunition, or firearm accessories.
                                                                              28
                                                                                                                                        23
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                                                                               1 RESPONSE: Diamondback objects to this Request on the basis that it is overbroad and fails to meet the

                                                                               2 particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time

                                                                               3
                                                                                   frame. Subject to the foregoing objections, see documents Bates numbered DBK001020–27.
                                                                               4
                                                                                   REQUEST NO. 37: All documents produced to or received from any party or non-party related to or in
                                                                               5
                                                                                   connection with this action. This request is not limited in time.
                                                                               6

                                                                               7 RESPONSE: Diamondback objects to this Request on the grounds that it seeks information that is not

                                                                               8 reasonably calculated to lead to the discovery of admissible evidence. Diamondback further objects to this

                                                                               9 Request on the grounds that it is vague, overly broad, and potentially unduly burdensome, depending upon

                                                                              10 what is being requested. Diamondback also objects to this Request on the grounds that it fails to be limited

                                                                              11
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                                                                                   to any time period. Diamondback additionally objects to this Request on the grounds and to the extent that
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12
                                                                                   it calls partially or exclusively for the production of documents protected by the attorney-client, material
                                                                              13
                                                                                   prepared in anticipation of litigation, common interest, and other applicable privileges or immunities.
                                                                              14

                                                                              15 REQUEST NO. 38: All documents that You contend support any claim or defense asserted in this

                                                                              16 litigation.

                                                                              17 RESPONSE: Diamondback objects to this Request on the grounds that it is premature, in that it

                                                                              18 constitutes a contention request and is covered by the disclosure rules set forth in F.R.C.P. 26. Subject to
                                                                              19
                                                                                   the foregoing objections, Diamondback refers to all documents reference in and produced in response to
                                                                              20
                                                                                   the other requests herein, and reserves its right to supplement discovery as the litigation continues, its
                                                                              21
                                                                                   investigation is completed, and fact and expert disclosures are made.
                                                                              22

                                                                              23 REQUEST NO. 39: All documents that relate to Your document control, retention, and/or storage

                                                                              24 policies, including but not limited to documents sufficient to show Your document destruction, retention

                                                                              25 or archiving policies and practices and any changes in such policies or practices during the Relevant Time

                                                                              26
                                                                                   Period.
                                                                              27

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                                                                               1 RESPONSE: Diamondback objects to this Request on the grounds that it seeks information that is not

                                                                               2 reasonably calculated to lead to the discovery of admissible evidence. Diamondback also objects to this

                                                                               3
                                                                                   Request on the grounds that it fails to be limited to a relevant and reasonable time period. Subject to the
                                                                               4
                                                                                   foregoing objections, Diamondback’s document retention policy related to firearms transactions and sales
                                                                               5
                                                                                   is mandated by federal law. Diamondback does not maintain a separate and distinct written document
                                                                               6

                                                                               7 retention policy, other than what is required under federal and state law.

                                                                               8 REQUEST NO. 40: All non-privileged documents Your expert witnesses reviewed or relied upon, or

                                                                               9 will review or rely upon, in preparing expert reports for this action.

                                                                              10 RESPONSE: Diamondback has not determined any witnesses it will designate as testifying expert

                                                                              11
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                        Telephone (602) 437-4177 / Facsimile (602) 437-4180




                                                                                   witnesses, and such, Diamondback is not in possession of any responsive documents.
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                                                                              12
                                                                                   REQUEST NO. 41: All documents and materials used to draft or prepare Your Rule 26(f) Initial
                                                                              13
                                                                                   Disclosures and any supplements thereto.
                                                                              14

                                                                              15 RESPONSE: Diamondback objects to this Request on the grounds that it seeks documents that are

                                                                              16 wholly protected from disclosure based on the attorney work product doctrine and attorney-client

                                                                              17 privilege, as the Rule 26(f) Initial Disclosure Statements were drafted exclusively by counsel.

                                                                              18 REQUEST NO. 42: All documents related to the sale and acquisition of Diamondback’s assets and
                                                                              19
                                                                                   liabilities, including but not limited to: 1) transfer or retention of legal liability; 2) transfer or retention of
                                                                              20
                                                                                   electronically stored information; 3) transfer or retention of all purchase orders and records of sales of
                                                                              21
                                                                                   inventory; 4) transfer and retention of physical and financial assets; and 5) due diligence reviews drafted
                                                                              22

                                                                              23 in association with the sale and acquisition.

                                                                              24 RESPONSE: Diamondback objects to this Request on the basis that it calls for the production of

                                                                              25 documents containing privileged, proprietary, and/or confidential business information or trade secrets.

                                                                              26
                                                                                   Subject to the foregoing objections, see documents Bates numbered DBK001048–71.
                                                                              27

                                                                              28 Dated: July 24, 2024
                                                                                                                                           25
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                                                                               1                            RENZULLI LAW FIRM LLP

                                                                               2
                                                                                                            By:   /s/ Jeffrey Malsch
                                                                               3                                  Christopher Renzulli, Esq. (Pro Hac Vice)
                                                                               4                                  Peter Malfa, Esq. (Pro Hac Vice)
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                                                                                                                  Louis W. Horowitz, Esq.
                                                                               8                                  3930 E. Ray Road, Suite 260
                                                                                                                  Phoenix, AZ 85044
                                                                               9

                                                                              10                                  Attorneys for Defendants
                                                                                                                  Diamondback Shooting Sports, Inc.,
                                                                              11                                  Loan Prairie, LLC d/b/a The Hub,
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180




                                                                                                                  SNG Tactical, LLC and
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12                                  Sprague’s Sports, Inc.

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                                                                                      Case 4:22-cv-00472-RM         Document 89-1       Filed 09/13/24   Page 58 of 277




                                                                               1                                    CERTIFICATE OF SERVICE

                                                                               2

                                                                               3        I HEREBY CERTIFY that on this 24th day of July, 2024, I served the foregoing on all counsel of

                                                                               4 record as listed on CM/ECF by electronic means, as set forth below:

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                                                                                 DECONCINI MCDONALD YETWIN &
                                                                               6 LACY, P.C.
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                                                                               7
                                                                                 Tucson, AZ 85716-5300
                                                                               8 roneal@dmyl.com
                                                                                 Attorneys for Plaintiff
                                                                               9
                                                                                 Steve D. Shadowen, Esq. (Pro Hac Vice)
                                                                              10 Nicholas W. Shadowen, Esq. (Pro Hac Vice)

                                                                              11 Tina J. Miranda, Esq. (Pro Hac Vice)
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                                                                                 Deirdre R. Mulligan, Esq. (Pro Hac Vice)
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                                                                                 1135 W. 6th Street, Suite 125
                                                                              13 Austin, TX 78703
                                                                                 sshadowen@shadowenpllc.com
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                                                                              15 tmiranda@shadowenpllc.com
                                                                                 dmulligan@shadowenpllc.com
                                                                              16 Attorneys for Plaintiff

                                                                              17 Jonathan E. Lowy, Esq. (Pro Hac Vice)
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                                                                              19 Washington, DC 20036
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                                                                              20 Attorneys for Plaintiff

                                                                              21 Colt B. Dodrill
                                                                                 Brian E. Cieniawski
                                                                              22 WILSON ELSER MOSKOWITZ EDELMAN & DICKER LLP

                                                                              23 2231 East Camelback Road, Suite 200
                                                                                 Phoenix, AZ 85016
                                                                              24 Attorneys for Defendant Ammo A-Z, LLC

                                                                              25

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                                                                                      Case 4:22-cv-00472-RM      Document 89-1       Filed 09/13/24   Page 59 of 277




                                                                               1 Anthony Pisciotti, Esq. (Pro Hac Vice)
                                                                                 Danny Lallis, Esq. (Pro Hac Vice)
                                                                               2 Ryan Erdreich, Esq. (Pro Hac Vice)
                                                                                 PISCIOTTI LALLIS ERDREICH
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                                                                               5 dlallis@pisciotti.com
                                                                                 rerdreich@pisciotti.com
                                                                               6 Attorneys for Defendant Ammo A-Z, LLC

                                                                               7                                          By: /s/ Jeffrey Malsch
                                                                               8

                                                                               9

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   EXHIBIT 3
                                                                                       Case 4:22-cv-00472-RM      Document 89-1     Filed 09/13/24   Page 61 of 277




                                                                               1 LORBER, GREENFIELD & OLSEN, LLP
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                                                                               2
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                                                                               3 Phoenix, AZ 85044
                                                                                 TEL: (602) 437-4177
                                                                               4 FAX: (602) 437-4180

                                                                               5 lhorowitz@lorberlaw.com

                                                                               6 RENZULLI LAW FIRM LLP
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                                                                                 Peter Malfa, Esq. (Pro Hac Vice)
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                                                                              10 TEL: (914) 285-0700
                                                                                 FAX: (914) 285-1213
                                                                              11 crenzulli@renzullilaw.com
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                                                                                 pmalfa@renzullilaw.com
                                                                              12
                                                                                 jmalsch@renzullilaw.com
                                                                              13
                                                                                 Attorneys for Defendants Diamondback Shooting Sports, Inc.,
                                                                              14 Loan Prairie, LLC d/b/a The Hub, SnG Tactical, LLC and Sprague’s Sports, Inc.

                                                                              15                       IN THE UNITED STATES DISTRICT COURT
                                                                              16                               DISTRICT OF ARIZONA

                                                                              17   Estados Unidos Mexicanos,
                                                                                                                                  Case No: 4:22-cv-00472-CKJ
                                                                              18
                                                                                                            Plaintiff,
                                                                              19 vs.

                                                                              20
                                                                                   Diamondback Shooting Sports, Inc., an
                                                                              21 Arizona corporation; SNG Tactical, LLC,

                                                                              22
                                                                                 an Arizona limited liability company;
                                                                                 Loan Prairie, LLC D/B/A The Hub, an
                                                                              23 Arizona limited liability company; Ammo
                                                                                 A-Z, LLC, an Arizona limited liability
                                                                              24 company; Sprague’s Sports, Inc., an

                                                                              25 Arizona corporation,

                                                                              26                  Defendants.
                                                                              27

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                                                                                       Case 4:22-cv-00472-RM          Document 89-1        Filed 09/13/24    Page 62 of 277




                                                                               1                           DEFENDANT SNG TACTICAL, LLC’S
                                                                                                 OBJECTIONS AND RESPONSES TO PLAINTIFF’S FIRST SET OF
                                                                               2                      REQUESTS FOR PRODUCTION OF DOCUMENTS
                                                                               3
                                                                                          Defendant SnG Tactical, LLC (“SnG”) by and through its attorneys, Renzulli Law Firm, LLP
                                                                               4
                                                                                   and Lorber, Greenfield & Olsen, LLP, hereby serves its objections and responses to Plaintiffs’ First Set
                                                                               5
                                                                                   of Request for Production of Documents as follows:
                                                                               6
                                                                                                                     PRELIMINARY STATEMENT
                                                                               7

                                                                               8          SnG has not fully completed its investigation of the facts relating to this case, has not fully

                                                                               9 completed discovery in this action, and has not completed preparation for trial. Thus, the responses

                                                                              10 contained herein are based only upon the information and documents which are presently available to

                                                                              11
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                                                                                   and specifically known to it. It is anticipated that further discovery and investigation will supply
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                                                                              12
                                                                                   additional facts which will, in turn, clarify and add meaning to known facts, as well as to establish
                                                                              13
                                                                                   entirely new factual matters, all of which may lead to substantial changes in, and variations from the
                                                                              14

                                                                              15 contentions and information herein set forth.

                                                                              16          The following responses are provided without prejudice to SnG’s right to produce evidence of

                                                                              17 any subsequently discovered facts. SnG, accordingly, reserves the right to amend, modify, and/or

                                                                              18 supplement any and all responses herein as additional facts are ascertained, analyses made, legal
                                                                              19
                                                                                   research completed, expert opinions exchanged, and contentions formulated.
                                                                              20
                                                                                          SnG is responding to Plaintiff’s Requests pursuant to the Federal Rules of Civil Procedure and
                                                                              21
                                                                                   applicable state law. In answering these Requests, SnG is interpreting words used by Plaintiff according
                                                                              22

                                                                              23 to their ordinary and normal meaning where such meaning can be easily ascertained. SnG expressly

                                                                              24 reserves the right to challenge the relevancy, materiality, admissibility, and probative value of the

                                                                              25 information contained in its responses to the Requests.

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                                                                                        Case 4:22-cv-00472-RM          Document 89-1        Filed 09/13/24      Page 63 of 277




                                                                               1                            GENERAL OBJECTIONS AND RESERVATIONS

                                                                               2          Each response and objection provided by SnG in response to Plaintiff’s discovery demands
                                                                               3
                                                                                   herein is subject to the following General Objections and Reservations, each of which is hereby
                                                                               4
                                                                                   incorporated into each of SnG’s responses.
                                                                               5
                                                                                          1.      SnG objects to several of Plaintiff’s definitions as being overly broad and inconsistent
                                                                               6

                                                                               7 with the practice and customs of the firearms industry, including, Plaintiff’s expansive and incorrect

                                                                               8 definitions of “Ammunition,” “Assault Weapon,” “Civilian Market,” “Dealer,” “Distributor,” “.50

                                                                               9 Sniper rifle(s),” “.50 cal rifle(s),” “Firearm Accessory,” “Kitchen Table Dealer,” “Multiple sale(s),”

                                                                              10 “Straw sale,” “Suspect Purchaser(s),” “Suspect Sale(s),” “Trafficking,” and “Trade Association.”

                                                                              11
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                                                                                          2.      SnG objects to the inclusion of the following as being considered equal to or part of
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                                                                              12
                                                                                   predecessors, wholly-owned or controlled subsidiaries or affiliates, successors, parents, other
                                                                              13
                                                                                   subsidiaries, joint ventures, other affiliates and any organization or entity that SnG manages or controls,
                                                                              14

                                                                              15 including those merged with or acquired, together with all present and former directors, officers,

                                                                              16 employees, agents, attorneys, representatives or any persons acting or purporting to act on their behalf.

                                                                              17 SnG denies it has an obligation to search for or produce records in the possession of any such entities.

                                                                              18          3.      SnG objects to the “Relevant Time Period” as being January 1, 2010 to the present. A
                                                                              19
                                                                                   generalized fourteen (14) year discovery period for a civil action with a statute of limitations of either 1
                                                                              20
                                                                                   year or 2 years is patently unreasonable.
                                                                              21
                                                                                          Nothing herein shall be construed as an admission by SnG with respect to the admissibility or
                                                                              22

                                                                              23 relevance of any fact or documents.

                                                                              24

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                                                                                        Case 4:22-cv-00472-RM          Document 89-1       Filed 09/13/24      Page 64 of 277




                                                                               1                OBJECTIONS AND RESPONSES TO REQUESTS FOR PRODUCTION

                                                                               2 REQUEST NO. 1:           Your organizational charts, employee lists, personnel directories, telephone
                                                                               3
                                                                                   directories, and electronic mail user and address lists sufficient to show all personnel, including their
                                                                               4
                                                                                   jobs or titles and any contact information.
                                                                               5
                                                                                   RESPONSE: SnG objects to this Request on the basis that it is overbroad and fails to meet the
                                                                               6

                                                                               7 particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time

                                                                               8 frame. SnG further objects to this Request on the basis that it seeks irrelevant information that is not

                                                                               9 reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the

                                                                              10 needs of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because it would

                                                                              11
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                                                                                   include employees and former employees who had no involvement in firearm sales. Without waiving or
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                                                                              12
                                                                                   limiting the foregoing objections, see documents Bates numbered SNG000731-SNG000732.
                                                                              13
                                                                                   REQUEST NO. 2:         All documents relating to recording and tracking Your firearm, ammunition,
                                                                              14

                                                                              15 and/or firearm accessory sales, which were kept and/or maintained by You during the Relevant Time

                                                                              16 Period, including but not limited to: (i) A & D books; (ii) records of sale; and (iii) any computerized,

                                                                              17 accounting or other system that contains the requested information.

                                                                              18 RESPONSE: SnG objects to this Request on the basis that it seeks irrelevant information that is not
                                                                              19
                                                                                   reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the
                                                                              20
                                                                                   needs of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because it seeks
                                                                              21
                                                                                   disclosure of sales and accounting materials that far exceed the relevant issues in this case as framed by
                                                                              22

                                                                              23 the Complaint. SnG also objects to this Request on the basis that federal law “prohibits the disclosure of

                                                                              24 information required to be kept by licensees pursuant to section 923(g) of title 18, United States Code,

                                                                              25 or required to be reported pursuant to paragraphs (3) and (7) of such section” and states that “all such

                                                                              26
                                                                                   data shall be immune from legal process, shall not be subject to subpoena or other discovery, shall be
                                                                              27
                                                                                   inadmissible in evidence, and shall not be used, relied on, or disclosed in any manner, nor shall
                                                                              28
                                                                                                                                       4
                                                                                        Case 4:22-cv-00472-RM         Document 89-1        Filed 09/13/24     Page 65 of 277




                                                                               1 testimony or other evidence be permitted based on the data, in a civil action in any State (including the

                                                                               2 District of Columbia) or Federal court . . . .” Pub. Law 112-55, 125 Stat. 609-10. Without waiving or

                                                                               3
                                                                                   limiting the foregoing objections, see documents Bates numbered SNG000733-SNG000774. See
                                                                               4
                                                                                   privilege log for potentially responsive documents withheld from production.
                                                                               5
                                                                                   REQUEST NO. 3:        All documents relating to recording and tracking Your firearm, ammunition,
                                                                               6

                                                                               7 and/or firearm purchases, which were kept and/or maintained by You during the Relevant Time Period,

                                                                               8 including but not limited to: (i) A& D books; (ii) invoices; (iii) weekly, monthly, or annual purchase

                                                                               9 summaries; (iv) records of purchase; and (v) contracts with manufacturers, distributors, or dealers, and

                                                                              10 (vi) any computerized, accounting or other system that contains the requested information.

                                                                              11
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                        Telephone (602) 437-4177 / Facsimile (602) 437-4180




                                                                                   RESPONSE: SnG objects to this Request on the basis that it seeks irrelevant information that is not
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12
                                                                                   reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the
                                                                              13
                                                                                   needs of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because it seeks
                                                                              14

                                                                              15 disclosure of purchase and accounting materials that far exceed the relevant issues in this case as framed

                                                                              16 by the Complaint. SnG also objects to this Request on the basis that federal law “prohibits the disclosure

                                                                              17 of information required to be kept by licensees pursuant to section 923(g) of title 18, United States

                                                                              18 Code, or required to be reported pursuant to paragraphs (3) and (7) of such section” and states that “all
                                                                              19
                                                                                   such data shall be immune from legal process, shall not be subject to subpoena or other discovery, shall
                                                                              20
                                                                                   be inadmissible in evidence, and shall not be used, relied on, or disclosed in any manner, nor shall
                                                                              21
                                                                                   testimony or other evidence be permitted based on the data, in a civil action in any State (including the
                                                                              22

                                                                              23 District of Columbia) or Federal court . . . .” Pub. Law 112-55, 125 Stat. 609-10. Without waiving or

                                                                              24 limiting the foregoing objections, see privilege log for potentially responsive documents withheld from

                                                                              25 production.

                                                                              26
                                                                                   REQUEST NO. 4:        Electronically stored information in a tab-, comma-, or semicolon-delimited
                                                                              27
                                                                                   ASCII flat text file or similar electronic format sufficient to identify all of Your sales of firearms,
                                                                              28
                                                                                                                                       5
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                                                                               1 ammunition, and firearm accessories during the Relevant Time Period in a transaction-by-transaction

                                                                               2 format, including but not limited to: (i) time of sale; (ii) date of sale; (iii) location of sale; (iv) employee

                                                                               3
                                                                                   that made the sale; (v) age, gender, occupation, nationality, and residence of purchaser; (vi) amount of
                                                                               4
                                                                                   ammunition sold; (vii) number of firearms sold; (viii) caliber and manufacturer, model, and type (e.g.,
                                                                               5
                                                                                   handgun, rifle shotgun, semi-automatic) of each firearm sold; (ix) serial number of each firearm sold; (x)
                                                                               6

                                                                               7 price of firearm and ammunition sold; (xi) any other identifying information related to the purchaser;

                                                                               8 (xii) information related to purchaser’s criminal history or background check; (xiii) any other

                                                                               9 information related to the product sold.

                                                                              10 RESPONSE: See objections and response to Request No. 2.

                                                                              11
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                                                                                   REQUEST NO. 5:        Electronically stored information in a tab-, comma-, or semicolon-delimited
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12
                                                                                   ASCII flat text file or similar electronic format sufficient to identify all of Your purchases of firearms,
                                                                              13
                                                                                   ammunition, and firearm accessories during the Relevant Time Period in a transaction-by-transaction
                                                                              14

                                                                              15 format, including but not limited to: (i) time of purchase; (ii) date of purchase; (iii) manufacturer,

                                                                              16 distributor, or other entity You purchased from; (iv) amount of ammunition purchased; (v) number of

                                                                              17 firearms purchased; (vi) caliber and manufacturer, model, and type (e.g., handgun, rifle shotgun, semi-

                                                                              18 automatic) of each firearm purchased; (vii) serial number of each firearm purchased; (viii) price of
                                                                              19
                                                                                   firearm and ammunition purchased; (ix) any other identifying information related to the seller; (x) any
                                                                              20
                                                                                   other information related to the product purchased.
                                                                              21
                                                                                   RESPONSE: See objections and response to Request No. 3.
                                                                              22

                                                                              23 REQUEST NO. 6:          All Firearm Transaction Records (ATF Form 4473’s) for all Firearms listed on the

                                                                              24 attached (Exhibit A).

                                                                              25 RESPONSE: SnG objects to this Request to the extent that it seeks disclosure of information or

                                                                              26
                                                                                   documents in the possession, custody, or control of any other parties. SnG also objects on the grounds
                                                                              27
                                                                                   that Plaintiff has failed to provide a nexus between the transactions identified in Exhibit A to any harm
                                                                              28
                                                                                                                                         6
                                                                                        Case 4:22-cv-00472-RM          Document 89-1        Filed 09/13/24      Page 67 of 277




                                                                               1 caused in Mexico. SnG further objects to this Request on the basis that federal law “prohibits the

                                                                               2 disclosure of information required to be kept by licensees pursuant to section 923(g) of title 18, United

                                                                               3
                                                                                   States Code, or required to be reported pursuant to paragraphs (3) and (7) of such section” and states that
                                                                               4
                                                                                   “all such data shall be immune from legal process, shall not be subject to subpoena or other discovery,
                                                                               5
                                                                                   shall be inadmissible in evidence, and shall not be used, relied on, or disclosed in any manner, nor shall
                                                                               6

                                                                               7 testimony or other evidence be permitted based on the data, in a civil action in any State (including the

                                                                               8 District of Columbia) or Federal court . . . .” Pub. Law 112-55, 125 Stat. 609-10. Without waiving or

                                                                               9 limiting the foregoing objections, see privilege log for potentially responsive documents withheld from

                                                                              10 production.

                                                                              11
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                        Telephone (602) 437-4177 / Facsimile (602) 437-4180




                                                                                   REQUEST NO. 7:        All Multiple Sales Forms (ATF Form 3310.4) drafted or submitted during the
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12
                                                                                   Relevant Time Period.
                                                                              13
                                                                                   RESPONSE: SnG objects to this Request on the basis that it seeks irrelevant information that is not
                                                                              14

                                                                              15 reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the

                                                                              16 needs of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because it seeks

                                                                              17 disclosure of transactional forms that far exceed the relevant issues in this case as framed by the

                                                                              18 Complaint. SnG also objects to this Request on the basis that federal law “prohibits the disclosure of
                                                                              19
                                                                                   information required to be kept by licensees pursuant to section 923(g) of title 18, United States Code,
                                                                              20
                                                                                   or required to be reported pursuant to paragraphs (3) and (7) of such section” and states that “all such
                                                                              21
                                                                                   data shall be immune from legal process, shall not be subject to subpoena or other discovery, shall be
                                                                              22

                                                                              23 inadmissible in evidence, and shall not be used, relied on, or disclosed in any manner, nor shall

                                                                              24 testimony or other evidence be permitted based on the data, in a civil action in any State (including the

                                                                              25 District of Columbia) or Federal court . . . .” Pub. Law 112-55, 125 Stat. 609-10. Without waiving or

                                                                              26
                                                                                   limiting the foregoing objections, see privilege log for potentially responsive documents withheld from
                                                                              27
                                                                                   production.
                                                                              28
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                                                                               1 REQUEST NO. 8:          All Rifle Sales Forms (ATF Form 3310.12) drafted or submitted during the

                                                                               2 Relevant Time Period.

                                                                               3
                                                                                   RESPONSE: SnG objects to this Request on the basis that it seeks irrelevant information that is not
                                                                               4
                                                                                   reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the
                                                                               5
                                                                                   needs of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because it seeks
                                                                               6

                                                                               7 disclosure of transactional forms that far exceed the relevant issues in this case as framed by the

                                                                               8 Complaint. SnG also objects to this Request on the basis that federal law “prohibits the disclosure of

                                                                               9 information required to be kept by licensees pursuant to section 923(g) of title 18, United States Code,

                                                                              10 or required to be reported pursuant to paragraphs (3) and (7) of such section” and states that “all such

                                                                              11
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                                                                                   data shall be immune from legal process, shall not be subject to subpoena or other discovery, shall be
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                                                                              12
                                                                                   inadmissible in evidence, and shall not be used, relied on, or disclosed in any manner, nor shall
                                                                              13
                                                                                   testimony or other evidence be permitted based on the data, in a civil action in any State (including the
                                                                              14

                                                                              15 District of Columbia) or Federal court . . . .” Pub. Law 112-55, 125 Stat. 609-10. Without waiving or

                                                                              16 limiting the foregoing objections, see privilege log for potentially responsive documents withheld from

                                                                              17 production.

                                                                              18 REQUEST NO. 9:          All documents reflecting the multiple sale of firearms or ammunition not recorded
                                                                              19
                                                                                   on ATF Forms 3310.4 or 3310.12.
                                                                              20
                                                                                   RESPONSE: SnG objects to this Request on the grounds that it is vague, overly broad, and unduly
                                                                              21
                                                                                   burdensome (assuming the Request concerns the “Relevant Time Period), as the “multiple sale of
                                                                              22

                                                                              23 ammunition” is non-sensical and ambiguous, it is unknown what documents are being sought related to

                                                                              24 the “multiple sale of firearms” other than what has been requested in the prior Requests, to produce any

                                                                              25 such unknown documents for the past 14 years by definition would be unduly burdensome. If the

                                                                              26
                                                                                   request is seeking additional documents required to be maintained by FFLs by ATF, SnG also objects to
                                                                              27
                                                                                   this Request on the basis that federal law “prohibits the disclosure of information required to be kept by
                                                                              28
                                                                                                                                       8
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                                                                               1 licensees pursuant to section 923(g) of title 18, United States Code, or required to be reported pursuant

                                                                               2 to paragraphs (3) and (7) of such section” and states that “all such data shall be immune from legal

                                                                               3
                                                                                   process, shall not be subject to subpoena or other discovery, shall be inadmissible in evidence, and shall
                                                                               4
                                                                                   not be used, relied on, or disclosed in any manner, nor shall testimony or other evidence be permitted
                                                                               5
                                                                                   based on the data, in a civil action in any State (including the District of Columbia) or Federal court . . .
                                                                               6

                                                                               7 .” Pub. Law 112-55, 125 Stat. 609-10. Without waiving or limiting the foregoing objections, see

                                                                               8 privilege log for potentially responsive documents withheld from production as well as SnG’s response

                                                                               9 to Request No. 2.

                                                                              10 REQUEST NO. 10: All documents and communications related to the firearm sales identified in

                                                                              11
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                                                                                   Exhibit A or any other suspect sales, straw sales, multiple sales, repeat purchases, sales of assault
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12
                                                                                   weapons, .50 cal rifles, belt-fed firearms sold or transferred by You or any Defendant in this litigation,
                                                                              13
                                                                                   including but not limited to all records of such sales, background checks related to such sales,
                                                                              14

                                                                              15 identification information related to the purchaser, any other information related to the purchaser, and

                                                                              16 any paper or electronic notes related to such sales.

                                                                              17 RESPONSE: SnG objects to this Request on the basis that it is overbroad and fails to meet the

                                                                              18 particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time
                                                                              19
                                                                                   frame. SnG also objects on the grounds that Plaintiff has failed to provide a nexus between the
                                                                              20
                                                                                   transactions identified in Exhibit A to any harm caused in Mexico. SnG further objects to this Request
                                                                              21
                                                                                   on the basis that it seeks irrelevant information that is not reasonably calculated to lead to the discovery
                                                                              22

                                                                              23 of admissible evidence, and is not proportional to the needs of the case as required by Rule 26(b)(1) of

                                                                              24 the Federal Rules of Civil Procedure because it seeks disclosure of transactional forms that far exceed

                                                                              25 the relevant issues in this case as framed by the Complaint. SnG also objects to this Request on the basis

                                                                              26
                                                                                   that federal law “prohibits the disclosure of information required to be kept by licensees pursuant to
                                                                              27
                                                                                   section 923(g) of title 18, United States Code, or required to be reported pursuant to paragraphs (3) and
                                                                              28
                                                                                                                                        9
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                                                                               1 (7) of such section” and states that “all such data shall be immune from legal process, shall not be

                                                                               2 subject to subpoena or other discovery, shall be inadmissible in evidence, and shall not be used, relied

                                                                               3
                                                                                   on, or disclosed in any manner, nor shall testimony or other evidence be permitted based on the data, in
                                                                               4
                                                                                   a civil action in any State (including the District of Columbia) or Federal court . . . .” Pub. Law 112-55,
                                                                               5
                                                                                   125 Stat. 609-10. Without waiving or limiting the foregoing objections, see response to Request No. 2.
                                                                               6

                                                                               7 REQUEST NO. 11: All video and audio recordings of activity within or outside of Your store showing

                                                                               8 employees or purchasers, including audio or video recordings involving suspect sales, straw sales,

                                                                               9 multiple sales, repeat purchases, sales of assault weapons, .50 cal rifles, or belt-fed firearms, including

                                                                              10 all video and/or audio recordings on the dates of purchase identified in Exhibit A and sales of firearms

                                                                              11
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                                                                                   that were later traced or the subject of criminal proceedings.
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12
                                                                                   RESPONSE: SnG objects to this Request on the grounds that it seeks information that is not reasonably
                                                                              13
                                                                                   calculated to lead to the discovery of admissible evidence, especially regarding the request for such
                                                                              14

                                                                              15 items related to “multiple sales, repeat purchases, sales of assault weapons, .50 cal rifles, or belt-fed

                                                                              16 firearms” as all of these transactions are legal, and in and of themselves, raise no suspicion or concern.

                                                                              17 SnG further objects to this Request on the grounds that it is vague and overly broad (assuming the

                                                                              18 Request for these items is for the Relevant Time Period). Without waiving or limiting the foregoing
                                                                              19
                                                                                   objections, SnG is not in possession of any responsive recordings for the dates of purchase for the
                                                                              20
                                                                                   transactions identified in the Complaint.
                                                                              21
                                                                                   REQUEST NO. 12: Documents sufficient to show the existence and availability of video or audio
                                                                              22

                                                                              23 surveillance systems (including cameras or any other recording devices) operable in or around Your

                                                                              24 stores, when such systems were installed, where they were installed, why they were installed, and

                                                                              25 policies related to recording such video or audio and retaining such recordings.

                                                                              26
                                                                              27

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                                                                                                                                        10
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                                                                               1 RESPONSE: SnG objects to this Request on the grounds that it seeks information that is not reasonably

                                                                               2 calculated to lead to the discovery of admissible evidence. Without waiving or limiting the foregoing

                                                                               3
                                                                                   objections, SnG has no documents responsive to this request.
                                                                               4
                                                                                   REQUEST NO. 13: All documents related to any firearms, ammunition, and or firearm accessories
                                                                               5
                                                                                   sold or transferred by You for which You know or have reason to believe have been (i) used, recovered,
                                                                               6

                                                                               7 and/or investigated by law enforcement in connection with an alleged crime or unauthorized use; (ii) the

                                                                               8 subject of a trace, or (iii) otherwise recovered by law enforcement, including but not limited to trace

                                                                               9 requests and responses and firearms trafficking or straw purchasing investigations or prosecutions.

                                                                              10 RESPONSE: SnG objects to this Request on the basis that it is overbroad and fails to meet the

                                                                              11
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                                                                                   particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time
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                                                                              12
                                                                                   frame. SnG further objects to this Request on the basis that it seeks irrelevant information that is not
                                                                              13
                                                                                   reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the
                                                                              14

                                                                              15 needs of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because any

                                                                              16 firearms recovered within the United States that were “used, recovered, and/or investigated by law

                                                                              17 enforcement in connection with an alleged crime or unauthorized use” cannot be relevant to the harm

                                                                              18 allegedly suffered by Plaintiff in Mexico. SnG also objects to this Request on the basis that federal law
                                                                              19
                                                                                   “prohibits the disclosure of information required to be kept by licensees pursuant to section 923(g) of
                                                                              20
                                                                                   title 18, United States Code, or required to be reported pursuant to paragraphs (3) and (7) of such
                                                                              21
                                                                                   section” and states that “all such data shall be immune from legal process, shall not be subject to
                                                                              22

                                                                              23 subpoena or other discovery, shall be inadmissible in evidence, and shall not be used, relied on, or

                                                                              24 disclosed in any manner, nor shall testimony or other evidence be permitted based on the data, in a civil

                                                                              25 action in any State (including the District of Columbia) or Federal court . . . .” Pub. Law 112-55, 125

                                                                              26
                                                                                   Stat. 609-10. Without waiving or limiting the foregoing objections, see privilege log for potentially
                                                                              27
                                                                                   responsive documents withheld from production.
                                                                              28
                                                                                                                                     11
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                                                                               1 REQUEST NO. 14: Documents sufficient to show the identities of Your employees or people You

                                                                               2 contracted with or retained to sell or purchase firearms during the Relevant Time Period.

                                                                               3
                                                                                   RESPONSE: See objections and response to Request No. 1.
                                                                               4
                                                                                   REQUEST NO. 15: All documents concerning employees who participated in or were present at (a)
                                                                               5
                                                                                   the sale of any firearm for which You received a Trace Request, (b) the sale of any firearm to a person
                                                                               6

                                                                               7 who was charged with violations of firearms laws, or (c) the sale of any firearm to any of the purchasers

                                                                               8 identified in Exhibit A, including, but not limited to all employment records, human resources records,

                                                                               9 personnel records (including employment applications, references), disciplinary records, job titles and

                                                                              10 responsibilities, training documents and records reflecting or concerning any training You provided to

                                                                              11
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                                                                                   those employees, including training module worksheets and signed employee handbooks pages.
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                                                                              12
                                                                                   RESPONSE: SnG objects to this Request on the basis that it is overbroad and fails to meet the
                                                                              13
                                                                                   particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time
                                                                              14

                                                                              15 frame. SnG further objects to this Request on the basis that it seeks irrelevant information that is not

                                                                              16 reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the

                                                                              17 needs of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because any

                                                                              18 firearms recovered within the United States that were “used, recovered, and/or investigated by law
                                                                              19
                                                                                   enforcement in connection with an alleged crime or unauthorized use” cannot be relevant to the harm
                                                                              20
                                                                                   allegedly suffered by Plaintiff in Mexico. Without waiving or limiting the foregoing objections, SnG
                                                                              21
                                                                                   refers Plaintiffs to the ATF Form 4473 and all instructions accompanying said form available on ATF’s
                                                                              22

                                                                              23 website; the ATF’s website pertaining to Tools & Services for Firearms Industry and Current Licensees;

                                                                              24 ATF’s Federal Firearms Regulations Guide (https://www.atf.gov/firearms/docs/guide/federal-firearms-

                                                                              25 regulations-reference-guide-2014-edition-atf-p-53004/download); the ATF’s State Laws and Published

                                                                              26
                                                                                   Ordinances    –   Firearms   (35th    Edition)   (https://www.atf.gov/firearms/state-laws-and-published-
                                                                              27
                                                                                   ordinances-firearms-35th-edition); ATF’s Federal Firearms Licensee Quick Reference and Best
                                                                              28
                                                                                                                                      12
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                                                                               1 Practices       Guide      (https://www.atf.gov/firearms/federal-firearms-licensee-quick-reference-and-best-

                                                                               2 practices-guide); and Don’t Lie for the Other Guy materials from the National Shooting Sports

                                                                               3
                                                                                   Foundation (https://www.dontlie.org/). SnG further responds that it periodically receives and reviews
                                                                               4
                                                                                   copies of all notices, newsletters, etc. that the ATF distributes electronically to federal firearms
                                                                               5
                                                                                   licensees, to train and educate personnel (https://www.atf.gov/firearms/download-firearms-industry-
                                                                               6

                                                                               7 newsletter), but does not retain copies of them. See also privilege log for potentially responsive

                                                                               8 documents withheld from production.

                                                                               9 REQUEST NO. 16: Documents relating to the identity, location, and responsibilities of Your

                                                                              10 employees working on the dates identified in Exhibit A, including but not limited to time sheets, time

                                                                              11
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                                                                                   records, shift tables, staffing assignments or other scheduling documents, and documents identifying
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12
                                                                                   their job titles and/or responsibilities.
                                                                              13
                                                                                   RESPONSE: SnG objects on the grounds that that Plaintiff has failed to establish a nexus between the
                                                                              14

                                                                              15 transactions identified in Exhibit A to any harm caused in Mexico. Subject to the foregoing objection,

                                                                              16 see objections and responses to Requests Nos. 1 and 14.

                                                                              17 REQUEST NO. 17: All documents related to any disciplinary actions or investigations for employees

                                                                              18 involved with the sale of firearms, firearm accessories, and/ or ammunition.
                                                                              19
                                                                                   RESPONSE: SnG objects to this Request on the basis that it is overbroad, vague, and fails to meet the
                                                                              20
                                                                                   particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time
                                                                              21
                                                                                   frame. SnG further objects to this Request on the basis that it seeks irrelevant information that is not
                                                                              22

                                                                              23 reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the

                                                                              24 needs of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because it seeks

                                                                              25 disclosure of records that far exceed the relevant issues in this case as framed by the Complaint.

                                                                              26
                                                                                   Without waiving or limiting the foregoing objections, see privilege log for potentially responsive
                                                                              27
                                                                                   documents withheld from production.
                                                                              28
                                                                                                                                        13
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                                                                               1 REQUEST NO. 18: All documents related to crime, violence or criminal activity in Mexico, including

                                                                               2 but not limited to the problem of firearms being purchased in the U.S. and trafficked or transferred to

                                                                               3
                                                                                   cartels and others in Mexico.
                                                                               4
                                                                                   RESPONSE: SnG objects to this Request on the basis that it is overbroad, vague, and fails to meet the
                                                                               5
                                                                                   particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time
                                                                               6

                                                                               7 frame. Without waiving or limiting the foregoing objections, SnG does not maintain any responsive

                                                                               8 documents in the regular course of business.

                                                                               9 REQUEST NO. 19: All documents relating to suspect sales, straw sales, multiple sales, repeat

                                                                              10 purchases, sales of assault weapons, .50 cal rifles, belt-fed firearms, or the unlawful sale of, diversion of,

                                                                              11
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                                                                                   or trafficking of firearms, the harms caused by such sales and how to identify, report, or mitigate such
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                                                                              12
                                                                                   sales, including but not limited to: (i) any such information received from or sent or issued by a firearms
                                                                              13
                                                                                   manufacturer, dealer, distributor, trade association, or law enforcement; (ii) any such information
                                                                              14

                                                                              15 obtained or prepared by You; and (iii) any such information received from or sent or issued by

                                                                              16 government or law enforcement, such as ATF, DOJ, or state or local police departments.

                                                                              17 RESPONSE: SnG objects to this Request on the basis that it is overbroad, vague, and fails to meet the

                                                                              18 particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time
                                                                              19
                                                                                   frame. SnG further objects to this Request on the basis that it seeks irrelevant information that is not
                                                                              20
                                                                                   reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the
                                                                              21
                                                                                   needs of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because any
                                                                              22

                                                                              23 firearms recovered within the United States that were the subject of “suspect sales, straw sales, multiple

                                                                              24 sales, repeat purchases, sales of assault weapons, .50 cal rifles, belt-fed firearms” cannot be relevant to

                                                                              25 the harm allegedly suffered by Plaintiff in Mexico. Without waiving or limiting the foregoing

                                                                              26
                                                                                   objections, SnG refers Plaintiff to the ATF Form 4473 and all instructions accompanying said form; the
                                                                              27
                                                                                   ATF’s website pertaining to Tools & Services for Firearms Industry and Current Licensees; ATF’s
                                                                              28
                                                                                                                                       14
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                                                                               1 Federal       Firearms   Regulations    Guide       (https://www.atf.gov/firearms/docs/guide/federal-firearms-

                                                                               2 regulations-reference-guide-2014-edition-atf-p-53004/download); the ATF’s State Laws and Published

                                                                               3
                                                                                   Ordinances     –   Firearms   (35th    Edition)     (https://www.atf.gov/firearms/state-laws-and-published-
                                                                               4
                                                                                   ordinances-firearms-35th-edition); ATF’s Federal Firearms Licensee Quick Reference and Best
                                                                               5
                                                                                   Practices     Guide    (https://www.atf.gov/firearms/federal-firearms-licensee-quick-reference-and-best-
                                                                               6

                                                                               7 practices-guide); and Don’t Lie for the Other Guy materials from the National Shooting Sports

                                                                               8 Foundation (https://www.dontlie.org/). SnG further respond that it periodically receives and reviews

                                                                               9 copies of all notices, newsletters, etc. that the ATF distributes electronically to federal firearms

                                                                              10 licensees, to train and educate personnel (https://www.atf.gov/firearms/download-firearms-industry-

                                                                              11
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                                                                                   newsletter), but does not retain copies of them.
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12
                                                                                   REQUEST NO. 20: All documents relating to the risks that firearms, ammunition, firearm accessories,
                                                                              13
                                                                                   assault weapons, .50 cal rifles, or belt-fed firearms, may be obtained by criminals, in the United States,
                                                                              14

                                                                              15 Mexico, or another country, and how to prevent or minimize those risks, including but not limited to: (i)

                                                                              16 any such information received from or sent or issued by a firearms manufacturer, dealer, distributor,

                                                                              17 trade association, or law enforcement; (ii) any such information obtained or prepared by You; and (iii)

                                                                              18 any such information received from or sent or issued by government or law enforcement, such as ATF,
                                                                              19
                                                                                   DOJ, or state or local police departments.
                                                                              20
                                                                                   RESPONSE: See objections and responses to Request No. 19.
                                                                              21
                                                                                   REQUEST NO. 21: All documents related to the sale of firearms sent to or received from other
                                                                              22

                                                                              23 Defendants in this case, manufacturers, dealers, distributors, trade associations, or other firearms

                                                                              24 organizations, including marketing or promotional materials and manuals.

                                                                              25 RESPONSE: SnG objects to this Request on the basis that it is vague, overbroad and fails to meet the

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                                                                                   particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time
                                                                              27
                                                                                   frame. SnG further objects to this Request on the basis that it seeks irrelevant information that is not
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                                                                               1 reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the

                                                                               2 needs of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because it seeks

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                                                                                   disclosure of communications and marketing and promotional materials that far exceed the relevant issues in
                                                                               4
                                                                                   this case as framed by the Complaint.
                                                                               5
                                                                                   REQUEST NO. 22: All documents related to law enforcement actions, including but not limited to
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                                                                                   documents relating to: (i) ATF audits; (ii) ATF inspections; (iii) ATF citations or violations; (iv) ATF
                                                                               7

                                                                               8 demand and warning letters; (v) ATF revocation letters and materials; (vi) materials from ATF meetings

                                                                               9 and conferences; (vii) materials relating to criminal investigations or prosecutions, including gun

                                                                              10 trafficking; (viii) the ATF Demand 2 program; (ix) as well as communications among You, Your

                                                                              11
LORBER, GREENFIELD & OLSEN, LLP




                                                                                   employees, law enforcement, trade associations, or Defendants related to the same.
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12
                                                                                   RESPONSE: SnG objects to this Request on the basis that it is overbroad and fails to meet the
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                                                                                   particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time
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                                                                              15 frame. SnG further objects to this Request on the basis that it seeks irrelevant information that is not

                                                                              16 reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the

                                                                              17 needs of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because it seeks

                                                                              18 disclosure of information, documentation and communications that would relate to issues that never had
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                                                                                   any negative effects in Mexico and far exceed the relevant issues in this case as framed by the
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                                                                                   Complaint. Finally, SnG objects to this Request on the basis that federal law “prohibits the disclosure of
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                                                                                   information required to be kept by licensees pursuant to section 923(g) of title 18, United States Code,
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                                                                              23 or required to be reported pursuant to paragraphs (3) and (7) of such section” and states that “all such

                                                                              24 data shall be immune from legal process, shall not be subject to subpoena or other discovery, shall be

                                                                              25 inadmissible in evidence, and shall not be used, relied on, or disclosed in any manner, nor shall

                                                                              26 testimony or other evidence be permitted based on the data, in a civil action in any State (including the
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                                                                                                                                       16
                                                                                        Case 4:22-cv-00472-RM           Document 89-1         Filed 09/13/24      Page 77 of 277




                                                                               1 District of Columbia) or Federal court . . . .” Pub. Law 112-55, 125 Stat. 609-10. Subject to the

                                                                               2 foregoing objections, see objections and responses to Request No. 13.

                                                                               3
                                                                                   REQUEST NO. 23: All documents related to actual or potential contacts or communications with any
                                                                               4
                                                                                   law enforcement, regulatory, or other government agencies relating to the sale of firearms, ammunitions,
                                                                               5
                                                                                   or firearm accessories, including, but not limited to (i) the ATF; (ii) the United States Federal Bureau of
                                                                               6

                                                                               7 Investigation; (iii) Arizona Department of Public Safety; (iv) the Tucson Police Department; (v) the

                                                                               8 Phoenix Police Department; or (vi) the Yuma Police Department.

                                                                               9 RESPONSE: See objections and responses to Request No. 13.

                                                                              10 REQUEST NO. 24: All documents and records that You have received or sent to the ATF, any

                                                                              11
LORBER, GREENFIELD & OLSEN, LLP




                                                                                   sheriff’s office, and/or other state or federal regulatory agencies related to Your federal firearms
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                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12
                                                                                   license(s) or firearms business, including but not limited to: (i) state and federal licenses to sell firearms,
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                                                                                   firearm accessories and ammunition at Your store location including but not limited to applications,
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                                                                              15 renewals and supporting documents; (ii) all records, citations, warning letters, reports, inspection

                                                                              16 reports, corrective actions or other documents issued or provided to You, including any actual or

                                                                              17 threatened suspension, revocation, or surrender of Your federal firearms licenses; (iii) documents

                                                                              18 relating to any actual or threatened investigation, in addition to any indictment, arrest, or conviction of
                                                                              19
                                                                                   an employee or agent of Your store for violation of a law or regulation relating to firearms, ammunition,
                                                                              20
                                                                                   and or/firearm accessory sales; and (iv) documents and trace requests concerning firearms, ammunition,
                                                                              21
                                                                                   or firearm accessories sold by Your store.
                                                                              22

                                                                              23 RESPONSE: SnG objects to this Request on the basis that it is overbroad and fails to meet the

                                                                              24 particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time

                                                                              25 frame. SnG further objects to this Request on the basis that it seeks irrelevant information that is not

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                                                                                   reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the
                                                                              27
                                                                                   needs of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because it seeks
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                                                                                        Case 4:22-cv-00472-RM          Document 89-1       Filed 09/13/24      Page 78 of 277




                                                                               1 disclosure of communications and records that far exceed the relevant issues in this case as framed by the

                                                                               2 Complaint. SnG also objects to this Request on the basis that federal law “prohibits the disclosure of

                                                                               3 information required to be kept by licensees pursuant to section 923(g) of title 18, United States Code,

                                                                               4
                                                                                   or required to be reported pursuant to paragraphs (3) and (7) of such section” and states that “all such
                                                                               5
                                                                                   data shall be immune from legal process, shall not be subject to subpoena or other discovery, shall be
                                                                               6
                                                                                   inadmissible in evidence, and shall not be used, relied on, or disclosed in any manner, nor shall
                                                                               7

                                                                               8 testimony or other evidence be permitted based on the data, in a civil action in any State (including the

                                                                               9 District of Columbia) or Federal court . . . .” Pub. Law 112-55, 125 Stat. 609-10. Subject to the

                                                                              10 foregoing objections, see objections and responses to Request No. 13.

                                                                              11
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                                                                                   REQUEST NO. 25: All documents related to any sanction, discipline, condition or restriction imposed
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12
                                                                                   on You by a distributor or manufacturer, including any documents relating to any investigation that
                                                                              13
                                                                                   could result in such action or any consideration, discussion or decision about the possibility of such
                                                                              14

                                                                              15 action.

                                                                              16 RESPONSE: SnG objects to this Request on the basis that it is overbroad, vague, and fails to meet the

                                                                              17 particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time

                                                                              18 frame and does not define “sanction, discipline, condition, or restriction.” SnG further objects to this
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                                                                                   Request on the basis that it seeks irrelevant information that is not reasonably calculated to lead to the
                                                                              20
                                                                                   discovery of admissible evidence. Subject to the foregoing objections, SnG is not in possession of any
                                                                              21
                                                                                   responsive documents.
                                                                              22

                                                                              23 REQUEST NO. 26: All documents related to any Defendant’s membership in any trade association.

                                                                              24 RESPONSE: SnG objects to this Request on the basis that it is overbroad and fails to meet the

                                                                              25 particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time

                                                                              26 frame. SnG further objects to this Request on the basis that it seeks irrelevant information that is not
                                                                              27
                                                                                   reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the
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                                                                                       Case 4:22-cv-00472-RM           Document 89-1        Filed 09/13/24     Page 79 of 277




                                                                               1 needs of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because it seeks

                                                                               2 disclosure of membership information that far exceeds the relevant issues in this case as framed by the

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                                                                                   Complaint. SnG further objects on the grounds that the request seeks to infringe on defendant’s First
                                                                               4
                                                                                   Amendment rights of free speech and freedom of association. Subject to the foregoing objections, see
                                                                               5
                                                                                   Bates numbered documents SNG000775.
                                                                               6

                                                                               7 REQUEST NO. 27: All comprehensive general liability and/or property insurance policies, including

                                                                               8 any declaration pages for the insurance policies.

                                                                               9 RESPONSE: SnG objects to this Request on the grounds that “property insurance policies” are not

                                                                              10 relevant and cannot lead to the discovery of admissible evidence. Without waiving or limiting the

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                                                                                   foregoing objection, see SnG’s First Supplemental Initial Disclosure Statement dated June 11, 2024, the
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12
                                                                                   associated production of documents thereto, and documents Bates numbered SNG000776-SNG000900.
                                                                              13
                                                                                   REQUEST NO. 28: All documents related to Your financial and operating results, including but not
                                                                              14

                                                                              15 limited to: (i) documents demonstrating Your overall sales, expenses and profits attributed to the sale of

                                                                              16 firearms, firearm accessories and ammunition; (ii) documents sufficient to identify Your retail sales; (iii)

                                                                              17 Your financial and operating results for firearms and ammunition; (iv) balance sheets; (v) profits and

                                                                              18 loss statements, and (vi) state and federal tax returns.
                                                                              19
                                                                                   RESPONSE: SnG objects to this Request on the basis that it is overbroad and fails to meet the
                                                                              20
                                                                                   particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time
                                                                              21
                                                                                   frame. SnG further objects to this Request on the basis that it seeks irrelevant information that is not
                                                                              22

                                                                              23 reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the

                                                                              24 needs of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because it is

                                                                              25 premature as it seeks financial condition discovery without a prima facie finding of liability. (“The State

                                                                              26
                                                                                   of Arizona has adopted a general rule mandating that ‘prima facie proof of a defendant’s liability for
                                                                              27
                                                                                   punitive damages [is necessary] before his wealth or financial condition may be discovered.’” ReBath
                                                                              28
                                                                                                                                       19
                                                                                        Case 4:22-cv-00472-RM           Document 89-1        Filed 09/13/24      Page 80 of 277




                                                                               1 LLC v. HD Solutions LLC, 2021 WL 1923759 (D. Ariz. May. 13, 2021) (citing Richbourg v. Jimerson,

                                                                               2 No. CV-12-0136-TUC-BGM, 2012 WL 4355906, at *2 (D. Ariz. Sept. 24, 2012); Larriva v. Montiel,

                                                                               3
                                                                                   143 Ariz. 23, 691 P.2d 735, 736 (App.1984))).
                                                                               4
                                                                                   REQUEST NO. 29: All documents which show Your organizational or business structure and
                                                                               5
                                                                                   ownership, including that of Your subsidiaries, affiliates, or corporate parent(s). This includes, but is not
                                                                               6

                                                                               7 limited to, certificates of incorporation, bylaws, shareholders’ agreements, formation certificates,

                                                                               8 partnership agreements, and operating agreements. The Relevant Time Period does not apply to this

                                                                               9 request.

                                                                              10 RESPONSE: SnG objects to this Request on the basis that it is overbroad and fails to meet the

                                                                              11
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                        Telephone (602) 437-4177 / Facsimile (602) 437-4180




                                                                                   particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12
                                                                                   frame. SnG further objects to this Request on the basis that it seeks irrelevant information that is not
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                                                                                   reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the
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                                                                              15 needs of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because it is

                                                                              16 unlimited in time and scope. SnG additionally objects to this Request on the grounds that it constitutes

                                                                              17 an invasion of privacy. Without waiving or limiting the foregoing objections, see response to Request

                                                                              18 No. 1.
                                                                              19
                                                                                   REQUEST NO. 30: All documents related to policies, guidelines, standards, protocols, practices,
                                                                              20
                                                                                   handbooks, or training materials concerning the sale of firearms, firearm accessories, and/or ammunition
                                                                              21
                                                                                   at Your store, including (i) Your Employee Handbook or any other employee manual(s) in effect or used
                                                                              22

                                                                              23 to train employees; (ii) all training videos, power-points, work sheets, or other documents or audiovisual

                                                                              24 used to train employees that sell firearms, firearm accessories, or ammunition; (iii) all resources

                                                                              25 available to employees who sell firearms, firearm accessories, or ammunition created by trade

                                                                              26
                                                                                   associations, firearm manufacturers, ammunition manufactures, other dealers, or law enforcement
                                                                              27
                                                                                   authorities (including but not limited to ATF, FBI or any other law enforcement agency).
                                                                              28
                                                                                                                                        20
                                                                                        Case 4:22-cv-00472-RM               Document 89-1        Filed 09/13/24   Page 81 of 277




                                                                               1 RESPONSE: SnG objects to this Request on the basis that it is overbroad and fails to meet the

                                                                               2 particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time

                                                                               3
                                                                                   frame. SnG further objects to this Request on the basis that it seeks irrelevant information that is not
                                                                               4
                                                                                   reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the
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                                                                                   needs of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because firearms
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                                                                               7 accessories cannot be relevant to the harm allegedly suffered by Plaintiff in Mexico. Without waiving or

                                                                               8 limiting the foregoing objections, SnG refers Plaintiffs to the ATF Form 4473 and all instructions

                                                                               9 accompanying said form; the ATF’s website pertaining to Tools & Services for Firearms Industry and

                                                                              10 Current            Licensees;         ATF’s           Federal        Firearms        Regulations         Guide
                                                                              11
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180




                                                                                   (https://www.atf.gov/firearms/docs/guide/federal-firearms-regulations-reference-guide-2014-edition-atf-
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12
                                                                                   p-53004/download); the ATF’s State Laws and Published Ordinances – Firearms (35th Edition)
                                                                              13
                                                                                   (https://www.atf.gov/firearms/state-laws-and-published-ordinances-firearms-35th-edition);              ATF’s
                                                                              14

                                                                              15 Federal        Firearms         Licensee      Quick      Reference       and     Best     Practices      Guide

                                                                              16 (https://www.atf.gov/firearms/federal-firearms-licensee-quick-reference-and-best-practices-guide); and

                                                                              17 Don’t Lie for the Other Guy materials from the National Shooting Sports Foundation

                                                                              18 (https://www.dontlie.org/). SnG further respond that it periodically receives and reviews copies of all
                                                                              19
                                                                                   notices, newsletters, etc. that the ATF distributes electronically to federal firearms licensees, to train and
                                                                              20
                                                                                   educate personnel (https://www.atf.gov/firearms/download-firearms-industry-newsletter), but does not
                                                                              21
                                                                                   retain copies of them.
                                                                              22

                                                                              23 REQUEST NO. 31: All documents related to the detection of, prevention of, identification of,

                                                                              24 reporting of, or potential or actual consequences related to: suspect sales, straw sales, multiple sales,

                                                                              25 repeat purchases, sales of assault weapons, .50 cal rifles, or belt-fed firearms, trafficking, and/or kitchen

                                                                              26
                                                                                   table dealers.
                                                                              27
                                                                                   RESPONSE: See objections and responses to Requests Nos. 19 and 30.
                                                                              28
                                                                                                                                          21
                                                                                       Case 4:22-cv-00472-RM          Document 89-1        Filed 09/13/24     Page 82 of 277




                                                                               1 REQUEST NO. 32: All documents concerning any formal or informal policy relating to working with

                                                                               2 or cooperating with law enforcement or reporting suspicious activity to any law enforcement agency.

                                                                               3
                                                                                   RESPONSE: See objections and responses to Request Nos. 19, 30, and 31.
                                                                               4
                                                                                   REQUEST NO. 33: All documents relating to marketing, advertising, promoting, and public
                                                                               5
                                                                                   statements related to Your sale of firearms, ammunitions, firearm accessories, and firearm training
                                                                               6

                                                                               7 programs, including but not limited to: flyers, catalogs, mailers, press releases, public statements, and

                                                                               8 postings on all social media sites, websites, internet sites, including but not limited to Google, Facebook,

                                                                               9 X (formerly Twitter), YouTube, Instagram, TikTok, Snapchat, Reddit, 4chan, and Discord.

                                                                              10 RESPONSE: SnG objects to this Request on the basis that it is overbroad and fails to meet the

                                                                              11
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                        Telephone (602) 437-4177 / Facsimile (602) 437-4180




                                                                                   particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12
                                                                                   frame. SnG further objects to this Request on the basis that it seeks irrelevant information that is not
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                                                                                   reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the
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                                                                              15 needs of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because any

                                                                              16 responsive documents are a matter of public record and equally accessible to Plaintiff as they are to

                                                                              17 SnG. Without waiving or limiting the foregoing objections, see https://www.instagram.com/sngtactical/,

                                                                              18 https://x.com/sngtactical?lang=en. SnG previously used, but no longer has access to, a Facebook page
                                                                              19
                                                                                   as well. Please also see documents Bates numbered SNG000901-SNG001243.
                                                                              20
                                                                                   REQUEST NO. 34: Any document relating to a media appearance by You related to Your sale of
                                                                              21
                                                                                   firearms, ammunitions, firearm accessories, or firearm training programs, including documents and
                                                                              22

                                                                              23 communications prepared or exchanged in preparation for those appearances.

                                                                              24 RESPONSE: SnG objects to this Request on the basis that it is overbroad and fails to meet the

                                                                              25 particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time

                                                                              26
                                                                                   frame. SnG further objects to this Request on the basis that it seeks irrelevant information that is not
                                                                              27
                                                                                   reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the
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                                                                                                                                      22
                                                                                        Case 4:22-cv-00472-RM               Document 89-1       Filed 09/13/24     Page 83 of 277




                                                                               1 needs of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because it seeks

                                                                               2 disclosure of communications that far exceed the relevant issues in this case as framed by the Complaint.

                                                                               3
                                                                                   SnG further objects on the grounds that the request seeks to infringe on defendant’s First Amendment
                                                                               4
                                                                                   rights of free speech and freedom of association. Subject to the foregoing objections, SnG is not in
                                                                               5
                                                                                   possession of any responsive documents.
                                                                               6

                                                                               7 REQUEST NO. 35: All documents related to any national or state laws, statutes, regulations, or

                                                                               8 executive orders related to the sale of firearms, ammunition, or firearm accessories and related court

                                                                               9 orders or opinions, including documents related to compliance with those laws, statutes, regulations,

                                                                              10 executive orders court orders, or court opinions.

                                                                              11
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                        Telephone (602) 437-4177 / Facsimile (602) 437-4180




                                                                                   RESPONSE: SnG further objects to this Request on the grounds that it is vague, overly broad, and
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                                                                              12
                                                                                   unduly burdensome. SnG also objects to this Request on the grounds that it fails to be limited to a
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                                                                                   relevant and reasonable time period. SnG further objects to this Request on the grounds that any
                                                                              14

                                                                              15 responsive documents are a matter of public record and equally accessible to Plaintiff as they are to

                                                                              16 SnG. Without waiving or limiting the foregoing objections, SnG refers Plaintiff to the ATF Form 4473

                                                                              17 and all instructions accompanying said form; the ATF’s website pertaining to Tools & Services for

                                                                              18 Firearms      Industry    and     Current    Licensees;    ATF’s      Federal   Firearms   Regulations   Guide
                                                                              19
                                                                                   (https://www.atf.gov/firearms/docs/guide/federal-firearms-regulations-reference-guide-2014-edition-atf-
                                                                              20
                                                                                   p-53004/download); the ATF’s State Laws and Published Ordinances – Firearms (35th Edition)
                                                                              21
                                                                                   (https://www.atf.gov/firearms/state-laws-and-published-ordinances-firearms-35th-edition);              ATF’s
                                                                              22

                                                                              23 Federal        Firearms         Licensee      Quick       Reference       and     Best     Practices     Guide

                                                                              24 (https://www.atf.gov/firearms/federal-firearms-licensee-quick-reference-and-best-practices-guide); and

                                                                              25 Don’t Lie for the Other Guy materials from the National Shooting Sports Foundation

                                                                              26
                                                                                   (https://www.dontlie.org/). SnG further respond that it periodically receives and reviews copies of all
                                                                              27
                                                                                   notices, newsletters, etc. that the ATF distributes electronically to federal firearms licensees, to train and
                                                                              28
                                                                                                                                           23
                                                                                        Case 4:22-cv-00472-RM          Document 89-1         Filed 09/13/24   Page 84 of 277




                                                                               1 educate personnel (https://www.atf.gov/firearms/download-firearms-industry-newsletter), but does not

                                                                               2 retain copies of them.

                                                                               3
                                                                                   REQUEST NO. 36: All documents posted visibly at Your store throughout the Relevant Time Period
                                                                               4
                                                                                   providing warnings or notice to potential customers regarding any and all requirements to purchase
                                                                               5
                                                                                   firearms, ammunition, or firearm accessories.
                                                                               6

                                                                               7 RESPONSE: SnG objects to this Request on the basis that it is overbroad and fails to meet the

                                                                               8 particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time

                                                                               9 frame. Subject to the foregoing objections, see documents Bates numbered SNG001244-SNG001246.

                                                                              10 REQUEST NO. 37: All documents produced to or received from any party or non-party related to or

                                                                              11
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                        Telephone (602) 437-4177 / Facsimile (602) 437-4180




                                                                                   in connection with this action. This request is not limited in time.
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12
                                                                                   RESPONSE: SnG objects to this Request on the grounds that it seeks information that is not reasonably
                                                                              13
                                                                                   calculated to lead to the discovery of admissible evidence. SnG further objects to this Request on the
                                                                              14

                                                                              15 grounds that it is vague, overly broad, and potentially unduly burdensome, depending upon what is

                                                                              16 being requested. SnG also objects to this Request on the grounds that it fails to be limited to any time

                                                                              17 period. SnG additionally objects to this Request to the extent that it calls, partially or exclusively, for

                                                                              18 the production of documents protected by the attorney-client privilege, the attorney work product
                                                                              19
                                                                                   doctrine, the consulting expert privilege, common interest, and/or other applicable privileges or
                                                                              20
                                                                                   immunities.
                                                                              21
                                                                                   REQUEST NO. 38: All documents that You contend support any claim or defense asserted in this
                                                                              22

                                                                              23 litigation.

                                                                              24 RESPONSE: SnG objects to this Request on the grounds that it is premature, in that it constitutes a

                                                                              25 contention request and is covered by the disclosure rules set forth in F.R.C.P. 26. Subject to the

                                                                              26
                                                                                   foregoing objections, SnG refers to all documents reference in and produced in response to the other
                                                                              27

                                                                              28
                                                                                                                                        24
                                                                                        Case 4:22-cv-00472-RM          Document 89-1           Filed 09/13/24   Page 85 of 277




                                                                               1 requests herein, and reserves its right to supplement discovery as the litigation continues, its

                                                                               2 investigation is completed, and fact and expert disclosures are made.

                                                                               3
                                                                                   REQUEST NO. 39: All documents that relate to Your document control, retention, and/or storage
                                                                               4
                                                                                   policies, including but not limited to documents sufficient to show Your document destruction, retention
                                                                               5
                                                                                   or archiving policies and practices and any changes in such policies or practices during the Relevant
                                                                               6

                                                                               7 Time Period.

                                                                               8 RESPONSE: SnG objects to this Request on the grounds that it seeks information that is not reasonably

                                                                               9 calculated to lead to the discovery of admissible evidence. SnG also objects to this Request on the

                                                                              10 grounds that it fails to be limited to a relevant and reasonable time period. Subject to the foregoing

                                                                              11
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                                                                                   objections, SnG’s document retention policy related to firearms transactions and sales is mandated by
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12
                                                                                   federal law. SnG does not maintain a written document retention policy separate and distinct from that
                                                                              13
                                                                                   which is required pursuant to federal and state law.
                                                                              14

                                                                              15 REQUEST NO. 40: All non-privileged documents Your expert witnesses reviewed or relied upon, or

                                                                              16 will review or rely upon, in preparing expert reports for this action.

                                                                              17 RESPONSE: SnG has not determined any witnesses it will designate as testifying expert witnesses, as

                                                                              18 such, SnG is not in possession of any responsive documents.
                                                                              19
                                                                                   REQUEST NO. 41: All documents and materials used to draft or prepare Your Rule 26(f) Initial
                                                                              20
                                                                                   Disclosures and any supplements thereto.
                                                                              21
                                                                                   RESPONSE: SnG objects to this Request on the grounds that it seeks documents that are wholly
                                                                              22

                                                                              23 protected from disclosure based on the attorney work product doctrine and attorney-client privilege, as

                                                                              24 the Rule 26(f) Initial Disclosure Statements were drafted exclusively by counsel.

                                                                              25
                                                                                   Dated: July 24, 2024
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                                                                               1                            RENZULLI LAW FIRM LLP

                                                                               2
                                                                                                            By:   /s/ Jeffrey Malsch
                                                                               3                                  Christopher Renzulli, Esq. (Pro Hac Vice)
                                                                               4                                  Peter Malfa, Esq. (Pro Hac Vice)
                                                                                                                  Jeffrey Malsch, Esq. (Pro Hac Vice)
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                                                                                                            LORBER, GREENFIELD & OLSEN, LLP
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                                                                                                                  Louis W. Horowitz, Esq.
                                                                               8                                  3930 E. Ray Road, Suite 260
                                                                                                                  Phoenix, AZ 85044
                                                                               9

                                                                              10                                  Attorneys for Defendants
                                                                                                                  Diamondback Shooting Sports, Inc.,
                                                                              11                                  Loan Prairie, LLC d/b/a The Hub,
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180




                                                                                                                  SnG Tactical, LLC and
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12                                  Sprague’s Sports, Inc.

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                                                                               1                                   CERTIFICATE OF SERVICE

                                                                               2

                                                                               3        I HEREBY CERTIFY that on this 24th day of July, 2024, I served the foregoing on all counsel

                                                                               4 of record according to the CM/ECF system, as follows:

                                                                               5 Ryan O'Neal, Esq.
                                                                                 DECONCINI MCDONALD YETWIN &
                                                                               6 LACY, P.C.
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                                                                               7
                                                                                 Tucson, AZ 85716-5300
                                                                               8 roneal@dmyl.com
                                                                                 Attorneys for Plaintiff
                                                                               9
                                                                                 Steve D. Shadowen, Esq. (Pro Hac Vice)
                                                                              10 Nicholas W. Shadowen, Esq. (Pro Hac Vice)

                                                                              11 Tina J. Miranda, Esq. (Pro Hac Vice)
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                                                                              16 Attorneys for Plaintiff

                                                                              17 Jonathan E. Lowy, Esq. (Pro Hac Vice)
                                                                                 GLOBAL ACTION ON GUN VIOLENCE
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                                                                              20 Attorneys for Plaintiff

                                                                              21 Colt B. Dodrill
                                                                                 Brian E. Cieniawski
                                                                              22 WILSON ELSER MOSKOWITZ EDELMAN & DICKER LLP

                                                                              23 2231 East Camelback Road, Suite 200
                                                                                 Phoenix, AZ 85016
                                                                              24 Attorneys for Defendant Ammo A-Z, LLC

                                                                              25

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                                                                                      Case 4:22-cv-00472-RM      Document 89-1       Filed 09/13/24   Page 88 of 277




                                                                               1 Anthony Pisciotti, Esq. (Pro Hac Vice)
                                                                                 Danny Lallis, Esq. (Pro Hac Vice)
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                                                                               6 Attorneys for Defendant Ammo A-Z, LLC

                                                                               7                                          By: /s/ Jeffrey Malsch
                                                                               8

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   EXHIBIT 4
                                                                                       Case 4:22-cv-00472-RM      Document 89-1     Filed 09/13/24   Page 90 of 277




                                                                               1 LORBER, GREENFIELD & OLSEN, LLP
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                                                                                 pmalfa@renzullilaw.com
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                                                                                 jmalsch@renzullilaw.com
                                                                              13
                                                                                 Attorneys for Defendants Diamondback Shooting Sports, Inc.,
                                                                              14 Loan Prairie, LLC d/b/a The Hub, SNG Tactical, LLC and Sprague’s Sports, Inc.

                                                                              15                       IN THE UNITED STATES DISTRICT COURT
                                                                              16                               DISTRICT OF ARIZONA

                                                                              17   Estados Unidos Mexicanos,
                                                                              18
                                                                                                            Plaintiff,
                                                                              19 vs.                                              Case No: 4:22-cv-00472-TUC-RM

                                                                              20
                                                                                   Diamondback Shooting Sports, Inc., an
                                                                              21 Arizona corporation; SNG Tactical, LLC,

                                                                              22
                                                                                 an Arizona limited liability company;
                                                                                 Loan Prairie, LLC D/B/A The Hub, an
                                                                              23 Arizona limited liability company; Ammo
                                                                                 A-Z, LLC, an Arizona limited liability
                                                                              24 company; Sprague’s Sports, Inc., an

                                                                              25 Arizona corporation,

                                                                              26                            Defendants.
                                                                              27

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                                                                                        Case 4:22-cv-00472-RM          Document 89-1        Filed 09/13/24     Page 91 of 277




                                                                               1    DEFENDANT LOAN PRAIRIE LLC’S OBJECTIONS AND RESPONSES TO PLAINTIFF’S
                                                                                           FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
                                                                               2

                                                                               3          Defendant Loan Prairie, LLC d/b/a The Hub (“Loan Prairie”), by and through its attorneys,

                                                                               4 Renzulli Law Firm, LLP and Lorber, Greenfield & Olsen, LLP, hereby serves its objections and

                                                                               5 responses to Plaintiff’s First Set of Request for Production of Documents as follows:

                                                                               6
                                                                                                                      PRELIMINARY STATEMENT
                                                                               7
                                                                                          Loan Prairie has not fully completed its investigation of the facts relating to this case, has not
                                                                               8
                                                                                   fully completed discovery in this action and has not completed preparation for trial. Thus, the responses
                                                                               9
                                                                                   contained herein are based only upon the information and documents which are presently available to
                                                                              10

                                                                              11 and specifically known to it. It is anticipated that further discovery and investigation will supply
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                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12 additional facts which will, in turn, clarify and add meaning to known facts, as well as to establish

                                                                              13 entirely new factual matters, all of which may lead to substantial changes in, and variations from the

                                                                              14
                                                                                   contentions and information herein set forth.
                                                                              15
                                                                                          The following responses are provided without prejudice to Loan Prairie’s right to produce
                                                                              16
                                                                                   evidence of any subsequently discovered facts. Loan Prairie, accordingly, reserves the right to amend,
                                                                              17

                                                                              18 modify, and/or supplement any and all responses herein as additional facts are ascertained, analyses
                                                                              19 made, legal research completed, expert opinions exchanged, and contentions formulated.

                                                                              20          Loan Prairie is responding to Plaintiff’s Requests pursuant to the Federal Rules of Civil
                                                                              21 Procedure and applicable state law. In answering these Requests, Loan Prairie is interpreting words used

                                                                              22
                                                                                   by Plaintiff according to their ordinary and normal meaning where such meaning can be easily
                                                                              23
                                                                                   ascertained. Loan Prairie expressly reserves the right to challenge the relevancy, materiality,
                                                                              24
                                                                                   admissibility, and probative value of the information contained in its responses to the Requests.
                                                                              25

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                                                                               1                            GENERAL OBJECTIONS AND RESERVATIONS

                                                                               2          Each response and objection provided by Loan Prairie in response to Plaintiff’s discovery
                                                                               3
                                                                                   demands herein is subject to the following General Objections and Reservations, each of which is
                                                                               4
                                                                                   hereby incorporated into each of Loan Prairie’s responses.
                                                                               5
                                                                                          1.      Loan Prairie objects to several of Plaintiff’s definitions as being overly broad and
                                                                               6

                                                                               7 inconsistent with the practice and customs of the firearms industry, including, Plaintiff’s expansive and

                                                                               8 incorrect definitions of “Ammunition,” “Assault Weapon,” “Civilian Market,” “Dealer,” “Distributor,”

                                                                               9 “.50 Sniper rifle(s),” “.50 cal rifle(s),” “Firearm Accessory,” “Kitchen Table Dealer,” “Multiple sale(s),”

                                                                              10 “Straw sale,” “Suspect Purchaser(s),” “Suspect Sale(s),” “Trafficking,” and “Trade Association.”

                                                                              11
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                                                                                          2.      Loan Prairie objects to the inclusion of the following as being considered equal to or part
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12
                                                                                   of Loan Prairie: predecessors, wholly-owned or controlled subsidiaries or affiliates, successors, parents,
                                                                              13
                                                                                   other subsidiaries, joint ventures, other affiliates and any organization or entity that Loan Prairie
                                                                              14

                                                                              15 manages or controls, including those merged with or acquired, together with all present and former

                                                                              16 directors, officers, employees, agents, attorneys, representatives or any persons acting or purporting to

                                                                              17 act on their behalf. Loan Prairie denies it has an obligation to search for or produce records in the

                                                                              18 possession of any such entities.
                                                                              19
                                                                                          3.      Loan Prairie objects to the “Relevant Time Period” as being January 1, 2010 to the
                                                                              20
                                                                                   present. A generalized fourteen (14) year discovery period for a civil action with a statute of limitations
                                                                              21
                                                                                   of either 1 year or 2 years is patently unreasonable.
                                                                              22

                                                                              23          4.      Loan Prairie objects to the production of any documents related to or generated by The

                                                                              24 Hub’s Mesa, Arizona or Lakeside, Arizona locations on the basis that Plaintiff has not identified any

                                                                              25 allegedly illegal transactions of firearms from those locations. As such, documents maintained,

                                                                              26
                                                                                   generated, or related to the Mesa, Arizona or Lakeside, Arizona locations are irrelevant, not reasonably
                                                                              27

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                                                                               1 calculated to lead to the discovery of admissible evidence, and not proportional to the needs of the case

                                                                               2 as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure.

                                                                               3
                                                                                          Nothing herein shall be construed as an admission by Loan Prairie with respect to the
                                                                               4
                                                                                   admissibility or relevance of any fact or documents.
                                                                               5
                                                                                                OBJECTIONS AND RESPONSES TO REQUESTS FOR PRODUCTION
                                                                               6

                                                                               7 REQUEST NO. 1:           Your organizational charts, employee lists, personnel directories, telephone

                                                                               8 directories, and electronic mail user and address lists sufficient to show all personnel, including their

                                                                               9 jobs or titles and any contact information.

                                                                              10 RESPONSE: Loan Prairie objects to this Request on the basis that it is overbroad and fails to meet the

                                                                              11
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                                                                                   particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12
                                                                                   frame. Loan Prairie further objects to this Request on the basis that it seeks irrelevant information that is
                                                                              13
                                                                                   not reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the
                                                                              14

                                                                              15 needs of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because it would

                                                                              16 include employees and former employees who had no involvement in firearm sales. Without waiving or

                                                                              17 limiting the foregoing objections, see documents Bates numbered LP000788-LP000833. Please also see

                                                                              18 Loan Prairie’s Rule 26 Initial Disclosure statements with a list of employees involved in the firearms
                                                                              19
                                                                                   transactions identified in the Complaint.
                                                                              20
                                                                                   REQUEST NO. 2: All documents relating to recording and tracking Your firearm, ammunition, and/or
                                                                              21
                                                                                   firearm accessory sales, which were kept and/or maintained by You during the Relevant Time Period,
                                                                              22

                                                                              23 including but not limited to: (i) A & D books; (ii) records of sale; and (iii) any computerized, accounting

                                                                              24 or other system that contains the requested information.

                                                                              25 RESPONSE: Loan Prairie objects to this Request on the basis that it seeks irrelevant information that is

                                                                              26
                                                                                   not reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the
                                                                              27
                                                                                   needs of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because it seeks
                                                                              28
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                                                                               1 disclosure of sales and accounting materials that far exceed the relevant issues in this case as framed by

                                                                               2 the Complaint. Loan Prairie also objects to this Request on the basis that federal law “prohibits the

                                                                               3
                                                                                   disclosure of information required to be kept by licensees pursuant to section 923(g) of title 18, United
                                                                               4
                                                                                   States Code, or required to be reported pursuant to paragraphs (3) and (7) of such section” and states that
                                                                               5
                                                                                   “all such data shall be immune from legal process, shall not be subject to subpoena or other discovery,
                                                                               6

                                                                               7 shall be inadmissible in evidence, and shall not be used, relied on, or disclosed in any manner, nor shall

                                                                               8 testimony or other evidence be permitted based on the data, in a civil action in any State (including the

                                                                               9 District of Columbia) or Federal court . . . .” Pub. Law 112-55, 125 Stat. 609-10. Without waiving or

                                                                              10 limiting the foregoing objections, see invoices Bates numbered LP000764-LP000771. Please also see

                                                                              11
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                                                                                   privilege log for documents withheld from production based on applicable privilege(s).
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12
                                                                                   REQUEST NO. 3:        All documents relating to recording and tracking Your firearm, ammunition,
                                                                              13
                                                                                   and/or firearm purchases, which were kept and/or maintained by You during the Relevant Time Period,
                                                                              14

                                                                              15 including but not limited to: (i) A& D books; (ii) invoices; (iii) weekly, monthly, or annual purchase

                                                                              16 summaries; (iv) records of purchase; and (v) contracts with manufacturers, distributors, or dealers, and

                                                                              17 (vi) any computerized, accounting or other system that contains the requested information.

                                                                              18 RESPONSE: Loan Prairie objects to this Request on the basis that it seeks irrelevant information that is
                                                                              19
                                                                                   not reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the
                                                                              20
                                                                                   needs of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because it seeks
                                                                              21
                                                                                   disclosure of purchase and accounting materials that far exceed the relevant issues in this case as framed
                                                                              22

                                                                              23 by the Complaint. Loan Prairie also objects to this Request on the basis that federal law “prohibits the

                                                                              24 disclosure of information required to be kept by licensees pursuant to section 923(g) of title 18, United

                                                                              25 States Code, or required to be reported pursuant to paragraphs (3) and (7) of such section” and states that

                                                                              26
                                                                                   “all such data shall be immune from legal process, shall not be subject to subpoena or other discovery,
                                                                              27
                                                                                   shall be inadmissible in evidence, and shall not be used, relied on, or disclosed in any manner, nor shall
                                                                              28
                                                                                                                                       5
                                                                                        Case 4:22-cv-00472-RM           Document 89-1        Filed 09/13/24      Page 95 of 277




                                                                               1 testimony or other evidence be permitted based on the data, in a civil action in any State (including the

                                                                               2 District of Columbia) or Federal court . . . .” Pub. Law 112-55, 125 Stat. 609-10. Without waiving or

                                                                               3
                                                                                   limiting the foregoing objections, see documents Bates numbered LP000742-LP000763; LP000836.
                                                                               4
                                                                                   Please also see privilege log for documents withheld from production based on applicable privilege(s).
                                                                               5
                                                                                   Loan Prairie is still in the process of searching for additional non-privileged documents responsive to
                                                                               6

                                                                               7 this Request. As such, Loan Prairie may supplement its response to this Request at a later date.

                                                                               8 REQUEST NO. 4: Electronically stored information in a tab-, comma-, or semicolon-delimited ASCII

                                                                               9 flat text file or similar electronic format sufficient to identify all of Your sales of firearms, ammunition,

                                                                              10 and firearm accessories during the Relevant Time Period in a transaction-by-transaction format,

                                                                              11
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                        Telephone (602) 437-4177 / Facsimile (602) 437-4180




                                                                                   including but not limited to: (i) time of sale; (ii) date of sale; (iii) location of sale; (iv) employee that
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                                                                              12
                                                                                   made the sale; (v) age, gender, occupation, nationality, and residence of purchaser; (vi) amount of
                                                                              13
                                                                                   ammunition sold; (vii) number of firearms sold; (viii) caliber and manufacturer, model, and type (e.g.,
                                                                              14

                                                                              15 handgun, rifle shotgun, semi-automatic) of each firearm sold; (ix) serial number of each firearm sold; (x)

                                                                              16 price of firearm and ammunition sold; (xi) any other identifying information related to the purchaser;

                                                                              17 (xii) information related to purchaser’s criminal history or background check; (xiii) any other

                                                                              18 information related to the product sold.
                                                                              19
                                                                                   RESPONSE: See objections and response to Request No. 2.
                                                                              20
                                                                                   REQUEST NO. 5: Electronically stored information in a tab-, comma-, or semicolon-delimited ASCII
                                                                              21
                                                                                   flat text file or similar electronic format sufficient to identify all of Your purchases of firearms,
                                                                              22

                                                                              23 ammunition, and firearm accessories during the Relevant Time Period in a transaction-by-transaction

                                                                              24 format, including but not limited to: (i) time of purchase; (ii) date of purchase; (iii) manufacturer,

                                                                              25 distributor, or other entity You purchased from; (iv) amount of ammunition purchased; (v) number of

                                                                              26
                                                                                   firearms purchased; (vi) caliber and manufacturer, model, and type (e.g., handgun, rifle shotgun, semi-
                                                                              27
                                                                                   automatic) of each firearm purchased; (vii) serial number of each firearm purchased; (viii) price of
                                                                              28
                                                                                                                                        6
                                                                                        Case 4:22-cv-00472-RM          Document 89-1       Filed 09/13/24      Page 96 of 277




                                                                               1 firearm and ammunition purchased; (ix) any other identifying information related to the seller; (x) any

                                                                               2 other information related to the product purchased.

                                                                               3
                                                                                   RESPONSE: See objections and response to Request No. 3.
                                                                               4
                                                                                   REQUEST NO. 6:          All Firearm Transaction Records (ATF Form 4473’s) for all Firearms listed on the
                                                                               5
                                                                                   attached (Exhibit A).
                                                                               6

                                                                               7 RESPONSE: Loan Prairie objects to this Request to the extent that it seeks disclosure of information or

                                                                               8 documents in the possession, custody, or control of any other parties. Loan Prairie further objects to this

                                                                               9 Request on the basis that federal law “prohibits the disclosure of information required to be kept by

                                                                              10 licensees pursuant to section 923(g) of title 18, United States Code, or required to be reported pursuant

                                                                              11
LORBER, GREENFIELD & OLSEN, LLP




                                                                                   to paragraphs (3) and (7) of such section” and states that “all such data shall be immune from legal
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12
                                                                                   process, shall not be subject to subpoena or other discovery, shall be inadmissible in evidence, and shall
                                                                              13
                                                                                   not be used, relied on, or disclosed in any manner, nor shall testimony or other evidence be permitted
                                                                              14

                                                                              15 based on the data, in a civil action in any State (including the District of Columbia) or Federal court . . .

                                                                              16 .” Pub. Law 112-55, 125 Stat. 609-10. Loan Prairie further objects to this Request on the basis that

                                                                              17 Plaintiff has not established a nexus between the transactions identified in Exhibit A of its First Requests

                                                                              18 for the Production of Documents and any harm to Mexico. Without waiving or limiting the foregoing
                                                                              19
                                                                                   objections, please see privilege log for documents withheld from production based on applicable
                                                                              20
                                                                                   privilege(s).
                                                                              21
                                                                                   REQUEST NO. 7: All Multiple Sales Forms (ATF Form 3310.4) drafted or submitted during the
                                                                              22

                                                                              23 Relevant Time Period.

                                                                              24 RESPONSE: Loan Prairie objects to this Request on the basis that it seeks irrelevant information that is

                                                                              25 not reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the

                                                                              26
                                                                                   needs of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because it seeks
                                                                              27
                                                                                   disclosure of transactional forms that far exceed the relevant issues in this case as framed by the
                                                                              28
                                                                                                                                       7
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                                                                               1 Complaint. Loan Prairie also objects to this Request on the basis that federal law “prohibits the

                                                                               2 disclosure of information required to be kept by licensees pursuant to section 923(g) of title 18, United

                                                                               3
                                                                                   States Code, or required to be reported pursuant to paragraphs (3) and (7) of such section” and states that
                                                                               4
                                                                                   “all such data shall be immune from legal process, shall not be subject to subpoena or other discovery,
                                                                               5
                                                                                   shall be inadmissible in evidence, and shall not be used, relied on, or disclosed in any manner, nor shall
                                                                               6

                                                                               7 testimony or other evidence be permitted based on the data, in a civil action in any State (including the

                                                                               8 District of Columbia) or Federal court . . . .” Pub. Law 112-55, 125 Stat. 609-10. Without waiving or

                                                                               9 limiting the foregoing objections, please see privilege log for documents withheld from production

                                                                              10 based on applicable privilege(s).

                                                                              11
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                        Telephone (602) 437-4177 / Facsimile (602) 437-4180




                                                                                   REQUEST NO. 8: All Rifle Sales Forms (ATF Form 3310.12) drafted or submitted during the
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12
                                                                                   Relevant Time Period.
                                                                              13
                                                                                   RESPONSE: Loan Prairie objects to this Request on the basis that it seeks irrelevant information that is
                                                                              14

                                                                              15 not reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the

                                                                              16 needs of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because it seeks

                                                                              17 disclosure of transactional forms that far exceed the relevant issues in this case as framed by the

                                                                              18 Complaint. Loan Prairie also objects to this Request on the basis that federal law “prohibits the
                                                                              19
                                                                                   disclosure of information required to be kept by licensees pursuant to section 923(g) of title 18, United
                                                                              20
                                                                                   States Code, or required to be reported pursuant to paragraphs (3) and (7) of such section” and states that
                                                                              21
                                                                                   “all such data shall be immune from legal process, shall not be subject to subpoena or other discovery,
                                                                              22

                                                                              23 shall be inadmissible in evidence, and shall not be used, relied on, or disclosed in any manner, nor shall

                                                                              24 testimony or other evidence be permitted based on the data, in a civil action in any State (including the

                                                                              25 District of Columbia) or Federal court . . . .” Pub. Law 112-55, 125 Stat. 609-10. Without waiving or

                                                                              26
                                                                                   limiting the foregoing objections, please see privilege log for documents withheld from production
                                                                              27
                                                                                   based on applicable privilege(s).
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                                                                               1 REQUEST NO. 9:           All documents reflecting the multiple sale of firearms or ammunition not recorded

                                                                               2 on ATF Forms 3310.4 or 3310.12.

                                                                               3
                                                                                   RESPONSE: Loan Prairie objects to this Request on the grounds that it is vague, overly broad, and
                                                                               4
                                                                                   unduly burdensome (assuming the Request concerns the “Relevant Time Period), as the “multiple sale
                                                                               5
                                                                                   of ammunition” is non-sensical and ambiguous, it is unknown what documents are being sought related
                                                                               6

                                                                               7 to the “multiple sale of firearms” other than what has been requested in the prior requests, and to

                                                                               8 produce any such unknown documents for the past 14 years by definition would be unduly burdensome

                                                                               9 in terms of a search and potential production. If the request is seeking additional documents required to

                                                                              10 be maintained by FFLs by ATF, Loan Prairie also objects to this Request on the basis that federal law

                                                                              11
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                                                                                   “prohibits the disclosure of information required to be kept by licensees pursuant to section 923(g) of
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                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12
                                                                                   title 18, United States Code, or required to be reported pursuant to paragraphs (3) and (7) of such
                                                                              13
                                                                                   section” and states that “all such data shall be immune from legal process, shall not be subject to
                                                                              14

                                                                              15 subpoena or other discovery, shall be inadmissible in evidence, and shall not be used, relied on, or

                                                                              16 disclosed in any manner, nor shall testimony or other evidence be permitted based on the data, in a civil

                                                                              17 action in any State (including the District of Columbia) or Federal court . . . .” Pub. Law 112-55, 125

                                                                              18 Stat. 609-10. Without waiving or limiting the foregoing objections, see invoice Bates numbered
                                                                              19
                                                                                   LP000764.
                                                                              20
                                                                                   REQUEST NO. 10: All documents and communications related to the firearm sales identified in
                                                                              21
                                                                                   Exhibit A or any other suspect sales, straw sales, multiple sales, repeat purchases, sales of assault
                                                                              22

                                                                              23 weapons, .50 cal rifles, belt-fed firearms sold or transferred by You or any Defendant in this litigation,

                                                                              24 including but not limited to all records of such sales, background checks related to such sales,

                                                                              25 identification information related to the purchaser, any other information related to the purchaser, and

                                                                              26
                                                                                   any paper or electronic notes related to such sales.
                                                                              27

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                                                                               1 RESPONSE: Loan Prairie objects to this Request on the basis that it is overbroad and fails to meet the

                                                                               2 particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time

                                                                               3
                                                                                   frame. Loan Prairie further objects to this Request on the basis that it seeks irrelevant information that is
                                                                               4
                                                                                   not reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the
                                                                               5
                                                                                   needs of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because it seeks
                                                                               6

                                                                               7 disclosure of transactional forms that far exceed the relevant issues in this case as framed by the

                                                                               8 Complaint. Loan Prairie also objects to this Request on the basis that federal law “prohibits the

                                                                               9 disclosure of information required to be kept by licensees pursuant to section 923(g) of title 18, United

                                                                              10 States Code, or required to be reported pursuant to paragraphs (3) and (7) of such section” and states that

                                                                              11
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                                                                                   “all such data shall be immune from legal process, shall not be subject to subpoena or other discovery,
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                                                                              12
                                                                                   shall be inadmissible in evidence, and shall not be used, relied on, or disclosed in any manner, nor shall
                                                                              13
                                                                                   testimony or other evidence be permitted based on the data, in a civil action in any State (including the
                                                                              14

                                                                              15 District of Columbia) or Federal court . . . .” Pub. Law 112-55, 125 Stat. 609-10. Loan Prairie further

                                                                              16 objects to this Request on the basis that Plaintiff has not established a nexus between the transactions

                                                                              17 identified in Exhibit A of its First Requests for the Production of Documents and any harm to Mexico.

                                                                              18 Without waiving or limiting the foregoing objections, see invoices Bates numbered LP000764-
                                                                              19
                                                                                   LP000771. Please also see privilege log for documents withheld from production based on applicable
                                                                              20
                                                                                   privilege(s).
                                                                              21
                                                                                   REQUEST NO. 11: All video and audio recordings of activity within or outside of Your store showing
                                                                              22

                                                                              23 employees or purchasers, including audio or video recordings involving suspect sales, straw sales,

                                                                              24 multiple sales, repeat purchases, sales of assault weapons, .50 cal rifles, or belt-fed firearms, including

                                                                              25 all video and/or audio recordings on the dates of purchase identified in Exhibit A and sales of firearms

                                                                              26
                                                                                   that were later traced or the subject of criminal proceedings.
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                                                                                       Case 4:22-cv-00472-RM          Document 89-1        Filed 09/13/24     Page 100 of 277




                                                                               1 RESPONSE: Loan Prairie objects to this Request on the grounds that it seeks information that is not

                                                                               2 reasonably calculated to lead to the discovery of admissible evidence, especially regarding the request

                                                                               3
                                                                                   for such items related to “multiple sales, repeat purchases, sales of assault weapons, .50 cal rifles, or
                                                                               4
                                                                                   belt-fed firearms” as all of these transactions are legal, and in and of themselves, raise no suspicion or
                                                                               5
                                                                                   concern. Loan Prairie further objects to this Request on the grounds that it is vague and overly broad.
                                                                               6

                                                                               7 Loan Prairie further objects to this Request on the basis that Plaintiff has not established a nexus

                                                                               8 between the transactions identified in Exhibit A of its First Requests for the Production of Documents

                                                                               9 and any harm to Mexico. Without waiving or limiting the foregoing objections, Loan Prairie is not in

                                                                              10 possession of any responsive recordings.

                                                                              11
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                                                                                   REQUEST NO. 12: Documents sufficient to show the existence and availability of video or audio
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                                                                              12
                                                                                   surveillance systems (including cameras or any other recording devices) operable in or around Your
                                                                              13
                                                                                   stores, when such systems were installed, where they were installed, why they were installed, and
                                                                              14

                                                                              15 policies related to recording such video or audio and retaining such recordings.

                                                                              16 RESPONSE: Loan Prairie objects to this Request on the grounds that it seeks information that is not

                                                                              17 reasonably calculated to lead to the discovery of admissible evidence. Loan Prairie further objects to this

                                                                              18 Request on the ground that it is overly broad, in that a 14 year history of video or audio surveillance
                                                                              19
                                                                                   systems is patently unreasonable. Without waiving or limiting the foregoing objections, see invoices
                                                                              20
                                                                                   Bates numbered LP000772-LP000785.
                                                                              21
                                                                                   REQUEST NO. 13: All documents related to any firearms, ammunition, and or firearm accessories
                                                                              22

                                                                              23 sold or transferred by You for which You know or have reason to believe have been (i) used, recovered,

                                                                              24 and/or investigated by law enforcement in connection with an alleged crime or unauthorized use; (ii) the

                                                                              25 subject of a trace, or (iii) otherwise recovered by law enforcement, including but not limited to trace

                                                                              26
                                                                                   requests and responses and firearms trafficking or straw purchasing investigations or prosecutions.
                                                                              27

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                                                                                       Case 4:22-cv-00472-RM           Document 89-1          Filed 09/13/24    Page 101 of 277




                                                                               1 RESPONSE: Loan Prairie objects to this Request on the basis that it is overbroad and fails to meet the

                                                                               2 particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time

                                                                               3
                                                                                   frame. Loan Prairie further objects to this Request on the basis that it seeks irrelevant information that is
                                                                               4
                                                                                   not reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the
                                                                               5
                                                                                   needs of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because any
                                                                               6

                                                                               7 firearms recovered within the United States that were “used, recovered, and/or investigated by law

                                                                               8 enforcement in connection with an alleged crime or unauthorized use” cannot be relevant to the harm

                                                                               9 allegedly suffered by Plaintiff in Mexico. Loan Prairie also objects to this Request on the basis that

                                                                              10 federal law “prohibits the disclosure of information required to be kept by licensees pursuant to section

                                                                              11
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                        Telephone (602) 437-4177 / Facsimile (602) 437-4180




                                                                                   923(g) of title 18, United States Code, or required to be reported pursuant to paragraphs (3) and (7) of
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                                                                              12
                                                                                   such section” and states that “all such data shall be immune from legal process, shall not be subject to
                                                                              13
                                                                                   subpoena or other discovery, shall be inadmissible in evidence, and shall not be used, relied on, or
                                                                              14

                                                                              15 disclosed in any manner, nor shall testimony or other evidence be permitted based on the data, in a civil

                                                                              16 action in any State (including the District of Columbia) or Federal court . . . .” Pub. Law 112-55, 125

                                                                              17 Stat. 609-10. Please also see privilege log for documents withheld from production based on applicable

                                                                              18 privilege(s). Without waiving or limiting the foregoing objections, Loan Prairie is still in the process of
                                                                              19
                                                                                   searching for non-privileged documents responsive to this Request. As such, Loan Prairie may
                                                                              20
                                                                                   supplement its response to this Request at a later date.
                                                                              21
                                                                                   REQUEST NO. 14: Documents sufficient to show the identities of Your employees or people You
                                                                              22

                                                                              23 contracted with or retained to sell or purchase firearms during the Relevant Time Period.

                                                                              24 RESPONSE: See objections and responses to Request No. 1.

                                                                              25 REQUEST NO. 15: All documents concerning employees who participated in or were present at (a)

                                                                              26
                                                                                   the sale of any firearm for which You received a Trace Request, (b) the sale of any firearm to a person
                                                                              27
                                                                                   who was charged with violations of firearms laws, or (c) the sale of any firearm to any of the purchasers
                                                                              28
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                                                                               1 identified in Exhibit A, including, but not limited to all employment records, human resources records,

                                                                               2 personnel records (including employment applications, references), disciplinary records, job titles and

                                                                               3
                                                                                   responsibilities, training documents and records reflecting or concerning any training You provided to
                                                                               4
                                                                                   those employees, including training module worksheets and signed employee handbooks pages.
                                                                               5
                                                                                   RESPONSE: Loan Prairie objects to this Request on the basis that it is overbroad and fails to meet the
                                                                               6

                                                                               7 particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time

                                                                               8 frame. Loan Prairie further objects to this Request on the basis that it seeks irrelevant information that is

                                                                               9 not reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the

                                                                              10 needs of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because any

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                                                                                   firearms recovered within the United States that were “used, recovered, and/or investigated by law
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                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12
                                                                                   enforcement in connection with an alleged crime or unauthorized use” cannot be relevant to the harm
                                                                              13
                                                                                   allegedly suffered by Plaintiff in Mexico. Without waiving or limiting the foregoing objections,
                                                                              14

                                                                              15 Defendant refers Plaintiff to the ATF Form 4473 and all instructions accompanying said form available

                                                                              16 on ATF’s website; the ATF’s website pertaining to Tools & Services for Firearms Industry and Current

                                                                              17 Licensees;             ATF’s             Federal           Firearms            Regulations            Guide
                                                                              18 (https://www.atf.gov/firearms/docs/guide/federal-firearms-regulations-reference-guide-2014-edition-atf-
                                                                              19
                                                                                   p-53004/download); the ATF’s State Laws and Published Ordinances – Firearms (35th Edition)
                                                                              20
                                                                                   (https://www.atf.gov/firearms/state-laws-and-published-ordinances-firearms-35th-edition);           ATF’s
                                                                              21
                                                                                   Federal     Firearms      Licensee       Quick      Reference       and     Best      Practices     Guide
                                                                              22

                                                                              23 (https://www.atf.gov/firearms/federal-firearms-licensee-quick-reference-and-best-practices-guide); and

                                                                              24 Don’t Lie for the Other Guy materials from the National Shooting Sports Foundation

                                                                              25 (https://www.dontlie.org/). Loan Prairie further responds that it periodically receives and reviews copies

                                                                              26
                                                                                   of all notices, newsletters, etc. that the ATF distributes electronically to federal firearms licensees, to
                                                                              27
                                                                                   train and educate personnel (https://www.atf.gov/firearms/download-firearms-industry-newsletter), but
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                                                                               1 does not retain copies of them. See also privilege log for potentially responsive documents withheld

                                                                               2 from production.

                                                                               3
                                                                                   REQUEST NO. 16: Documents relating to the identity, location, and responsibilities of Your
                                                                               4
                                                                                   employees working on the dates identified in Exhibit A, including but not limited to time sheets, time
                                                                               5
                                                                                   records, shift tables, staffing assignments or other scheduling documents, and documents identifying
                                                                               6

                                                                               7 their job titles and/or responsibilities.

                                                                               8 RESPONSE: Loan Prairie objects on the grounds that that Plaintiff has failed to establish a nexus

                                                                               9 between the transactions identified in Exhibit A to any harm caused in Mexico. Subject to the foregoing

                                                                              10 objection, see additional objections and responses to Requests Nos. 1 and 14.

                                                                              11
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                                                                                   REQUEST NO. 17: All documents related to any disciplinary actions or investigations for employees
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                                                                              12
                                                                                   involved with the sale of firearms, firearm accessories, and/or ammunition.
                                                                              13
                                                                                   RESPONSE: Loan Prairie objects to this Request on the basis that it is overbroad, vague, and fails to
                                                                              14

                                                                              15 meet the particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a

                                                                              16 specific time frame. Loan Prairie further objects to this Request on the basis that it seeks irrelevant

                                                                              17 information that is not reasonably calculated to lead to the discovery of admissible evidence, and is not

                                                                              18 proportional to the needs of the case as required by Rule 26(b)(1) of the Federal Rules of Civil
                                                                              19
                                                                                   Procedure because it seeks disclosure of records that far exceed the relevant issues in this case as framed
                                                                              20
                                                                                   by the Complaint. Subject to the foregoing objections, Loan Prairie is not in possession of any
                                                                              21
                                                                                   documents related to any disciplinary actions or investigations pertaining to any current or former
                                                                              22

                                                                              23 employees involved with the transactions identified in the Complaint.

                                                                              24 REQUEST NO. 18: All documents related to crime, violence or criminal activity in Mexico, including

                                                                              25 but not limited to the problem of firearms being purchased in the U.S. and trafficked or transferred to

                                                                              26
                                                                                   cartels and others in Mexico.
                                                                              27

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                                                                               1 RESPONSE: Loan Prairie objects to this Request on the basis that it is overbroad, vague, and fails to

                                                                               2 meet the particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a

                                                                               3
                                                                                   specific time frame. Without waiving or limiting the foregoing objections, Loan Prairie does not
                                                                               4
                                                                                   maintain any responsive documents in the regular course of business.
                                                                               5
                                                                                   REQUEST NO. 19: All documents relating to suspect sales, straw sales, multiple sales, repeat
                                                                               6

                                                                               7 purchases, sales of assault weapons, .50 cal rifles, belt-fed firearms, or the unlawful sale of, diversion of,

                                                                               8 or trafficking of firearms, the harms caused by such sales and how to identify, report, or mitigate such

                                                                               9 sales, including but not limited to: (i) any such information received from or sent or issued by a firearms

                                                                              10 manufacturer, dealer, distributor, trade association, or law enforcement; (ii) any such information

                                                                              11
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                                                                                   obtained or prepared by You; and (iii) any such information received from or sent or issued by
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                                                                              12
                                                                                   government or law enforcement, such as ATF, DOJ, or state or local police departments.
                                                                              13
                                                                                   RESPONSE: Loan Prairie objects to this Request on the basis that it is overbroad, vague, and fails to
                                                                              14

                                                                              15 meet the particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a

                                                                              16 specific time frame. Loan Prairie further objects to this Request on the basis that it seeks irrelevant

                                                                              17 information that is not reasonably calculated to lead to the discovery of admissible evidence, and is not

                                                                              18 proportional to the needs of the case as required by Rule 26(b)(1) of the Federal Rules of Civil
                                                                              19
                                                                                   Procedure because any firearms recovered within the United States that were the subject of “suspect
                                                                              20
                                                                                   sales, straw sales, multiple sales, repeat purchases, sales of assault weapons, .50 cal rifles, belt-fed
                                                                              21
                                                                                   firearms” cannot be relevant to the harm allegedly suffered by Plaintiff in Mexico. Without waiving or
                                                                              22

                                                                              23 limiting the foregoing objections, Defendant refers Plaintiff to the ATF Form 4473 and all instructions

                                                                              24 accompanying said form; the ATF’s website pertaining to Tools & Services for Firearms Industry and

                                                                              25 Current          Licensees;        ATF’s          Federal         Firearms         Regulations         Guide
                                                                              26
                                                                                   (https://www.atf.gov/firearms/docs/guide/federal-firearms-regulations-reference-guide-2014-edition-atf-
                                                                              27
                                                                                   p-53004/download); the ATF’s State Laws and Published Ordinances – Firearms (35th Edition)
                                                                              28
                                                                                                                                       15
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                                                                               1 (https://www.atf.gov/firearms/state-laws-and-published-ordinances-firearms-35th-edition);              ATF’s

                                                                               2 Federal       Firearms       Licensee      Quick      Reference       and      Best      Practices     Guide
                                                                               3
                                                                                   (https://www.atf.gov/firearms/federal-firearms-licensee-quick-reference-and-best-practices-guide); and
                                                                               4
                                                                                   Don’t Lie for the Other Guy materials from the National Shooting Sports Foundation
                                                                               5
                                                                                   (https://www.dontlie.org/). Loan Prairie further states that it periodically receives and reviews copies of
                                                                               6

                                                                               7 all notices, newsletters, etc. that the ATF distributes electronically to federal firearms licensees, to train

                                                                               8 and educate personnel (https://www.atf.gov/firearms/download-firearms-industry-newsletter), but does

                                                                               9 not retain copies of them.

                                                                              10 REQUEST NO. 20: All documents relating to the risks that firearms, ammunition, firearm accessories,

                                                                              11
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                                                                                   assault weapons, .50 cal rifles, or belt-fed firearms, may be obtained by criminals, in the United States,
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                                                                              12
                                                                                   Mexico, or another country, and how to prevent or minimize those risks, including but not limited to: (i)
                                                                              13
                                                                                   any such information received from or sent or issued by a firearms manufacturer, dealer, distributor,
                                                                              14

                                                                              15 trade association, or law enforcement; (ii) any such information obtained or prepared by You; and (iii)

                                                                              16 any such information received from or sent or issued by government or law enforcement, such as ATF,

                                                                              17 DOJ, or state or local police departments.

                                                                              18 RESPONSE: See objections and responses to Request No. 19.
                                                                              19
                                                                                   REQUEST NO. 21: All documents related to the sale of firearms sent to or received from other
                                                                              20
                                                                                   Defendants in this case, manufacturers, dealers, distributors, trade associations, or other firearms
                                                                              21
                                                                                   organizations, including marketing or promotional materials and manuals.
                                                                              22

                                                                              23 RESPONSE: Loan Prairie objects to this Request on the basis that it is vague, overbroad and fails to

                                                                              24 meet the particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a

                                                                              25 specific time frame. Loan Prairie further objects to this Request on the basis that it seeks irrelevant

                                                                              26
                                                                                   information that is not reasonably calculated to lead to the discovery of admissible evidence, and is not
                                                                              27
                                                                                   proportional to the needs of the case as required by Rule 26(b)(1) of the Federal Rules of Civil
                                                                              28
                                                                                                                                       16
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                                                                               1 Procedure because it seeks disclosure of communications, marketing, and promotional materials that far

                                                                               2 exceed the relevant issues in this case as framed by the Complaint.

                                                                               3
                                                                                   REQUEST NO. 22: All documents related to law enforcement actions, including but not limited to
                                                                               4
                                                                                   documents relating to: (i) ATF audits; (ii) ATF inspections; (iii) ATF citations or violations; (iv) ATF
                                                                               5
                                                                                   demand and warning letters; (v) ATF revocation letters and materials; (vi) materials from ATF meetings
                                                                               6

                                                                               7 and conferences; (vii) materials relating to criminal investigations or prosecutions, including gun

                                                                               8 trafficking; (viii) the ATF Demand 2 program; (ix) as well as communications among You, Your

                                                                               9 employees, law enforcement, trade associations, or Defendants related to the same.

                                                                              10 RESPONSE: Loan Prairie objects to this Request on the basis that it is overbroad and fails to meet the

                                                                              11
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                                                                                   particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time
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                                                                              12
                                                                                   frame. Loan Prairie further objects to this Request on the basis that it seeks irrelevant information that is
                                                                              13
                                                                                   not reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the
                                                                              14

                                                                              15 needs of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because it seeks

                                                                              16 disclosure of information, documentation and communications that relates to issues that never had any

                                                                              17 negative effects in Mexico and far exceed the relevant issues in this case as framed by the Complaint.

                                                                              18 Finally, Loan Prairie objects to this Request on the basis that federal law “prohibits the disclosure of
                                                                              19
                                                                                   information required to be kept by licensees pursuant to section 923(g) of title 18, United States Code,
                                                                              20
                                                                                   or required to be reported pursuant to paragraphs (3) and (7) of such section” and states that “all such
                                                                              21
                                                                                   data shall be immune from legal process, shall not be subject to subpoena or other discovery, shall be
                                                                              22

                                                                              23 inadmissible in evidence, and shall not be used, relied on, or disclosed in any manner, nor shall

                                                                              24 testimony or other evidence be permitted based on the data, in a civil action in any State (including the

                                                                              25 District of Columbia) or Federal court . . . .” Pub. Law 112-55, 125 Stat. 609-10. Subject to the

                                                                              26
                                                                                   foregoing objections, see objections and responses to Request No. 13.
                                                                              27

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                                                                               1 REQUEST NO. 23: All documents related to actual or potential contacts or communications with any

                                                                               2 law enforcement, regulatory, or other government agencies relating to the sale of firearms, ammunitions,

                                                                               3
                                                                                   or firearm accessories, including, but not limited to (i) the ATF; (ii) the United States Federal Bureau of
                                                                               4
                                                                                   Investigation; (iii) Arizona Department of Public Safety; (iv) the Tucson Police Department; (v) the
                                                                               5
                                                                                   Phoenix Police Department; or (vi) the Yuma Police Department.
                                                                               6

                                                                               7 RESPONSE: See objections and responses to Request No. 13.

                                                                               8 REQUEST NO. 24: All documents and records that You have received or sent to the ATF, any

                                                                               9 sheriff’s office, and/or other state or federal regulatory agencies related to Your federal firearms

                                                                              10 license(s) or firearms business, including but not limited to: (i) state and federal licenses to sell firearms,

                                                                              11
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                        Telephone (602) 437-4177 / Facsimile (602) 437-4180




                                                                                   firearm accessories and ammunition at Your store location including but not limited to applications,
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12
                                                                                   renewals and supporting documents; (ii) all records, citations, warning letters, reports, inspection
                                                                              13
                                                                                   reports, corrective actions or other documents issued or provided to You, including any actual or
                                                                              14

                                                                              15 threatened suspension, revocation, or surrender of Your federal firearms licenses; (iii) documents

                                                                              16 relating to any actual or threatened investigation, in addition to any indictment, arrest, or conviction of

                                                                              17 an employee or agent of Your store for violation of a law or regulation relating to firearms, ammunition,

                                                                              18 and or/firearm accessory sales; and (iv) documents and trace requests concerning firearms, ammunition,
                                                                              19
                                                                                   or firearm accessories sold by Your store.
                                                                              20
                                                                                   RESPONSE: Loan Prairie objects to this Request on the basis that it is overbroad and fails to meet the
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                                                                                   particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time
                                                                              22

                                                                              23 frame. Loan Prairie further objects to this Request on the basis that it seeks irrelevant information that is

                                                                              24 not reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the

                                                                              25 needs of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because it seeks

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                                                                                   disclosure of communications and records that far exceed the relevant issues in this case as framed by the
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                                                                                   Complaint. Loan Prairie also objects to this Request on the basis that federal law “prohibits the
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                                                                                                                                        18
                                                                                       Case 4:22-cv-00472-RM          Document 89-1         Filed 09/13/24     Page 108 of 277




                                                                               1 disclosure of information required to be kept by licensees pursuant to section 923(g) of title 18, United

                                                                               2 States Code, or required to be reported pursuant to paragraphs (3) and (7) of such section” and states that

                                                                               3
                                                                                   “all such data shall be immune from legal process, shall not be subject to subpoena or other discovery,
                                                                               4
                                                                                   shall be inadmissible in evidence, and shall not be used, relied on, or disclosed in any manner, nor shall
                                                                               5
                                                                                   testimony or other evidence be permitted based on the data, in a civil action in any State (including the
                                                                               6

                                                                               7 District of Columbia) or Federal court . . . .” Pub. Law 112-55, 125 Stat. 609-10. Without waiving or

                                                                               8 limiting the foregoing objections, see objections and responses to Request Nos. 13, 22 and 23, as well as

                                                                               9 documents Bates numbered LP000786 and LP000787.

                                                                              10 REQUEST NO. 25: All documents related to any sanction, discipline, condition or restriction imposed

                                                                              11
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                                                                                   on You by a distributor or manufacturer, including any documents relating to any investigation that
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                                                                              12
                                                                                   could result in such action or any consideration, discussion or decision about the possibility of such
                                                                              13
                                                                                   action.
                                                                              14

                                                                              15 RESPONSE: Loan Prairie objects to this Request on the basis that it is overbroad, vague, and fails to

                                                                              16 meet the particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a

                                                                              17 specific time frame and does not define “sanction, discipline, condition, or restriction.” Loan Prairie

                                                                              18 further objects to this Request on the basis that it seeks irrelevant information that is not reasonably
                                                                              19
                                                                                   calculated to lead to the discovery of admissible evidence. Subject to the foregoing objections, Loan
                                                                              20
                                                                                   Prairie is not in possession of any responsive documents.
                                                                              21
                                                                                   REQUEST NO. 26: All documents related to any Defendant’s membership in any trade association.
                                                                              22

                                                                              23 RESPONSE: Loan Prairie objects to this Request on the basis that it is overbroad and fails to meet the

                                                                              24 particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time

                                                                              25 frame. Loan Prairie further objects to this Request on the basis that it seeks irrelevant information that is

                                                                              26
                                                                                   not reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the
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                                                                                   needs of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because it seeks
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                                                                               1 disclosure of membership information that far exceeds the relevant issues in this case as framed by the

                                                                               2 Complaint. Loan Prairie further objects on the grounds that this Request seeks to infringe on defendant’s

                                                                               3
                                                                                   First Amendment rights of free speech and freedom of association. Without waiving or limiting the
                                                                               4
                                                                                   foregoing objections, see document Bates numbered LP000836.
                                                                               5
                                                                                   REQUEST NO. 27: All comprehensive general liability and/or property insurance policies, including
                                                                               6

                                                                               7 any declaration pages for the insurance policies.

                                                                               8 RESPONSE: Loan Prairie objects to this Request on the grounds that “property insurance policies” are

                                                                               9 not relevant and cannot lead to the discovery of admissible evidence. Without waiving or limiting the

                                                                              10 foregoing objection, see Loan Prairie’s First Supplemental Initial Disclosure Statement dated June 11,

                                                                              11
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                                                                                   2024, and the associated production of documents thereto.
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                                                                              12
                                                                                   REQUEST NO. 28: All documents related to Your financial and operating results, including but not
                                                                              13
                                                                                   limited to: (i) documents demonstrating Your overall sales, expenses and profits attributed to the sale of
                                                                              14

                                                                              15 firearms, firearm accessories and ammunition; (ii) documents sufficient to identify Your retail sales; (iii)

                                                                              16 Your financial and operating results for firearms and ammunition; (iv) balance sheets; (v) profits and

                                                                              17 loss statements, and (vi) state and federal tax returns.

                                                                              18 RESPONSE: Loan Prairie objects to this Request on the basis that it is overbroad and fails to meet the
                                                                              19
                                                                                   particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time
                                                                              20
                                                                                   frame. Loan Prairie further objects to this Request on the basis that it seeks irrelevant information that is
                                                                              21
                                                                                   not reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the
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                                                                              23 needs of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because it is

                                                                              24 premature as it seeks financial condition discovery without a prima facie finding of liability. (“The State

                                                                              25 of Arizona has adopted a general rule mandating that ‘prima facie proof of a defendant’s liability for

                                                                              26
                                                                                   punitive damages [is necessary] before his wealth or financial condition may be discovered.’” ReBath
                                                                              27
                                                                                   LLC v. HD Solutions LLC, 2021 WL 1923759 (D. Ariz. May. 13, 2021) (citing Richbourg v. Jimerson,
                                                                              28
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                                                                                       Case 4:22-cv-00472-RM           Document 89-1         Filed 09/13/24     Page 110 of 277




                                                                               1 No. CV-12-0136-TUC-BGM, 2012 WL 4355906, at *2 (D. Ariz. Sept. 24, 2012); Larriva v. Montiel,

                                                                               2 143 Ariz. 23, 691 P.2d 735, 736 (App. 1984))).

                                                                               3
                                                                                   REQUEST NO. 29: All documents which show Your organizational or business structure and
                                                                               4
                                                                                   ownership, including that of Your subsidiaries, affiliates, or corporate parent(s). This includes, but is not
                                                                               5
                                                                                   limited to, certificates of incorporation, bylaws, shareholders’ agreements, formation certificates,
                                                                               6

                                                                               7 partnership agreements, and operating agreements. The Relevant Time Period does not apply to this

                                                                               8 request.

                                                                               9 RESPONSE: Loan Prairie objects to this Request on the basis that it is overbroad and fails to meet the

                                                                              10 particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time

                                                                              11
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                        Telephone (602) 437-4177 / Facsimile (602) 437-4180




                                                                                   frame. Loan Prairie further objects to this Request on the basis that it seeks irrelevant information that is
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                                                                              12
                                                                                   not reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the
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                                                                                   needs of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because it is
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                                                                              15 unlimited in time and scope. Loan Prairie additionally objects to this Request on the grounds that it

                                                                              16 constitutes an invasion of privacy. Without waiving or limiting the foregoing objections, see the

                                                                              17 objections and responses to Request No. 1.

                                                                              18 REQUEST NO. 30: All documents related to policies, guidelines, standards, protocols, practices,
                                                                              19
                                                                                   handbooks, or training materials concerning the sale of firearms, firearm accessories, and/or ammunition
                                                                              20
                                                                                   at Your store, including (i) Your Employee Handbook or any other employee manual(s) in effect or used
                                                                              21
                                                                                   to train employees; (ii) all training videos, power-points, work sheets, or other documents or audiovisual
                                                                              22

                                                                              23 used to train employees that sell firearms, firearm accessories, or ammunition; (iii) all resources

                                                                              24 available to employees who sell firearms, firearm accessories, or ammunition created by trade

                                                                              25 associations, firearm manufacturers, ammunition manufactures, other dealers, or law enforcement

                                                                              26
                                                                                   authorities (including but not limited to ATF, FBI or any other law enforcement agency).
                                                                              27

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                                                                                       Case 4:22-cv-00472-RM            Document 89-1            Filed 09/13/24   Page 111 of 277




                                                                               1 RESPONSE: Loan Prairie objects to this Request on the basis that it is overbroad and fails to meet the

                                                                               2 particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time

                                                                               3
                                                                                   frame. Loan Prairie further objects to this Request on the basis that it seeks irrelevant information that is
                                                                               4
                                                                                   not reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the
                                                                               5
                                                                                   needs of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because firearms
                                                                               6

                                                                               7 accessories cannot be relevant to the harm allegedly suffered by Plaintiff in Mexico. Without waiving or

                                                                               8 limiting the foregoing objections, Defendant refers Plaintiff to the ATF Form 4473 and all instructions

                                                                               9 accompanying said form; the ATF’s website pertaining to Tools & Services for Firearms Industry and

                                                                              10 Current            Licensees;         ATF’s           Federal         Firearms       Regulations         Guide
                                                                              11
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180




                                                                                   (https://www.atf.gov/firearms/docs/guide/federal-firearms-regulations-reference-guide-2014-edition-atf-
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12
                                                                                   p-53004/download); the ATF’s State Laws and Published Ordinances – Firearms (35th Edition)
                                                                              13
                                                                                   (https://www.atf.gov/firearms/state-laws-and-published-ordinances-firearms-35th-edition);              ATF’s
                                                                              14

                                                                              15 Federal        Firearms         Licensee      Quick      Reference       and     Best     Practices      Guide

                                                                              16 (https://www.atf.gov/firearms/federal-firearms-licensee-quick-reference-and-best-practices-guide); and

                                                                              17 Don’t Lie for the Other Guy materials from the National Shooting Sports Foundation

                                                                              18 (https://www.dontlie.org/). Loan Prairie further states that it periodically receives and reviews copies of
                                                                              19
                                                                                   all notices, newsletters, etc. that the ATF distributes electronically to federal firearms licensees, to train
                                                                              20
                                                                                   and educate personnel (https://www.atf.gov/firearms/download-firearms-industry-newsletter), but does
                                                                              21
                                                                                   not retain copies of them.
                                                                              22

                                                                              23 REQUEST NO. 31: All documents related to the detection of, prevention of, identification of,

                                                                              24 reporting of, or potential or actual consequences related to: suspect sales, straw sales, multiple sales,

                                                                              25 repeat purchases, sales of assault weapons, .50 cal rifles, or belt-fed firearms, trafficking, and/or kitchen

                                                                              26
                                                                                   table dealers.
                                                                              27
                                                                                   RESPONSE: See objections and responses to Request Nos. 19 and 30.
                                                                              28
                                                                                                                                          22
                                                                                       Case 4:22-cv-00472-RM           Document 89-1         Filed 09/13/24     Page 112 of 277




                                                                               1 REQUEST NO. 32: All documents concerning any formal or informal policy relating to working with

                                                                               2 or cooperating with law enforcement or reporting suspicious activity to any law enforcement agency.

                                                                               3
                                                                                   RESPONSE: See objections and responses to Request Nos. 19, 30, and 31.
                                                                               4
                                                                                   REQUEST NO. 33: All documents relating to marketing, advertising, promoting, and public
                                                                               5
                                                                                   statements related to Your sale of firearms, ammunitions, firearm accessories, and firearm training
                                                                               6

                                                                               7 programs, including but not limited to: flyers, catalogs, mailers, press releases, public statements, and

                                                                               8 postings on all social media sites, websites, internet sites, including but not limited to Google, Facebook,

                                                                               9 X (formerly Twitter), YouTube, Instagram, TikTok, Snapchat, Reddit, 4chan, and Discord.

                                                                              10 RESPONSE: Loan Prairie objects to this Request on the basis that it is overbroad and fails to meet the

                                                                              11
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                        Telephone (602) 437-4177 / Facsimile (602) 437-4180




                                                                                   particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time
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                                                                              12
                                                                                   frame. Loan Prairie further objects to this Request on the basis that it seeks irrelevant information that is
                                                                              13
                                                                                   not reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the
                                                                              14

                                                                              15 needs of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because any

                                                                              16 responsive documents are a matter of public record and equally accessible to Plaintiff as they are to

                                                                              17 Loan Prairie. Without waiving or limiting the foregoing objections, Loan Prairie maintains the following

                                                                              18 social media accounts: @hub_az (X, formerly known as Twitter), thehubaz (Instagram),
                                                                              19
                                                                                 thehubazbackupaccount (Instagram), The Hub (facebook), and @thehubarizonagunstores9019
                                                                              20
                                                                                 (YouTube). Loan Prairie maintains a website at https://thehubaz.com/. In addition, Loan Prairie
                                                                              21
                                                                                 maintains pamphlets entitled ATF Youth Handgun Safety Act Notice and The Basic Rules of Firearm
                                                                              22

                                                                              23 Safety.

                                                                              24 REQUEST NO. 34: Any document relating to a media appearance by You related to Your sale of

                                                                              25 firearms, ammunitions, firearm accessories, or firearm training programs, including documents and

                                                                              26
                                                                                   communications prepared or exchanged in preparation for those appearances.
                                                                              27

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                                                                                                                                        23
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                                                                               1 RESPONSE: Loan Prairie objects to this Request on the basis that it is overbroad and fails to meet the

                                                                               2 particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time

                                                                               3
                                                                                   frame. Loan Prairie further objects to this Request on the basis that it seeks irrelevant information that is
                                                                               4
                                                                                   not reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the
                                                                               5
                                                                                   needs of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because it seeks
                                                                               6

                                                                               7 disclosure of communications that far exceed the relevant issues in this case as framed by the

                                                                               8 Complaint. Loan Prairie further objects on the ground that this Request seeks to infringe on defendant’s

                                                                               9 First Amendment rights of free speech and freedom of association. Subject to the foregoing objections,

                                                                              10 Loan Prairie is not in possession of any responsive documents.

                                                                              11
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                                                                                   REQUEST NO. 35: All documents related to any national or state laws, statutes, regulations, or
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                                                                              12
                                                                                   executive orders related to the sale of firearms, ammunition, or firearm accessories and related court
                                                                              13
                                                                                   orders or opinions, including documents related to compliance with those laws, statutes, regulations,
                                                                              14

                                                                              15 executive orders court orders, or court opinions.

                                                                              16 RESPONSE: Loan Prairie further objects to this Request on the grounds that it is vague, overly broad,

                                                                              17 and unduly burdensome. Loan Prairie also objects to this Request on the ground that it fails to be limited

                                                                              18 to a relevant and reasonable time period. Loan Prairie further objects to this Request on the grounds that
                                                                              19
                                                                                   any responsive documents are a matter of public record and equally accessible to Plaintiff as they are to
                                                                              20
                                                                                   Loan Prairie. Without waiving or limiting the foregoing objections, Defendant refers Plaintiff to the
                                                                              21
                                                                                   ATF Form 4473 and all instructions accompanying said form; the ATF’s website pertaining to Tools &
                                                                              22

                                                                              23 Services for Firearms Industry and Current Licensees; ATF’s Federal Firearms Regulations Guide

                                                                              24 (https://www.atf.gov/firearms/docs/guide/federal-firearms-regulations-reference-guide-2014-edition-atf-

                                                                              25 p-53004/download); the ATF’s State Laws and Published Ordinances – Firearms (35th Edition)

                                                                              26
                                                                                   (https://www.atf.gov/firearms/state-laws-and-published-ordinances-firearms-35th-edition);             ATF’s
                                                                              27
                                                                                   Federal      Firearms      Licensee      Quick       Reference       and      Best      Practices     Guide
                                                                              28
                                                                                                                                        24
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                                                                               1 (https://www.atf.gov/firearms/federal-firearms-licensee-quick-reference-and-best-practices-guide); and

                                                                               2 Don’t Lie for the Other Guy materials from the National Shooting Sports Foundation

                                                                               3
                                                                                   (https://www.dontlie.org/). Loan Prairie further respond that it periodically receives and reviews copies
                                                                               4
                                                                                   of all notices, newsletters, etc. that the ATF distributes electronically to federal firearms licensees, to
                                                                               5
                                                                                   train and educate personnel (https://www.atf.gov/firearms/download-firearms-industry-newsletter), but
                                                                               6

                                                                               7 does not retain copies of them.

                                                                               8 REQUEST NO. 36: All documents posted visibly at Your store throughout the Relevant Time Period

                                                                               9 providing warnings or notice to potential customers regarding any and all requirements to purchase

                                                                              10 firearms, ammunition, or firearm accessories.

                                                                              11
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                        Telephone (602) 437-4177 / Facsimile (602) 437-4180




                                                                                   RESPONSE: Loan Prairie objects to this Request on the basis that it is overbroad and fails to meet the
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12
                                                                                   particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time
                                                                              13
                                                                                   frame. Without waiving or limiting the foregoing objections, see photographs depicting pamphlets
                                                                              14

                                                                              15 maintained in Loan Prairie’s Tucson store and a sign regarding the federal prohibition of marijuana,

                                                                              16 Bates numbered LP000834 -LP000835.

                                                                              17 REQUEST NO. 37: All documents produced to or received from any party or non-party related to or

                                                                              18 in connection with this action. This request is not limited in time.
                                                                              19
                                                                                   RESPONSE: Loan Prairie objects to this Request on the grounds that it seeks information that is not
                                                                              20
                                                                                   reasonably calculated to lead to the discovery of admissible evidence. Loan Prairie further objects to this
                                                                              21
                                                                                   Request on the grounds that it is vague, overly broad, and potentially unduly burdensome, depending
                                                                              22

                                                                              23 upon what is being requested. Loan Prairie also objects to this Request on the grounds that it fails to be

                                                                              24 limited to any time period. Loan Prairie additionally objects to this Request to the extent that it calls,

                                                                              25 partially or exclusively, for the production of documents protected by the attorney-client privilege, the

                                                                              26
                                                                                   attorney work product doctrine, the consulting expert privilege, common interest, and/or other
                                                                              27
                                                                                   applicable privileges or immunities.
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                                                                               1 REQUEST NO. 38: All documents that You contend support any claim or defense asserted in this

                                                                               2 litigation.

                                                                               3
                                                                                   RESPONSE: Loan Prairie objects to this Request on the grounds that it is premature, in that it
                                                                               4
                                                                                   constitutes a contention request and is covered by the disclosure rules set forth in F.R.C.P. 26. Subject to
                                                                               5
                                                                                   the foregoing objections, Loan Prairie refers to all documents reference in and produced in response to
                                                                               6

                                                                               7 the other requests herein, and reserves its right to supplement discovery as the litigation continues, its

                                                                               8 investigation is completed, and fact and expert disclosures are made.

                                                                               9 REQUEST NO. 39: All documents that relate to Your document control, retention, and/or storage

                                                                              10 policies, including but not limited to documents sufficient to show Your document destruction, retention

                                                                              11
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                        Telephone (602) 437-4177 / Facsimile (602) 437-4180




                                                                                   or archiving policies and practices and any changes in such policies or practices during the Relevant
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12
                                                                                   Time Period.
                                                                              13
                                                                                   RESPONSE: Loan Prairie objects to this Request on the grounds that it seeks information that is not
                                                                              14

                                                                              15 reasonably calculated to lead to the discovery of admissible evidence. Loan Prairie also objects to this

                                                                              16 Request on the grounds that it fails to be limited to a relevant and reasonable time period. Subject to the

                                                                              17 foregoing objections, Loan Prairie’s document retention policy related to firearms transactions and sales

                                                                              18 is mandated by federal law. Loan Prairie does not maintain a written document retention policy separate
                                                                              19
                                                                                   and distinct from that which is required pursuant to federal and state law.
                                                                              20
                                                                                   REQUEST NO. 40: All non-privileged documents Your expert witnesses reviewed or relied upon, or
                                                                              21
                                                                                   will review or rely upon, in preparing expert reports for this action.
                                                                              22

                                                                              23 RESPONSE: Loan Prairie has not determined any witnesses it will designate as testifying expert

                                                                              24 witnesses, as such, Loan Prairie is not in possession of any responsive documents.

                                                                              25 REQUEST NO. 41: All documents and materials used to draft or prepare Your Rule 26(f) Initial

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                                                                                   Disclosures and any supplements thereto.
                                                                              27

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                                                                                       Case 4:22-cv-00472-RM          Document 89-1         Filed 09/13/24     Page 116 of 277




                                                                               1 RESPONSE: Loan Prairie objects to this Request on the grounds that it seeks documents that are

                                                                               2 wholly protected from disclosure based on the attorney work product doctrine and attorney-client

                                                                               3
                                                                                   privilege, as the Rule 26(f) Initial Disclosure Statements were drafted exclusively by counsel.
                                                                               4
                                                                                   Dated: July 24, 2024
                                                                               5                                         RENZULLI LAW FIRM LLP
                                                                               6
                                                                                                                         By:    /s/ Jeffrey Malsch
                                                                               7                                                Christopher Renzulli, Esq. (Pro Hac Vice)
                                                                               8                                                Peter Malfa, Esq. (Pro Hac Vice)
                                                                                                                                Jeffrey Malsch, Esq. (Pro Hac Vice)
                                                                               9                                                One North Broadway, Suite 1005
                                                                                                                                White Plains, NY 10601
                                                                              10
                                                                                                                         LORBER, GREENFIELD & OLSEN, LLP
                                                                              11
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                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12                                                Louis W. Horowitz, Esq.
                                                                                                                                3930 E. Ray Road, Suite 260
                                                                              13                                                Phoenix, AZ 85044

                                                                              14                                                Attorneys for Defendants
                                                                                                                                Loan Prairie Shooting Sports, Inc.,
                                                                              15                                                Loan Prairie, LLC d/b/a The Hub,
                                                                                                                                SNG Tactical, LLC and
                                                                              16                                                Sprague’s Sports, Inc.

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                                                                               1                                    CERTIFICATE OF SERVICE

                                                                               2        I HEREBY CERTIFY that on this 24th day of July, 2024, I served the foregoing on all counsel
                                                                               3 of records listed on CM/ECF by electronic means, as follows:

                                                                               4 Ryan O'Neal, Esq.

                                                                               5 DECONCINI MCDONALD YETWIN &
                                                                                 LACY, P.C.
                                                                               6 2525 E. Broadway Blvd., Suite 200
                                                                                 Tucson, AZ 85716-5300
                                                                               7 roneal@dmyl.com
                                                                                 Attorneys for Plaintiff
                                                                               8

                                                                               9 Steve D. Shadowen, Esq. (Pro Hac Vice)
                                                                                 Nicholas W. Shadowen, Esq. (Pro Hac Vice)
                                                                              10 Tina J. Miranda, Esq. (Pro Hac Vice)
                                                                                 Deirdre R. Mulligan, Esq. (Pro Hac Vice)
                                                                              11 SHADOWEN PLLC
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    EXHIBIT 5
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12
                        IN THE UNITED STATES DISTRICT COURT
13
                                DISTRICT OF ARIZONA
14
     Estados Unidos Mexicanos,
15                                               Case No: 4:22-cv-00472-CKJ
16                             Plaintiff,

17                vs.                            Jury Trial Demanded
18
     Diamondback Shooting Sports, Inc., an
19   Arizona corporation; SNG Tactical,
     LLC, an Arizona limited liability
20   company; Loan Prairie, LLC D/B/A
21   The Hub, an Arizona limited liability
     company; Ammo A-Z, LLC, an
22   Arizona limited liability company;
     Sprague’s Sports, Inc., an Arizona
23
     corporation,
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                         Defendants.
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 1          Defendant AMMO A-Z, LLC (“AMMO A-Z”), by and through its undersigned counsel,

 2   submits the following Responses and Objections to Plaintiffs’ First Set of Requests for Production

 3   to Defendants.

 4                                    PRELIMINARY STATEMENT

 5          Ammo A-Z has not completed its investigation of the facts relating to this case, has not

 6   completed discovery in this action, and has not completed preparation for trial. Thus, the responses

 7   contained herein are based only upon the information and documents that are presently available

 8   to, and specifically known to, Defendant. It is anticipated that further discovery and investigation

 9   will supply additional facts which will, in turn, clarify and add meaning to known facts, as well as

10   establish entirely new factual matters, all of which may lead to substantial changes in, and

11   variations from, the contentions set forth herein. The following responses are provided without

12   prejudice to Defendant’s right to produce evidence of any subsequently discovered facts.

13   Accordingly, Defendant reserves the right to amend, modify, and/or supplement the responses

14   contained herein as additional facts are ascertained, analyses are made, legal research is completed,

15   expert opinions are exchanged, and contentions are formulated.

16                                       GENERAL OBJECTIONS

17          1.        Defendant is responding to these Demands pursuant to the Federal Rules of Civil

18   Procedure and, in answering these requests, is interpreting words used according to their ordinary
19   and common meaning.

20          2.        Defendant objects to these requests to the extent they call for information that is

21   protected from discovery by the attorney work-product doctrine, the attorney-client privilege,

22   consulting expert privilege, the self-evaluation privilege, and/or any other evidentiary privilege.

23          3.        Each of the foregoing General Objections is specifically incorporated into all

24   answers to Plaintiff’s Demands.

25          4.        In responding to these requests, Defendant expressly reserves the right to challenge

26   the relevancy, materiality, admissibility, proportionality, and probative value of the information
27   contained in the responses.

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 1          5.      Should Plaintiff decide to clarify and/or narrow any of the foregoing requests to

 2   which Defendant has objected based on scope, breadth, or burden, Defendant will subsequently

 3   review its objections.

 4                                  OBJECTIONS TO DEFINITIONS

 5          Defendant objects to Plaintiff’s self-selected definition of “Relevant Time Period” as from

 6   January 1, 2010, to the present. Plaintiff has no relevant basis for seeking information related to

 7   transactions occurring prior to October 10, 2020, as any such transactions cannot give rise to

 8   actionable claims given the limitations period for injury causes of action under Arizona law. See

 9   A.R.S. § 12-542. Moreover, any information post-dating the filing of this action on October 10,

10   2022, is irrelevant to Plaintiff’s case, which alleges causes of actions based on alleged past

11   negligent behavior by Defendants. As such, the relevant time frame should include materials only

12   from October 10, 2020 until commencement of this action on October 10, 2022.

13                                         DOCUMENT REQUESTS

14   1.     Your organizational charts, employee lists, personnel directories, telephone directories,

15   and electronic mail users and address lists sufficient to show all personnel, including their jobs or

16   titles and any contact information.

17   ANSWER:       Defendant objects to this request as overly broad, unduly burdensome, not

18   proportional to the needs of the case, and seeking irrelevant information to the extent Defendant’s
19   organizational structure, and personal information regarding all employees, is irrelevant. See Fed.

20   R. Civ. P. 26(b)(1); Hidalgo v. CoreCivic, No. CV1904332PHXROSCDB, 2023 WL 2705989, at

21   *10 (D. Ariz. Jan. 9, 2023) (“[B]y its express terms, rule 26 limits discovery to that which is

22   proportional to the needs of the case. The Court may restrict or prevent discovery if it determines

23   it will be burdensome, duplicative, unnecessarily costly, or insufficiently probative to the issues of

24   the litigation.”). This request is further objectionable because it is not explained with any level of

25   detail what specific materials are requested, and no timeframe or “as of [date]” is provided. See

26   ibid. Thus, as worded, in seeking all materials ever created by Ammo AZ, including identification
27   of all employees, this request is plainly made for the improper purposes of identifying individuals

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 1   who have not been involved in any of the identified transactions, for purposes of harassing these

 2   individuals based on their employment with Defendant Ammo AZ.                See Fed. R. Civ. P.

 3   26(g)(1)(B).    As worded, this request seeks personal information regarding Ammo-AZ’s

 4   employees (including telephone numbers and addresses), which is sensitive, and has no relevance

 5   to this matter. As such, any possible probative value of this information is not proportional to the

 6   needs of the case. See Fed. R. Civ. P. 26(b)(1). Without waiving these objections, upon reasonable

 7   inquiry, the following employees were involved in some capacity in certain transactions identified

 8   in Exhibit A to Plaintiffs’ First Set of Requests for Production:

 9   CURRENT EMPLOYEES

10        •   Bryce Cronk

11        •   Josh Durr

12        •   Lynz Durr

13        •   Bailey Murphy

14        •   Jennifer Murphy

15   FORMER EMPLOYEES

16        •   Faith Godfrey, 2747 W. Plum Hollow Drive, Phoenix, AZ 85086, (480) 406-4533

17        •   Ryan Godfrey, 21239 N. 24th Ave #209, Phoenix, AZ 85027, (480) 406-5872

18        •   Madysen Halawith, 9337 W. White Feather Lane, Peoria, AZ 85383, (602) 910-8084
19        •   Jason Hydorn, 21239 N 24th Avenue #209, Phoenix, AZ 85027, (602) 884-3587

20        •   Logan Roberson, 21655 N. 36th Avenue, Unit 135, Glendale, AZ 85308 (480)522-8890

21        •   Hunter Wagner, 24646 N. 36th Avenue, Glendale, AZ 85310, (520) 437-2452.

22   2.       All documents relating to recording and tracing Your firearm, ammunition, and/or firearm

23   accessory sales, which were kept and/or maintained by You during the Relevant Time Period,

24   including but not limited to: (i) A&D Books; (ii) records of sale; and (iii) any computerized,

25   accounting, or other system that contains the requested information.

26   ANSWER: Defendant objects to the term “tracing” as undefined, vague, ambiguous, and subject
27   to multiple meanings. Specifically, “trace” in the context of firearms can refer to actions taken by

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 1   the Bureau of Alcohol, Tobacco, Firearms, and Explosives (“BATFE”) whereby certain

 2   information is requested from a firearm seller, or “tracing” can refer, in the common sense, to

 3   tracking, outlining, or following. Defendant objects to this request as overly broad, unduly

 4   burdensome, seeking irrelevant information, and not proportional to the needs of this case. See

 5   Fed. R. Civ. P. 26(b)(1); Hidalgo, 2023 WL 2705989, at *10. As worded, this request seeks all

 6   documents relating to any of Defendant’s sales of products over a 15-year period, which is overly

 7   broad as addressed in Defendant’s Objections to Definitions. Gathering these materials would

 8   represent an immense burden, which is unwarranted given the lack of any relevance of such

 9   materials beyond in relation to transactions Plaintiff has identified. See ibid. (“[T]he Court ‘need

10   not condone the use of discovery to engage in fishing expeditions.’”) (quoting Rivera v. NIBCO,

11   Inc., 364 F.3d 1057, 1072 (9th Cir. 2004)). Beyond the identified transactions, none of the

12   requested materials are relevant to Plaintiff’s surviving claims. The Government has information

13   regarding firearms recovered in crimes in its country. See, e.g., Tim Swift, Mexican Cartels

14   Supplied    With    Trafficked    Guns    From     U.S.,    USA    TODAY       (May     22,   2024),

15   https://www.usatoday.com/story/news/investigations/2024/05/22/mexican-cartels-supplied-

16   trafficked-guns-from-us/73700258007/. Thus, no basis exists for fishing within Defendant’s

17   business materials to build a claim. Defendant further objects to this request to the extent the

18   materials requested contain personal information including names, addresses, and telephone
19   numbers of customers. Moreover, such information, including BATFE trace information, and

20   other information Defendant is required to maintain, is protected from disclosure in civil suit. See,

21   e.g., Williams v. Beemiller, Inc., 42 Misc. 3d 438, 442, 975 N.Y.S.2d 647, 650 (Sup. Ct. 2013)

22   (“[G]ranting civil litigants and other non-law enforcement parties access to trace inquiries and

23   other ATF information runs afoul of the Tiahrt Amendment's efforts to limit such disclosures to

24   law enforcement agencies. Therefore, trace inquiries and other ATF-related data are immune from

25   discovery and legal process.”). Given the immense breadth of this request, without any attempt to

26   narrow it to what is relevant or preserve privacy interests of Defendant’s law-abiding customers,
27   it is clear this request is made for an improper purpose of harassment and increasing the cost of

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 1   litigation. See Fed. R. 26(g)(1). If Mexico identifies by serial number the guns it has recovered

 2   and/or traced, Defendant will endeavor to search and see if it sold such firearm. Without waiving

 3   these objections, please see M-AZ-00022 through M-AZ-00064.

 4   3.     All documents relating to recording and tracking Your firearm, ammunition, and/or firearm

 5   purchases, which were kept and/or maintained by You during the Relevant Time Period, including

 6   but not limited to: (i) A&D Books; (ii) invoices; (3) weekly, monthly, or annual purchase

 7   summaries; (iv) records of purchase; and (v) contracts with manufacturers, distributors, or dealers,

 8   and (vi) any computerized, accounting or other system that contains the requested information.

 9   ANSWER: Defendant objects to this request as overly broad, unduly burdensome, seeking

10   irrelevant information, and not proportional to the needs of this case. See Fed. R. Civ. P. 26(b)(1);

11   Hidalgo, 2023 WL 2705989, at *10. As worded, this request seeks all documents relating to any

12   of Defendant’s sales of products over a 15-year period, which is overly broad as addressed in

13   Defendant’s Objections to Definitions. Gathering these materials would represent an immense

14   burden, which is unwarranted given the lack of any relevance of such materials beyond in relation

15   to transactions Plaintiff has identified. See ibid. Beyond the identified transactions, none of the

16   requested materials are relevant to Plaintiff’s surviving claims. The Government has information

17   regarding firearms recovered in crimes in its country. See, e.g., Tim Swift, Mexican Cartels

18   Supplied    With    Trafficked    Guns    From     U.S.,    USA    TODAY       (May     22,   2024),
19   https://www.usatoday.com/story/news/investigations/2024/05/22/mexican-cartels-supplied-

20   trafficked-guns-from-us/73700258007/. Thus, no basis exists for fishing within Defendant’s

21   business materials to build a claim.      Moreover, invoices, purchase summaries, records of

22   purchases, accounting materials, and contracts with manufacturers, distributors, and dealers, have

23   no relevance to Plaintiff’s claims. Defendant further objects to this request to the extent the

24   materials requested contain personal information including names, addresses, and telephone

25   numbers of customers. Moreover, such information, including BATFE trace information, and

26   other information Defendant is required to maintain, is protected from disclosure in civil suit. See,
27   e.g., Williams, 975 N.Y.S.2d 647, 650. Given the over breadth of this request, seeking all of

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 1   Defendant’s business records without any attempt to target the request to what is relevant to

 2   Plaintiff’s surviving claims, it is clear this request is made for an improper purpose of harassment,

 3   and increasing the cost of litigation. See Fed. R. 26(g)(1). Without waiving these objections,

 4   please see M-AZ-00022 through M-AZ-00064.

 5   4.      Electronically stored information in a tab-, comma-, or semicolon-delimited ASCII flat text

 6   file or similar electronic format sufficient to identify all of Your sales of firearms, ammunition,

 7   and firearm accessories during the Relevant Time Period in a transaction-by-transaction format,

 8   including but not limited to: (i) time of sale; (ii) date of sale; (iii) location of sale; (iv) employee

 9   that made the sale; (v) age, gender, occupation, nationality, and residence of purchaser; (vi) amount

10   of ammunition sold; (vii) number of firearms sold; (viii) caliber and manufacturer, model, and type

11   (e.g., handgun, rifle, shotgun, semi-automatic) of each firearm sold; (ix) serial number of each

12   firearm sold; (x) price of firearm and ammunition sold; (xi) any other identifying information

13   related to the purchaser; (xii) information related to purchaser’s criminal history or background

14   check; (xiii) any other information related to the product sold.

15   ANSWER: Defendant objects to this request as overly broad, unduly burdensome, seeking

16   irrelevant information, and not proportional to the needs of this case. See Fed. R. Civ. P. 26(b)(1);

17   Hidalgo, 2023 WL 2705989, at *10. As worded, this request seeks all documents relating to any

18   of Defendant’s sales of products over a 15-year period, which is overly broad as addressed in
19   Defendant’s Objections to Definitions. Gathering these materials would represent an immense

20   burden, which is unwarranted given the lack of any relevance of such materials beyond in relation

21   to transactions Plaintiff has identified. See ibid. Beyond the identified transactions, none of the

22   requested materials are relevant to Plaintiff’s surviving claims. The Government has information

23   regarding firearms recovered in crimes in its country. See, e.g., Tim Swift, Mexican Cartels

24   Supplied    With    Trafficked     Guns    From     U.S.,    USA     TODAY       (May     22,    2024),

25   https://www.usatoday.com/story/news/investigations/2024/05/22/mexican-cartels-supplied-

26   trafficked-guns-from-us/73700258007/. Thus, no basis exists for fishing within Defendant’s
27   business materials to build a claim. Defendant further objects to this request to the extent the

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 1   materials requested contain personal information including names, addresses, and telephone

 2   numbers of customers. Moreover, such information, including BATFE trace information, and

 3   other information Defendant is required to maintain, is protected from disclosure in civil suit. See,

 4   e.g., Williams, 975 N.Y.S.2d 647, 650. Given the immense breadth of this request, seeking all of

 5   Defendant’s business records without any attempt to target the request to what is relevant to

 6   Plaintiff’s surviving claims, it is clear this request is made for an improper purpose of harassment,

 7   and increasing the cost of litigation. See Fed. R. 26(g)(1).

 8   5.      Electronically stored information in a tab-, comma-, or semicolon-delimited ASCII flat text

 9   file or similar electronic format sufficient to identify all of Your purchases of firearms,

10   ammunition, and firearm accessories during the Relevant Time Period in a transaction-by-

11   transaction format, including but not limited to (i) time of purchase; (ii) date of purchase; (iii)

12   manufacturer, distributor, or other entity You purchased from; (iv) amount of ammunition purchased;

13   (v) number of firearms purchased; (vi) caliber and manufacturer, model, and type (e.g., handgun, rifle

14   shotgun, semi-automatic) of each firearm purchased; (vii) serial number of each firearm purchased;

15   (viii) price of firearm and ammunition purchased; (ix) any other identifying information related to the

16   seller; (x) any other information related to the product purchased.

17   ANSWER: Defendant objects to this request as overly broad, unduly burdensome, seeking

18   irrelevant information, and not proportional to the needs of this case. See Fed. R. Civ. P. 26(b)(1);
19   Hidalgo, 2023 WL 2705989, at *10. As worded, this request seeks all documents relating to any

20   of Defendant’s purchase of products over a 15-year period, which is overly broad as addressed in

21   Defendant’s Objections to Definitions. Gathering these materials would represent an immense

22   burden, which is unwarranted given the lack of any relevance of such materials beyond in relation

23   to transactions Plaintiff has identified. See ibid. Defendant’s purchases of firearms and other

24   products is not relevant to Plaintiff’s surviving claims nor reasonably tied to any of the claims.

25   Defendant further objects to this request to the extent the materials requested contain personal

26   information including names, addresses, and telephone numbers of suppliers. Moreover, such
27   information, including BATFE trace information, and other information Defendant is required to

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 1   maintain, is protected from disclosure in civil suit. See, e.g., Williams, 975 N.Y.S.2d 647, 650.

 2   Given the immense breadth of this request, seeking all of Defendant’s purchase records without

 3   any attempt to target the request to what is relevant to Plaintiff’s surviving claims, it is clear this

 4   request is made for an improper purpose of harassment, and increasing the cost of litigation. See

 5   Fed. R. 26(g)(1).

 6   6.     All Firearm Transaction Records (ATF Form 4473s) for all Firearms listed on the attached

 7   Exhibit (Exhibit A).

 8   ANSWER: Defendant objects to this request to the extent the materials requested contain personal

 9   information including names, addresses, and telephone numbers of customers. Moreover, such

10   information, including BATFE trace information, and other information Defendant is required to

11   maintain, is protected from disclosure in civil suit. See, e.g., Williams, 975 N.Y.S.2d 647, 650.

12   7.     All Multiple Sales Forms (ATF Form 3310.4) drafted or submitted during the Relevant

13   Time Period.

14   ANSWER: Defendant objects to this request as overly broad, unduly burdensome, seeking

15   irrelevant information, and not proportional to the needs of this case. See Fed. R. Civ. P. 26(b)(1);

16   Hidalgo, 2023 WL 2705989, at *10. As worded, this request seeks all documents relating to any

17   of Defendant’s sales of products over a 15-year period, which is overly broad as addressed in

18   Defendant’s Objections to Definitions. Gathering these materials would represent an immense
19   burden, which is unwarranted given the lack of any relevance of such materials beyond in relation

20   to transactions Plaintiff has identified. See ibid. (“[T]he Court ‘need not condone the use of

21   discovery to engage in fishing expeditions.’”) (quoting Rivera v. NIBCO, Inc., 364 F.3d 1057,

22   1072 (9th Cir. 2004)). Beyond the identified transactions, none of the requested materials are

23   relevant to Plaintiff’s surviving claims. The Government has information regarding firearms

24   recovered in crimes in its country. See, e.g., Tim Swift, Mexican Cartels Supplied With Trafficked

25   Guns         From          U.S.,        USA           TODAY            (May         22,         2024),

26   https://www.usatoday.com/story/news/investigations/2024/05/22/mexican-cartels-supplied-
27   trafficked-guns-from-us/73700258007/. Thus, no basis exists for fishing within Defendant’s

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 1   business materials to build a claim. Defendant further objects to this request to the extent the

 2   materials requested contain personal information including names, addresses, and telephone

 3   numbers of customers. Moreover, such information, including BATFE trace information, and

 4   other information Defendant is required to maintain, is protected from disclosure in civil suit. See,

 5   e.g., Williams, 975 N.Y.S.2d 647, 650. Given the immense breadth of this request, seeking all of

 6   Defendant’s business records without any attempt to target the request to what is relevant to

 7   Plaintiff’s surviving claims, it is clear this request is made for an improper purpose of harassment,

 8   and increasing the cost of litigation. See Fed. R. 26(g)(1).

 9   8.        All Rifle Sales Forms (ATF Form 3310.12) drafted or submitted during the Relevant Time

10   Period.

11   ANSWER: Defendant objects to this request as overly broad, unduly burdensome, seeking

12   irrelevant information, and not proportional to the needs of this case. See Fed. R. Civ. P. 26(b)(1);

13   Hidalgo, 2023 WL 2705989, at *10. As worded, this request seeks all documents relating to any

14   of Defendant’s sales of products over a 15-year period, which is overly broad as addressed in

15   Defendant’s Objections to Definitions. Gathering these materials would represent an immense

16   burden, which is unwarranted given the lack of any relevance of such materials beyond in relation

17   to transactions Plaintiff has identified. See ibid. (“[T]he Court ‘need not condone the use of

18   discovery to engage in fishing expeditions.’”) (quoting Rivera v. NIBCO, Inc., 364 F.3d 1057,
19   1072 (9th Cir. 2004)). Beyond the identified transactions, none of the requested materials are

20   relevant to Plaintiff’s surviving claims. The Government has information regarding firearms

21   recovered in crimes in its country. See, e.g., Tim Swift, Mexican Cartels Supplied With Trafficked

22   Guns           From        U.S.,       USA            TODAY          (May          22,        2024),

23   https://www.usatoday.com/story/news/investigations/2024/05/22/mexican-cartels-supplied-

24   trafficked-guns-from-us/73700258007/. Thus, no basis exists for fishing within Defendant’s

25   business materials to build a claim. Defendant further objects to this request to the extent the

26   materials requested contain personal information including names, addresses, and telephone
27   numbers of customers. Moreover, such information, including BATFE trace information, and

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 1   other information Defendant is required to maintain, is protected from disclosure in civil suit. See,

 2   e.g., Williams, 975 N.Y.S.2d 647, 650. Given the immense breadth of this request, seeking all of

 3   Defendant’s business records without any attempt to target the request to what is relevant to

 4   Plaintiff’s surviving claims, it is clear this request is made for an improper purpose of harassment,

 5   and increasing the cost of litigation. See Fed. R. 26(g)(1).

 6   9.      All documents reflect the multiple sale of firearms or ammunition not recorded on ATF

 7   Forms 3310.4 or 3310.12.

 8   ANSWER: Defendant objects to this request as vague and confusing. Specifically, it is unclear

 9   what a “multiple sale” refers to and whether it is multiple sales as part of a single purchase, or

10   across years of a customer’s history with Ammo AZ. Further, “multiple sales of ammunition” is

11   nonsensical as ammunition is only sold as multiple pieces. Defendant objects to this request as

12   overly broad, unduly burdensome, seeking irrelevant information, and not proportional to the

13   needs of this case. See Fed. R. Civ. P. 26(b)(1); Hidalgo, 2023 WL 2705989, at *10. As worded,

14   this request seeks documents relating to Defendant’s sales of products over a boundless period.

15   Gathering these materials would represent an immense burden, which is unwarranted given the

16   lack of any relevance of such materials beyond in relation to transactions Plaintiff has identified.

17   See ibid. Beyond the identified transactions, none of the requested materials are relevant to

18   Plaintiff’s surviving claims. The Government has information regarding firearms recovered in
19   crimes in its country. See, e.g., Tim Swift, Mexican Cartels Supplied With Trafficked Guns From

20   U.S.,             USA               TODAY                  (May              22,              2024),

21   https://www.usatoday.com/story/news/investigations/2024/05/22/mexican-cartels-supplied-

22   trafficked-guns-from-us/73700258007/. Thus, no basis exists for fishing within Defendant’s

23   business materials to build a claim. Defendant further objects to this request to the extent the

24   materials requested contain personal information including names, addresses, and telephone

25   numbers of customers. Moreover, such information, including BATFE trace information, and

26   other information Defendant is required to maintain, is protected from disclosure in civil suit. See,
27   e.g., Williams, 975 N.Y.S.2d 647, 650. In addition, to the extent this request seeks information

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 1   from Defendant regarding instances where it failed to report to or comply with ATF requirements,

 2   it improperly requests self-incrimination. See, e.g., KST Data, Inc. v. DXC Tech. Co., 344 F.

 3   Supp. 3d 1132, 1134 (C.D. Cal. 2018) (“[A] person may assert the Fifth Amendment privilege in

 4   civil proceedings . . . because there may be adverse consequences in a different criminal

 5   proceeding.”). Given the immense breadth of this request, seeking all of Defendant’s business

 6   records without any attempt to target the request to what is relevant to Plaintiff’s surviving claims,

 7   it is clear this request is made for an improper purpose of harassment, and increasing the cost of

 8   litigation. See Fed. R. 26(g)(1). Defendant further objects to this request to the extent it seeks

 9   irrelevant information related to sales not identified by Plaintiffs and lacking any relevance to the

10   claims at issue in this matter.

11   10.     All documents and communications related to the firearm sales identified in Exhibit A or

12   any other suspect sales, straw sales, multiple sales, repeat purchases, sales of assault weapons, .50

13   cal. Rifles, belt-fed firearms sold by or transferred by You or any Defendant in this litigation,

14   including but not limited to all records of such sales, background checks related to such sales,

15   identification information related to the purchaser, any other information related to the purchaser,

16   and any paper or electronic notes related to such sales.

17   ANSWER: Defendant objects to this request as vague and confusing. “[A]ny other suspect sales”

18   even with definition provided by Plaintiff provides no guidance to Defendant as to what is or is
19   not responsive and seeks information that is not knowable to Defendant. Further, this definition

20   inappropriately seeks mental impressions and work product from Defendant and Defendant’s

21   counsel. In addition, Defendant objects to this request to the extent it references the actions of

22   other Defendants about which Ammo AZ has no knowledge. Defendant further objects to this

23   request as overly broad, unduly burdensome, seeking irrelevant information, and not proportional

24   to the needs of this case. See Fed. R. Civ. P. 26(b)(1); Hidalgo, 2023 WL 2705989, at *10. As

25   worded, this request seeks documents relating to Defendant’s sales of products over a boundless

26   period. Gathering these materials would represent an immense burden, which is unwarranted
27   given the lack of any relevance of such materials beyond in relation to transactions Plaintiff has

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 1   identified. See ibid. Beyond the identified transactions, none of the requested materials are

 2   relevant to Plaintiff’s surviving claims. The Government has information regarding firearms

 3   recovered in crimes in its country. See, e.g., Tim Swift, Mexican Cartels Supplied With Trafficked

 4   Guns         From         U.S.,        USA            TODAY          (May          22,        2024),

 5   https://www.usatoday.com/story/news/investigations/2024/05/22/mexican-cartels-supplied-

 6   trafficked-guns-from-us/73700258007/. Thus, no basis exists for fishing within Defendant’s

 7   business materials to build a claim. Defendant further objects to this request to the extent the

 8   materials requested contain personal information including names, addresses, and telephone

 9   numbers of customers. Moreover, such information, including BATFE trace information, and

10   other information Defendant is required to maintain, is protected from disclosure in civil suit. See,

11   e.g., Williams, 975 N.Y.S.2d 647, 650. Given the immense breadth of this request, seeking all of

12   Defendant’s sale records for any possibly suspect sales without any attempt to target the request

13   to what is relevant to Plaintiff’s surviving claims, it is clear this request is made for an improper

14   purpose of harassment, and increasing the cost of litigation. See Fed. R. 26(g)(1). Without

15   waiving these objections, please see M-AZ-00022 through M-AZ-00064.

16   11.     All video and audio recordings of activity within or outside of Your store showing

17   employee or purchasers, including audio or video recordings involving suspect sales, straw sales,

18   multiple sales, repeat purchases, sales of assault weapons, .50 cal rifles, or belt-fed firearms,
19   including all video and/or audio recordings on the dates of purchase identified in Exhibit A and

20   sales of firearms that were later traced or the subject of criminal proceedings.

21   ANSWER: Defendant objects to this request as vague and confusing. “Suspect sales” even with

22   definition provided by Plaintiff provides no guidance to Defendant as to what is or is not responsive

23   and seeks information that is not knowable to Defendant. Further, this definition inappropriately

24   seeks mental impressions and work product from Defendant and Defendant’s counsel. Moreover,

25   Defendant objects to the request seeking information regarding firearms that were the “subject of

26   criminal proceedings.” This term is not defined, and it is unclear whether it refers to Arizona, the
27   United States, Mexico, or other international proceedings. Further, while Defendant is notified of

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 1   trace requests, they are only provided with the serial number for the subject firearm as part of these

 2   requests, and to the extent no trace request is made, Defendant would receive no notification of

 3   any proceedings. Defendant also objects to this request as overly broad, unduly burdensome,

 4   seeking irrelevant information, and not proportional to the needs of this case. See Fed. R. Civ. P.

 5   26(b)(1); Hidalgo, 2023 WL 2705989, at *10. As worded, this request seeks surveillance and

 6   audio recordings over an endless period. Without waiving these objections, none.

 7   12.     Documents sufficient to show the existence and availability of video or audio surveillance

 8   systems (including cameras or any other recording devices) operable in or around Your stores,

 9   when such systems were installed, where they were installed, why they were installed, and policies

10   related to recording such video or audio and retaining such records.

11   ANSWER: Defendant objects to this request on grounds that it is overly broad and seeks irrelevant

12   information. See Fed. R. Civ. P. 26(b)(1). Without waiving this objection, Defendant is not in

13   possession of documents responsive to this demand.

14   13.     All documents related to any firearms, ammunition, and/or firearm accessories sold or

15   transferred by You for which You know or have reason to believe have been (i) used, recovered,

16   and/or investigated by law enforcement in connection with an alleged crime or unauthorized use;

17   (ii) the subject of a trace, or (iii) otherwise recovered by law enforcement, including but not limited

18   to, trace requests and responses and firearms trafficking or straw purchasing investigations or
19   prosecutions.

20   ANSWER: Defendant objects to this request as vague and confusing. “Reason to believe” does

21   not provide sufficient information for Defendant to determine what is or is not responsive.

22   Moreover, in seeking this information, Plaintiff is improperly seeking mental impressions and

23   work product from Defendant. In addition, to the extent this request seeks information from

24   Defendant regarding instances where it failed to report to or comply with ATF requirements, it

25   improperly requests self-incrimination. See, e.g., KST Data, Inc. v. DXC Tech. Co., 344 F. Supp.

26   3d 1132, 1134 (C.D. Cal. 2018) (“[A] person may assert the Fifth Amendment privilege in civil
27   proceedings . . . because there may be adverse consequences in a different criminal proceeding.”).

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 1   Further, this definition inappropriately seeks mental impressions and work product from

 2   Defendant and Defendant’s counsel.        Moreover, Defendant objects to the request seeking

 3   information regarding firearms that were the “subject of criminal proceedings.” This term is not

 4   defined, and it is unclear whether it refers to Arizona, the United States, Mexico, or other

 5   international proceedings. Further, while Defendant is notified of trace requests, they are only

 6   provided with the serial number for the subject firearm as part of these requests, and to the extent

 7   no trace request is made, Defendant would receive no notification of any proceedings. Defendant

 8   also objects to this request as overly broad, unduly burdensome, seeking irrelevant information,

 9   and not proportional to the needs of this case. See Fed. R. Civ. P. 26(b)(1); Hidalgo, 2023 WL

10   2705989, at *10. Defendant objects to this request as overly broad and unduly burdensome. See

11   Fed. R. Civ. P. 26(b)(1). As worded, this request seeks surveillance and audio recordings over an

12   endless period. Without waiving these objections, please see M-AZ-00022 through M-AZ-00064.

13   14.     Documents sufficient to show the identities of Your employees or people You contracted

14   with or retained to sell or purchase firearms during the Relevant Time Period.

15   ANSWER: Defendant objects to this request as overly broad, unduly burdensome, and seeking

16   irrelevant information to the extent Defendant’s organizational structure, and personal information

17   regarding all employees, are irrelevant to Plaintiff’s claims. See Fed. R. Civ. P. 26(b)(1); Hidalgo,

18   2023 WL 2705989, at *10. This request is further objectionable because it is not explained with
19   any level of detail what specific materials are requested. See ibid. In addition, Defendant objects

20   to information regarding purchases of firearms as irrelevant. Thus, as worded, this request is

21   plainly made for the improper purposes of identifying individuals who have not been involved in

22   any of the identified transactions, for purposes of harassing these individuals based on their

23   employment with Defendant AZ. See Fed. R. Civ. P. 26(g)(1)(B). As worded, this request seeks

24   sensitive personnel information regarding Ammo-AZ’s employees (including telephone numbers

25   and addresses), which is sensitive, and has no relevance to this matter. As such, any need for this

26   information is not proportional to the needs of the case. See Fed. R. Civ. P. 26(b)(1). Without
27   waiving these objections, upon reasonable inquiry, the following employees were involved in

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 1   some capacity in certain transactions identified in Exhibit A to Plaintiffs’ First Set of Requests for

 2   Production:

 3   CURRENT EMPLOYEES

 4         •   Bryce Cronk

 5         •   Josh Durr

 6         •   Lynz Durr

 7         •   Bailey Murphy

 8         •   Jennifer Murphy

 9   FORMER EMPLOYEES

10         •   Faith Godfrey, 2747 W. Plum Hollow Drive, Phoenix, AZ 85086, (480) 406-4533

11         •   Ryan Godfrey, 21239 N. 24th Ave #209, Phoenix, AZ 85027, (480) 406-5872

12         •   Madysen Halawith, 9337 W. White Feather Lane, Peoria, AZ 85383, (602) 910-8084

13         •   Jason Hydorn, 21239 N 24th Avenue #209, Phoenix, AZ 85027, (602) 884-3587

14         •   Logan Roberson, 21655 N. 36th Avenue, Unit 135, Glendale, AZ 85308 (480)522-8890

15         •   Hunter Wagner, 24646 N. 36th Avenue, Glendale, AZ 85310, (520) 437-2452.

16   15.       All documents concerning employees who participated in or where present at (a) the sale

17   of any firearm for which You received a Trace Request, (b) the sale of any firearm to a person who

18   was charged in violations of firearms laws, or (c) the sale of any firearm to any of the purchasers
19   identified in Exhibit A, including, but not limited to all employment records, human resources

20   records, personnel records (including employment applications, references), disciplinary records,

21   job titles and responsibilities, training documents and records reflecting or concerning any training

22   You provided to those employees, including training module worksheets and signed employee

23   handbook pages.

24   ANSWER: Defendant objects to this request as overly broad, unduly burdensome, and seeking

25   irrelevant information to the extent Defendant’s organizational structure, and personal information

26   regarding all employees, are irrelevant to Plaintiff’s claims. See Fed. R. Civ. P. 26(b)(1); Hidalgo,
27   2023 WL 2705989, at *10. This request is further objectionable because it is not explained with

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 1   any level of detail what specific materials are requested. See ibid. Defendant further objects to

 2   the extent certain information requested, including whether anyone who purchased a firearm from

 3   Ammo AZ was charged with violations of firearms laws. Moreover, “violations of firearms laws”

 4   is undefined, vague, and ambiguous as it is unclear what laws are referred to, or whether those are

 5   the laws of the United States, Arizona, or a foreign nation. Thus, as worded, this request is plainly

 6   made for the improper purposes of identifying individuals who have not been involved in any of

 7   the identified transactions, for purposes of harassing these individuals based on their employment

 8   with Defendant AZ. See Fed. R. Civ. P. 26(g)(1)(B).

 9   16.       Documents relating to the identify, location, and responsibilities of Your employees

10   working on the dates identified in Exhibit A, including but not limited to time sheets, time records,

11   shift tables, staffing, assignments or other scheduling documents, and documents identifying their

12   job titles and/or responsibilities.

13   ANSWER: Defendant objects to this request on grounds that it is overly broad and seeks irrelevant

14   information. See Fed. R. Civ. P. 26(b)(1). Information regarding employees other than those

15   directly involved in the transactions are not relevant. Without waiving these objections, upon

16   reasonable inquiry, the following employees were involved in some capacity in certain transactions

17   identified in Exhibit A to Plaintiffs’ First Set of Requests for Production:

18   CURRENT EMPLOYEES
19         •   Bryce Cronk

20         •   Josh Durr

21         •   Lynz Durr

22         •   Bailey Murphy

23         •   Jennifer Murphy

24   FORMER EMPLOYEES

25         •   Faith Godfrey, 2747 W. Plum Hollow Drive, Phoenix, AZ 85086, (480) 406-4533

26         •   Ryan Godfrey, 21239 N. 24th Ave #209, Phoenix, AZ 85027, (480) 406-5872
27         •   Madysen Halawith, 9337 W. White Feather Lane, Peoria, AZ 85383, (602) 910-8084

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 1         •   Jason Hydorn, 21239 N 24th Avenue #209, Phoenix, AZ 85027, (602) 884-3587

 2         •   Logan Roberson, 21655 N. 36th Avenue, Unit 135, Glendale, AZ 85308 (480)522-8890

 3         •   Hunter Wagner, 24646 N. 36th Avenue, Glendale, AZ 85310, (520) 437-2452.

 4   17.       All documents related to crime, violence, or criminal activities in Mexico, including but

 5   not limited to the problems of firearms being purchased in the U.S. and trafficked to cartels and

 6   others in Mexico.

 7   ANSWER: Defendant objects to this request on grounds that it is overly broad and seeks irrelevant

 8   information. See Fed. R. Civ. P. 26(b)(1). This requested information is not relevant to Plaintiff’s

 9   surviving claims.

10   18.       All documents related to any disciplinary actions or investigations for employees involved

11   with the sale of firearms, firearm accessories, and/or ammunition.

12   ANSWER: Defendant objects to this request on grounds that it is overly broad and seeks irrelevant

13   information. See Fed. R. Civ. P. 26(b)(1). Further, the request is not bounded by any time frame

14   or relevance of sales, as such it is not proportional to the needs of the case. Ibid. Without waiving

15   these objection, Defendant is not in possession of any materials responsive to this request as related

16   to employees involved in the sales identified by Plaintiff.

17   19.       All documents relating to suspect sales, straw sales, multiple sales, repeat purchases, sales

18   of assault weapons, .50 cal rifles, belt-fed firearms, or the unlawful sale of, diversion of, or
19   trafficking of firearms, the harms caused by such sales and how to identify, report, or mitigate such

20   sales, including but not limited to: (i) any such information received from or sent or issued by a

21   firearm manufacturer, dealer, distributor, trade association, or law enforcement; (ii) any such

22   information obtained or prepared by you; and (iii) any such information received from or sent or

23   issued by government or law enforcement, such as ATF, DOF, or state or local police departments.

24   ANSWER Defendant objects to this request as vague and confusing. “[S]uspect sales” even with

25   definition provided by Plaintiff provides no guidance to Defendant as to what is or is not responsive

26   and seeks information that is not knowable to Defendant. Further, this definition inappropriately
27   seeks mental impressions and work product from Defendant and Defendant’s counsel. Defendant

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 1   further objects to this request as overly broad, unduly burdensome, seeking irrelevant information,

 2   and not proportional to the needs of this case. See Fed. R. Civ. P. 26(b)(1); Hidalgo, 2023 WL

 3   2705989, at *10. As worded, this request seeks documents relating to Defendant’s sales of

 4   products over a boundless period. Gathering these materials would represent an immense burden,

 5   which is unwarranted given the lack of any relevance of such materials beyond in relation to

 6   transactions Plaintiff has identified. See ibid. Beyond the identified transactions, none of the

 7   requested materials are relevant to Plaintiff’s surviving claims. The Government has information

 8   regarding firearms recovered in crimes in its country. See, e.g., Tim Swift, Mexican Cartels

 9   Supplied    With    Trafficked    Guns    From     U.S.,    USA    TODAY       (May     22,   2024),

10   https://www.usatoday.com/story/news/investigations/2024/05/22/mexican-cartels-supplied-

11   trafficked-guns-from-us/73700258007/. Thus, no basis exists for fishing within Defendant’s

12   business materials to build a claim. Defendant further objects to this request to the extent the

13   materials requested contain personal information including names, addresses, and telephone

14   numbers of customers. Moreover, such information, including BATFE trace information, and

15   other information Defendant is required to maintain, is protected from disclosure in civil suit. See,

16   e.g., Williams, 975 N.Y.S.2d 647, 650. Given the immense breadth of this request, seeking all of

17   Defendant’s sale records for any possibly suspect sales without any attempt to target the request

18   to what is relevant to Plaintiff’s surviving claims, it is clear this request is made for an improper
19   purpose of harassment, and increasing the cost of litigation. See Fed. R. 26(g)(1).

20   20.     All documents relating to the risks that firearms, ammunition, firearm accessories, assault

21   weapons, .50 cal rifles, or belt-fed firearms, may be obtained by criminals, in the United States,

22   Mexico, or another country, and how to prevent or minimize those risks, including but not limited

23   to (i) any such information received from or sent or issued by a firearm manufacturer, dealer,

24   distributor, trade association, or law enforcement; (ii) any such information obtained or prepared

25   by you; and (iii) any such information received from or sent or issued by government or law

26   enforcement, such as ATF, DOF, or state or local police departments.
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 1   ANSWER: Defendant objects to this request on grounds that it is overly broad and seeks irrelevant

 2   information. See Fed. R. Civ. P. 26(b)(1). This requested information is not relevant to Plaintiff’s

 3   surviving claims. Without waiving these objections, please see M-AZ-00065 through M-AZ-

 4   00074.

 5   21.      All documents related to the sale of firearms sent to or received from other Defendants in

 6   this case, manufacturers, dealers, distributors, trade associations, or other firearms organizations,

 7   including marketing or promotional materials and manuals.

 8   ANSWER: Defendant objects to this request as overly broad, unduly burdensome, seeking

 9   irrelevant information, and not proportional to the needs of this case. See Fed. R. Civ. P. 26(b)(1);

10   Hidalgo, 2023 WL 2705989, at *10.          As worded, this request seeks all documentation of

11   Defendant’s firearm transfers, purchases, and correspondence over an unlimited timeframe.

12   Gathering these materials would represent an immense burden, which is unwarranted given the

13   lack of any relevance of such materials beyond in relation to transactions Plaintiff has identified.

14   See ibid. (“[T]he Court ‘need not condone the use of discovery to engage in fishing expeditions.’”)

15   (quoting Rivera v. NIBCO, Inc., 364 F.3d 1057, 1072 (9th Cir. 2004)). Beyond the identified

16   transactions, none of the requested materials are relevant to Plaintiff’s surviving claims. The

17   Government has information regarding firearms recovered in crimes in its country. See, e.g., Tim

18   Swift, Mexican Cartels Supplied With Trafficked Guns From U.S., USA TODAY (May 22, 2024),
19   https://www.usatoday.com/story/news/investigations/2024/05/22/mexican-cartels-supplied-

20   trafficked-guns-from-us/73700258007/. Thus, no basis exists for fishing within Defendant’s

21   business materials to build a claim. Moreover, the requests for invoices, purchase summaries,

22   records of purchases, accounting materials, and contracts with manufacturers, distributors, or

23   dealers, have no relevance to Plaintiff’s claims. Defendant further objects to this request to the

24   extent the materials requested contain personal information including names, addresses, and

25   telephone numbers of customers.         Moreover, such information, including BATFE trace

26   information, and other information Defendant is required to maintain, is protected from disclosure
27   in civil suit. See, e.g., Williams, 975 N.Y.S.2d 647, 650. Given the immense breadth of this

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 1   request, seeking all of Defendant’s business records without any attempt to target the request to

 2   what is relevant to Plaintiff’s surviving claims, it is clear this request is made for an improper

 3   purpose of harassment, and increasing the cost of litigation. See Fed. R. 26(g)(1). Without

 4   waiving these objections, none.

 5   22.     All documents related to law enforcement actions, including but not limited to documents

 6   relating to: (i) ATF audits; (ii) ATF inspections; (iii) ATF citations or violations; (iv) ATF demand

 7   and warning letters; (v) ATF revocation letters and materials; (vi) materials from ATF meetings

 8   and conferences; (vii) materials relating to criminal investigations or prosecutions, including gun

 9   trafficking; (viii) the ATF Demand 2 program; (ix) as well as communications among You, Your

10   employees, law enforcement, trade associations, or Defendants related to the same.

11   ANSWER: Defendant objects to this request as overly broad, unduly burdensome, seeking

12   irrelevant information, and not proportional to the needs of this case. See Fed. R. Civ. P. 26(b)(1);

13   Hidalgo, 2023 WL 2705989, at *10. As worded, this request is not limited to a reasonable

14   timeframe, and is not limited to matters relevant to Plaintiff’s surviving claims or the Exhibit A

15   transactions. This request is further overbroad to the extent it seeks all communications at any

16   time with employees, law enforcement, trade associations or any other defendants without

17   limitation. It is inconceivable that such a broad request is limited to relevant information or what

18   is proportional to the case. Given the immense breadth of this request, seeking all of Defendant’s
19   business records without any attempt to target the request to what is relevant to Plaintiff’s surviving

20   claims, it is clear this request is made for an improper purpose of harassment, and increasing the

21   cost of litigation. See Fed. R. 26(g)(1); see also Hidalgo, 2023 WL 2705989, at *10.

22   23.     All documents related to actual or potential contacts or communications with any law

23   enforcement, regulatory, or other government agencies relating to the sale of firearms,

24   ammunition, or firearm accessories, including, but not limited to (i) the ATF; (ii) the United States

25   Federal Bureau of Investigation; (iii) the Arizona Department of Public Safety; (iv) the Tucson

26   Police Department; (v) the Phoenix Police Department; or (vi) the Yuma Police Department.
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 1   ANSWER: Defendant objects to the term “potential contacts or communications” as undefined,

 2   vague, ambiguous, and seeking speculation. This term is further objectionable in seeking mental

 3   impressions and attorney work product, which is inappropriate. Defendant objects to this request

 4   as overly broad, unduly burdensome, seeking irrelevant information, and not proportional to the

 5   needs of this case. See Fed. R. Civ. P. 26(b)(1); Hidalgo, 2023 WL 2705989, at *10. As worded,

 6   this request is not limited to a reasonable timeframe, and is not limited to matters relevant to

 7   Plaintiff’s surviving claims or the Exhibit A transactions.

 8   24.     All documents and records that You have received or sent to the ATF, any sheriff’s office,

 9   and/or other state or federal regulatory agencies related to Your federal firearms license(s) or

10   firearms business, including but not limited to: (i) state and federal licenses to sell firearms, firearm

11   accessories and ammunition at Your store location including but not limited to applications,

12   renewals and supporting documents; (ii) all records, citations, warning letters, reports, inspection

13   reports, corrective actions or other documents issued or provided to You, including any actual or

14   threatened suspension, revocation, or surrender of Your federal firearms licenses; (iii) documents

15   relating to any actual or threatened investigation, in addition to any indictment, arrest, or

16   conviction of an employee or agent of Your store for violation of a law or regulation relating to

17   firearms, ammunition, and/or firearm accessory sales; and (iv) documents and trace requests

18   concerning firearms, ammunition, or firearm accessories sold by Your store.
19   ANSWER: Defendant objects to the request for information regarding “threatened” investigation

20   as it calls for speculation. Defendant objects to this request as overly broad, unduly burdensome,

21   seeking irrelevant information, and not proportional to the needs of this case. See Fed. R. Civ. P.

22   26(b)(1); Hidalgo, 2023 WL 2705989, at *10. As worded, this request seeks all documents relating

23   to any of Defendant’s sales of products over a limitless time period, which is overly broad as

24   addressed in Defendant’s Objections to Definitions. Gathering these materials would represent an

25   immense burden, which is unwarranted given the lack of any relevance of such materials beyond

26   in relation to transactions Plaintiff has identified. See ibid. Beyond the identified transactions,
27   none of the requested materials are relevant to Plaintiff’s surviving claims. The Government has

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 1   information regarding firearms recovered in crimes in its country. See, e.g., Tim Swift, Mexican

 2   Cartels Supplied With Trafficked Guns From U.S., USA TODAY (May 22, 2024),

 3   https://www.usatoday.com/story/news/investigations/2024/05/22/mexican-cartels-supplied-

 4   trafficked-guns-from-us/73700258007/. Thus, no basis exists for fishing within Defendant’s

 5   business materials to build a claim. Defendant further objects to this request to the extent the

 6   materials requested contain personal information including names, addresses, and telephone

 7   numbers of customers. Moreover, such information, including BATFE trace information, and

 8   other information Defendant is required to maintain, is protected from disclosure in civil suit. See,

 9   e.g., Williams, 42 Misc. 3d at 442. Given the immense breadth of this request, without any attempt

10   to narrow it to what is relevant or preserve privacy interests of Defendant’s law-abiding customers,

11   it is clear this request is made for an improper purpose of harassment and increasing the cost of

12   litigation. See Fed. R. 26(g)(1). Without waiving these objections, please see M-AZ-00075

13   through M-AZ-00078.

14   25.       All documents related to any sanction, discipline, condition or restriction imposed on You

15   by a distributor or manufacturer, including any documents relating to any investigation that could

16   result in such action or any consideration, discussion or decision about the possibility of such

17   action.

18   ANSWER: Defendant objects to this request as overly broad, unduly burdensome, seeking
19   irrelevant information, and not proportional to the needs of this case. See Fed. R. Civ. P. 26(b)(1);

20   Hidalgo, 2023 WL 2705989, at *10. Without waiving these objections, none.

21   26.       All documents related to any Defendant’s membership in any trade association.

22   ANSWER: Defendant is a member of The National Shooting Sports Foundation.

23   27.       All comprehensive general liability and/or property insurance policies, including any

24   declaration pages for the insurance policies.

25   ANSWER: See M-AZ-00001 through M-A-000021 previously provided.

26   28.       All documents related to Your financial and operating results, including but not limited to:
27   (i) documents demonstrating Your overall sales, expenses, and profits attributed to the sale of

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 1   firearms, firearm accessories and ammunition; (ii) documents sufficient to identify Your retail

 2   sales; (iii) Your financial and operating results for firearms and ammunition; (iv) balance sheets;

 3   (v) profits and loss statements, and (vi) state and federal tax returns.

 4   ANSWER: Defendant objects to this request as overly broad, unduly burdensome, seeking

 5   irrelevant information, and not proportional to the needs of this case. See Fed. R. Civ. P. 26(b)(1);

 6   Hidalgo, 2023 WL 2705989, at *10.

 7   29.     All documents which show Your organizational or business structure and ownership,

 8   including that of Your subsidiaries, affiliates, or corporate parent(s). This includes, but is not

 9   limited to, certificates of incorporation, bylaws, shareholders’ agreements, formation certificates,

10   partnership agreements, and operating agreements. The Relevant Time Period does not apply to

11   this request.

12   ANSWER Defendant objects to this request as overly broad, unduly burdensome, and seeking

13   irrelevant information to the extent Defendant’s organizational structure, and personal information

14   regarding all employees, are irrelevant to Plaintiff’s claims. See Fed. R. Civ. P. 26(b)(1); Hidalgo,

15   2023 WL 2705989, at *10. This request is further objectional because it is not explained with any

16   level of detail what specific materials are requested, and no timeframe or “as of [date]” is provided.

17   See ibid. Thus, as worded, in seeking all materials, including identification of all employees, ever

18   created by Ammo AZ, this request is plainly made for the improper purposes of identifying
19   individuals who have not been involved in any of the identified transactions, for purposes of

20   harassing these individuals based on their employment with Defendant AZ. See Fed. R. Civ. P.

21   26(g)(1)(B). As worded, this request seeks sensitive personnel information regarding Ammo-AZ’s

22   employees (including telephone numbers and addresses), which is sensitive, and has no relevance

23   to this matter. As such, any need for this information is not proportional to the needs of the case.

24   See Fed. R. Civ. P. 26(b)(1). Without waiving this objection, please see M-AZ-00079 through M-

25   AZ-00270.

26   30.     All documents related to policies, guidelines, standards, protocols, practices, handbooks,
27   or training materials concerning the sale of firearms, firearm accessories, and/or ammunition at

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 1   Your store, including (i) Your Employee Handbook or any other employee manual(s) in effect or

 2   used to train employees; (ii) all training videos, power-points, work sheets, or other documents or

 3   audiovisual used to train employees that sell firearms, firearm accessories, or ammunition; (iii) all

 4   resources available to employees who sell firearms, firearm accessories, or ammunition created by

 5   trade associations, firearm manufacturers, ammunition manufacturers, other dealers, or law

 6   enforcement authorities (including but not limited to ATF, FBI or any other law enforcement

 7   agency.

 8   ANSWER: Defendant objects to this request as overly broad, unduly burdensome, seeking

 9   irrelevant information, and not proportional to the needs of this case. See Fed. R. Civ. P. 26(b)(1);

10   Hidalgo, 2023 WL 2705989, at *10. Defendant further objects to this request to the extent it is

11   impossible to identify “all resources available” especially when, as stated, these materials are

12   prepared by third-parties. Defendant further objects to the extent the requested materials are

13   publicly available or equally accessible to Plaintiff. Without waiving these objections, Defendant

14   does not possess an employee handbook or written training materials as all training is performed

15   in-person and through on-the-job shadowing.

16   31.      All documents related to the detection of, prevention of, identification of, reporting of, or

17   potential or actual consequences related to: suspect sales, straw sales, multiple sales, repeat

18   purchases, sales of assault weapons, .50 cal rifles, or belt-fed firearms, trafficking, and/or kitchen
19   table dealers.

20   ANSWER: Defendant objects to this request as overly broad, unduly burdensome, seeking

21   irrelevant information, and not proportional to the needs of this case. See Fed. R. Civ. P. 26(b)(1);

22   Hidalgo, 2023 WL 2705989, at *10. Defendant further objects as it is impossible to identify “all

23   documents” specified. Without waving this objection, please see M-AZ-00065 through M-AZ-

24   00074.

25   32.      All documents concerning any formal or informal policy relating to working with or

26   cooperating with law enforcement or reporting suspicious activity to any law enforcement.
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 1   ANSWER: Defendant objects to this request as overly broad, unduly burdensome, seeking

 2   irrelevant information, and not proportional to the needs of this case. See Fed. R. Civ. P. 26(b)(1);

 3   Hidalgo, 2023 WL 2705989, at *10. Without waiving this objection, none.

 4   33.     All documents relating to marketing, advertising, promoting, and public statements related

 5   to Your sale of firearms, ammunitions, firearm accessories, and firearm training programs,

 6   including but not limited to: flyers, catalogs, mailers, press releases, public statements, and

 7   postings on all social media sites, websites, internet sites, including but not limited to Google,

 8   Facebook, X (formerly Twitter), YouTube, Instagram, TikTok, Snapchat, Reddit, 4chan, and

 9   Discord.

10   ANSWER: Defendant objects to this request as overly broad, unduly burdensome, seeking

11   irrelevant information, and not proportional to the needs of this case. See Fed. R. Civ. P. 26(b)(1);

12   Hidalgo, 2023 WL 2705989, at *10. The requested materials are not relevant to any of Plaintiff’s

13   surviving claims. Moreover, Plaintiff requests “all” materials over an unbounded timeframe

14   related to any products sold by Ammo AZ. As a result, this request is plainly made for improper

15   purposes. See Fed. R. Civ. P. 26(g)(1)(B).

16   34.     Any document relating to a media appearance by You related to Your sale of firearms,

17   ammunitions, firearm accessories, or firearm training programs, including documents and

18   communications prepared or exchanged in preparation for those appearances.
19   ANSWER: Defendant objects to this request as overly broad, unduly burdensome, seeking

20   irrelevant information, and not proportional to the needs of this case. See Fed. R. Civ. P. 26(b)(1);

21   Hidalgo, 2023 WL 2705989, at *10. The requested materials are not relevant to any of Plaintiff’s

22   surviving claims. Moreover, Plaintiff requests all materials over an unbounded timeframe related

23   to any products sold by Ammo AZ. As a result, this request is plainly made for improper purposes.

24   See Fed. R. Civ. P. 26(g)(1)(B).

25   35.     All documents related to any national or state laws, statutes, regulations, or executive

26   orders related to the sale of firearms, ammunition, or firearm accessories and related court orders
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 1   or opinions, including documents related to compliance with those laws, statutes, regulations,

 2   executive orders, court orders, or court opinions.

 3   ANSWER: Defendant objects to this request as overly broad, unduly burdensome, seeking

 4   irrelevant information, and not proportional to the needs of this case. See Fed. R. Civ. P. 26(b)(1);

 5   Hidalgo, 2023 WL 2705989, at *10. Defendant further objects to this request as vague and

 6   confusing in requesting Defendant to provide laws and orders, which are equally accessible to

 7   Plaintiff. As worded, this request seeks any documents related to any laws related to the sale of

 8   firearms, ammunition, or firearm accessories including court orders and opinions. This request

 9   subsumes all documents related to any firearm lawsuit, criminal matter, political debate, etc. As

10   such, it is plainly overly broad and lacking any proportionality to this matter. As a result, this

11   request is plainly made for improper purposes. See Fed. R. Civ. P. 26(g)(1)(B).

12   36.     All documents posted visibly at Your store throughout the Relevant Time Period providing

13   warnings or notice to potential customers regarding any and all requirements to purchase firearms,

14   ammunition, or firearm accessories.

15   ANSWER: Please see M-AZ-00065 through M-AZ-00074.

16   37.     All documents produced to or received from any party or non-party related to or in

17   connection with this action. This response is not limited in time.

18   ANSWER: Defendant objects to this request as seeking attorney work product, mental
19   impressions, and materials protected from disclosure pursuant to the attorney/client privilege and

20   consulting expert privileges. Defendant further objects to the extent this request seeks materials

21   protected from disclosure pursuant to a joint defense agreement. Otherwise, the only responsive

22   documents have been provided to all parties in discovery.

23   38.     All documents that You contend support any claim or defense asserted in this litigation.

24   ANSWER: Defendant objects to this request as premature as such, it has not identified all

25   materials it intends to use to support its defenses. Further, Defendant has not yet determined who

26   it will call as testifying experts. Defendant will disclose materials in accordance with Rule 26 of
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 1   the Federal Rules of Civil Procedure. Without waiving these objections, please see M-AZ-00001

 2   through M-AZ-00275.

 3   39.     All documents that relate to Your document control, retention, and/or storage policies,

 4   including but not limited to documents sufficient to show Your document destruction, retention or

 5   archiving policies and practices and any changes in such policies or practices during the Relevant

 6   Time Period.

 7   ANSWER: Defendant is not in possession of any materials responsive to this demand.

 8   40.     All non-privileged documents Your expert witnesses reviewed or relied upon, or will

 9   review or rely upon, in preparing expert reports for this action.

10   ANSWER: Defendant objects to this request as premature. Defendant has not yet determined

11   who will be called as a testifying expert. Defendant will provide disclosures pursuant to Rule 26

12   of the Federal Rules of Civil Procedure as required by this Court’s scheduling order.

13   41.     All documents and materials use [sic] to draft or prepare Your Rule 26(f) Initial Disclosure

14   and any supplements thereto.

15   ANSWER: Defendant objects to this request as seeking mental impressions, attorney work

16   product, and materials protected from disclosure pursuant to the Attorney/Client Privilege or

17   Consulting Expert Privilege. Without waiving these objections, please see M-AZ-00079 through

18   M-AZ-00270.
19   DATED this 24th day of July 2024

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21
                                                       Defendant Ammo A-Z, LLC
22
                                                       s/Ryan L. Erdreich
23                                                     Ryan L. Erdreich (Pro Hac Vice)
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 1                                  CERTIFICATE OF SERVICE

 2

 3          This is to certify that a copy of the foregoing has been served on all counsel of record on

 4   July 24, 2024, using the email addresses provided by counsel to the Clerk for the CM/ECF system:

 5   Dated: Florham Park, NJ

 6          July 24, 2024

 7
                                                 PISCIOTTI LALLIS ERDREICH
 8

 9                                         By:   s/Ryan L. Erdreich
                                                 Ryan L. Erdreich, pro hac vice
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    EXHIBIT 6
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Attorneys for Defendants Diamondback Shooting Sports, Inc.,
Loan Prairie, LLC d/b/a The Hub, SNG Tactical, LLC and Sprague’s Sports, Inc.

                     IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF ARIZONA

 Estados Unidos Mexicanos,

                           Plaintiff,
 vs.                                           Case No: 4:22-cv-00472-TUC-RM

 Diamondback Shooting Sports, Inc., an
 Arizona corporation; SNG Tactical,
 LLC, an Arizona limited liability
 company; Loan Prairie, LLC D/B/A The
 Hub, an Arizona limited liability
 company; Ammo A-Z, LLC, an Arizona
 limited liability company; Sprague’s
 Sports, Inc., an Arizona corporation,

                 Defendants.
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                       DEFENDANT SPRAGUE’S SPORTS, INC.’S
               OBJECTIONS AND RESPONSES TO PLAINTIFF’S FIRST SET OF
                    REQUESTS FOR PRODUCTION OF DOCUMENTS

       Defendant Sprague’s Sports, Inc. (“Sprague’s”), by and through its attorneys, Renzulli Law Firm,

LLP and Lorber, Greenfield & Olsen, LLP, hereby serves its objections and responses to Plaintiffs’ First

Set of Request for Production of Documents as follows:

                                   PRELIMINARY STATEMENT

       Sprague’s has not fully completed its investigation of the facts relating to this case, has not fully

completed discovery in this action and has not completed preparation for trial. Thus, the responses

contained herein are based only upon the information and documents which are presently available to and

specifically known to it. It is anticipated that further discovery and investigation will supply additional

facts which will, in turn, clarify and add meaning to known facts, as well as to establish entirely new

factual matters, all of which may lead to substantial changes in, and variations from the contentions and

information herein set forth.

       The following responses are provided without prejudice to Sprague’s right to produce evidence of

additional or any subsequently discovered facts. Sprague’s, accordingly, reserves the right to amend,

modify, and/or supplement any and all responses herein as additional facts are ascertained, analyses made,

legal research completed, expert opinions exchanged, and contentions formulated.

       Sprague’s is responding to Plaintiff’s Requests pursuant to the Federal Rules of Civil Procedure

and applicable state law. In answering these Requests, Sprague’s is interpreting words used by Plaintiff

according to their ordinary and normal meaning where such meaning can be easily ascertained. Sprague’s

expressly reserves the right to challenge the relevancy, materiality, admissibility, and probative value of

the information contained in its responses to the Requests.
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                         GENERAL OBJECTIONS AND RESERVATIONS

       Each response and objection provided by Sprague’s in response to Plaintiff’s discovery demands

herein is subject to the following General Objections and Reservations, each of which is hereby

incorporated into each of Sprague’s responses.

       1.      Sprague’s objects to several of Plaintiff’s definitions as being overly broad and inconsistent

with the practice and customs of the firearms industry, including, Plaintiff’s expansive and incorrect

definitions of “Ammunition,” “Assault Weapon,” “Civilian Market,” “Dealer,” “Distributor,” “.50 Sniper

rifle(s),” “.50 cal rifle(s),” “Firearm Accessory,” “Kitchen Table Dealer,” “Multiple sale(s),” “Straw sale,”

“Suspect Purchaser(s),” “Suspect Sale(s),” “Trafficking,” and “Trade Association.”

       2.      Sprague’s objects to the inclusion of the following as being considered equal to or part of

Sprague’s Sports, Inc.: predecessors, wholly-owned or controlled subsidiaries or affiliates, successors,

parents, other subsidiaries, joint ventures, other affiliates and any organization or entity that Sprague’s

manages or controls, including those merged with or acquired, together with all present and former

directors, officers, employees, agents, attorneys, representatives or any persons acting or purporting to act

on their behalf. Sprague’s denies it has an obligation to search for or produce records in the possession of

any such entities.

       3.      Sprague’s objects to the “Relevant Time Period” as being January 1, 2010 to the present.

A generalized fourteen (14) year discovery period for a civil action with a statute of limitations of either

1 year or 2 years is patently unreasonable.

       Nothing herein shall be construed as an admission by Sprague’s with respect to the admissibility

or relevance of any facts or documents referenced or produced herein.
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             OBJECTIONS AND RESPONSES TO REQUESTS FOR PRODUCTION

REQUEST NO. 1:         Your organizational charts, employee lists, personnel directories, telephone

directories, and electronic mail user and address lists sufficient to show all personnel, including their jobs

or titles and any contact information.

RESPONSE: Sprague’s objects to this Request on the basis that it is overbroad and fails to meet the

particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time

frame. Sprague’s further objects to this Request on the basis that it seeks irrelevant information that is not

reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the needs

of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because it would include

employees and former employees who had no involvement in firearm sales. Without waiving or limiting

the foregoing objections, see documents Bates numbered SPR000713–SPR000721.

REQUEST NO. 2:         All documents relating to recording and tracking Your firearm, ammunition, and/or

firearm accessory sales, which were kept and/or maintained by You during the Relevant Time Period,

including but not limited to: (i) A & D books; (ii) records of sale; and (iii) any computerized, accounting

or other system that contains the requested information.

RESPONSE: Sprague’s objects to this Request on the basis that it seeks irrelevant information that is not

reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the needs

of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because it seeks disclosure

of sales and accounting materials that far exceed the relevant issues in this case as framed by the

Complaint. Sprague’s also objects to this Request on the basis that federal law “prohibits the disclosure

of information required to be kept by licensees pursuant to section 923(g) of title 18, United States Code,

or required to be reported pursuant to paragraphs (3) and (7) of such section” and states that “all such data

shall be immune from legal process, shall not be subject to subpoena or other discovery, shall be

inadmissible in evidence, and shall not be used, relied on, or disclosed in any manner, nor shall testimony
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or other evidence be permitted based on the data, in a civil action in any State (including the District of

Columbia) or Federal court . . . .” Pub. Law 112-55, 125 Stat. 609-10. Without waiving or limiting the

foregoing objections, see documents Bates numbered SPR000496-SPR000517. See privilege log for

potentially responsive documents withheld from production..

REQUEST NO. 3:         All documents relating to recording and tracking Your firearm, ammunition, and/or

firearm purchases, which were kept and/or maintained by You during the Relevant Time Period, including

but not limited to: (i) A& D books; (ii) invoices; (iii) weekly, monthly, or annual purchase summaries;

(iv) records of purchase; and (v) contracts with manufacturers, distributors, or dealers, and (vi) any

computerized, accounting or other system that contains the requested information.

RESPONSE: Sprague’s objects to this Request on the basis that it seeks irrelevant information that is not

reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the needs

of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because it seeks disclosure

of purchase and accounting materials that far exceed the relevant issues in this case as framed by the

Complaint. Sprague’s also objects to this Request on the basis that federal law “prohibits the disclosure

of information required to be kept by licensees pursuant to section 923(g) of title 18, United States Code,

or required to be reported pursuant to paragraphs (3) and (7) of such section” and states that “all such data

shall be immune from legal process, shall not be subject to subpoena or other discovery, shall be

inadmissible in evidence, and shall not be used, relied on, or disclosed in any manner, nor shall testimony

or other evidence be permitted based on the data, in a civil action in any State (including the District of

Columbia) or Federal court . . . .” Pub. Law 112-55, 125 Stat. 609-10. Without waiving or limiting the

foregoing objections, see privilege log for potentially responsive documents withheld from production.

REQUEST NO. 4:         Electronically stored information in a tab-, comma-, or semicolon-delimited ASCII

flat text file or similar electronic format sufficient to identify all of Your sales of firearms, ammunition,

and firearm accessories during the Relevant Time Period in a transaction-by-transaction format, including
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but not limited to: (i) time of sale; (ii) date of sale; (iii) location of sale; (iv) employee that made the sale;

(v) age, gender, occupation, nationality, and residence of purchaser; (vi) amount of ammunition sold; (vii)

number of firearms sold; (viii) caliber and manufacturer, model, and type (e.g., handgun, rifle shotgun,

semi-automatic) of each firearm sold; (ix) serial number of each firearm sold; (x) price of firearm and

ammunition sold; (xi) any other identifying information related to the purchaser; (xii) information related

to purchaser’s criminal history or background check; (xiii) any other information related to the product

sold.

RESPONSE: See objections and response to Request No. 2.

REQUEST NO. 5:          Electronically stored information in a tab-, comma-, or semicolon-delimited ASCII

flat text file or similar electronic format sufficient to identify all of Your purchases of firearms,

ammunition, and firearm accessories during the Relevant Time Period in a transaction-by-transaction

format, including but not limited to: (i) time of purchase; (ii) date of purchase; (iii) manufacturer,

distributor, or other entity You purchased from; (iv) amount of ammunition purchased; (v) number of

firearms purchased; (vi) caliber and manufacturer, model, and type (e.g., handgun, rifle shotgun, semi-

automatic) of each firearm purchased; (vii) serial number of each firearm purchased; (viii) price of firearm

and ammunition purchased; (ix) any other identifying information related to the seller; (x) any other

information related to the product purchased.

RESPONSE: See objections and response to Request No. 3.

REQUEST NO. 6:          All Firearm Transaction Records (ATF Form 4473’s) for all Firearms listed on the

attached (Exhibit A).

RESPONSE: Sprague’s objects to this Request to the extent that it seeks disclosure of information or

documents in the possession, custody, or control of any other parties. Sprague’s further objects to this

Request on the basis that federal law “prohibits the disclosure of information required to be kept by

licensees pursuant to section 923(g) of title 18, United States Code, or required to be reported pursuant to
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paragraphs (3) and (7) of such section” and states that “all such data shall be immune from legal process,

shall not be subject to subpoena or other discovery, shall be inadmissible in evidence, and shall not be

used, relied on, or disclosed in any manner, nor shall testimony or other evidence be permitted based on

the data, in a civil action in any State (including the District of Columbia) or Federal court . . . .” Pub.

Law 112-55, 125 Stat. 609-10. Without waiving or limiting the foregoing objections, see privilege log for

potentially responsive documents withheld from production.

REQUEST NO. 7:         All Multiple Sales Forms (ATF Form 3310.4) drafted or submitted during the

Relevant Time Period.

RESPONSE: Sprague’s objects to this Request on the basis that it seeks irrelevant information that is not

reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the needs

of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because it seeks disclosure

of transactional forms that far exceed the relevant issues in this case as framed by the Complaint. Sprague’s

also objects to this Request on the basis that federal law “prohibits the disclosure of information required

to be kept by licensees pursuant to section 923(g) of title 18, United States Code, or required to be reported

pursuant to paragraphs (3) and (7) of such section” and states that “all such data shall be immune from

legal process, shall not be subject to subpoena or other discovery, shall be inadmissible in evidence, and

shall not be used, relied on, or disclosed in any manner, nor shall testimony or other evidence be permitted

based on the data, in a civil action in any State (including the District of Columbia) or Federal court . . .

.” Pub. Law 112-55, 125 Stat. 609-10. Without waiving or limiting the foregoing objections, see privilege

log for potentially responsive documents withheld from production.

REQUEST NO. 8:         All Rifle Sales Forms (ATF Form 3310.12) drafted or submitted during the

Relevant Time Period.

RESPONSE: Sprague’s objects to this Request on the basis that it seeks irrelevant information that is not

reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the needs
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of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because it seeks disclosure

of transactional forms that far exceed the relevant issues in this case as framed by the Complaint. Sprague’s

also objects to this Request on the basis that federal law “prohibits the disclosure of information required

to be kept by licensees pursuant to section 923(g) of title 18, United States Code, or required to be reported

pursuant to paragraphs (3) and (7) of such section” and states that “all such data shall be immune from

legal process, shall not be subject to subpoena or other discovery, shall be inadmissible in evidence, and

shall not be used, relied on, or disclosed in any manner, nor shall testimony or other evidence be permitted

based on the data, in a civil action in any State (including the District of Columbia) or Federal court . . .

.” Pub. Law 112-55, 125 Stat. 609-10. Without waiving or limiting the foregoing objections, see privilege

log for potentially responsive documents withheld from production.

REQUEST NO. 9:         All documents reflecting the multiple sale of firearms or ammunition not recorded

on ATF Forms 3310.4 or 3310.12.

RESPONSE: Sprague’s objects to this Request on the grounds that it is vague, overly broad, and unduly

burdensome (assuming the Request concerns the “Relevant Time Period), as the “multiple sale of

ammunition” is non-sensical and ambiguous, it is unknown what documents are being sought related to

the “multiple sale of firearms” other than what has been requested in the prior Requests, to produce any

such unknown documents for the past 14 years by definition would be unduly burdensome. If the request

is seeking additional documents required to be maintained by FFLs by ATF, Sprague’s also objects to this

Request on the basis that federal law “prohibits the disclosure of information required to be kept by

licensees pursuant to section 923(g) of title 18, United States Code, or required to be reported pursuant to

paragraphs (3) and (7) of such section” and states that “all such data shall be immune from legal process,

shall not be subject to subpoena or other discovery, shall be inadmissible in evidence, and shall not be

used, relied on, or disclosed in any manner, nor shall testimony or other evidence be permitted based on
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the data, in a civil action in any State (including the District of Columbia) or Federal court . . . .” Pub.

Law 112-55, 125 Stat. 609-10.

REQUEST NO. 10: All documents and communications related to the firearm sales identified in Exhibit

A or any other suspect sales, straw sales, multiple sales, repeat purchases, sales of assault weapons, .50

cal rifles, belt-fed firearms sold or transferred by You or any Defendant in this litigation, including but

not limited to all records of such sales, background checks related to such sales, identification information

related to the purchaser, any other information related to the purchaser, and any paper or electronic notes

related to such sales.

RESPONSE: Sprague’s objects to this Request on the basis that it is overbroad and fails to meet the

particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time

frame. Sprague’s further objects to this Request on the basis that it seeks irrelevant information that is not

reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the needs

of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because it seeks disclosure

of transactional forms that far exceed the relevant issues in this case as framed by the Complaint. Sprague’s

also objects to this Request on the basis that federal law “prohibits the disclosure of information required

to be kept by licensees pursuant to section 923(g) of title 18, United States Code, or required to be reported

pursuant to paragraphs (3) and (7) of such section” and states that “all such data shall be immune from

legal process, shall not be subject to subpoena or other discovery, shall be inadmissible in evidence, and

shall not be used, relied on, or disclosed in any manner, nor shall testimony or other evidence be permitted

based on the data, in a civil action in any State (including the District of Columbia) or Federal court . . .

.” Pub. Law 112-55, 125 Stat. 609-10. Without waiving or limiting the foregoing objections, see privilege

log for potentially responsive documents withheld from production.

REQUEST NO. 11: All video and audio recordings of activity within or outside of Your store showing

employees or purchasers, including audio or video recordings involving suspect sales, straw sales,
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multiple sales, repeat purchases, sales of assault weapons, .50 cal rifles, or belt-fed firearms, including all

video and/or audio recordings on the dates of purchase identified in Exhibit A and sales of firearms that

were later traced or the subject of criminal proceedings.

RESPONSE: Sprague’s objects to this Request on the grounds that it seeks information that is not

reasonably calculated to lead to the discovery of admissible evidence, especially regarding the request for

such items related to “multiple sales, repeat purchases, sales of assault weapons, .50 cal rifles, or belt-fed

firearms” as all of these transactions are legal, and in and of themselves, raise no suspicion or concern.

Sprague’s further objects to this Request on the grounds that it is vague and overly broad (assuming the

Request for these items is for the Relevant Time Period). Without waiving or limiting the foregoing

objections, Sprague’s is not in possession of any responsive recordings for the transactions identified in

the Complaint.

REQUEST NO. 12: Documents sufficient to show the existence and availability of video or audio

surveillance systems (including cameras or any other recording devices) operable in or around Your stores,

when such systems were installed, where they were installed, why they were installed, and policies related

to recording such video or audio and retaining such recordings.

RESPONSE: Sprague’s objects to this Request on the grounds that it seeks information that is not

reasonably calculated to lead to the discovery of admissible evidence. Without waiving or limiting the

foregoing objections, see documents Bates numbered SPR000533-SPR000534.

REQUEST NO. 13: All documents related to any firearms, ammunition, and or firearm accessories sold

or transferred by You for which You know or have reason to believe have been (i) used, recovered, and/or

investigated by law enforcement in connection with an alleged crime or unauthorized use; (ii) the subject

of a trace, or (iii) otherwise recovered by law enforcement, including but not limited to trace requests and

responses and firearms trafficking or straw purchasing investigations or prosecutions.
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RESPONSE: Sprague’s objects to this Request on the basis that it is overbroad and fails to meet the

particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time

frame. Sprague’s further objects to this Request on the basis that it seeks irrelevant information that is not

reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the needs

of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because any firearms

recovered within the United States that were “used, recovered, and/or investigated by law enforcement in

connection with an alleged crime or unauthorized use” cannot be relevant to the harm allegedly suffered

by Plaintiff. Sprague’s also objects to this Request on the basis that federal law “prohibits the disclosure

of information required to be kept by licensees pursuant to section 923(g) of title 18, United States Code,

or required to be reported pursuant to paragraphs (3) and (7) of such section” and states that “all such data

shall be immune from legal process, shall not be subject to subpoena or other discovery, shall be

inadmissible in evidence, and shall not be used, relied on, or disclosed in any manner, nor shall testimony

or other evidence be permitted based on the data, in a civil action in any State (including the District of

Columbia) or Federal court . . . .” Pub. Law 112-55, 125 Stat. 609-10. Without waiving or limiting the

foregoing objections, see documents Bates numbered SPR000518-SPR000532. Further, without waiving

or limiting the foregoing objections, Sprague’s is in possession of materials that are subject to the

privileges referenced in Sprague’s Privilege Log.

REQUEST NO. 14: Documents sufficient to show the identities of Your employees or people You

contracted with or retained to sell or purchase firearms during the Relevant Time Period.

RESPONSE: See objections and responses to Request No. 1.

REQUEST NO. 15: All documents concerning employees who participated in or were present at (a) the

sale of any firearm for which You received a Trace Request, (b) the sale of any firearm to a person who

was charged with violations of firearms laws, or (c) the sale of any firearm to any of the purchasers

identified in Exhibit A, including, but not limited to all employment records, human resources records,
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personnel records (including employment applications, references), disciplinary records, job titles and

responsibilities, training documents and records reflecting or concerning any training You provided to

those employees, including training module worksheets and signed employee handbooks pages.

RESPONSE: Sprague’s objects to this Request on the basis that it is overbroad and fails to meet the

particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time

frame. Sprague’s further objects to this Request on the basis that it seeks irrelevant information that is not

reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the needs

of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because any firearms

recovered within the United States that were “used, recovered, and/or investigated by law enforcement in

connection with an alleged crime or unauthorized use” cannot be relevant to the harm allegedly suffered

by Plaintiff in Mexico. Sprague’s also objects to this Request on the basis that federal law “prohibits the

disclosure of information required to be kept by licensees pursuant to section 923(g) of title 18, United

States Code, or required to be reported pursuant to paragraphs (3) and (7) of such section” and states that

“all such data shall be immune from legal process, shall not be subject to subpoena or other discovery,

shall be inadmissible in evidence, and shall not be used, relied on, or disclosed in any manner, nor shall

testimony or other evidence be permitted based on the data, in a civil action in any State (including the

District of Columbia) or Federal court . . . .” Pub. Law 112-55, 125 Stat. 609-10. Without waiving or

limiting the foregoing objections, Defendants refer Plaintiffs to the blank ATF Form 4473 and all

instructions accompanying said form available on ATF’s website; the ATF’s website pertaining to Tools

& Services for Firearms Industry and Current Licensees; ATF’s Federal Firearms Regulations Guide

(https://www.atf.gov/firearms/docs/guide/federal-firearms-regulations-reference-guide-2014-edition-atf-

p-53004/download); the ATF’s State Laws and Published Ordinances – Firearms (35th Edition)

(https://www.atf.gov/firearms/state-laws-and-published-ordinances-firearms-35th-edition);              ATF’s

Federal      Firearms      Licensee       Quick       Reference      and      Best      Practices      Guide
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(https://www.atf.gov/firearms/federal-firearms-licensee-quick-reference-and-best-practices-guide); and

Don’t Lie for the Other Guy materials from the National Shooting Sports Foundation

(https://www.dontlie.org/). Sprague’s further responds that it periodically receives and reviews copies of

all notices, newsletters, etc. that the ATF distributes electronically to federal firearms licensees, to train

and educate personnel (https://www.atf.gov/firearms/download-firearms-industry-newsletter), but does

not retain copies of them. In addition, see internal employee training materials, Bates numbered

SPR000535-SPR000566.

REQUEST NO. 16: Documents relating to the identity, location, and responsibilities of Your employees

working on the dates identified in Exhibit A, including but not limited to time sheets, time records, shift

tables, staffing assignments or other scheduling documents, and documents identifying their job titles

and/or responsibilities.

RESPONSE: See objections and responses to Request Nos. 1 and 14.

REQUEST NO. 17: All documents related to any disciplinary actions or investigations for employees

involved with the sale of firearms, firearm accessories, and/or ammunition.

RESPONSE: Sprague’s objects to this Request on the basis that it is overbroad, vague, and fails to meet

the particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time

frame. Sprague’s further objects to this Request on the basis that it seeks irrelevant information that is not

reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the needs

of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because it seeks disclosure

of records that far exceed the relevant issues in this case as framed by the Complaint. Subject to the

foregoing objections, Sprague’s is not in possession of any responsive documents related to any of the

transactions identified in the Complaint.
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REQUEST NO. 18: All documents related to crime, violence or criminal activity in Mexico, including

but not limited to the problem of firearms being purchased in the U.S. and trafficked or transferred to

cartels and others in Mexico.

RESPONSE: Sprague’s objects to this Request on the basis that it is overbroad, vague, and fails to meet

the particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time

frame. Without waiving or limiting the foregoing objections, Sprague’s does not maintain any responsive

documents in the regular course of business.

REQUEST NO. 19: All documents relating to suspect sales, straw sales, multiple sales, repeat

purchases, sales of assault weapons, .50 cal rifles, belt-fed firearms, or the unlawful sale of, diversion of,

or trafficking of firearms, the harms caused by such sales and how to identify, report, or mitigate such

sales, including but not limited to: (i) any such information received from or sent or issued by a firearms

manufacturer, dealer, distributor, trade association, or law enforcement; (ii) any such information obtained

or prepared by You; and (iii) any such information received from or sent or issued by government or law

enforcement, such as ATF, DOJ, or state or local police departments.

RESPONSE: Sprague’s objects to this Request on the basis that it is overbroad, vague, and fails to meet

the particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time

frame. Sprague’s further objects to this Request on the basis that it seeks irrelevant information that is not

reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the needs

of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because any firearms

recovered within the United States that were the subject of “suspect sales, straw sales, multiple sales,

repeat purchases, sales of assault weapons, .50 cal rifles, belt-fed firearms” cannot be relevant to the harm

allegedly suffered by Plaintiff in Mexico. Without waiving or limiting the foregoing objections,

Defendants refer Plaintiffs to the ATF Form 4473 and all instructions accompanying said form; the ATF’s

website pertaining to Tools & Services for Firearms Industry and Current Licensees; ATF’s Federal
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Firearms Regulations Guide (https://www.atf.gov/firearms/docs/guide/federal-firearms-regulations-

reference-guide-2014-edition-atf-p-53004/download); the ATF’s State Laws and Published Ordinances –

Firearms (35th Edition) (https://www.atf.gov/firearms/state-laws-and-published-ordinances-firearms-

35th-edition); ATF’s Federal Firearms Licensee Quick Reference and Best Practices Guide

(https://www.atf.gov/firearms/federal-firearms-licensee-quick-reference-and-best-practices-guide); and

Don’t Lie for the Other Guy materials from the National Shooting Sports Foundation

(https://www.dontlie.org/). Sprague’s further respond that it periodically receives and reviews copies of

all notices, newsletters, etc. that the ATF distributes electronically to federal firearms licensees, to train

and educate personnel (https://www.atf.gov/firearms/download-firearms-industry-newsletter), but does

not retain copies of them.

REQUEST NO. 20: All documents relating to the risks that firearms, ammunition, firearm accessories,

assault weapons, .50 cal rifles, or belt-fed firearms, may be obtained by criminals, in the United States,

Mexico, or another country, and how to prevent or minimize those risks, including but not limited to: (i)

any such information received from or sent or issued by a firearms manufacturer, dealer, distributor, trade

association, or law enforcement; (ii) any such information obtained or prepared by You; and (iii) any such

information received from or sent or issued by government or law enforcement, such as ATF, DOJ, or

state or local police departments.

RESPONSE: See objections and responses to Request No. 19.

REQUEST NO. 21: All documents related to the sale of firearms sent to or received from other

Defendants in this case, manufacturers, dealers, distributors, trade associations, or other firearms

organizations, including marketing or promotional materials and manuals.

RESPONSE: Sprague’s objects to this Request on the basis that it is vague, overbroad, duplicative of

prior requests, and fails to meet the particularity requirement under Rule 34(b)(1)(A) because it is not

reasonably limited to a specific time frame. Sprague’s further objects to this Request on the basis that it
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seeks irrelevant information that is not reasonably calculated to lead to the discovery of admissible

evidence, and is not proportional to the needs of the case as required by Rule 26(b)(1) of the Federal Rules

of Civil Procedure because it seeks disclosure of communications and marketing and promotional materials

that far exceed the relevant issues in this case as framed by the Complaint .

REQUEST NO. 22: All documents related to law enforcement actions, including but not limited to

documents relating to: (i) ATF audits; (ii) ATF inspections; (iii) ATF citations or violations; (iv) ATF

demand and warning letters; (v) ATF revocation letters and materials; (vi) materials from ATF meetings

and conferences; (vii) materials relating to criminal investigations or prosecutions, including gun

trafficking; (viii) the ATF Demand 2 program; (ix) as well as communications among You, Your

employees, law enforcement, trade associations, or Defendants related to the same.

RESPONSE: Sprague’s objects to this Request on the basis that it is overbroad and fails to meet the

particularity requirement under Rule 34(b)(1)(A) because it is not limited to a relevant time frame.

Sprague’s further objects to this Request on the basis that it seeks irrelevant information that is not

reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the needs

of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because it seeks disclosure

of information, documentation and communications that would relate to issues that never had any negative

effects in Mexico and far exceed the relevant issues in this case as framed by the Complaint. Finally,

Sprague’s objects to this Request on the basis that federal law “prohibits the disclosure of information

required to be kept by licensees pursuant to section 923(g) of title 18, United States Code, or required to

be reported pursuant to paragraphs (3) and (7) of such section” and states that “all such data shall be

immune from legal process, shall not be subject to subpoena or other discovery, shall be inadmissible in

evidence, and shall not be used, relied on, or disclosed in any manner, nor shall testimony or other evidence

be permitted based on the data, in a civil action in any State (including the District of Columbia) or Federal

court . . . .” Pub. Law 112-55, 125 Stat. 609-10. Without waiving or limiting the foregoing objections,
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Sprague’s is in possession of potentially responsive materials that are subject to the privileges referenced

in Sprague’s Privilege Log.

REQUEST NO. 23: All documents related to actual or potential contacts or communications with any

law enforcement, regulatory, or other government agencies relating to the sale of firearms, ammunitions,

or firearm accessories, including, but not limited to (i) the ATF; (ii) the United States Federal Bureau of

Investigation; (iii) Arizona Department of Public Safety; (iv) the Tucson Police Department; (v) the

Phoenix Police Department; or (vi) the Yuma Police Department.

RESPONSE: See objections and responses to Request No. 13.

REQUEST NO. 24: All documents and records that You have received or sent to the ATF, any sheriff’s

office, and/or other state or federal regulatory agencies related to Your federal firearms license(s) or

firearms business, including but not limited to: (i) state and federal licenses to sell firearms, firearm

accessories and ammunition at Your store location including but not limited to applications, renewals and

supporting documents; (ii) all records, citations, warning letters, reports, inspection reports, corrective

actions or other documents issued or provided to You, including any actual or threatened suspension,

revocation, or surrender of Your federal firearms licenses; (iii) documents relating to any actual or

threatened investigation, in addition to any indictment, arrest, or conviction of an employee or agent of

Your store for violation of a law or regulation relating to firearms, ammunition, and or/firearm accessory

sales; and (iv) documents and trace requests concerning firearms, ammunition, or firearm accessories sold

by Your store.

RESPONSE: Sprague’s objects to this Request on the basis that it is overbroad, duplicative of several

prior requests, and fails to meet the particularity requirement under Rule 34(b)(1)(A) because it is not

reasonably limited to a specific time frame. Sprague’s further objects to this Request on the basis that it

seeks irrelevant information that is not reasonably calculated to lead to the discovery of admissible

evidence, and is not proportional to the needs of the case as required by Rule 26(b)(1) of the Federal Rules
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of Civil Procedure because it seeks disclosure of communications and records that far exceed the relevant

issues in this case as framed by the Complaint. Sprague’s also objects to this Request on the basis that

federal law “prohibits the disclosure of information required to be kept by licensees pursuant to section

923(g) of title 18, United States Code, or required to be reported pursuant to paragraphs (3) and (7) of

such section” and states that “all such data shall be immune from legal process, shall not be subject to

subpoena or other discovery, shall be inadmissible in evidence, and shall not be used, relied on, or

disclosed in any manner, nor shall testimony or other evidence be permitted based on the data, in a civil

action in any State (including the District of Columbia) or Federal court . . . .” Pub. Law 112-55, 125 Stat.

609-10. Subject to the foregoing objections, see objections and responses to Request Nos. 13, 22, and 23.

See also documents Bates numbered SPR000567-SPR000569. Further, without waiving or limiting the

foregoing objections, Sprague’s is in possession of materials that are subject to the privileges referenced

in Sprague’s Privilege Log.

REQUEST NO. 25: All documents related to any sanction, discipline, condition or restriction imposed

on You by a distributor or manufacturer, including any documents relating to any investigation that could

result in such action or any consideration, discussion or decision about the possibility of such action.

RESPONSE: Sprague’s objects to this Request on the basis that it is overbroad, vague, and fails to meet

the particularity requirement under Rule 34(b)(1)(A) because it is not limited to a reasonable time frame

and does not define “sanction, discipline, condition, or restriction.” Sprague’s further objects to this

Request on the basis that it seeks irrelevant information that is not reasonably calculated to lead to the

discovery of admissible evidence. Subject to the foregoing objections, Sprague’s is not in possession of

any responsive documents..

REQUEST NO. 26: All documents related to any Defendant’s membership in any trade association.

RESPONSE: Sprague’s objects to this Request on the basis that it is overbroad and fails to meet the

particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time
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frame. Sprague’s further objects to this Request on the basis that it seeks irrelevant information that is not

reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the needs

of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because it seeks disclosure

of membership information that far exceeds the relevant issues in this case as framed by the Complaint.

Sprague’s further objects on the grounds that the request seeks to infringe on defendant’s First Amendment

rights of free speech and freedom of association. Subject to the foregoing objections, see documents Bates

numbered SPR000570-SPR000573.

REQUEST NO. 27: All comprehensive general liability and/or property insurance policies, including

any declaration pages for the insurance policies.

RESPONSE: Sprague’s objects to this Request on the grounds that “property insurance policies” are not

relevant and cannot lead to the discovery of admissible evidence. Without waiving or limiting the

foregoing objection, see Sprague’s First Supplemental Initial Disclosure Statement dated June 11, 2024,

as well as documents Bates numbered SPR000574-SPR000712.

REQUEST NO. 28: All documents related to Your financial and operating results, including but not

limited to: (i) documents demonstrating Your overall sales, expenses and profits attributed to the sale of

firearms, firearm accessories and ammunition; (ii) documents sufficient to identify Your retail sales; (iii)

Your financial and operating results for firearms and ammunition; (iv) balance sheets; (v) profits and loss

statements, and (vi) state and federal tax returns.

RESPONSE: Sprague’s objects to this Request on the basis that it is overbroad and fails to meet the

particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time

frame. Sprague’s further objects to this Request on the basis that it seeks irrelevant information that is not

reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the needs

of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because it is premature

as it seeks financial condition discovery without a prima facie finding of liability. (“The State of Arizona
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has adopted a general rule mandating that ‘prima facie proof of a defendant’s liability for punitive damages

[is necessary] before his wealth or financial condition may be discovered.’” ReBath LLC v. HD Solutions

LLC, 2021 WL 1923759 (D. Ariz. May. 13, 2021) (citing Richbourg v. Jimerson, No. CV-12-0136-TUC-

BGM, 2012 WL 4355906, at *2 (D. Ariz. Sept. 24, 2012); Larriva v. Montiel, 143 Ariz. 23, 691 P.2d 735,

736 (App.1984))).

REQUEST NO. 29: All documents which show Your organizational or business structure and

ownership, including that of Your subsidiaries, affiliates, or corporate parent(s). This includes, but is not

limited to, certificates of incorporation, bylaws, shareholders’ agreements, formation certificates,

partnership agreements, and operating agreements. The Relevant Time Period does not apply to this

request.

RESPONSE: Sprague’s objects to this Request on the basis that it is overbroad and fails to meet the

particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time

frame. Sprague’s further objects to this Request on the basis that it seeks irrelevant information that is not

reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the needs

of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because it is unlimited in

time and scope. Sprague’s additionally objects to this Request on the grounds that it constitutes an invasion

of privacy. Without waiving or limiting the foregoing objections, see response to Request No. 1.

REQUEST NO. 30: All documents related to policies, guidelines, standards, protocols, practices,

handbooks, or training materials concerning the sale of firearms, firearm accessories, and/or ammunition

at Your store, including (i) Your Employee Handbook or any other employee manual(s) in effect or used

to train employees; (ii) all training videos, power-points, work sheets, or other documents or audiovisual

used to train employees that sell firearms, firearm accessories, or ammunition; (iii) all resources available

to employees who sell firearms, firearm accessories, or ammunition created by trade associations, firearm
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manufacturers, ammunition manufactures, other dealers, or law enforcement authorities (including but not

limited to ATF, FBI or any other law enforcement agency).

RESPONSE: Sprague’s objects to this Request on the basis that it is overbroad and fails to meet the

particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time

frame. Sprague’s further objects to this Request on the basis that it seeks irrelevant information that is not

reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the needs

of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because firearms

accessories cannot be relevant to the harm allegedly suffered by Plaintiff in Mexico. Without waiving or

limiting the foregoing objections, Defendants refer Plaintiffs to the blank ATF Form 4473 and all

instructions accompanying said form available on ATF’s website; the ATF’s website pertaining to Tools

& Services for Firearms Industry and Current Licensees; ATF’s Federal Firearms Regulations Guide

(https://www.atf.gov/firearms/docs/guide/federal-firearms-regulations-reference-guide-2014-edition-atf-

p-53004/download); the ATF’s State Laws and Published Ordinances – Firearms (35th Edition)

(https://www.atf.gov/firearms/state-laws-and-published-ordinances-firearms-35th-edition);              ATF’s

Federal      Firearms      Licensee       Quick       Reference      and      Best      Practices      Guide

(https://www.atf.gov/firearms/federal-firearms-licensee-quick-reference-and-best-practices-guide); and

Don’t Lie for the Other Guy materials from the National Shooting Sports Foundation

(https://www.dontlie.org/). Sprague’s further respond that it periodically receives and reviews copies of

all notices, newsletters, etc. that the ATF distributes electronically to federal firearms licensees, to train

and educate personnel (https://www.atf.gov/firearms/download-firearms-industry-newsletter), but does

not retain copies of them. Please also see response to Request No. 15.

REQUEST NO. 31: All documents related to the detection of, prevention of, identification of, reporting

of, or potential or actual consequences related to: suspect sales, straw sales, multiple sales, repeat
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purchases, sales of assault weapons, .50 cal rifles, or belt-fed firearms, trafficking, and/or kitchen table

dealers.

RESPONSE: See objections and responses to Request Nos. 15, 19 and 30.

REQUEST NO. 32: All documents concerning any formal or informal policy relating to working with

or cooperating with law enforcement or reporting suspicious activity to any law enforcement agency.

RESPONSE: See objections and responses to Request Nos. 15, 19, 30, and 31. See also Bates numbered

SPR000722-SPR000723.

REQUEST NO. 33: All documents relating to marketing, advertising, promoting, and public statements

related to Your sale of firearms, ammunitions, firearm accessories, and firearm training programs,

including but not limited to: flyers, catalogs, mailers, press releases, public statements, and postings on

all social media sites, websites, internet sites, including but not limited to Google, Facebook, X (formerly

Twitter), YouTube, Instagram, TikTok, Snapchat, Reddit, 4chan, and Discord.

RESPONSE: Sprague’s objects to this Request on the basis that it is overbroad and fails to meet the

particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time

frame. Sprague’s further objects to this Request on the basis that it seeks irrelevant information that is not

reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the needs

of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because any responsive

documents are a matter of public record and equally accessible to Plaintiff as they are to Sprague’s.

Without waiving or limiting the foregoing objections, see:

https://www.spragues.com/; https://x.com/spragues_sports; https://www.facebook.com/Spragues.Sports;

https://www.instagram.com/spragues_sports/;

https://www.google.com/maps/place/Sprague's+Sports/@32.6683138,-

114.6228404,15z/data=!4m6!3m5!1s0x80d658b477010c2f:0x4aa1d4e4a80171b9!8m2!3d32.6683138!4

d-114.6228404!16s%2Fg%2F1wbf_ppg?entry=ttu.
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REQUEST NO. 34: Any document relating to a media appearance by You related to Your sale of

firearms, ammunitions, firearm accessories, or firearm training programs, including documents and

communications prepared or exchanged in preparation for those appearances.

RESPONSE: Sprague’s objects to this Request on the basis that it is overbroad and fails to meet the

particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time

frame. Sprague’s further objects to this Request on the basis that it seeks irrelevant information that is not

reasonably calculated to lead to the discovery of admissible evidence, and is not proportional to the needs

of the case as required by Rule 26(b)(1) of the Federal Rules of Civil Procedure because it seeks disclosure

of communications that far exceed the relevant issues in this case as framed by the Complaint. Sprague’s

further objects on the grounds that the request seeks to infringe on defendant’s First Amendment rights of

free speech and freedom of association. Without waiving or limiting the foregoing objections, see

documents Bates numbered SPR000724-SPR725.

REQUEST NO. 35: All documents related to any national or state laws, statutes, regulations, or

executive orders related to the sale of firearms, ammunition, or firearm accessories and related court orders

or opinions, including documents related to compliance with those laws, statutes, regulations, executive

orders court orders, or court opinions.

RESPONSE: Sprague’s further objects to this Request on the grounds that it is vague, overly broad, and

unduly burdensome. Sprague’s also objects to this Request on the grounds that it fails to be limited to a

relevant and reasonable time period. Sprague’s further objects to this Request on the grounds that any

responsive documents are a matter of public record and equally accessible to Plaintiff as they are to

Sprague’s. Without waiving or limiting the foregoing objections, Defendants refer Plaintiffs to the ATF

Form 4473 and all instructions accompanying said form; the ATF’s website pertaining to Tools & Services

for Firearms Industry and Current Licensees; ATF’s Federal Firearms Regulations Guide

(https://www.atf.gov/firearms/docs/guide/federal-firearms-regulations-reference-guide-2014-edition-atf-
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p-53004/download); the ATF’s State Laws and Published Ordinances – Firearms (35th Edition)

(https://www.atf.gov/firearms/state-laws-and-published-ordinances-firearms-35th-edition);              ATF’s

Federal      Firearms        Licensee     Quick      Reference       and      Best      Practices      Guide

(https://www.atf.gov/firearms/federal-firearms-licensee-quick-reference-and-best-practices-guide); and

Don’t Lie for the Other Guy materials from the National Shooting Sports Foundation

(https://www.dontlie.org/). Sprague’s further respond that it periodically receives and reviews copies of

all notices, newsletters, etc. that the ATF distributes electronically to federal firearms licensees, to train

and educate personnel (https://www.atf.gov/firearms/download-firearms-industry-newsletter), but does

not retain copies of them.

REQUEST NO. 36: All documents posted visibly at Your store throughout the Relevant Time Period

providing warnings or notice to potential customers regarding any and all requirements to purchase

firearms, ammunition, or firearm accessories.

RESPONSE: Sprague’s objects to this Request on the basis that it is overbroad and fails to meet the

particularity requirement under Rule 34(b)(1)(A) because it is not reasonably limited to a specific time

frame. Subject to the foregoing objections, see documents Bates numbered SPR000726-SPR000727.

REQUEST NO. 37: All documents produced to or received from any party or non-party related to or in

connection with this action. This request is not limited in time.

RESPONSE: Sprague’s objects to this Request on the grounds that it seeks information that is not

reasonably calculated to lead to the discovery of admissible evidence. Sprague’s further objects to this

Request on the grounds that it is vague, overly broad, and potentially unduly burdensome, depending upon

what is being requested. Sprague’s also objects to this Request on the grounds that it fails to be limited to

any time period. Sprague’s additionally objects to this Request on the grounds and to the extent that it

calls partially or exclusively for the production of documents protected by the attorney-client privilege,
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material prepared in anticipation of litigation, common interest privilege, and other applicable privileges

or immunities.

REQUEST NO. 38: All documents that You contend support any claim or defense asserted in this

litigation.

RESPONSE: Sprague’s objects to this Request on the grounds that it is premature, in that it constitutes

a contention request and is covered by the disclosure rules set forth in F.R.C.P. 26. Subject to the foregoing

objections, Sprague’s refers to all documents reference in and produced in response to the other requests

herein, and reserves its right to supplement discovery as the litigation continues, its investigation is

completed, and fact and expert disclosures are made.

REQUEST NO. 39: All documents that relate to Your document control, retention, and/or storage

policies, including but not limited to documents sufficient to show Your document destruction, retention

or archiving policies and practices and any changes in such policies or practices during the Relevant Time

Period.

RESPONSE: Sprague’s objects to this Request on the grounds that it seeks information that is not

reasonably calculated to lead to the discovery of admissible evidence. Sprague’s also objects to this

Request on the grounds that it fails to be limited to a relevant and reasonable time period. Subject to the

foregoing objections, Sprague’s document retention policy related to firearms transactions is mandated by

federal law. Sprague’s does not maintain an internal document retention policy separate and apart from

what is required under federal and state law.

REQUEST NO. 40: All non-privileged documents Your expert witnesses reviewed or relied upon, or

will review or rely upon, in preparing expert reports for this action.

RESPONSE: Sprague’s has not yet determined any witnesses it will designate a testifying expert

witnesses, and such, Sprague’s is not in possession of any responsive documents.
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REQUEST NO. 41: All documents and materials used to draft or prepare Your Rule 26(f) Initial

Disclosures and any supplements thereto.

RESPONSE: Sprague’s objects to this Request on the grounds that it seeks documents that are wholly

protected from disclosure based on the attorney work product doctrine and attorney-client privilege, as the

Rule 26(f) Initial Disclosure Statements were drafted exclusively by counsel.

REQUEST NO. 42: All documents related to the sale and acquisition of Sprague’s assets and liabilities,

including but not limited to: 1) transfer or retention of legal liability; 2) transfer or retention of

electronically stored information; 3) transfer or retention of all purchase orders and records of sales of

inventory; 4) transfer and retention of physical and financial assets; and 5) due diligence reviews drafted

in association with the sale and acquisition.

RESPONSE: Sprague’s objects to this Request on the basis that it calls for the production of documents

containing privileged, proprietary, and/or confidential business information or trade secrets. Subject to the

foregoing objections, see response to Request No. 29.


Dated: July 24, 2024
                                      RENZULLI LAW FIRM LLP


                                      By:       /s/ Jeffrey Malsch
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                                                Attorneys for Defendants
                                                Diamondback Shooting Sports, Inc.,
                                                Loan Prairie, LLC d/b/a The Hub,
                                                SNG Tactical, LLC and
                                                Sprague’s Sports, Inc.
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                                  CERTIFICATE OF SERVICE



       I HEREBY CERTIFY that on this 24th day of July, 2024, I served the foregoing on all registered

counsel of record in the CM/ECF system by electronic means, as follows:

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                                         By: /s/ Jeffrey Malsch
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    EXHIBIT 7
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                          Diamondback Shooting Sports Inc.’s
                                 Revised Privilege Log
        Objections and Responses to Plaintiff’s First Set of Requests for Production
                                    to All Defendants
                                     August 27, 2024



Description                         Location       Basis
ATF Form 4473 for Denise Faye       7030 E         Privileged & protected from disclosure
Burress dated October 1, 2018       Broadway       pursuant to: the Tiahrt Amendment, as
                                    Blvd,          amended (Continuing Appropriations Act,
                                    Tucson, AZ     2012, Pub.L. No. 112–55, 125 Stat. 552,
                                    85710          609-10 (2012)).
ATF Forms 4473 for Daniel Pacheco   7030 E         Privileged & protected from disclosure
dated October 24, 2018 and February Broadway       pursuant to: the Tiahrt Amendment, as
20, 2019                            Blvd,          amended (Continuing Appropriations Act,
                                    Tucson, AZ     2012, Pub.L. No. 112–55, 125 Stat. 552,
                                    85710          609-10 (2012))
ATF Forms 4473 for Luis Fernando    7030 E         Privileged & protected from disclosure
Cruz Valenzuela dated February 22,  Broadway       pursuant to: the Tiahrt Amendment, as
2022 and March 1, 2022              Blvd,          amended (Continuing Appropriations Act,
                                    Tucson, AZ     2012, Pub.L. No. 112–55, 125 Stat. 552,
                                    85710          609-10 (2012)).
ATF Forms 4473 for Carlos Abel Cruz 7030 E         Privileged & protected from disclosure
dated January 7, 2022 and March 1,  Broadway       pursuant to: the Tiahrt Amendment, as
2022                                Blvd,          amended (Continuing Appropriations Act,
                                    Tucson, AZ     2012, Pub.L. No. 112–55, 125 Stat. 552,
                                    85710          609-10 (2012)).
ATF Form 4473 for Guillermo         7030 E         Privileged & protected from disclosure
Estrella dated March 25, 2022       Broadway       pursuant to: the Tiahrt Amendment, as
                                    Blvd,          amended (Continuing Appropriations Act,
                                    Tucson, AZ     2012, Pub.L. No. 112–55, 125 Stat. 552,
                                    85710          609-10 (2012)).
ATF Form 4473 for Kyle Rene         7030 E         Privileged & protected from disclosure
Fazlollah dated October 10, 2019    Broadway       pursuant to: the Tiahrt Amendment, as
                                    Blvd,          amended (Continuing Appropriations Act,
                                    Tucson, AZ     2012, Pub.L. No. 112–55, 125 Stat. 552,
                                    85710          609-10 (2012)).
ATF Forms 4473 for Francisco Dario  7030 E         Privileged & protected from disclosure
Mora dated August 4, 2019 and       Broadway       pursuant to: the Tiahrt Amendment, as
August 17, 2019                     Blvd,          amended (Continuing Appropriations Act,
                                    Tucson, AZ     2012, Pub.L. No. 112–55, 125 Stat. 552,
                                    85710          609-10 (2012)).
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ATF Form 4473 for Fernando              7030 E       Privileged & protected from disclosure
Palomares, Jr. dated October 24, 2019   Broadway     pursuant to: the Tiahrt Amendment, as
                                        Blvd,        amended (Continuing Appropriations Act,
                                        Tucson, AZ   2012, Pub.L. No. 112–55, 125 Stat. 552,
                                        85710        609-10 (2012)).
ATF Form 4473 for Pedro Adan            7030 E       Privileged & protected from disclosure
Sevilla, Jr. dated August 17, 2019      Broadway     pursuant to: the Tiahrt Amendment, as
                                        Blvd,        amended (Continuing Appropriations Act,
                                        Tucson, AZ   2012, Pub.L. No. 112–55, 125 Stat. 552,
                                        85710        609-10 (2012)).
ATF Forms 4473 for Kaleb Jacob          7030 E       Privileged & protected from disclosure
Valencia dated August 10, 2019,         Broadway     pursuant to: the Tiahrt Amendment, as
January 30, 2020, and February 1,       Blvd,        amended (Continuing Appropriations Act,
2020                                    Tucson, AZ   2012, Pub.L. No. 112–55, 125 Stat. 552,
                                        85710        609-10 (2012)).
ATF Form 3310.4 for Daniel Pacheco      7030 E       Privileged & protected from disclosure
dated February 20, 2019                 Broadway     pursuant to: the Tiahrt Amendment, as
                                        Blvd,        amended (Continuing Appropriations Act,
                                        Tucson, AZ   2012, Pub.L. No. 112–55, 125 Stat. 552,
                                        85710        609-10 (2012)).
ATF Form 3310.12 for Denise Faye        7030 E       Privileged & protected from disclosure
Burress dated October 1, 2018           Broadway     pursuant to: the Tiahrt Amendment, as
                                        Blvd,        amended (Continuing Appropriations Act,
                                        Tucson, AZ   2012, Pub.L. No. 112–55, 125 Stat. 552,
                                        85710        609-10 (2012)).
ATF Form 3310.12 for Fernando           7030 E       Privileged & protected from disclosure
Palomares, Jr. dated October 24, 2019   Broadway     pursuant to: the Tiahrt Amendment, as
                                        Blvd,        amended (Continuing Appropriations Act,
                                        Tucson, AZ   2012, Pub.L. No. 112–55, 125 Stat. 552,
                                        85710        609-10 (2012)).

ATF Form 5030.5 for the ATF’s audit     7030 E       Privileged & protected from disclosure
inspection of Diamondback Shooting      Broadway     pursuant to: the Tiahrt Amendment, as
Sports, Inc. covering the period        Blvd,        amended (Continuing Appropriations Act,
February 13, 2016 to February 13,       Tucson, AZ   2012, Pub.L. No. 112–55, 125 Stat. 552,
2017                                    85710        609-10 (2012)); and the Arizona Audit
                                                     Reports Privilege (AZ Rev. Stat. § 12-2321,
                                                     et seq. (2023).
Correspondence dated March 24,          7030 E       Privileged & protected from disclosure
2017, from ATF Area Supervisor to       Broadway     pursuant to: the Tiahrt Amendment, as
Diamondback Shooting Sports, Inc.,      Blvd,        amended (Continuing Appropriations Act,
related to the ATF’s audit inspection   Tucson, AZ   2012, Pub.L. No. 112–55, 125 Stat. 552,
of Diamondback Shooting Sports, Inc.    85710        609-10 (2012)); and the Arizona Audit
covering the period February 13, 2016                Reports Privilege (AZ Rev. Stat. § 12-2321,
to February 13, 2017                                 et seq. (2023).
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Correspondence dated October 7,            Email        Privileged & protected from disclosure
2020, from ATF Industry Operations         Archives     pursuant to: the Tiahrt Amendment, as
Investigator to Diamondback                             amended (Continuing Appropriations Act,
Shooting Sports, Inc., related to the                   2012, Pub.L. No. 112–55, 125 Stat. 552,
ATF’s audit inspection of                               609-10 (2012)); and the Arizona Audit
Diamondback Shooting Sports, Inc.                       Reports Privilege (AZ Rev. Stat. § 12-2321,
                                                        et seq. (2023).
Correspondence dated October 5,            Email        Privileged & protected from disclosure
2018, from Diamondback Shooting            Archives     pursuant to: the Tiahrt Amendment, as
Sports, Inc. to ATF at                                  amended (Continuing Appropriations Act,
MultipleLonggunSalesForms@atf.gov                       2012, Pub.L. No. 112–55, 125 Stat. 552,
related to ATF Form 3310.12 for                         609-10 (2012)).
Denise Faye Burress
Correspondence dated April 16, 2019,       Email        Privileged & protected from disclosure
between Diamondback Shooting               Archives     pursuant to: the Tiahrt Amendment, as
Sports, Inc. to ATF Industry                            amended (Continuing Appropriations Act,
Operations Intelligence Specialist                      2012, Pub.L. No. 112–55, 125 Stat. 552,
related to ATF trace request for Denise                 609-10 (2012)); and the federal common
Burress 10/1/2018 transfer with                         law Law Enforcement Investigatory
attached completed ATF Form 4473                        Privilege (see e.g., Friedman v. Bache
and information as to Michael                           Halsey Stuart Shields, Inc., 738 F.2d 1336,
Sweigart as part of a law enforcement                   1341 (D.C. Cir. 1984).
investigation
Correspondence dated May 6, 2019,          Email        Privileged & protected from disclosure
from Diamondback Shooting Sports,          Archives     pursuant to: the Tiahrt Amendment, as
Inc. to ATF special agent forwarding                    amended (Continuing Appropriations Act,
ATF Form 4473 and sales receipt for                     2012, Pub.L. No. 112–55, 125 Stat. 552,
Denise Faye Burress 10/1/18 transfer                    609-10 (2012)); and the federal common
as part of a law enforcement                            law Law Enforcement Investigatory
investigation/federal prosecution                       Privilege (see e.g., Friedman v. Bache
                                                        Halsey Stuart Shields, Inc., 738 F.2d 1336,
                                                        1341 (D.C. Cir. 1984).
Correspondence dated February 28,     Email             Privileged & protected from disclosure
2022, between Diamondback             Archives          pursuant to: the Tiahrt Amendment, as
Shooting Sports, Inc. and an ATF Area                   amended (Continuing Appropriations Act,
Supervisor related to and attaching                     2012, Pub.L. No. 112–55, 125 Stat. 552,
ATF Form 4473 for Luis Cruz                             609-10 (2012)); and the federal common
Valenzuela dated February 22, 2022,                     law Law Enforcement Investigatory
as part of a law enforcement                            Privilege (see e.g., Friedman v. Bache
investigation                                           Halsey Stuart Shields, Inc., 738 F.2d 1336,
                                                        1341 (D.C. Cir. 1984).
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Correspondence dated March 2, 2022,      Email      Privileged & protected from disclosure
from Diamondback Shooting Sports,        Archives   pursuant to: the Tiahrt Amendment, as
Inc. to ATF Area Supervisor related to              amended (Continuing Appropriations Act,
ATF Form 4473, sales receipts, and                  2012, Pub.L. No. 112–55, 125 Stat. 552,
video surveillance requests for Luis                609-10 (2012)); and the federal common
Cruz Valenzuela with attached ATF                   law Law Enforcement Investigatory
Forms 4473 for several transactions as              Privilege (see e.g., Friedman v. Bache
part of a law enforcement                           Halsey Stuart Shields, Inc., 738 F.2d 1336,
investigation                                       1341 (D.C. Cir. 1984).
Correspondence dated March 18,           Email      Privileged & protected from disclosure
2022, between ATF agent and              Archives   pursuant to: the Tiahrt Amendment, as
Diamondback Shooting Sports, Inc.                   amended (Continuing Appropriations Act,
related to ATF trace requests for four              2012, Pub.L. No. 112–55, 125 Stat. 552,
firearm serial numbers as part of law               609-10 (2012)); and the federal common
enforcement investigations                          law Law Enforcement Investigatory
                                                    Privilege (see e.g., Friedman v. Bache
                                                    Halsey Stuart Shields, Inc., 738 F.2d 1336,
                                                    1341 (D.C. Cir. 1984).
Correspondence dated March 29,           Email      Privileged & protected from disclosure
2022, between ATF special agent and      Archives   pursuant to: the Tiahrt Amendment, as
Diamondback Shooting Sports, Inc.                   amended (Continuing Appropriations Act,
related to potential sales for four                 2012, Pub.L. No. 112–55, 125 Stat. 552,
individuals and providing two ATF                   609-10 (2012)); and the federal common
Forms 4473 for Guillermo Estrella as                law Law Enforcement Investigatory
part of a law enforcement                           Privilege (see e.g., Friedman v. Bache
investigation                                       Halsey Stuart Shields, Inc., 738 F.2d 1336,
                                                    1341 (D.C. Cir. 1984).
Correspondence dated April 13, 2022,     Email      Privileged & protected from disclosure
between ATF special agent and            Archives   pursuant to: the Tiahrt Amendment, as
Diamondback Shooting Sports, Inc.                   amended (Continuing Appropriations Act,
related to search for potential                     2012, Pub.L. No. 112–55, 125 Stat. 552,
purchase as part of a law enforcement               609-10 (2012)); and the federal common
investigation                                       law Law Enforcement Investigatory
                                                    Privilege (see e.g., Friedman v. Bache
                                                    Halsey Stuart Shields, Inc., 738 F.2d 1336,
                                                    1341 (D.C. Cir. 1984).
Correspondence dated September 23,       Email      Privileged & protected from disclosure
2020, between ATF special agent and      Archives   pursuant to: the Tiahrt Amendment, as
Diamondback Shooting Sports, Inc.                   amended (Continuing Appropriations Act,
related to ATF Form 4473 and sales                  2012, Pub.L. No. 112–55, 125 Stat. 552,
receipts for Kyle Rene Fazlollah as                 609-10 (2012)); and the federal common
part of a law enforcement                           law Law Enforcement Investigatory
investigation                                       Privilege (see e.g., Friedman v. Bache
                                                    Halsey Stuart Shields, Inc., 738 F.2d 1336,
                                                    1341 (D.C. Cir. 1984).
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Correspondence from October 31,           Email      Privileged & protected from disclosure
2019 to November 1, 2019, between         Archives   pursuant to: the Tiahrt Amendment, as
Diamondback Shooting Sports, Inc.                    amended (Continuing Appropriations Act,
and ATF special agent related to ATF                 2012, Pub.L. No. 112–55, 125 Stat. 552,
Forms 4473 and sales receipts for                    609-10 (2012)); and the federal common
Francisco Dario Mora as part of a law                law Law Enforcement Investigatory
enforcement investigation                            Privilege (see e.g., Friedman v. Bache
                                                     Halsey Stuart Shields, Inc., 738 F.2d 1336,
                                                     1341 (D.C. Cir. 1984).

Correspondence dated February 21,         Email      Privileged & protected from disclosure
2019, from Diamondback Shooting           Archives   pursuant to: the Tiahrt Amendment, as
Sports, Inc. to                                      amended (Continuing Appropriations Act,
MultipleHandgunSalesForms@atf.gov                    2012, Pub.L. No. 112–55, 125 Stat. 552,
related to ATF Form 3310.4 for Daniel                609-10 (2012)).
Pacheco
Correspondence dated March 1, 2019,       Email      Privileged & protected from disclosure
between Diamondback Shooting              Archives   pursuant to: the Tiahrt Amendment, as
Sports, Inc. to ATF special agent                    amended (Continuing Appropriations Act,
related to ATF Form 4473 and sales                   2012, Pub.L. No. 112–55, 125 Stat. 552,
receipt for Daniel Pacheco as part of a              609-10 (2012)); and the federal common
law enforcement investigation                        law Law Enforcement Investigatory
                                                     Privilege (see e.g., Friedman v. Bache
                                                     Halsey Stuart Shields, Inc., 738 F.2d 1336,
                                                     1341 (D.C. Cir. 1984).
Correspondence dated October 25,          Email      Privileged & protected from disclosure
2019, from Diamondback Shooting           Archives   pursuant to: the Tiahrt Amendment, as
Sports, Inc. to                                      amended (Continuing Appropriations Act,
MultipleLonggunSalesForms@atf.gov                    2012, Pub.L. No. 112–55, 125 Stat. 552,
related to ATF Form 3310.12 for                      609-10 (2012)).
Fernando Palomares, Jr.
Correspondence dated October 28,          Email      Privileged & protected from disclosure
2019, between ATF Industry                Archives   pursuant to: the Tiahrt Amendment, as
Operations Intelligence Specialist to                amended (Continuing Appropriations Act,
Diamondback Shooting Sports, Inc.                    2012, Pub.L. No. 112–55, 125 Stat. 552,
related to and attaching ATF Form                    609-10 (2012)); and the federal common
4473 and sales receipts for Fernando                 law Law Enforcement Investigatory
Palomares, Jr. as part of a law                      Privilege (see e.g., Friedman v. Bache
enforcement investigation                            Halsey Stuart Shields, Inc., 738 F.2d 1336,
                                                     1341 (D.C. Cir. 1984).
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Correspondence dated July 24, 2020,        Email        Privileged & protected from disclosure
from Diamondback Shooting Sports,          Archives     pursuant to: the Tiahrt Amendment, as
Inc. to ATF agent related to and                        amended (Continuing Appropriations Act,
attaching ATF Form 4473 for                             2012, Pub.L. No. 112–55, 125 Stat. 552,
Fernando Palomares, Jr. as part of a                    609-10 (2012)); and the federal common
law enforcement investigation                           law Law Enforcement Investigatory
                                                        Privilege (see e.g., Friedman v. Bache
                                                        Halsey Stuart Shields, Inc., 738 F.2d 1336,
                                                        1341 (D.C. Cir. 1984).
Correspondence dated October 31,           Email        Privileged & protected from disclosure
2019, from Diamondback Shooting            Archives     pursuant to: the Tiahrt Amendment, as
Sports, Inc. to ATF special agent                       amended (Continuing Appropriations Act,
related to and attaching ATF Form                       2012, Pub.L. No. 112–55, 125 Stat. 552,
4473 and sales receipt for Pedro Adan                   609-10 (2012)); and the federal common
Sevilla, Jr. as part of a law                           law Law Enforcement Investigatory
enforcement investigation                               Privilege (see e.g., Friedman v. Bache
                                                        Halsey Stuart Shields, Inc., 738 F.2d 1336,
                                                        1341 (D.C. Cir. 1984).
Correspondence dated May 18, 2021,         Email        Privileged & protected from disclosure
between Diamondback Shooting               Archives     pursuant to: the Tiahrt Amendment, as
Sports, Inc. and ATF special agent                      amended (Continuing Appropriations Act,
related to ATF Forms 4473 and sales                     2012, Pub.L. No. 112–55, 125 Stat. 552,
receipts for Kaleb Jacob Valencia as                    609-10 (2012)); and the federal common
well as inquires as to other individuals                law Law Enforcement Investigatory
as part of a law enforcement                            Privilege (see e.g., Friedman v. Bache
investigation                                           Halsey Stuart Shields, Inc., 738 F.2d 1336,
                                                        1341 (D.C. Cir. 1984).
ATF Forms 4473 from March 31,              7030 E       Privileged & protected from disclosure
2016 to the present.                       Broadway     pursuant to: the Tiahrt Amendment, as
                                           Blvd,        amended (Continuing Appropriations Act,
                                           Tucson, AZ   2012, Pub.L. No. 112–55, 125 Stat. 552,
                                           85710        609-10 (2012)).

ATF Forms 3310.4 from as early as          7030 E       Privileged & protected from disclosure
March 31, 2016 to the present.             Broadway     pursuant to: the Tiahrt Amendment, as
                                           Blvd,        amended (Continuing Appropriations Act,
                                           Tucson, AZ   2012, Pub.L. No. 112–55, 125 Stat. 552,
                                           85710        609-10 (2012)).
ATF Forms 3310.12 from as early as         7030 E       Privileged & protected from disclosure
March 31, 2016 to the present.             Broadway     pursuant to: the Tiahrt Amendment, as
                                           Blvd,        amended (Continuing Appropriations Act,
                                           Tucson, AZ   2012, Pub.L. No. 112–55, 125 Stat. 552,
                                           85710        609-10 (2012)).
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Acquisition and Disposition Records        7030 E       Privileged & protected from disclosure
maintained pursuant to 27 CFR              Broadway     pursuant to: the Tiahrt Amendment, as
478.125(e) from March 31, 2016 to          Blvd,        amended (Continuing Appropriations Act,
the present.                               Tucson, AZ   2012, Pub.L. No. 112–55, 125 Stat. 552,
                                           85710        609-10 (2012)).
Email correspondence to and from           Email        Privileged & protected from disclosure
ATF Tracing Center re: requests for        Archives     pursuant to: the Tiahrt Amendment, as
trace data with a date range as early as                amended (Continuing Appropriations Act,
2015 to the present.                                    2012, Pub.L. No. 112–55, 125 Stat. 552,
                                                        609-10 (2012)); and the federal common
                                                        law Law Enforcement Investigatory
                                                        Privilege (see e.g., Friedman v. Bache
                                                        Halsey Stuart Shields, Inc., 738 F.2d 1336,
                                                        1341 (D.C. Cir. 1984).
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                              SnG’s Amended Privilege Log
         Objections and Responses to Plaintiff’s First Set of Requests for Production
                                     to All Defendants
                                      August 27, 2024

Description                         Location            Basis
ATF Form 4473 for Denise Faye       3441 S Palo         Privileged & protected from disclosure
Burress dated October 28, 2018      Verde Rd            pursuant to: the Tiahrt Amendment, as amended
                                    #117,               (Continuing Appropriations Act, 2012, Pub.L.
                                    Tucson, AZ          No. 112–55, 125 Stat. 552, 609-10 (2012)).
                                    85713
ATF Form 4473 for Kyle Rene         3441 S Palo         Privileged & protected from disclosure
Fazlollah, dated June 4, 2020       Verde Rd            pursuant to: the Tiahrt Amendment, as amended
                                    #117,               (Continuing Appropriations Act, 2012, Pub.L.
                                    Tucson, AZ          No. 112–55, 125 Stat. 552, 609-10 (2012)).
                                    85713
ATF Form 4473 for Ray Alberto       3441 S Palo         Privileged & protected from disclosure
Laborin, dated April 18, 2020       Verde Rd            pursuant to: the Tiahrt Amendment, as amended
                                    #117,               (Continuing Appropriations Act, 2012, Pub.L.
                                    Tucson, AZ          No. 112–55, 125 Stat. 552, 609-10 (2012)).
                                    85713
ATF Form 4473 for Elizar Jose       3441 S Palo         Privileged & protected from disclosure
Olivarez, dated February 15, 2020 Verde Rd              pursuant to: the Tiahrt Amendment, as amended
                                    #117,               (Continuing Appropriations Act, 2012, Pub.L.
                                    Tucson, AZ          No. 112–55, 125 Stat. 552, 609-10 (2012)).
                                    85713
ATF Form 4473 for Omar              3441 S Palo         Privileged & protected from disclosure
Trujillo, Jr., dated April 18, 2022 Verde Rd            pursuant to: the Tiahrt Amendment, as amended
                                    #117,               (Continuing Appropriations Act, 2012, Pub.L.
                                    Tucson, AZ          No. 112–55, 125 Stat. 552, 609-10 (2012)).
                                    85713
ATF Forms 3310.12 for Omar          3441 S Palo         Privileged & protected from disclosure
Trujillo, Jr., dated April 18, 2022 Verde Rd            pursuant to: the Tiahrt Amendment, as amended
                                    #117,               (Continuing Appropriations Act, 2012, Pub.L.
                                    Tucson, AZ          No. 112–55, 125 Stat. 552, 609-10 (2012)).
                                    85713
ATF Form 4473 for Fernando          3441 S Palo         Privileged & protected from disclosure
Palomeres, Jr., dated February 16, Verde Rd             pursuant to: the Tiahrt Amendment, as amended
2020                                #117,               (Continuing Appropriations Act, 2012, Pub.L.
                                    Tucson, AZ          No. 112–55, 125 Stat. 552, 609-10 (2012)).
                                    85713




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ATF Form 4473 for Fernando          3441 S Palo         Privileged & protected from disclosure
Palomeres, Jr., dated November      Verde Rd            pursuant to: the Tiahrt Amendment, as amended
27, 2019                            #117,               (Continuing Appropriations Act, 2012, Pub.L.
                                    Tucson, AZ          No. 112–55, 125 Stat. 552, 609-10 (2012)).
                                    85713
ATF Form 4473 for Kaleb Jacob       3441 S Palo         Privileged & protected from disclosure
Valencia, dated February 4, 2020 Verde Rd               pursuant to: the Tiahrt Amendment, as amended
                                    #117,               (Continuing Appropriations Act, 2012, Pub.L.
                                    Tucson, AZ          No. 112–55, 125 Stat. 552, 609-10 (2012)).
                                    85713
ATF Form 4473 for Jose Gilberto 3441 S Palo             Privileged & protected from disclosure
Inzunza, dated February 3, 2020     Verde Rd            pursuant to: the Tiahrt Amendment, as amended
                                    #117,               (Continuing Appropriations Act, 2012, Pub.L.
                                    Tucson, AZ          No. 112–55, 125 Stat. 552, 609-10 (2012)).
                                    85713
ATF Form 4473 for Nicholas          3441 S Palo         Privileged & protected from disclosure
Meraz, dated January 18, 2022       Verde Rd            pursuant to: the Tiahrt Amendment, as amended
                                    #117,               (Continuing Appropriations Act, 2012, Pub.L.
                                    Tucson, AZ          No. 112–55, 125 Stat. 552, 609-10 (2012)).
                                    85713
ATF Form 3310.4 for Nicholas        3441 S Palo         Privileged & protected from disclosure
Meraz, dated January 18, 2022       Verde Rd            pursuant to: the Tiahrt Amendment, as amended
                                    #117,               (Continuing Appropriations Act, 2012, Pub.L.
                                    Tucson, AZ          No. 112–55, 125 Stat. 552, 609-10 (2012)).
                                    85713
ATF Form 4473 for Nicholas          3441 S Palo         Privileged & protected from disclosure
Meraz, dated March 18, 2022         Verde Rd            pursuant to: the Tiahrt Amendment, as amended
                                    #117,               (Continuing Appropriations Act, 2012, Pub.L.
                                    Tucson, AZ          No. 112–55, 125 Stat. 552, 609-10 (2012)).
                                    85713
ATF Form 4473 for Luis              3441 S Palo         Privileged & protected from disclosure
Fernando Cruz Valenzuela, dated Verde Rd                pursuant to: the Tiahrt Amendment, as amended
February 3, 2022                    #117,               (Continuing Appropriations Act, 2012, Pub.L.
                                    Tucson, AZ          No. 112–55, 125 Stat. 552, 609-10 (2012)).
                                    85713
ATF Form 4473 for Ricardo Caro, 3441 S Palo             Privileged & protected from disclosure
dated November 20, 2021             Verde Rd            pursuant to: the Tiahrt Amendment, as amended
                                    #117,               (Continuing Appropriations Act, 2012, Pub.L.
                                    Tucson, AZ          No. 112–55, 125 Stat. 552, 609-10 (2012)).
                                    85713
ATF Form 4473 for Omar              3441 S Palo         Privileged & protected from disclosure
Trujillo, Jr., dated March 15, 2022 Verde Rd            pursuant to: the Tiahrt Amendment, as amended
                                    #117,               (Continuing Appropriations Act, 2012, Pub.L.
                                    Tucson, AZ          No. 112–55, 125 Stat. 552, 609-10 (2012)).
                                    85713



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ATF Form 4473 for Kaleb Jacob     3441 S Palo             Privileged & protected from disclosure
Valencia, dated February 6, 2020  Verde Rd                pursuant to: the Tiahrt Amendment, as amended
                                  #117,                   (Continuing Appropriations Act, 2012, Pub.L.
                                  Tucson, AZ              No. 112–55, 125 Stat. 552, 609-10 (2012)).
                                  85713
Email correspondence with         3441 S Palo             Privileged & protected from disclosure
attached letter dated November    Verde Rd                pursuant to: the federal common law Law
22, 2019, from Resident Agent in #117,                    Enforcement Investigatory Privilege (see e.g.,
Charge (ATF) to SnG Tactical      Tucson, AZ              Friedman v. Bache Halsey Stuart Shields, Inc.,
requesting temporary preservation 85713                   738 F.2d 1336, 1341 (D.C. Cir. 1984).
of store surveillance

ATF Forms 4473 from Aug. 8,           3441 S Palo         Privileged & protected from disclosure
2021 to Present                       Verde Rd            pursuant to: the Tiahrt Amendment, as amended
                                      #117,               (Continuing Appropriations Act, 2012, Pub.L.
                                      Tucson, AZ          No. 112–55, 125 Stat. 552, 609-10 (2012)).
                                      85713
ATF Forms 3310.4 from Aug. 8,         3441 S Palo         Privileged & protected from disclosure
2021 to Present                       Verde Rd            pursuant to: the Tiahrt Amendment, as amended
                                      #117,               (Continuing Appropriations Act, 2012, Pub.L.
                                      Tucson, AZ          No. 112–55, 125 Stat. 552, 609-10 (2012)).
                                      85713
ATF Forms 3310.12 from Aug. 8,        3441 S Palo         Privileged & protected from disclosure
2021 to Present                       Verde Rd            pursuant to: the Tiahrt Amendment, as amended
                                      #117,               (Continuing Appropriations Act, 2012, Pub.L.
                                      Tucson, AZ          No. 112–55, 125 Stat. 552, 609-10 (2012)).
                                      85713
Acquisition and Disposition           3441 S Palo         Privileged & protected from disclosure
Records maintained pursuant to        Verde Rd            pursuant to: the Tiahrt Amendment, as amended
27 CFR 478.125(e) from Aug. 8,        #117,               (Continuing Appropriations Act, 2012, Pub.L.
2021 to Present                       Tucson, AZ          No. 112–55, 125 Stat. 552, 609-10 (2012)).
                                      85713
Email correspondence with             3441 S Palo         Privileged & protected from disclosure
attached letter dated November        Verde Rd            pursuant to: the federal common law Law
20, 2020, from Special Agent          #117,               Enforcement Investigatory Privilege (see e.g.,
(email) and Resident Agent in         Tucson, AZ          Friedman v. Bache Halsey Stuart Shields, Inc.,
Charge (letter) (ATF) to SnG          85713               738 F.2d 1336, 1341 (D.C. Cir. 1984).
Tactical requesting temporary
preservation of store surveillance

Email correspondence to and           3441 S Palo         Privileged & protected from disclosure
from ATF Tracing Center re:           Verde Rd            pursuant to: the Tiahrt Amendment, as amended
requests for trace data with a date   #117,               (Continuing Appropriations Act, 2012, Pub.L.
range of Aug. 8, 2021 to Present      Tucson, AZ          No. 112–55, 125 Stat. 552, 609-10 (2012)); and
                                      85713



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                                                        the Arizona Audit Reports Privilege (AZ Rev.
                                                        Stat. § 12-2321, et seq. (2023).



Email correspondence with           3441 S Palo         Privileged & protected from disclosure
attached letter dated October 20,   Verde Rd            pursuant to: the federal common law Law
2022, from Special Agent (ATF)      #117,               Enforcement Investigatory Privilege (see e.g.,
to SnG Tactical requesting          Tucson, AZ          Friedman v. Bache Halsey Stuart Shields, Inc.,
temporary preservation of store     85713               738 F.2d 1336, 1341 (D.C. Cir. 1984).
surveillance

Email correspondence dated          3441 S Palo         Privileged & protected from disclosure
August 11, 2020, through August     Verde Rd            pursuant to: the federal common law Law
14, 2020, to and from Special       #117,               Enforcement Investigatory Privilege (see e.g.,
Agent (ATF) to SnG Tactical         Tucson, AZ          Friedman v. Bache Halsey Stuart Shields, Inc.,
requesting temporary preservation   85713               738 F.2d 1336, 1341 (D.C. Cir. 1984).
of store surveillance and
information on potential
purchaser name

Email correspondence dated June     3441 S Palo         Privileged & protected from disclosure
9, 2022, from Special Agent         Verde Rd            pursuant to: the federal common law Law
(ATF) to SnG Tactical advising of   #117,               Enforcement Investigatory Privilege (see e.g.,
potential straw purchaser           Tucson, AZ          Friedman v. Bache Halsey Stuart Shields, Inc.,
                                    85713               738 F.2d 1336, 1341 (D.C. Cir. 1984).
Email correspondence dated July     3441 S Palo         Privileged & protected from disclosure
20, 2023, to and from Special       Verde Rd            pursuant to: the federal common law Law
Agent (ATF) to SnG Tactical         #117,               Enforcement Investigatory Privilege (see e.g.,
advising of potential straw         Tucson, AZ          Friedman v. Bache Halsey Stuart Shields, Inc.,
purchaser and requesting sales      85713               738 F.2d 1336, 1341 (D.C. Cir. 1984); the
documents                                               Tiahrt Amendment, as amended (Continuing
                                                        Appropriations Act, 2012, Pub.L. No. 112–55,
                                                        125 Stat. 552, 609-10 (2012)); and the Arizona
                                                        Audit Reports Privilege (AZ Rev. Stat. § 12-
                                                        2321, et seq. (2023).
Email correspondence dated       3441 S Palo            Privileged & protected from disclosure
November 3, 2021, from Special   Verde Rd               pursuant to: the federal common law Law
Agent (ATF) to SnG Tactical      #117,                  Enforcement Investigatory Privilege (see e.g.,
regarding potential purchaser    Tucson, AZ             Friedman v. Bache Halsey Stuart Shields, Inc.,
                                 85713                  738 F.2d 1336, 1341 (D.C. Cir. 1984).
Email correspondence dated       3441 S Palo            Privileged & protected from disclosure
December 29, 2020 to January 15, Verde Rd               pursuant to: the federal common law Law
2021, to and from Task Force     #117,                  Enforcement Investigatory Privilege (see e.g.,
Officer (FBI) to SnG Tactical    Tucson, AZ             Friedman v. Bache Halsey Stuart Shields, Inc.,
regarding purchaser of one       85713                  738 F.2d 1336, 1341 (D.C. Cir. 1984); the


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handgun and requesting transfer                          Tiahrt Amendment, as amended (Continuing
documents and video surveillance                         Appropriations Act, 2012, Pub.L. No. 112–55,
                                                         125 Stat. 552, 609-10 (2012)); and the Arizona
                                                         Audit Reports Privilege (AZ Rev. Stat. § 12-
                                                         2321, et seq. (2023).
Email correspondence dated June      3441 S Palo         Privileged & protected from disclosure
15, 2021 to June 16, 2021, from      Verde Rd            pursuant to: the federal common law Law
Special Agent (ICE) to SnG           #117,               Enforcement Investigatory Privilege (see e.g.,
Tactical requesting temporary        Tucson, AZ          Friedman v. Bache Halsey Stuart Shields, Inc.,
preservation of store surveillance   85713               738 F.2d 1336, 1341 (D.C. Cir. 1984).




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                       Loan Prairie, Inc.’s Amended Privilege Log
        Objections and Responses to Plaintiff’s First Set of Requests for Production
                                    to All Defendants

                                      August 27, 2024

Description                          Location           Basis
ATF Form 4473 for Kyle Rene          1400/1410 S.       Privileged & protected from disclosure
Fazlollah dated October 22, 2019     Alvernon Way,      pursuant to the Tiahrt Amendment, as
                                     Tucson, AZ         amended (Continuing Appropriations Act,
                                     85711              2012, Pub.L. No. 112–55, 125 Stat. 552,
                                                        609-10 (2012)).
ATF Form 4473 for Kyle Rene          1400/1410 S.       Privileged & protected from disclosure
Fazlollah dated May 6, 2020          Alvernon Way,      pursuant to the Tiahrt Amendment, as
                                     Tucson, AZ         amended (Continuing Appropriations Act,
                                     85711              2012, Pub.L. No. 112–55, 125 Stat. 552,
                                                        609-10 (2012)).
ATF Form 4473 for Daniel             1400/1410 S.       Privileged & protected from disclosure
Christopher Garcia dated             Alvernon Way,      pursuant to the Tiahrt Amendment, as
September 22, 2021                   Tucson, AZ         amended (Continuing Appropriations Act,
                                     85711              2012, Pub.L. No. 112–55, 125 Stat. 552,
                                                        609-10 (2012)).
ATF Form 4473 for Jose Gilberto      1400/1410 S.       Privileged & protected from disclosure
Inzunza dated December 18, 2020      Alvernon Way,      pursuant to the Tiahrt Amendment, as
                                     Tucson, AZ         amended (Continuing Appropriations Act,
                                     85711              2012, Pub.L. No. 112–55, 125 Stat. 552,
                                                        609-10 (2012)).
ATF Form 4473 for Jose Gilberto      1400/1410 S.       Privileged & protected from disclosure
Inzunza dated May 3, 2022            Alvernon Way,      pursuant to the Tiahrt Amendment, as
                                     Tucson, AZ         amended (Continuing Appropriations Act,
                                     85711              2012, Pub.L. No. 112–55, 125 Stat. 552,
                                                        609-10 (2012)).
ATF Form 4473 for Williams Mora      1400/1410 S.       Privileged & protected from disclosure
Bustamante dated July 8, 2022        Alvernon Way,      pursuant to the Tiahrt Amendment, as
                                     Tucson, AZ         amended (Continuing Appropriations Act,
                                     85711              2012, Pub.L. No. 112–55, 125 Stat. 552,
                                                        609-10 (2012)).
ATF Form 4473 for Elizar Jose        1400/1410 S.       Privileged & protected from disclosure
Olivares dated February 15, 2020     Alvernon Way,      pursuant to the Tiahrt Amendment, as
                                     Tucson, AZ         amended (Continuing Appropriations Act,
                                     85711              2012, Pub.L. No. 112–55, 125 Stat. 552,
                                                        609-10 (2012)).
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ATF Form 4473 for Anthony               1400/1410 S.      Privileged & protected from disclosure
Armando Ortiz dated December 1,         Alvernon Way,     pursuant to the Tiahrt Amendment, as
2021                                    Tucson, AZ        amended (Continuing Appropriations Act,
                                        85711             2012, Pub.L. No. 112–55, 125 Stat. 552,
                                                          609-10 (2012)).
ATF Form 4473 for Fernando              1400/1410 S.      Privileged & protected from disclosure
Palomares, Jr. dated October 17,        Alvernon Way,     pursuant to the Tiahrt Amendment, as
2019                                    Tucson, AZ        amended (Continuing Appropriations Act,
                                        85711             2012, Pub.L. No. 112–55, 125 Stat. 552,
                                                          609-10 (2012)).
ATF Form 4473 for Cesar Reynaldo 1400/1410 S.             Privileged & protected from disclosure
Peralta dated July 27, 2023      Alvernon Way,            pursuant to the Tiahrt Amendment, as
                                 Tucson, AZ               amended (Continuing Appropriations Act,
                                 85711                    2012, Pub.L. No. 112–55, 125 Stat. 552,
                                                          609-10 (2012)).
ATF Form 3310.4 for Kaleb Jacob         1400/1410 S.      Privileged & protected from disclosure
Valencia dated February 20, 2020        Alvernon Way,     pursuant to the Tiahrt Amendment, as
                                        Tucson, AZ        amended (Continuing Appropriations Act,
                                        85711             2012, Pub.L. No. 112–55, 125 Stat. 552,
                                                          609-10 (2012)).
ATF Form 3310.4 for Kaleb Jacob         1400/1410 S.      Privileged & protected from disclosure
Valencia dated January 28, 2020         Alvernon Way,     pursuant to the Tiahrt Amendment, as
                                        Tucson, AZ        amended (Continuing Appropriations Act,
                                        85711             2012, Pub.L. No. 112–55, 125 Stat. 552,
                                                          609-10 (2012)).
Email correspondence to and from        Email Archives    Privileged & protected from disclosure
ATF Tracing Center re: requests for                       pursuant to the Tiahrt Amendment, as
trace data with a date range of                           amended (Continuing Appropriations Act,
March 18, 2020 to present.                                2012, Pub.L. No. 112–55, 125 Stat. 552,
                                                          609-10 (2012)); and the Arizona Audit
                                                          Reports Privilege (AZ Rev. Stat. § 12-
                                                          2321, et seq. (2023).
Email correspondence dated August Email Archives          Privileged & protected from disclosure
7, 2024, from ATF Special Agent to                        pursuant to: the Tiahrt Amendment, as
Loan Prairie, LLC inquiring about                         amended (Continuing Appropriations Act,
whether any sales were made to a                          2012, Pub.L. No. 112–55, 125 Stat. 552,
potential straw sale purchaser.                           609-10 (2012)); and the federal common
                                                          law Law Enforcement Investigatory
                                                          Privilege (see e.g., Friedman v. Bache
                                                          Halsey Stuart Shields, Inc., 738 F.2d 1336,
                                                          1341 (D.C. Cir. 1984).
Email correspondence dated August Email Archives          Privileged & protected from disclosure
7, 2024, from ATF Special Agent to                        pursuant to: the Tiahrt Amendment, as
Loan Prairie, LLC inquiring about                         amended (Continuing Appropriations Act,
whether any sales were made to a                          2012, Pub.L. No. 112–55, 125 Stat. 552,
potential straw sale purchaser.                           609-10 (2012)); and the federal common
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                                                       law Law Enforcement Investigatory
                                                       Privilege (see e.g., Friedman v. Bache
                                                       Halsey Stuart Shields, Inc., 738 F.2d 1336,
                                                       1341 (D.C. Cir. 1984).
Email correspondence dated August Email Archives       Privileged & protected from disclosure
24, 2024, from Loan Prairie to ATF                     pursuant to: the Tiahrt Amendment, as
Special Agent inquiring about                          amended (Continuing Appropriations Act,
potential straw sale purchaser.                        2012, Pub.L. No. 112–55, 125 Stat. 552,
                                                       609-10 (2012)); and the federal common
                                                       law Law Enforcement Investigatory
                                                       Privilege (see e.g., Friedman v. Bache
                                                       Halsey Stuart Shields, Inc., 738 F.2d 1336,
                                                       1341 (D.C. Cir. 1984).
ATF Forms 4473 from January 5,        1400/1410 S.     Privileged & protected from disclosure
2019 to the present.                  Alvernon Way,    pursuant to the Tiahrt Amendment, as
                                      Tucson, AZ       amended (Continuing Appropriations Act,
                                      85711            2012, Pub.L. No. 112–55, 125 Stat. 552,
                                                       609-10 (2012)).
ATF Forms 3310.4 from January 5,      1400/1410 S.     Privileged & protected from disclosure
2019 to the present.                  Alvernon Way,    pursuant to the Tiahrt Amendment, as
                                      Tucson, AZ       amended (Continuing Appropriations Act,
                                      85711            2012, Pub.L. No. 112–55, 125 Stat. 552,
                                                       609-10 (2012)).
ATF Forms 3310.12 from January        1400/1410 S.     Privileged & protected from disclosure
5, 2019 to the present.               Alvernon Way,    pursuant to the Tiahrt Amendment, as
                                      Tucson, AZ       amended (Continuing Appropriations Act,
                                      85711            2012, Pub.L. No. 112–55, 125 Stat. 552,
                                                       609-10 (2012)).
Acquisition and Disposition           1400/1410 S.     Privileged & protected from disclosure
Records maintained pursuant to 27     Alvernon Way,    pursuant to the Tiahrt Amendment, as
CFR 478.125(e) from January 5,        Tucson, AZ       amended (Continuing Appropriations Act,
2019 to the present.                  85711            2012, Pub.L. No. 112–55, 125 Stat. 552,
                                                       609-10 (2012)).
ATF Form 3310.4 for Daniel Garcia 1400/1410 S.         Privileged & protected from disclosure
dated September 23, 2021          Alvernon Way,        pursuant to the Tiahrt Amendment, as
                                  Tucson, AZ           amended (Continuing Appropriations Act,
                                  85711                2012, Pub.L. No. 112–55, 125 Stat. 552,
                                                       609-10 (2012)).
ATF Form 3310.12 for Fernando         1400/1410 S.     Privileged & protected from disclosure
Palomares dated October 18, 2019      Alvernon Way,    pursuant to the Tiahrt Amendment, as
                                      Tucson, AZ       amended (Continuing Appropriations Act,
                                      85711            2012, Pub.L. No. 112–55, 125 Stat. 552,
                                                       609-10 (2012)).
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ATF Firearms Disposition Fax      1400/1410 S.     Privileged & protected from disclosure
Request dated August 26, 2021     Alvernon Way,    pursuant to the Tiahrt Amendment, as
                                  Tucson, AZ       amended (Continuing Appropriations Act,
                                  85711            2012, Pub.L. No. 112–55, 125 Stat. 552,
                                                   609-10 (2012)).
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                                Ammo AZ’s Privilege Log
                                 Original July 29, 2024
                                Updated August 27, 2024


Description                     Location         Basis
ATF Forms 4473 for Francisco    5350 West        Privileged & protected from disclosure
Dario Mora dated 7/2/2019;      Bell Road,       pursuant to: the Tiahrt Amendment, as amended
7/17/2019; and 8/7/2019         Glendale,        (Continuing Appropriations Act, 2012, Pub.L.
                                AZ 85308         No. 112–55, 125 Stat. 552, 609-10 (2012)); the
                                                 Arizona Audit Reports Privilege (AZ Rev. Stat.
                                                 § 12-2321, et seq. (2023); and the federal
                                                 common law Law Enforcement Investigatory
                                                 Privilege (see e.g., Friedman v. Bache Halsey
                                                 Stuart Shields, Inc., 738 F.2d 1336, 1341 (D.C.
                                                 Cir. 1984).
ATF Forms 4473 for Pedro Adan   5350 West        Privileged & protected from disclosure
Sevilla dated 7/2/2019;         Bell Road,       pursuant to: the Tiahrt Amendment, as amended
7/17/2019; 8/7/2019; and        Glendale,        (Continuing Appropriations Act, 2012, Pub.L.
8/13/2019                       AZ 85308         No. 112–55, 125 Stat. 552, 609-10 (2012)); the
                                                 Arizona Audit Reports Privilege (AZ Rev. Stat.
                                                 § 12-2321, et seq. (2023); and the federal
                                                 common law Law Enforcement Investigatory
                                                 Privilege (see e.g., Friedman v. Bache Halsey
                                                 Stuart Shields, Inc., 738 F.2d 1336, 1341 (D.C.
                                                 Cir. 1984).
ATF Forms 4473 for Yibran       5350 West        Privileged & protected from disclosure
Lopez-Rosales dated 4/16/2019   Bell Road,       pursuant to: the Tiahrt Amendment, as amended
and 8/28/2019                   Glendale,        (Continuing Appropriations Act, 2012, Pub.L.
                                AZ 85308         No. 112–55, 125 Stat. 552, 609-10 (2012)); the
                                                 Arizona Audit Reports Privilege (AZ Rev. Stat.
                                                 § 12-2321, et seq. (2023); and the federal
                                                 common law Law Enforcement Investigatory
                                                 Privilege (see e.g., Friedman v. Bache Halsey
                                                 Stuart Shields, Inc., 738 F.2d 1336, 1341 (D.C.
                                                 Cir. 1984).
ATF Form 4473 for Nicolas       5350 West        Privileged & protected from disclosure
Carrillo dated 5/12/2022 and    Bell Road,       pursuant to: the Tiahrt Amendment, as amended
7/12/2022                       Glendale,        (Continuing Appropriations Act, 2012, Pub.L.
                                AZ 85308         No. 112–55, 125 Stat. 552, 609-10 (2012)); the
                                                 Arizona Audit Reports Privilege (AZ Rev. Stat.
                                                 § 12-2321, et seq. (2023); and the federal
                                                 common law Law Enforcement Investigatory
                                                 Privilege (see e.g., Friedman v. Bache Halsey
                                                 Stuart Shields, Inc., 738 F.2d 1336, 1341 (D.C.
                                                 Cir. 1984).

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ATF Form 4473 for Noeme            5350 West        Privileged & protected from disclosure
Carrillo dated 5/23/2022           Bell Road,       pursuant to: the Tiahrt Amendment, as amended
                                   Glendale,        (Continuing Appropriations Act, 2012, Pub.L.
                                   AZ 85308         No. 112–55, 125 Stat. 552, 609-10 (2012)); the
                                                    Arizona Audit Reports Privilege (AZ Rev. Stat.
                                                    § 12-2321, et seq. (2023); and the federal
                                                    common law Law Enforcement Investigatory
                                                    Privilege (see e.g., Friedman v. Bache Halsey
                                                    Stuart Shields, Inc., 738 F.2d 1336, 1341 (D.C.
                                                    Cir. 1984).
ATF Forms 4473 for Moses           5350 West        Privileged & protected from disclosure
Castrillo dated 6/18/2022;         Bell Road,       pursuant to: the Tiahrt Amendment, as amended
6/21/2022 and 7/9/2022             Glendale,        (Continuing Appropriations Act, 2012, Pub.L.
                                   AZ 85308         No. 112–55, 125 Stat. 552, 609-10 (2012)); the
                                                    Arizona Audit Reports Privilege (AZ Rev. Stat.
                                                    § 12-2321, et seq. (2023); and the federal
                                                    common law Law Enforcement Investigatory
                                                    Privilege (see e.g., Friedman v. Bache Halsey
                                                    Stuart Shields, Inc., 738 F.2d 1336, 1341 (D.C.
                                                    Cir. 1984).
ATF Forms 4473 for Roberto         5350 West        Privileged & protected from disclosure
Mariscal dated 6/27/2022;          Bell Road,       pursuant to: the Tiahrt Amendment, as amended
7/1/2022; 8/10/2022; 9/26/2022;    Glendale,        (Continuing Appropriations Act, 2012, Pub.L.
9/27/2022; 10/4/2022; 10/6/2022;   AZ 85308         No. 112–55, 125 Stat. 552, 609-10 (2012)); the
10/20/2022; 4/15/2023 and                           Arizona Audit Reports Privilege (AZ Rev. Stat.
4/17/2023                                           § 12-2321, et seq. (2023); and the federal
                                                    common law Law Enforcement Investigatory
                                                    Privilege (see e.g., Friedman v. Bache Halsey
                                                    Stuart Shields, Inc., 738 F.2d 1336, 1341 (D.C.
                                                    Cir. 1984).
ATF Form 4473 for Molly Pfeifer    5350 West        Privileged & protected from disclosure
dated 9/19/2022                    Bell Road,       pursuant to: the Tiahrt Amendment, as amended
                                   Glendale,        (Continuing Appropriations Act, 2012, Pub.L.
                                   AZ 85308         No. 112–55, 125 Stat. 552, 609-10 (2012)); the
                                                    Arizona Audit Reports Privilege (AZ Rev. Stat.
                                                    § 12-2321, et seq. (2023); and the federal
                                                    common law Law Enforcement Investigatory
                                                    Privilege (see e.g., Friedman v. Bache Halsey
                                                    Stuart Shields, Inc., 738 F.2d 1336, 1341 (D.C.
                                                    Cir. 1984).
ATF Form 4473 for Zhylaia          5350 West        Privileged & protected from disclosure
Edwards dated 10/26/2022           Bell Road,       pursuant to: the Tiahrt Amendment, as amended
                                   Glendale,        (Continuing Appropriations Act, 2012, Pub.L.
                                   AZ 85308         No. 112–55, 125 Stat. 552, 609-10 (2012)); the
                                                    Arizona Audit Reports Privilege (AZ Rev. Stat.
                                                    § 12-2321, et seq. (2023); and the federal

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                                                   common law Law Enforcement Investigatory
                                                   Privilege (see e.g., Friedman v. Bache Halsey
                                                   Stuart Shields, Inc., 738 F.2d 1336, 1341 (D.C.
                                                   Cir. 1984).
ATF Form 4473 for Dionte Miller   5350 West        Privileged & protected from disclosure
dated 1/6/2023 and 3/17/2023      Bell Road,       pursuant to: the Tiahrt Amendment, as amended
                                  Glendale,        (Continuing Appropriations Act, 2012, Pub.L.
                                  AZ 85308         No. 112–55, 125 Stat. 552, 609-10 (2012)); the
                                                   Arizona Audit Reports Privilege (AZ Rev. Stat.
                                                   § 12-2321, et seq. (2023); and the federal
                                                   common law Law Enforcement Investigatory
                                                   Privilege (see e.g., Friedman v. Bache Halsey
                                                   Stuart Shields, Inc., 738 F.2d 1336, 1341 (D.C.
                                                   Cir. 1984).
ATF Form 4473 for Jessica         5350 West        Privileged & protected from disclosure
Cooper dated 1/18/2023            Bell Road,       pursuant to: the Tiahrt Amendment, as amended
                                  Glendale,        (Continuing Appropriations Act, 2012, Pub.L.
                                  AZ 85308         No. 112–55, 125 Stat. 552, 609-10 (2012)); the
                                                   Arizona Audit Reports Privilege (AZ Rev. Stat.
                                                   § 12-2321, et seq. (2023); and the federal
                                                   common law Law Enforcement Investigatory
                                                   Privilege (see e.g., Friedman v. Bache Halsey
                                                   Stuart Shields, Inc., 738 F.2d 1336, 1341 (D.C.
                                                   Cir. 1984).
ATF Form 4473 for Fidel           5350 West        Privileged & protected from disclosure
Guzman dated 5/9/2023;            Bell Road,       pursuant to: the Tiahrt Amendment, as amended
5/31/2023 and 6/1/2023            Glendale,        (Continuing Appropriations Act, 2012, Pub.L.
                                  AZ 85308         No. 112–55, 125 Stat. 552, 609-10 (2012)); the
                                                   Arizona Audit Reports Privilege (AZ Rev. Stat.
                                                   § 12-2321, et seq. (2023); and the federal
                                                   common law Law Enforcement Investigatory
                                                   Privilege (see e.g., Friedman v. Bache Halsey
                                                   Stuart Shields, Inc., 738 F.2d 1336, 1341 (D.C.
                                                   Cir. 1984).
ATF Form 4473 for Israel Diaz     5350 West        Privileged & protected from disclosure
Guzman dated 6/1/2023             Bell Road,       pursuant to: the Tiahrt Amendment, as amended
                                  Glendale,        (Continuing Appropriations Act, 2012, Pub.L.
                                  AZ 85308         No. 112–55, 125 Stat. 552, 609-10 (2012)); the
                                                   Arizona Audit Reports Privilege (AZ Rev. Stat.
                                                   § 12-2321, et seq. (2023); and the federal
                                                   common law Law Enforcement Investigatory
                                                   Privilege (see e.g., Friedman v. Bache Halsey
                                                   Stuart Shields, Inc., 738 F.2d 1336, 1341 (D.C.
                                                   Cir. 1984).



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ATF Forms 3310.4 for Francisco   5350 West        Privileged & protected from disclosure
Dario Mora dated 7/17/2019 and   Bell Road,       pursuant to: the Tiahrt Amendment, as amended
8/7/2019                         Glendale,        (Continuing Appropriations Act, 2012, Pub.L.
                                 AZ 85308         No. 112–55, 125 Stat. 552, 609-10 (2012)); the
                                                  Arizona Audit Reports Privilege (AZ Rev. Stat.
                                                  § 12-2321, et seq. (2023); and the federal
                                                  common law Law Enforcement Investigatory
                                                  Privilege (see e.g., Friedman v. Bache Halsey
                                                  Stuart Shields, Inc., 738 F.2d 1336, 1341 (D.C.
                                                  Cir. 1984).
ATF Forms 3310.4 for Pedro       5350 West        Privileged & protected from disclosure
Adan Sevilla dated 7/17/2019;    Bell Road,       pursuant to: the Tiahrt Amendment, as amended
8/7/2019 and 8/13/2019           Glendale,        (Continuing Appropriations Act, 2012, Pub.L.
                                 AZ 85308         No. 112–55, 125 Stat. 552, 609-10 (2012)); the
                                                  Arizona Audit Reports Privilege (AZ Rev. Stat.
                                                  § 12-2321, et seq. (2023); and the federal
                                                  common law Law Enforcement Investigatory
                                                  Privilege (see e.g., Friedman v. Bache Halsey
                                                  Stuart Shields, Inc., 738 F.2d 1336, 1341 (D.C.
                                                  Cir. 1984).
ATF Forms 3310.4 for Nicolas     5350 West        Privileged & protected from disclosure
Carrillo dated 5/12/2022         Bell Road,       pursuant to: the Tiahrt Amendment, as amended
                                 Glendale,        (Continuing Appropriations Act, 2012, Pub.L.
                                 AZ 85308         No. 112–55, 125 Stat. 552, 609-10 (2012)); the
                                                  Arizona Audit Reports Privilege (AZ Rev. Stat.
                                                  § 12-2321, et seq. (2023); and the federal
                                                  common law Law Enforcement Investigatory
                                                  Privilege (see e.g., Friedman v. Bache Halsey
                                                  Stuart Shields, Inc., 738 F.2d 1336, 1341 (D.C.
                                                  Cir. 1984).
ATF Forms 3310.4 for Moses       5350 West        Privileged & protected from disclosure
Castrillo dated 6/18/2022 and    Bell Road,       pursuant to: the Tiahrt Amendment, as amended
7/12/2022                        Glendale,        (Continuing Appropriations Act, 2012, Pub.L.
                                 AZ 85308         No. 112–55, 125 Stat. 552, 609-10 (2012)); the
                                                  Arizona Audit Reports Privilege (AZ Rev. Stat.
                                                  § 12-2321, et seq. (2023); and the federal
                                                  common law Law Enforcement Investigatory
                                                  Privilege (see e.g., Friedman v. Bache Halsey
                                                  Stuart Shields, Inc., 738 F.2d 1336, 1341 (D.C.
                                                  Cir. 1984).
ATF Forms 3310.4 for Molly       5350 West        Privileged & protected from disclosure
Pfeifer dated 9/19/2022          Bell Road,       pursuant to: the Tiahrt Amendment, as amended
                                 Glendale,        (Continuing Appropriations Act, 2012, Pub.L.
                                 AZ 85308         No. 112–55, 125 Stat. 552, 609-10 (2012)); the
                                                  Arizona Audit Reports Privilege (AZ Rev. Stat.
                                                  § 12-2321, et seq. (2023); and the federal

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                                                   common law Law Enforcement Investigatory
                                                   Privilege (see e.g., Friedman v. Bache Halsey
                                                   Stuart Shields, Inc., 738 F.2d 1336, 1341 (D.C.
                                                   Cir. 1984).
ATF Forms 3310.4 for Roberto      5350 West        Privileged & protected from disclosure
Mariscal dated 7/1/2022;          Bell Road,       pursuant to: the Tiahrt Amendment, as amended
8/10/2022; 9/26/2022; 9/27/2022   Glendale,        (Continuing Appropriations Act, 2012, Pub.L.
and 10/20/2022                    AZ 85308         No. 112–55, 125 Stat. 552, 609-10 (2012)); the
                                                   Arizona Audit Reports Privilege (AZ Rev. Stat.
                                                   § 12-2321, et seq. (2023); and the federal
                                                   common law Law Enforcement Investigatory
                                                   Privilege (see e.g., Friedman v. Bache Halsey
                                                   Stuart Shields, Inc., 738 F.2d 1336, 1341 (D.C.
                                                   Cir. 1984).
ATF Forms 3310.4 for Dionte       5350 West        Privileged & protected from disclosure
Miller dated 1/6/2023             Bell Road,       pursuant to: the Tiahrt Amendment, as amended
                                  Glendale,        (Continuing Appropriations Act, 2012, Pub.L.
                                  AZ 85308         No. 112–55, 125 Stat. 552, 609-10 (2012)); the
                                                   Arizona Audit Reports Privilege (AZ Rev. Stat.
                                                   § 12-2321, et seq. (2023); and the federal
                                                   common law Law Enforcement Investigatory
                                                   Privilege (see e.g., Friedman v. Bache Halsey
                                                   Stuart Shields, Inc., 738 F.2d 1336, 1341 (D.C.
                                                   Cir. 1984).
ATF Forms 3310.4 for Jessica      5350 West        Privileged & protected from disclosure
Cooper dated 1/18/2023            Bell Road,       pursuant to: the Tiahrt Amendment, as amended
                                  Glendale,        (Continuing Appropriations Act, 2012, Pub.L.
                                  AZ 85308         No. 112–55, 125 Stat. 552, 609-10 (2012)); the
                                                   Arizona Audit Reports Privilege (AZ Rev. Stat.
                                                   § 12-2321, et seq. (2023); and the federal
                                                   common law Law Enforcement Investigatory
                                                   Privilege (see e.g., Friedman v. Bache Halsey
                                                   Stuart Shields, Inc., 738 F.2d 1336, 1341 (D.C.
                                                   Cir. 1984).
ATF Forms 3310.4 for Fidel        5350 West        Privileged & protected from disclosure
Guzman dated 5/9/2023             Bell Road,       pursuant to: the Tiahrt Amendment, as amended
                                  Glendale,        (Continuing Appropriations Act, 2012, Pub.L.
                                  AZ 85308         No. 112–55, 125 Stat. 552, 609-10 (2012)); the
                                                   Arizona Audit Reports Privilege (AZ Rev. Stat.
                                                   § 12-2321, et seq. (2023); and the federal
                                                   common law Law Enforcement Investigatory
                                                   Privilege (see e.g., Friedman v. Bache Halsey
                                                   Stuart Shields, Inc., 738 F.2d 1336, 1341 (D.C.
                                                   Cir. 1984).



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ATF Forms 4473 from February        5350 West        Privileged & protected from disclosure
of 2019 to present                  Bell Road,       pursuant to: the Tiahrt Amendment, as amended
                                    Glendale,        (Continuing Appropriations Act, 2012, Pub.L.
                                    AZ 85308         No. 112–55, 125 Stat. 552, 609-10 (2012)); the
                                                     Arizona Audit Reports Privilege (AZ Rev. Stat.
                                                     § 12-2321, et seq. (2023); and the federal
                                                     common law Law Enforcement Investigatory
                                                     Privilege (see e.g., Friedman v. Bache Halsey
                                                     Stuart Shields, Inc., 738 F.2d 1336, 1341 (D.C.
                                                     Cir. 1984).
ATF Forms 3310.4 from February      5350 West        Privileged & protected from disclosure
of 2019 to present                  Bell Road,       pursuant to: the Tiahrt Amendment, as amended
                                    Glendale,        (Continuing Appropriations Act, 2012, Pub.L.
                                    AZ 85308         No. 112–55, 125 Stat. 552, 609-10 (2012)); the
                                                     Arizona Audit Reports Privilege (AZ Rev. Stat.
                                                     § 12-2321, et seq. (2023); and the federal
                                                     common law Law Enforcement Investigatory
                                                     Privilege (see e.g., Friedman v. Bache Halsey
                                                     Stuart Shields, Inc., 738 F.2d 1336, 1341 (D.C.
                                                     Cir. 1984).
ATF Forms 3310.12 from              5350 West        Privileged & protected from disclosure
February of 2019 to present         Bell Road,       pursuant to: the Tiahrt Amendment, as amended
                                    Glendale,        (Continuing Appropriations Act, 2012, Pub.L.
                                    AZ 85308         No. 112–55, 125 Stat. 552, 609-10 (2012)); the
                                                     Arizona Audit Reports Privilege (AZ Rev. Stat.
                                                     § 12-2321, et seq. (2023); and the federal
                                                     common law Law Enforcement Investigatory
                                                     Privilege (see e.g., Friedman v. Bache Halsey
                                                     Stuart Shields, Inc., 738 F.2d 1336, 1341 (D.C.
                                                     Cir. 1984).
Emails, texts and attachments (or   5350 West        Privileged & protected from disclosure
other similar written               Bell Road,       pursuant to: the Tiahrt Amendment, as amended
communication) exchanged            Glendale,        (Continuing Appropriations Act, 2012, Pub.L.
between Ammo AZ personnel and       AZ 85308         No. 112–55, 125 Stat. 552, 609-10 (2012)); the
agents/investigators at ATF                          Arizona Audit Reports Privilege (AZ Rev. Stat.
related to requests for copies of                    § 12-2321, et seq. (2023); and the federal
Forms 4473 as part of a law                          common law Law Enforcement Investigatory
enforcement investigation                            Privilege (see e.g., Friedman v. Bache Halsey
                                                     Stuart Shields, Inc., 738 F.2d 1336, 1341 (D.C.
                                                     Cir. 1984).
Emails, texts and attachments (or   5350 West        Privileged & protected from disclosure
other similar written               Bell Road,       pursuant to: the Tiahrt Amendment, as amended
communication) exchanged            Glendale,        (Continuing Appropriations Act, 2012, Pub.L.
between Ammo AZ personnel and       AZ 85308         No. 112–55, 125 Stat. 552, 609-10 (2012)); the
agents/investigators at ATF, DOJ                     Arizona Audit Reports Privilege (AZ Rev. Stat.
and other law enforcement                            § 12-2321, et seq. (2023); and the federal

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agencies related to firearm trace                     common law Law Enforcement Investigatory
information requests as part of a                     Privilege (see e.g., Friedman v. Bache Halsey
law enforcement investigation                         Stuart Shields, Inc., 738 F.2d 1336, 1341 (D.C.
                                                      Cir. 1984).
Emails, texts and attachments (or    5350 West        Privileged & protected from disclosure
other similar written                Bell Road,       pursuant to: the Tiahrt Amendment, as amended
communication) exchanged             Glendale,        (Continuing Appropriations Act, 2012, Pub.L.
between Ammo AZ personnel and        AZ 85308         No. 112–55, 125 Stat. 552, 609-10 (2012)); the
ATF, DOJ and other law                                Arizona Audit Reports Privilege (AZ Rev. Stat.
enforcement agencies related to                       § 12-2321, et seq. (2023); and the federal
Forms 3310.4                                          common law Law Enforcement Investigatory
                                                      Privilege (see e.g., Friedman v. Bache Halsey
                                                      Stuart Shields, Inc., 738 F.2d 1336, 1341 (D.C.
                                                      Cir. 1984).
Emails, texts and attachments (or    5350 West        Privileged & protected from disclosure
other similar written                Bell Road,       pursuant to: the Tiahrt Amendment, as amended
communication) exchanged             Glendale,        (Continuing Appropriations Act, 2012, Pub.L.
between Ammo AZ personnel and        AZ 85308         No. 112–55, 125 Stat. 552, 609-10 (2012)); the
ATF, DOJ and other law                                Arizona Audit Reports Privilege (AZ Rev. Stat.
enforcement agencies related to                       § 12-2321, et seq. (2023); and the federal
Forms 3310.12                                         common law Law Enforcement Investigatory
                                                      Privilege (see e.g., Friedman v. Bache Halsey
                                                      Stuart Shields, Inc., 738 F.2d 1336, 1341 (D.C.
                                                      Cir. 1984).
Emails, texts and attachments (or    5350 West        Privileged & protected from disclosure
other similar written                Bell Road,       pursuant to: the Tiahrt Amendment, as amended
communication) exchanged with        Glendale,        (Continuing Appropriations Act, 2012, Pub.L.
ATF related to ATF regulatory        AZ 85308         No. 112–55, 125 Stat. 552, 609-10 (2012)); the
audits and ATF Forms 5030.5                           Arizona Audit Reports Privilege (AZ Rev. Stat.
                                                      § 12-2321, et seq. (2023); and the federal
                                                      common law Law Enforcement Investigatory
                                                      Privilege (see e.g., Friedman v. Bache Halsey
                                                      Stuart Shields, Inc., 738 F.2d 1336, 1341 (D.C.
                                                      Cir. 1984).
Emails, texts and attachments (or    5350 West        Privileged & protected from disclosure
other similar written                Bell Road,       pursuant to: the Tiahrt Amendment, as amended
communication) exchanged             Glendale,        (Continuing Appropriations Act, 2012, Pub.L.
between Ammo AZ personnel and        AZ 85308         No. 112–55, 125 Stat. 552, 609-10 (2012)); the
agents/investigators at ATF, DOJ                      Arizona Audit Reports Privilege (AZ Rev. Stat.
and other law enforcement                             § 12-2321, et seq. (2023); and the federal
agencies related to video                             common law Law Enforcement Investigatory
surveillance requests as part of a                    Privilege (see e.g., Friedman v. Bache Halsey
law enforcement investigation                         Stuart Shields, Inc., 738 F.2d 1336, 1341 (D.C.
                                                      Cir. 1984).



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Emails, texts and attachments (or   5350 West        Privileged & protected from disclosure
other similar written               Bell Road,       pursuant to: the Tiahrt Amendment, as amended
communication) exchanged            Glendale,        (Continuing Appropriations Act, 2012, Pub.L.
between Ammo AZ personnel and       AZ 85308         No. 112–55, 125 Stat. 552, 609-10 (2012)); the
agents/investigators at ATF, DOJ                     Arizona Audit Reports Privilege (AZ Rev. Stat.
and other law enforcement                            § 12-2321, et seq. (2023); and the federal
agencies related to law                              common law Law Enforcement Investigatory
enforcement investigations into                      Privilege (see e.g., Friedman v. Bache Halsey
firearms purchases                                   Stuart Shields, Inc., 738 F.2d 1336, 1341 (D.C.
                                                     Cir. 1984).




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 EXHIBIT 11
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                       Sprague’s Sports, Inc.’s Amended Privilege Log
          Objections and Responses to Plaintiff’s First Set of Requests for Production
                                      to All Defendants
                                       August 27, 2024

Description                           Location     Basis
Numerous ATF Forms 4473 from          345 W 32nd   Privileged & protected from disclosure
2012 to the present.                  St., Yuma,   pursuant to: the Tiahrt Amendment, as amended
                                      AZ 85364     (Continuing Appropriations Act, 2012, Pub.L.
                                                   No. 112–55, 125 Stat. 552, 609-10 (2012)).
Numerous ATF Forms 3310.4             345 W 32nd   Privileged & protected from disclosure
from 2012 to the present.             St., Yuma,   pursuant to: the Tiahrt Amendment, as amended
                                      AZ 85364     (Continuing Appropriations Act, 2012, Pub.L.
                                                   No. 112–55, 125 Stat. 552, 609-10 (2012)).


Numerous ATF Forms 3310.12            345 W 32nd   Privileged & protected from disclosure
from 2012 to the present.             St., Yuma,   pursuant to: the Tiahrt Amendment, as amended
                                      AZ 85364     (Continuing Appropriations Act, 2012, Pub.L.
                                                   No. 112–55, 125 Stat. 552, 609-10 (2012)).


Acquisition and Disposition           345 W 32nd   Privileged & protected from disclosure
Records maintained pursuant to        St., Yuma,   pursuant to: the Tiahrt Amendment, as amended
27 CFR 478.125(e) from Aug. 8,        AZ 85364     (Continuing Appropriations Act, 2012, Pub.L.
2021 to Present                                    No. 112–55, 125 Stat. 552, 609-10 (2012)).


Email correspondence to and           Email        Privileged & protected from disclosure
from ATF Tracing Center re:           Archives     pursuant to: the Tiahrt Amendment, as amended
requests for trace data with a date                (Continuing Appropriations Act, 2012, Pub.L.
range as early as 2019 to the                      No. 112–55, 125 Stat. 552, 609-10 (2012)); and
present.                                           the federal common law Law Enforcement
                                                   Investigatory Privilege (see e.g., Friedman v.
                                                   Bache Halsey Stuart Shields, Inc., 738 F.2d
                                                   1336, 1341 (D.C. Cir. 1984).
Correspondence between                Email        Privileged & protected from disclosure
Sprague’s Sports Inc. (Richard        Archives     pursuant to: the Tiahrt Amendment, as amended
Sprague and Ron Gissendaner)                       (Continuing Appropriations Act, 2012, Pub.L.
and ATF Special Agents related to                  No. 112–55, 125 Stat. 552, 609-10 (2012)); and
ATF Forms 4473 for several                         the federal common law Law Enforcement
individuals, from June 8, 2023 to                  Investigatory Privilege (see e.g., Friedman v.
May 25, 2024.                                      Bache Halsey Stuart Shields, Inc., 738 F.2d
                                                   1336, 1341 (D.C. Cir. 1984).
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Correspondence dated February        Email      Privileged & protected from disclosure
15, 2024 from Richard Sprague to     Archives   pursuant to: the Tiahrt Amendment, as amended
ATF Director of Industry                        (Continuing Appropriations Act, 2012, Pub.L.
Operations related to Sprague’s                 No. 112–55, 125 Stat. 552, 609-10 (2012)); the
Sports Inc.’s Voluntary Self-                   Arizona Audit Reports Privilege (AZ Rev. Stat.
Reporting.                                      § 12-2321, et seq. (2023).
Correspondence dated April 19,       Email      Privileged & protected from disclosure
2024 from Richard Sprague to         Archives   pursuant to: the Tiahrt Amendment, as amended
ATF Industry Operations                         (Continuing Appropriations Act, 2012, Pub.L.
Investigator related to the ATF’s               No. 112–55, 125 Stat. 552, 609-10 (2012)); the
audit inspection of Sprague’s                   Arizona Audit Reports Privilege (AZ Rev. Stat.
Sports Inc.                                     § 12-2321, et seq. (2023).
Correspondence dated January 22,     Email      Privileged & protected from disclosure
2024 from Richard Sprague to         Archives   pursuant to: the Tiahrt Amendment, as amended
ATF Tracing Operations related to               (Continuing Appropriations Act, 2012, Pub.L.
ATF Form 3310.4 for Seth                        No. 112–55, 125 Stat. 552, 609-10 (2012)); and
Martin.                                         the federal common law Law Enforcement
                                                Investigatory Privilege (see e.g., Friedman v.
                                                Bache Halsey Stuart Shields, Inc., 738 F.2d
                                                1336, 1341 (D.C. Cir. 1984).
Correspondence dated October         Email      Privileged & protected from disclosure
16, 2023 from ATF Tracing            Archives   pursuant to: the Tiahrt Amendment, as amended
Operations to Richard Sprague                   (Continuing Appropriations Act, 2012, Pub.L.
related to ATF Form 3310.4 for                  No. 112–55, 125 Stat. 552, 609-10 (2012)); and
Josue Diaz Soto.                                the federal common law Law Enforcement
                                                Investigatory Privilege (see e.g., Friedman v.
                                                Bache Halsey Stuart Shields, Inc., 738 F.2d
                                                1336, 1341 (D.C. Cir. 1984).
Correspondence dated November        Email      Privileged & protected from disclosure
17, 2023 from ATF Special Agent      Archives   pursuant to: the Tiahrt Amendment, as amended
to Richard Sprague related to                   (Continuing Appropriations Act, 2012, Pub.L.
receipts for transactions by Angel              No. 112–55, 125 Stat. 552, 609-10 (2012)); and
Rafael Valdes Rivera, Iris M.                   the federal common law Law Enforcement
Rivera, and Luis Angel Santiago                 Investigatory Privilege (see e.g., Friedman v.
Rivera.                                         Bache Halsey Stuart Shields, Inc., 738 F.2d
                                                1336, 1341 (D.C. Cir. 1984).
Correspondence dated December        Email      Privileged & protected from disclosure
11, 2023 from ATF Special Agent      Archives   pursuant to: the Tiahrt Amendment, as amended
to Richard Sprague requesting to                (Continuing Appropriations Act, 2012, Pub.L.
call if any purchases are                       No. 112–55, 125 Stat. 552, 609-10 (2012)); and
attempted by Rosaisela Cecilia                  the federal common law Law Enforcement
Estrada, Robert Pizano Jr., and                 Investigatory Privilege (see e.g., Friedman v.
Lizbeth Ambriz.                                 Bache Halsey Stuart Shields, Inc., 738 F.2d
                                                1336, 1341 (D.C. Cir. 1984).
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Correspondence dated March 6,         Email        Privileged & protected from disclosure
2024 from ATF Special Agent to        Archives     pursuant to: the Tiahrt Amendment, as amended
Richard Sprague requesting any                     (Continuing Appropriations Act, 2012, Pub.L.
video footage or images of                         No. 112–55, 125 Stat. 552, 609-10 (2012)); and
Sprague’s Sports Inc.’s store/lot                  the federal common law Law Enforcement
from February 15, 2024.                            Investigatory Privilege (see e.g., Friedman v.
                                                   Bache Halsey Stuart Shields, Inc., 738 F.2d
                                                   1336, 1341 (D.C. Cir. 1984).


Correspondence dated April 9,         Email        Privileged & protected from disclosure
2024 from ATF National Services       Archives     pursuant to: the Tiahrt Amendment, as amended
Center to Richard Sprague related                  (Continuing Appropriations Act, 2012, Pub.L.
to ATF Form 3310.4 for Glenn                       No. 112–55, 125 Stat. 552, 609-10 (2012)); and
Stephens Caldwell.                                 the federal common law Law Enforcement
                                                   Investigatory Privilege (see e.g., Friedman v.
                                                   Bache Halsey Stuart Shields, Inc., 738 F.2d
                                                   1336, 1341 (D.C. Cir. 1984).
Correspondence dated April 25–        Email        Privileged & protected from disclosure
29, 2024 from ATF Industry            Archives     pursuant to: the Tiahrt Amendment, as amended
Operations Investigator to                         (Continuing Appropriations Act, 2012, Pub.L.
Richard Sprague related to the                     No. 112–55, 125 Stat. 552, 609-10 (2012)); the
ATF’s audit inspection of                          Arizona Audit Reports Privilege (AZ Rev. Stat.
Sprague’s Sports Inc.                              § 12-2321, et seq. (2023).
ATF Form 5030.5 dated April 25,       345 W 32nd   Privileged & protected from disclosure
2024 for the ATF’s audit              St., Yuma,   pursuant to: the Tiahrt Amendment, as amended
inspection of Sprague’s Sports        AZ 85364     (Continuing Appropriations Act, 2012, Pub.L.
Inc.                                               No. 112–55, 125 Stat. 552, 609-10 (2012)); the
                                                   Arizona Audit Reports Privilege (AZ Rev. Stat.
                                                   § 12-2321, et seq. (2023).
Correspondence dated April 25,        Email        Privileged & protected from disclosure
2024 between ATF Stolen               Archives     pursuant to: the Tiahrt Amendment, as amended
Firearms Program and Sprague’s                     (Continuing Appropriations Act, 2012, Pub.L.
Sports Inc. (Frank “Pancho”                        No. 112–55, 125 Stat. 552, 609-10 (2012)); and
Hansen) related to a lost or stolen                the federal common law Law Enforcement
firearm.                                           Investigatory Privilege (see e.g., Friedman v.
                                                   Bache Halsey Stuart Shields, Inc., 738 F.2d
                                                   1336, 1341 (D.C. Cir. 1984).
Correspondence dated June 3,          Email        Privileged & protected from disclosure
2024 from ATF Industry                Archives     pursuant to: the Tiahrt Amendment, as amended
Operations Investigator to                         (Continuing Appropriations Act, 2012, Pub.L.
Richard Sprague related to the                     No. 112–55, 125 Stat. 552, 609-10 (2012)); the
ATF’s audit inspection of                          Arizona Audit Reports Privilege (AZ Rev. Stat.
Sprague’s Sports Inc. conducted                    § 12-2321, et seq. (2023).
on April 15, 2024.
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Correspondence dated March 12,       Email        Privileged & protected from disclosure
2014 from ATF Phoenix III Area       Archives     pursuant to: the Tiahrt Amendment, as amended
Supervisor to Richard Sprague                     (Continuing Appropriations Act, 2012, Pub.L.
related to the ATF’s audit                        No. 112–55, 125 Stat. 552, 609-10 (2012)); the
inspection of Sprague’s Sports                    Arizona Audit Reports Privilege (AZ Rev. Stat.
Inc.                                              § 12-2321, et seq. (2023).


ATF Forms 5030.5 for the ATF’s       345 W 32nd   Privileged & protected from disclosure
audit inspection of Sprague’s        St., Yuma,   pursuant to: the Tiahrt Amendment, as amended
Sports Inc. for the period July 1,   AZ 85364     (Continuing Appropriations Act, 2012, Pub.L.
2013 through January 27, 2014                     No. 112–55, 125 Stat. 552, 609-10 (2012)); the
                                                  Arizona Audit Reports Privilege (AZ Rev. Stat.
                                                  § 12-2321, et seq. (2023).
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 EXHIBIT 12
      Case 4:22-cv-00472-RM        Document 89-1        Filed 09/13/24      Page 213 of 277




                                                                   JULIA MCGRATH ASSOCIATE
                                                                 d 215.875.4675 jmcgrath@bm.net



August 5, 2024

VIA EMAIL
Jeffrey Malsch                                       Ryan L. Erdreich
Renzulli Law Firm LLP                                Pisciotti Lallis Erdreich
One North Broadway, Suite 1005                       445 Hamilton Ave., Suite 1102
White Plains, NY 10601                               White Plains, NY 10601
jmalsch@renzullilaw.com                              rerdreich@pisciotti.com


Re:      Estados Unidos Mexicanos v. Diamondback Shooting Sports Inc. et al.,
         4:22-cv-00472

Dear Counsel,

I write on behalf of Plaintiff Estados Unidos Mexicanos (“Plaintiff” or the “Government”) in the
above-captioned matter to address deficiencies in the July 24, 2024 privilege logs produced by
Defendants Diamondback Shooting Sports, Inc. (”Diamondback”), SNG Tactical, LLC (“SNG”),
Loan Prairie LLC d/b/a The Hub (“Loan Prairie”), and Sprague’s Sports, Inc. (“Sprague’s”), the
July 29, 2024 privilege log produced by Ammo A-Z, LLC (“Ammo AZ”),1 and inappropriate
objections regarding the Tiahrt Amendment, the “Arizona Audits Reports Privilege,” and the
“federal common law Law Enforcement Investigatory Privilege” in both the privilege logs and in
Defendants’ July 24, 2024 Responses and Objections to Plaintiff’s First Set of Requests for
Production of Documents to All Defendants (“Responses”).

      (1) Defendants’ Privilege Logs Do Not Comply with Federal Rules or Court Ordered
          ESI Protocol.

Defendants’ purported “privilege logs,” which were nearly identical to one another (other than
swapping out the name of the responding Defendant), violate the Federal Rules and the ESI
Protocol ordered in this case.

First, Defendants fail to individually log each document they are withholding for privilege, instead
logging 8-9 categories of documents: (1) ATF Forms 4473; (2) ATF Forms 3310.4; (3) ATF Forms
3310.12; (4) Emails, texts, communications exchanged between [Defendant] personnel and
agents/investigators at ATF related to requests for copies of Forms 4473; (5) Emails, texts,

 1
  Together, Diamondback, SNG, Loan Prairie, Sprague’s, and Ammo AZ are referred to as
“Defendants.”

                                                           1818 MARKET STREET, SUITE 3600
                                                           PHILADELPHIA, PA 19103
                                                           215.875.3000 BERGERMONTAGUE.COM
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communications exchanged between [Defendant] personnel and agents/investigators at ATF
related to firearm trace information requests; (6) Emails, texts, communications exchanged
between [Defendant] personnel and ATF related to Forms 3310.4; (7) Emails, texts,
communications exchanged between [Defendant] personnel and ATF related to Forms 3310.12;
(8) Emails, texts, communications exchanged between [Defendant] personnel and
agents/investigators at ATF related to video surveillance requests; (9) Documents related to ATF
audits, internal auditing, and ATF Forms 5030.5.2 The ESI Protocol requires Defendants to log
each document they are withholding as a separate log entry. See e.g., ECF No. 79, at §F.4
(requiring privilege logs to include a unique document identification number and bates number for
each document, among other things); §F.6 (requiring each member of a document family over
which a claim of privilege is being made to be logged separately). Defendants must individually
log each document they are withholding for privilege.

Second, for each category of document, Defendants’ logs merely provide the document location
(descriptions which are limited to “File archive,” “Email archives,” and “Email/text archives” and
are, again, nearly identical for every Defendant) and the privilege basis (which is limited to a
recurring recitation of the Tiahrt Amendment, Arizona Audit Reports Privilege, and Law
Enforcement Investigatory Privilege without further explanation or particularity). Again, the
Court-ordered ESI Protocol requires more. See e.g., ECF No. 79, at §F.4 (requiring privilege logs
to include 13 categories of information for each document). Fed. R. Civ. P. 26(b)(5)(A)(ii) further
requires that any privilege claims must “describe the nature of the documents, communications, or
tangible things not produced or disclosed—and do so in a manner that, without revealing
information itself privileged or protected, will enable other parties to assess the claim.” Thus, each
Defendant must produce a privilege log that contains the information called for in the ESI Protocol
and describe the nature of the documents and its purported privilege claims with enough detail to
enable Plaintiff to assess Defendant’s privilege claim over each document.

As called for under the ESI Protocol, each Defendant must also produce a single list of every
attorney mentioned in the privilege log, “identified by full name, employer, and job title and
attorneys appearing in any log entry should be denoted (i.e., by the placing of an “*” next to the
attorney’s name).” ECF No. 79, at §F.4.

Each Defendant must revise their privilege log in accordance with the ESI Protocol and Federal
Rules and produce a revised privilege log no later than 60 days following its production of
documents, i.e., by September 23, 2024. ECF No. 79, at §F.2.

     (2) Tiahrt Amendment and Related Objections are Not Applicable.

Defendants’ objections to discovery pursuant to the Tiahrt Amendment (contained in each
Defendant’s Responses, as well as each Defendant’s privilege log) are not applicable to the
Requests, as the Tiahrt Amendment applies only to data held by the Bureau of Alcohol, Tobacco,

 2
     Diamondback did not include the ninth category in its privilege log.
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Firearms and Explosives (“ATF”), not records possessed by Federal Firearm Licensees (“FFLs”)
like Defendant.

The “Tiahrt Amendment” or “Tiahrt Rider” is a provision (or rider) added to Department of Justice
appropriations bills, which was initially introduced in 2003. The most recent version of the Tiahrt
Amendment passed in 2011. The relevant portion of the Act is titled “Bureau of Alcohol, Tobacco,
Firearms and Explosives: Salaries and Expenses,” providing Congressional funding (or
appropriations) to ATF, and reads in relevant parts:

       For necessary expenses of the Bureau of Alcohol, Tobacco, Firearms and
       Explosives, for training of State and local law enforcement agencies with or
       without reimbursement, including training in connection with the training and
       acquisition of canines for explosives and fire accelerants detection; and for
       provision of laboratory assistance to State and local law enforcement agencies, with
       or without reimbursement, $1,152,000,000…

       “…Provided further, That, during the current fiscal year and in each fiscal year
       thereafter, no funds appropriated under this or any other Act may be used to disclose
       part or all of the contents of the Firearms Trace System database maintained by the
       National Trace Center of the Bureau of Alcohol, Tobacco, Firearms and Explosives
       or any information required to be kept by licensees pursuant to section 923(g) of
       title 18, United States Code, or required to be reported pursuant to paragraphs (3)
       and (7) of such section, except to [certain law enforcement and national security
       agencies]” and that “no person or entity described in (1), (2) or (3) [law enforcement
       and national security agencies] shall knowingly and publicly disclose such data;
       and all such data shall be immune from legal process, shall not be subject to
       subpoena or other discovery, shall be inadmissible in evidence, and shall not be
       used, relied on, or disclosed in any manner, nor shall testimony or other evidence
       be permitted based on the data, in a civil action in any State (including the District
       of Columbia) or Federal court or in an administrative proceeding other than a
       proceeding commenced by the Bureau of Alcohol, Tobacco, Firearms and
       Explosives…”

Consol. and Further Continuing Approp. Act, 2012, Pub. L. No. 112-55, 125 Stat. 552, 609-610
(2011).

The Tiahrt Amendment is entirely irrelevant to much of the information for which Defendants
attempt to invoke it. To start, even under Defendant’s impermissibly broad reading, it applies at
most to information “required to be kept by licensees pursuant to section 923(g) of title 18, United
States Code, or required to be reported pursuant to paragraphs (3) and (7) of such section.” Id.
Accordingly, it has no arguable applicability to contracts, manuals, marketing materials, internal
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communications and reports, email exchanges with ATF and law enforcement, and other
categories for which Defendants attempts to invoke it.

The Tiahrt Amendment also permits disclosure of business records that an FFL keeps pursuant to
18 U.S.C. § 923(g)—such as Forms 4473s, 3310.4s, 3310.12s, and sales records—if those records
are within the FFL’s possession. See City of New York v. Beretta U.S.A. Corp., 429 F. Supp. 2d
517, 526 (E.D.N.Y. 2006) (“The [Tiarht Amendment] has no application to data that is not to be
disclosed through the use of federally appropriated funds.”).

Defendants rely on two phrases in the Amendment, taken out of context, to wrongly claim
otherwise. Defendants claim that Tiahrt (1) prohibits the disclosure3 of “information required to
be kept by licensees pursuant to section 923(g) of title 18, United States Code;” and (2) “all such
data shall be immune from legal process, shall not be subject to subpoena or other discovery, shall
be inadmissible in evidence, and shall not be used, relied on, or disclosed in any manner, nor shall
testimony or other evidence be permitted based on the data, in a civil action in any State (including
the District of Columbia) or Federal court . . . .” Responses of Diamondback, Loan Prairie, SNG,
and Sprague’s (citing 125 U.S. Stat. 552 at 609).

However, multiple courts have properly rejected Defendants’ position, as has the ATF itself.
Regarding the first phrase, the Tiahrt Amendment only prohibits “funds appropriated under this or
any other Act” from being used to disclose “all of the contents of the Firearms Trace System
database maintained by the National Trace Center of the Bureau of Alcohol, Tobacco, Firearms
and Explosives or any information required to be kept by licensees pursuant to section 923(g) of
title 18, United States Code, or required to be reported pursuant to paragraphs (3) and (7) of such
section” Id. See also Beretta, 429 F. Supp. 2d at 525-526 (concluding that “the 2006 [Tiahrt]
rider—deals with the expenditure of federal monies” because it “was enacted as part of an
appropriations bill. It comes after a provision making appropriations for the ATF and is part of a
series of restrictions on the future use of those appropriated funds.”). No such appropriated funding
is implicated here, as Plaintiff’s Requests are directed toward Defendant FFLs, not the ATF.

The second phrase is also part of the same provision, which begins with “Provided further, That,
during the current fiscal year and in each fiscal year thereafter, no funds appropriated under this
or any other Act may be used to disclose…” and thus only prohibits use of appropriated funds in
the manner described. Id. Again, no such funding applies here. Even if this context were
disregarded, “such data” (which is “immune from the legal process…”) is a term used repeatedly
in this provision. Id. at 610. “Such data” refers to data that may be disclosed by the ATF or data
that has already been disclosed by the ATF to law enforcement recipients pursuant to the Tiahrt
Amendment, since only that data has a connection to the federal appropriations process. Id. at 609.
Consistent with this interpretation, the 9th Circuit, addressing a FOIA request for ATF to release

 3
    Defendants misquote the Tiahrt Amendment in its objections. Plaintiff changed the location
of the quotation mark here to accurately quote the Amendment.
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certain trace data, described the Tiahrt Amendment as: “forbid[ding] the use of funds for
‘disclos[ing] part or all of the contents of the [FTS], meaning that ATF cannot turn this material
over.” Ctr. for Investigative Reporting v. United States Dep’t of Just., 14 F.4th 916, 935 (9th Cir.
2021) (citations omitted) (emphasis added). See also City of Chicago v. U.S. Dep’t of Treasury,
Bureau of Alcohol, Tobacco & Firearms, 423 F.3d 777, 780 (7th Cir. 2005) (describing identical
language in the 2005 Tiahrt Amendment as “depriv[ing] ATF of funding to act on requests for
disclosure of the firearms trace database and the data assembled pursuant to 18 U.S.C. §§ 923(g),
923(g)(3), and 923(g)(7)”—a description ATF endorsed).

The U.S. Department of Justice has made clear that this type of privately held business record is
discoverable. It explained that the Tiahrt Amendment is an “appropriations rider [that] does not
prohibit the discovery of the records of a private federal firearms licensee. Rather, it is a federal
funding restriction that limits ATF’s release of certain information.” Memorandum of Intervenor
United States of America at 6, Lopez et al., v. Badger Guns, Inc., et al, No. 10-cv-018530
(Milwaukee Cty. Cir. Ct. Mar. 30, 2012). And the ATF has further represented in court that
“nothing in [federal firearms law] prohibits an FFL from responding to discovery requests
concerning the Forms 4473 during the course of a civil action, so long as the FFL continues to
maintain the Forms 4473.” City of New York v. Bob Moates’ Sport Shop, Inc., 252 F.R.D. 133, 135
(E.D.N.Y. 2008) (quoting ATF Letter dated May 23, 2008).

Accordingly, the Tiahrt Amendment has no application to data, documents, or information that is
not held by ATF and does not implicate ATF’s appropriations funding. See City of Chicago, 423
F.3d at 781, 783-84 (“Congress’ obvious intention in adding the ‘immune from legal process’
language to the funding restriction that existed under prior riders was to cut off access to the [ATF]
databases…”). Plaintiff is seeking only data and documents held by a private party, and thus Tiahrt
has no applicability. Defendants’ attempt to invoke it for documents to which it has no applicability
is a meritless tactic, intended only to cause improper delay.

    (3) Defendants’ Claims of Privilege Are Not Applicable.

Arizona Audit Privilege. Defendants’ objections to discovery pursuant to “the Arizona Audits
Reports Privilege” (cited as “the Arizona Audit Reports Privilege (AZ Rev. Stat. § 12-2321, et seq.
(2023)”) are not applicable to the Requests for several reasons.

First, the privilege was enacted in Arizona’s Health and Safety Audit Privilege Act, which
expressly applies only to an “audit report” undertaken “to evaluate an organization’s compliance
with a health or safety law or an industry standard of excellence with respect to safety, reliability
or training.” A.R.S. §§ 12-2322(a); 12-2321(2). And a ‘“[h]ealth or safety law’ means a federal,
state or local statute, rule, regulation or ordinance, or a permit issued under a federal, state or local
statute, rule, regulation or ordinance, that relates to occupational health, health or safety.” Id. §
12-2321(3) (emphasis added). Thus, unless a formal audit was undertaken by Defendants to
evaluate the health or safety of its place of employment and those documents are responsive to
Plaintiff’s Requests, the privilege is inapplicable.
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Second, even if there are documents that were part of an occupational health and safety audit
report, the Health and Safety Audit Privilege Act expressly excludes “[a] document,
communication, datum or report or other information required by a regulatory agency to be
collected, developed, maintained or reported under a health or safety law.” Id. § 12-2326(A).
Defendants’ claims of privilege over ATF forms and responses to ATF requests for information
that it is required to collect, maintain, and report, are therefore improper under § 12-2326(A).
Moreover, “if the court finds that [Defendant] intentionally or knowingly claimed the privilege for
nonprivileged materials prescribed in § 12-2326,” it could be subject to sanctions or a civil penalty
of up to $10,000. Id. § 12-2325(D).

If Defendants still intend to assert this privilege, please articulate the specific audits undertaken,
the purpose of the audits, the timing of the audits, the nature of documents included in the “audit
report,” and the circumstances of any disclosure of the documents, including the existence of any
confidentiality agreements. See id. § 12-2323(E) (“A party asserting the privilege prescribed in
this section has the burden of establishing the applicability of the privilege.”). Plaintiff reserves
the right to seek sanctions should Defendants continue to claim the privilege over nonprivileged
materials.

Law Enforcement Investigatory Privilege. Defendants’ objections to discovery pursuant to “the
federal common law Law Enforcement Investigatory Privilege” are not applicable and even if they
were applicable, Defendants waived them.

First, “[t]he Ninth Circuit has not formally recognized the law enforcement investigatory
privilege” and the District of Arizona has only recognized “the applicability of the law enforcement
privilege to ongoing criminal investigative files sought by civil litigants.” Moore v. Garnand, 2020
WL 1432838, at *3 (D. Ariz. Mar. 24, 2020) (Marquez, J.) (citing Shah v. Dep’t of Justice, 714 F.
App’x 657, 659 n. 1 (9th Cir. 2017); Torres v. Goddard, 2010 WL 3023272, at 8 (D. Ariz. 2010)).
See also Hereford v. City of Hemet, 2023 WL 6813740, at *10 (C.D. Cal. Sept. 14, 2023) (“It is
unclear, thus, whether and to what extent the law enforcement investigative privilege is good law
within the Ninth Circuit.”).

Second, to the extent the privilege exists, “the privilege may only be claimed by the government.”
Planned Parenthood Fed’n of Am., Inc. v. Ctr. for Med. Progress, 2018 WL 2441518, at *17 (N.D.
Cal. May 31, 2018) (citing U.S. ex rel. Burroughs v. DeNardi Corp., 167 F.R.D. 680, 687 (S.D.
Cal. 1996); Litton Indus., Inc. v. Lehman Bros. Kuhn Loeb Inc., 125 F.R.D. 51, 53 (S.D.N.Y.
1989)). “The party asserting the privilege has the burden to establish its three elements: (1) a formal
claim of privilege by the head of the department with control over the requested information; (2)
the assertion of the privilege must be based on personal consideration by that official; and (3) the
information for which the privilege is claimed must be specified with an explanation as to why it
falls within the scope of the privilege.” Moore, 2020 WL 1432838, at *3 (citations omitted). To
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meet these requirements, the party opposing disclosure must submit “a declaration or affidavit”
from the head of the relevant law enforcement entity “at the time it files and serves its response to
the discovery request.” Ath. Inv. Grp., LLC v. Schnitzer Steel Indus., No. 21-cv-05246-MMC
(DMR), 2024 U.S. Dist. LEXIS 86922, at *21-22 (N.D. Cal. May 14, 2024) (citation omitted). As
no such declaration or affidavit was submitted with Defendants’ R&Os, Defendants have thus
waived this privilege.

Even if the privilege were applicable and not waived, it would be exceedingly difficult for
Defendant to satisfy its burden. The Seventh Circuit, for example, has held that the ATF was
unable to demonstrate that the release of trace data would interfere with law enforcement
proceedings. See City of Chi. v. United States Dep’t of the Treasury, 287 F.3d 628, 634 (7th Cir.
2002).



Sincerely,



Julia R. McGrath
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                                              August 27, 2024


VIA EMAIL ONLY

Julia R. McGrath
Berger Montague
1818 Market Street, Suite 3600
Philadelphia, PA 19103

        Re:      Estados Unidos Mexicanos v. Diamondback Shooting Sports, Inc., et al.
                 United States District Court, District of Arizona
                 Docket No.: 4:22-cv-00472-RM

Dear Ms. McGrath:

As you are aware, this office represents defendants Diamondback Shooting Sports, Inc., Loan
Prairie, LLC d/b/a The Hub, SNG Tactical, LLC, and Sprague’s Sports, Inc. (collectively,
“Defendants”) relative to the above matter. We are writing to you on behalf of all defendants in this
matter to address the issues raised in your letter of August 5, 2024.

Along with this response, we are serving amended privilege logs for Defendants that should
alleviate some of your concerns.1 The amended privilege logs provide Plaintiff with enough detail
to enable Plaintiff to assess Defendants’ privilege claims over each document. We disagree that
there is any requirement to log each document withheld as a separate log entry. Furthermore, such
a task would be incredibly and unduly burdensome with respect to the 4473s, firearm Acquisition
& Disposition (A&D) entries, and ATF Form 3310 forms that Plaintiff has requested in this case.

Tiahrt Amendment

Your interpretation in your August 5, 2024 correspondence regarding the scope of the Tiahrt
Amendment is outdated and incorrect. Most of the cases you rely upon assess and interpret old
versions of the Tiahrt Amendment that are no longer relevant or applicable. Our position is that the
Tiahrt Amendment protects any information or documents that federal firearms licensees are
required to maintain and produce to ATF per applicable laws and regulations. As such, ATF Forms
4473, ATF Forms 3310.4 and 3310.12, firearm Acquisition and Disposition records, and
communications related to trace requests are all protected from disclosure, not subject to process,
and are inadmissible evidence in a civil trial such as this.

1
  It is our understanding that defendant Ammo AZ, who has joined in this letter, will also be serving an amended
privilege log.
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The Tiahrt Amendment underwent numerous changes since its initial enactment in 2003, until
finally in 2012 it became permanent in the Consolidated and Further Continuing Appropriations
Act and accompanying reports. Thus, any reference to prior iterations are not relevant to this
inquiry. The pertinent language, in full, compared to your cherry-picked language, is as follows:

       Provided further, That, during the current fiscal year and in each fiscal year
       thereafter, no funds appropriated under this or any other Act may be used to disclose
       part or all of the contents of the Firearms Trace System database maintained by the
       National Trace Center of the Bureau of Alcohol, Tobacco, Firearms and Explosives
       or any information required to be kept by licensees pursuant to Section 923(g) of
       title 18, United States Code, or required to be reported pursuant to paragraphs (3)
       and (7) of such section, except to: (1) a Federal, State, local, or tribal law
       enforcement agency, or a Federal, State, or local prosecutor; or (2) a foreign law
       enforcement agency solely in connection with or for use in a criminal investigation
       or prosecution; or (3) a Federal agency for a national security or intelligence
       purpose; unless such disclosure of such date to any of the entities described in (1),
       (2) or (3) of this proviso would compromise the identity of any undercover law
       enforcement officer or confidential information, or interfere with any case under
       investigation; and no person or entity described in (1), (2) or (3) shall knowingly
       and publicly disclose such data and all such data shall be immune from legal
       process, shall not be subject to subpoena or other discovery, shall be
       inadmissible in evidence, and shall not be used, relied upon, or disclosed in any
       manner, nor shall testimony or other evidence be permitted based on the data,
       in a civil action in any State (including the District of Columbia) or Federal
       court or in an administrative proceeding other than a proceeding commenced by the
       Bureau of Alcohol, Tobacco, Firearms and Explosives to enforce the provisions of
       chapter 44 of such title, or a review of such an action or proceeding …

125 Stat 552, 609-610 (emphasis added). The highlighted clause which provides that “all such data
shall be immune from legal process, shall not be subject to subpoena or other discovery, shall be
inadmissible in evidence, and shall not be used, relied upon, or disclosed in any manner . . .” is
known as the evidentiary provision.

We agree that that the Tiahrt Amendment does not shield all records maintained by a licensee
regarding firearms related sales, however, “trace inquiries and other ATF-related materials are not
discoverable private business records. […] [G]ranting civil litigants and other non-law enforcement
parties access to trace inquiries and other ATF information runs afoul of the Tiahrt Amendment’s
efforts to limit such disclosures to law enforcement agencies. Therefore, trace inquiries and other
ATF-related data are immune from discovery and legal process.” Williams v. Beemiller, Inc., 42
Misc. 3d 438, 442 (NY Sup. Ct., Erie Co., Nov. 25, 2013) (emphasis added). In 2016, another trial
court in New York was faced with similar questions presented in the Williams case related to Tiahrt
and concluded with a similar holding. In Chiapperini v. Gander Mountain Company, Inc., (NY.
Sup. Ct., Monroe Co., Index No. 14/5717, September 30, 2016), the court held, “the mandatory
plain reading of the 2012 Tiahrt Rider dictates the conclusion that all ATF database information,
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or firearm licensee information, is exempt from discovery, regardless of who possesses the same,
and further without restriction to only the federal funding context.” Id. p. 11. The court went on to
state, “[S]imply put, Plaintiffs cannot skirt the 2012 Tiahrt Rider and obtain from Gander what it
cannot obtain from the ATF…” Id. p. 12. Your co-counsel in this case was involved in both the
Williams and Chiappini cases, and Plaintiff was very complimentary of the courts that issued these
two decisions in opposition to Defendants’ motion to dismiss. The sound legal reasoning set forth
in the Williams and Chiapperini decisions applies to the documents being sought by Plaintiffs
herein.

ATF Form 4473 is clearly an ATF-related document. In fact, the bottom of the form denotes it as
“ATF Form 4473 (5300.9).” The requested ATF Forms 4473 at issue are not the private business
records of the Defendants; they are ATF developed forms that ATF FFL dealers are required by
federal law to complete and maintain. See 27 CFR § 478.124. In addition, FFL dealers are required
to transfer all ATF Forms 4473 to the ATF when they go out of business. The requested Acquisition
and Disposition Log is another document that licensed dealers are required to maintain pursuant to
18 U.S.C. § 923(g) and related regulations adopted by the ATF. See 27 CFR § 478.125(e). Thus,
the ATF Forms 4473 and Acquisition and Disposition Logs are exactly the types of documents that
are immune from discovery under the Tiahrt Amendment because they constitute “information
required to be kept by licensees pursuant to Section 923(g) of title 18, United States Code.” 125
Stat. 552, 609-610.

Each and every communication between ATF and any Defendant addressing information about a
particular firearm transaction and/or possibly pertaining to a firearm associated with a criminal
investigation is part of ATF’s trace database, and as such, includes, “part or all of the contents of
the Firearms Trace System database.” This information is clearly included within the scope of the
Tiahrt Amendment.

Further, beyond clearly being documents required to be maintained by the ATF, the ATF Form
4473 is used to collect trace data related information. The ATF Form 4473 contains personal
identifying information maintained by FFLs for “law enforcement functions – specifically, during
inspections, and in the course of investigations (for example, when tracing firearms linked to
individual criminal investigations).” See, https://www.atf.gov/firearms/atf-form-4473-faqs, Q11.

Finally, by including “any information required to be kept by licensees pursuant to Section 923(g)
of title 18, United States Code” in the Tiahrt Amendment, Congress obviously intended for it to
serve a purpose. ATF Form 4473 and the Acquisition and Disposition records are solely maintained
by FFLs. These records are not maintained by the ATF.2 Therefore, ATF is not typically in
possession of “information required to be kept by licensees pursuant to Section 923(g),” and
therefore, this statutory language would serve no purpose unless it applied to the records and
information maintained by active FFLs on behalf of the ATF.



2
 When an FFL goes out of business, the ATF Forms 4473 and Acquisition and Disposition records are
sent to an ATF warehouse for use in future tracing activities.
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Your letter mistakenly relies on several cases which analyzed outdated versions of the Tiahrt
Amendment’s language. More recent cases applying the current Amendment language have
extended its protections to private entities. For example, Plaintiffs rely on a trial court’s decision in
City of New York v. Beretta U.S.A. Corp., 429 F. Supp. 2d 517 (E.D.N.Y.2006) and its interpretation
of the phrase “such data” found in an earlier iteration of the Tiahrt Amendment. Interpreting the
2006 version of the law and its “grammatical structure,” the court in City of New York held that the
phrase “such data” preceding the disclosure prohibition could only refer to data that ATF had
provided to a law enforcement agency for use in a criminal investigation. The language in the
current version of the Tiahrt Amendment is different. The phrase “such data” is now used in two
places, and in both instances the phrase is used in specific reference to disclosure of firearms trace
information by local law enforcement agencies:

       [N]o funds appropriated under this or any other Act may be used to disclose part or
       all of the contents of the Firearms Trace System database …except to [Federal,
       State, local, tribal and foreign law enforcement agencies] unless such disclosure of
       such data to any of the entities described [above] … would compromise the
       identity of any law enforcement officer or confidential informant or interfere with
       any case under investigation; and no person or entity described [above] shall
       knowingly and publicly disclose such data;

Consolidated Appropriations Act, 2011, Pub. L. 112-175, Nov. 18, 2011, 125 Stat. 612, 625
(emphasis added).

Moreover, in the current version of the law, Congress chose a more inclusive phrase – “all such
data” – making its intent clear - that the discovery and evidentiary prohibitions apply to “all”
“information required to be kept by licensees pursuant to Section 923(g) of title 18, United States
Code,” not only to the firearms trace information that ATF disclosed to law enforcement agencies:

       [A]nd all such data shall be immune from legal process, shall not be subject to
       subpoena or other discovery, shall be inadmissible in evidence, and shall not be
       used, relied on, or disclosed in any manner, nor shall testimony or other evidence
       be permitted based on the data, in any civil action … .

Id. The purpose of statutory interpretation is to effectuate the legislature’s intent. Here, the
legislature’s intent was to prevent “widespread disclosure of [sensitive law enforcement]
information to the public at large.” H.R. Rep. 108-576, at 30 (2004). A finding that “all such”
firearms information is “immune” from discovery under the Tiahrt Amendment, regardless of who
possesses the information, is consistent with the law’s plain language and intent.

The most recent court to address this issue, which you of course are very familiar with, agrees with
this analysis. In Estados Unidos Mexicanos v. Smith & Wesson Brands, Inc., No. CV 21-11269-
FDS, 2024 WL 3696388 (D. Mass. Aug. 7, 2024), Judge Saylor held, “ATF trace data—has been
precluded by Congress from use in any civil action.” Id. at *8. He explained that the law’s language
had evolved over time, “many of which reacted to conflicting decisions by various courts,” with
the 2006 edition including “a limitation on the admissibility or use of the ATF trace data in civil
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litigation.” Id. Judge Saylor concluded his analysis of the progression of this law stating, “the last
version of the rider was passed in 2012, noting that it would apply ‘during the current fiscal year
and in each fiscal year thereafter,’” and as such, your expert, Ms. Allen, “was not permitted to rely
on the ATF data in forming the conclusions contained in the report.” Id. Some of the data that Ms.
Allen attempted to use pre-dated Tiahrt, and the other subset came from Mexico, not ATF. Thus,
under your interpretation, Ms. Allen should have been able to utilize it. But the plain reading of the
current version of the Tiahrt Amendment clearly makes any such data, whether from ATF or some
other source, inadmissible, not subject to legal process, and not discoverable.

The Tiahrt Amendment’s plain language, and its undeniably clear purpose, leads to the conclusion
that ATF Forms, 4473 ATF Forms 3310.4 and 3310.12, A&D records, and trace related
communications and forms, in the possession of ATF or Defendants, “shall not be subject to
subpoena or other discovery, shall be inadmissible in evidence, and shall not be used, relied on, or
disclosed in any manner, nor shall testimony or other evidence be permitted based on the data, in
any civil action.”

Arizona Audit Reports Privilege

Your letter claims that Arizona’s Audit Reports Privilege (ARS § 12-2322) only applies to
occupational health and safety audits, as opposed to general health and safety audits/laws. While
there is a dearth of case law on this issue, the counsel for employees of the State of Arizona
previously took a position contrary to your interpretation.

In Crago v. Pritz, CV-19-04532-PHX-ROS (ESW), 2020 WL 13579557 (D. Ariz. 2020), a civil
rights action was brought pursuant to 42 U.S.C. § 1983 by Arizona prisoner Earl Felton Crago, Jr.
against the prison wardens and directors alleging 1st and 8th Amendment violations. The case was
defended by a private law firm, the Office of the Arizona Attorney General, and Maricopa County
Attorney Civil Services Division. During a discovery dispute, the plaintiff filed a motion to compel
the defendants to produce “copies of the Inspector General Bureau Audit Unit Report for [Arizona
State Prison Complex]-Lewis in 2017, 2018, and 2019.” In their response to this request, defendants
objected claiming that “Audit Reports are confidential and privileged. A.R.S. § 12-2322 protects
‘each document and communication that is created for an audit,’ including ‘interviews with current
or former employees.’” See Ex. A hereto – Defendants’ Response, p. 4. The court did not rule on
the use of this privilege in this context, instead finding that only federal privileges would apply per
FRE 501. Since our case based on diversity is premised on state law claims, A.R.S. § 12-2322
remains available.

In Crago, the defendants (Arizona state prison wardens and directors) asserted this privilege
regarding documents outside the scope of the occupational safety laws. As such, it is a logical step
to say that the Arizona Attorney General’s office tried to invoke the Arizona Audit Reports
Privilege outside of an employment context, and such a position supports our argument that the
privilege applies to general health and safety audits, and not only occupational health and safety
audits. Audits by ATF of Defendants’ firearms sales records to ensure compliance are clearly based
on a safety premise.
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If you were able to locate any authority to support your statutory interpretation, please let us know
and we will be happy to reassess our position. Otherwise, it cannot be reasonably contested that
ATF’s regulatory compliance audit results of federal licensed dealers fall within “audit report”
undertaken “to evaluate an organization’s compliance with a health or safety law or an industry
standard of excellence with respect to safety, reliability or training.” A.R.S. §§ 12-2322(a). Further
ATF’s regulations clearly fall within a federal “[h]ealth or safety law” that relates to “health or
safety.” Id. § 12-2321(3).

Law Enforcement Privilege

We agree that the Defendants likely cannot carry the burden of refusing to produce certain
documents under the law enforcement privilege. However, we still have a good faith belief that
some or all of the withheld documents pertain to ongoing criminal investigations, the production of
which could jeopardize the health and safety of state and federal law enforcement officials. We are
seeking clarification from the U.S. Government in this regard.

We expect that we will need 14 days to receive responses from these officials. If they agree that no
law enforcement privilege is applicable, or we receive no response, we will withdraw this privilege
and produce any documents that were withheld solely based on this asserted privilege.

We will be responding to your August 7 “deficiency” letter shortly. Thereafter, we are happy to
meet and confer on the issues addressed herein, and other objections to which you have taken issues.

                                          Very truly yours,

                                 RENZULLI LAW FIRM, LLP



                                        Christopher Renzulli

cc: Counsel of record
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